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                    EXHIBIT 2
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

  IN RE: JOHNSON & JOHNSON TALCUM POWDER PRODUCTS MARKETING,
  SALES PRACTICES AND PRODUCTS LIABILITY LITIGATION: : : : : :
                                        :

   Civil Action No. 3:16-md-2738-FLW-LHGMAS-RLS
   POWDER PRODUCTS MARKETING,             :
   SALES PRACTICES AND PRODUCTS           :
   LIABILITY LITIGATION
                                          :




                                     EXPERT REPORT*
                                   DAVID A. KESSLER, M.D.




        Submitted November 15, 2023




  * This Amended Report should substitute for my 2018 report.

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  1
      The schedules were prepared by legal staff at my direction and under my review.
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  I.      QUALIFICATIONS AND INTRODUCTION
  1.      My name is David A. Kessler, M.D. I received my M.D. degree from Harvard Medical

  School in 1979 and my J.D. degree from the University of Chicago Law School in 1978.


  2.      I did my pediatrics training at Johns Hopkins Hospital.
  3.      In 1990, I was appointed by President George H. W. Bush as Commissioner of the United

  States Food and Drug Administration (“Commissioner”) and was confirmed by the United States

  Senate. I also served in that position under President William Jefferson Clinton until February

  1997.

  4.      I am currently professor of Pediatrics and Epidemiology, and Biostatistics at University

  of California, San Francisco.

  5.      From January 20, 2021-January 19, 2023, I served as Chief Science Officer of the United

  States Covid-19 Response and co-led what was known as Operation Warp Speed (subsequently

  known as the Counter Measures Acceleration Group (CAG)).

  46.     I have taught food and drug law at Columbia University Law School, and I have testified

  many times before the United States Congress on food, drug, and consumer protection issues

  under federal and state law. Over the last thirty years, I have published numerous articles in

  legal, medical, and scientific journals on the federal regulation of food, drugs, and medical

  devices. I have had special training in pharmacoepidemiology at Johns Hopkins Hospital.

  7.      My resume is attached as Appendix A. A list of cases in which I have

  appearedtestified as an expert witness in the last fourten years, and documentation of my

  expert witness fee, is attached as Appendix B.

  58.     As Commissioner, I had ultimate responsibility for implementing and enforcing the

  United States Food, Drug, and Cosmetic Act (the “Act”). I was responsible for overseeing

  five
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  Centers within the FDA. They included, among others, the Center for Drug Evaluation and

  Research, the Center for Devices and Radiological Health, the Center for Food Safety and

  Applied Nutrition which regulated cosmetics, and the Center for Biologics Evaluation and

  Research. In addition to those duties, I placed high priority on getting promising therapies for

  serious and life-threatening diseases to patients as quickly as possible. During my tenure as

  Commissioner, the FDA announced a number of new programs including: the regulation of the

  marketing and sale of tobacco products to children; nutrition labeling for food;
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   user fees for drugs and biologics; preventive controls to improve food safety; measures to

  strengthen the nation’s blood supply; and the MEDWatch program for reporting adverse

  events and product problems involving both drugs and devices. I created an Office of Criminal

  Investigation within the Agency to investigate suspected criminal violations of the Act, FDA

  regulations and other related laws. While I was Commissioner, I attempted to institute a

  voluntary reporting system of adverse events from cosmetics. The cosmetic industry, through

  its association, vigorously opposed such regulation.

  9.      Over the past forty years, I have published numerous articles in legal, medical,

  and scientific journals on the FDA federal regulation.

  610.    I am ahave served as senior advisor to TPG Capital, a leading global private equity firm,

  which owns pharmaceutical and biomedical companies. I served on the board of Aptalis Pharma.

  I currently serve on the boards of, Stoke Pharmaceuticals, Tokai Pharmaceuticals and the

  medical device and biologics company Immucor, Inc. In these advisory and fiduciary capacities,

  I have advised companies on the standards and duties of care within the pharmaceutical and

  medical device industry. I also chaired the compliance committee of Aptalis Pharma, and

  currently chair the quality committee at Immucor, Inc., which involves ensuring compliance with

  the FDA’s regulations and requirements.
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  11.       I have served as a consultant/staff to the United States Senate Labor and

  Human Resources Committee and was responsible for, among other things, FDA

  issues.

  12.       I have had access to 1) MDL discovery repository; 2) deposition transcripts and

  exhibits; 3) trial testimony and exhibits; 4) all of the documents available on Johnson &

  Johnson’s (JNJ) website Review the Evidence page of https://www.factsabouttalc.com;2 5)

  FDA’s website.


  13.       The documents I have considered are listed in Appendix C.
  714.      The documents provided to me by counsel, or that I accessed independently from

  various sources, including, but not limited to, the FDA’s website, are attached as Appendix

  C. At my request, and subject to my directions and review, the attached Schedules were

  prepared by legal staff.

  15.       Based on my review of the documents listed in Appendix C, and utilizing methods I

  have used while at FDA, academia, and on boards of corporate entities, including my training

  and experience, I have a number of opinions that are detailed below.

  816.      It is my understanding that the cases included in this litigation include, but are not

  limited to, the following claims3 as they relate to talcum powder products:


            a.     Negligence;
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          b.       Negligent Misrepresentation;

          c.       Strict Products Liability – Failure to Warn;

          d.       Strict Product Liability – Defective Manufacture and Design;

          e.       Breach of Express Warranties;

          f.       Breach of Implied Warranty of Merchantability;

          g.       Breach of Implied Warranty of Fitness for a Particular Purpose;

          h.       Fraud;



  2https://jjcloud.ent.box.com/s/2x692lcj24crvjunf0lnu590zw5g528e
  3It is my understanding that a Motion to Amend the Complaint is currently pending. Should the Court amend the
  Complaint as proposed, this will not affect my opinions within this report.
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            i.     Fraudulent Concealment;

            j.     Violation of Consumer Protection Laws;

            k.     Civil Conspiracy;

            l.     Loss of Consortium;

            m.     Punitive Damages;

            n.     Discovery Rule and Tolling;

            o.     Wrongful Death;

            p.       Survival Action .4
                                    1F2




   917.     In this report, I use the term “It is my understanding the Defendants” to refer to one or

   more of the following corporate entities, including in this case are Johnson & Johnson;

   Johnson & Johnson Consumer Inc. f/k/a Johnson & Johnson Consumer Companies, Inc.;

   Imerys Talc America, Inc., f/k/a Luzenac, Inc., f/k/a Rio Tinto Materials, Inc.; and Personal

   Care Products Council (“PCPC”) f/k/a Cosmetic, Toiletry, and Fragrance Association

   (“CTFA”). Use of any individual Defendant name is meant to reflect the totality of

   Defendants.

   18.      It is my understanding that the products at issue in this matter include JNJ’s talcum

   powder products, including Johnson’s Baby Powder and Shower to Shower.


   19.      It is my understanding that the talc that went into these products was mined at5:

       1946-1964                Val Chisone, IT            2000-200                    Argonaut
                                                                  1                    Rainbow
                                                                                       Hamm (Windham)
       1964-1966                Hammondsville, VT          2001-200                    Argonaut
                                Val Chisone, IT                   3
       1966-1979                Hammondsville              2003-200                  Zhizhua quarry
                                                                  9                  Guping quarry
                                                                                     Huamei mine
                                                                                     Shang Lang
                                                                                     quarry Tongzi
   10. No.
   MDL  The3:16-md-2738-FLW-LHG.
            plaintiffs in this case consist
                                        It isofmy
                                                allunderstanding
                                                    current plaintiffs
                                                                   thatinthe
                                                                           or plaintiffs
                                                                              subsequently    added
                                                                                         in this      to
                                                                                                 litigation
   4 See Plaintiffs First Amended Master Long Form Complaint and Jury Demand for MDL
   2


   3:16-md-2738-FLW-LHG, Dkt. 132 filed March 16, 2017.
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   5See Defendants Johnson & Johnson Consumer, Inc. and JNJ’s Responses to Plaintiffs’ Supplemental
   Interrogatories and Requests for Production of Documents Dated November 10, 2017, at 12-13.
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     1980                     Hammondsville            2009-2010                 Zhizhua quarry
                              Val Chisone, IT
     1981-1988                Hammondsville            2010                      Argonaut
     1989-1990                Hammondsville            2010-Present              Zhizhua quarry
                              Argonaut
                              Rainbow
     1990-2000                Hammondsville
                              Argonaut
                              Rainbow
                              Hamm (Windham)


   20.    The plaintiffs in this case consist of all current plaintiffs in or subsequently added to
          MDL No. 3:16-md-2738-FLW-LHG. It is my understanding that the plaintiffs in this
          litigation have been diagnosed with various forms of ovarian cancer of the female
          reproductive system, including
   ovarian cancer, cancer of the fallopian tube, and primary peritoneal cancer. 62F3




   1121. Talcum powder products can be regulated as either drugs or cosmetics depending on their
    intended use and the claims that are made for the product. Talc may also be used as an inactive

   ingredient in a number of regulated products. It has also had certain historical uses as a food and

   color additive and in medical devices. It is my understanding that the products at issue in this

   matter have been regulated as cosmetic.


   matter have been regulated as cosmetic. Schedule 1 provides a brief FDA regulatory chronology

   for talcum powder products as cosmetic. Schedule 2 provides various regulatory standards for

   the composition of talcum powder products. Schedule 3 provides examples of the various FDA

   regulated talc-containing products.

   1222. My opinions in this case focus on the responsibilities of cosmetic manufacturers,

   focusing on the regulatory interface between cosmetic manufacturers and the FDA, as well as

   industry standards. I have not been asked to opine on the scientific evidence concerning an

   causation issues. I have been asked to association between the use of talcum powder products
          and ovarian cancer. I have been asked to
   address the duties ofand conduct of defendant cosmetic manufacturers to warncompanies in the

   face of a potential health hazard. In formulating my regulatory and safety opinions in this case,
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   reviews of the epidemiology, laboratory testing methodology, chemical and geological

   relationship between talc




   6See Plaintiffs First Amended Master Long Form Complaint and Jury Demand for MDL 3:16-md-2738-FLW-LHG,
   Dkt. 132 filed March 16, 2017.
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   and asbestos, health consequences with asbestos and elongated mineral particles, and product

   formulation and manufacturing were performed. The approach and methods utilized here are

   consistent with those I have taken to address regulatory questions in academia, my work as a

   government official, and as a board member advising corporate entities for over forty years.


   23.      The following is a general timeframe of events:

                23.1. In 1894, Johnson & Johnson first marketed talcum powder products.7
            23.2. In the 1930’s, scientists began exploring the geological formation and relationship

   between asbestos and talc. 8

            23.3. By the mid-1950’s, asbestos was recognized as a human carcinogen. Over the

   next two decades, it was generally agreed that there was no known safe level of asbestos

   exposure.9

            23.4. In the early 1960’s, inert particles were shown to be capable of ascending through

   the open human female reproductive tract to the ovaries and peritoneal cavity.10

            23.5. By the early 1970’s, concern was expressed about the presence of asbestos and

   other fibers in talc. Laboratory tests began to report asbestos fibers in talc products. Asbestos was

   identified in human lung tissue. Shortly thereafter, talc was identified in human ovarian tissue.11

            23.6. By the early 1980’s, the first epidemiological study demonstrated an association

   between perineal talcum powder use and ovarian cancer.12




   7 https://ourstory.jnj.com/ accessed 11/14/2023.
   8 Bain, G.W. 1934, Serpentinization, origin of certain asbestos, talc and soapstone depositions. Economic Geology v.
   29, no. 4, 397-400.
   9 Doll R. 1955a. Mortality from lung cancer in asbestos workers. Br J Ind Med 12: 81-86.
   10 Egli & Newton. 1961. “The Transport of Carbon Particles in the Human Female Reproductive Tract.” Fertility and
   Sterility 12 (April): 151-55.
   11 See Section IV. of this report. Henderson, et al. A replication technique for the identification of asbestos fibres in
   mesotheliomas. Eur J Cancer (1969) DEC;5(6:621); Henderson, et al. Talc and Carcinoma of the Ovary and Cervix.
   The Journal of Obstetrics and Gynecology of the British Commonwealth March 1971 Vol. 78. Pp. 266-272.
   12 Cramer et al. Ovarian cancer and talc: a case-control study. Cancer 1982; 50:372-6.
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          23.7. Over the next four decades, additional epidemiological studies were performed,

  continuing to raise concerns about an association between talc and ovarian cancer.13

          23.8. In 2010, IARC published findings that talc not containing asbestiform fibers was a

  Group 2B possible human carcinogen. In 2012, IARC confirmed all six forms of asbestos,

  including fibrous talc (i.e., talc containing asbestiform fibers), as Group 1 known human

  carcinogens.14

          23.9. In 2019, FDA found asbestos and fibrous talc in a bottle of Johnson’s Baby

  Powder. That resulted in a lot recall.15

          23.10. In 2020, Johnson & Johnson discontinued North American sales of talcum powder

  products. In 2023, Johnson & Johnson stopped the global sale of talcum powder products.16

  24.     Based on my recollection, I was not substantially involved in talc cosmetic matters

  while I was Commissioner.

  25.     On November 16, 2018, I submitted an opening expert report. Since that time, and after

  leaving government service in January 2023, I have had the opportunity to review more

  documents discussed above. For convenience, I now submit this report which includes my

  cumulative opinions. Formally, this amended report should substitute for my 2018 report.




  13See Section V. of this report.
  14IARC Working Group on the Evaluation of Carcinogenic Risks to Humans. “Carbon Black, Titanium Dioxide,
  and Talc.” IARC Monographs on the Evaluation of Carcinogenic Risks to Humans/World Health Organization,
  International Agency for Research on Cancer 93 (2010): 1-413; IARC Monographs of the Evaluation of
  Carcinogenic Risks to Humans: Volume 100C,” 2012.
  15
  https://www.fda.gov/news-events/press-announcements/baby-powder-manufacturer-voluntarily-recalls-products-as
  bestos
  16
  https://www.jnj.com/our-company/johnson-johnson-consumer-health-announces-discontinuation-of-talc-based-jo
  hnsons-baby-powder-in-u-s-and-canada.
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      II.    COSMETIC MANUFACTURERS HAVE THEA RESPONSIBILITY TO
             SUBSTANTIATE THE SAFETY OF THEIR PRODUCTS PRIOR
             TO MARKETING

             A.     The regulatory standards for cosmetics

      13III. Unlike drugs, the Federal Food, Drug, and Cosmetic Act does not require the premarket
             approval of
      cosmetics.
  3
      Id.
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  1427. FDA promulgated regulations on March 3, 1975, which remain in effect today that

  require that, “[e]ach ingredient used in a cosmetic product and each finished cosmetic product

  shall be adequately substantiated for safety prior to marketing.” 21 CFR §740.10.

  1528. The regulations further state that, “[a]ny such ingredient or product whose safety is not

  adequately substantiated prior to marketing is misbranded unless it contains the following
  conspicuous, statement on the principal display panel: Warning-The safety of this product has

  not been determined.” 21 CFR §740.10.

  1629.    A manufacturer who has not adequately substantiated the safety of their cosmetic

  product or their ingredients and has not displayed the appropriate warning as noted above cannot

  ship their product in interstate commerce and would be considered misbranded under the Act. 21

  USC §331(a).

   30.     In reality, most cosmetic manufacturers who are selling a product for which they could

  not substantiate the safety would likely not choose to put the “Warning-The safety of this product

  has not been determined” on the product and would attempt to reformulate or remove the product

  from the market.

  1731.    In addition, a manufacturer of a cosmetic product must assure that the cosmetic’s label

  “shall bear a warning statement whenever necessary or appropriate to prevent a health hazard

  that may be associated with the product.” 21 CFR §740.10.
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       1832. The regulations also state that, “[a]n ingredient or product having a history of use in or
       as a cosmetic may at any time have its safety brought into question by new information that in

       itself is not conclusive. The warning required by paragraph (a) of this section is not required for

       such an ingredient or product If: (1) The safety of the ingredient or product had been adequately

       substantiated prior to development of the new information; (2) The new information does not

       demonstrate a hazard to human health; and (3) Adequate studies are being conducted to

       determine expeditiously the safety of the ingredient or product.” 17 21 CFR §740.10(b)
                                                                                  3F4   3F




       [emphasis added].

       1933.    A cosmetic is adulterated if it bears or contains, “any poisonous or deleterious

       substance

       which may render it injurious to users.” 21 USC §361.

   4
    The regulation continues, this requirement “. . . does not constitute an exemption to the adulteration provisions of
   the act or to any other requirement in the act or this chapter.” 21 USC 740.10 (c).
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  2034.      In my opinion, of all the products that fall under FDA’s jurisdiction, cosmetics are

  among the least regulated. This is reflected in the fact that there is no premarket approval of

  cosmetic products.

  2135.      Moreover, only very limited resources have ever been committed to cosmetic product

  review, monitoring, or safety.


  2236.      The limited oversight of cosmetics products has been recognized.

  2337. In, 1978, the United States General Accounting Office (GAO) “concluded that the
  effectiveness of FLN’S regulatory actions was limited by inadequacies in both FDA’S

  legislative authority and the industry’s participation.”18          4F   5




  2438.      In March 1990, the GAO reported to the Subcommittee on Regulation, Business




  17 The regulation continues, this requirement “. . . does not constitute an exemption to the adulteration provisions of
  the act or to any other requirement in the act or this chapter.” 21 USC 740.10(c).
  18 Cosmetics Regulation. Information on Voluntary Actions Agreed to by FDA and the Industry.
  (GAO/HRD-90-58, Mar. 1990), citing Lack of Authority Hampers Attempts to Increase Cosmetic Safety.
  (GAO/HRD-78-139, Aug. 1978).
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      Opportunities, and Energy that the “FDA’s regulatory authority over the cosmetics industry is

      less comprehensive than its authority over food and drugs. Consequently, in its oversight of

      the cosmetics industry, FDA must rely, in part, on voluntary industry cooperation . . . FDA

      does not have authority to require the industry to do safety testing and injury reports. FDA

      must rely on manufacturers to volunteer the data and reports. FDA officials have found that

      many manufacturers lack adequate data on safety tests and have generally refused to disclose

      the results of these tests . . . Finally, FDA has been studying the industry report on toxic

      chemicals used in cosmetics, but has committed no resources to do its own safety reviews and

      ranking.” 6
               5F6




  2539. In their 2017 article, Robert Califf, et al. wrote, “[t]he debate about regulation of the

  cosmetics industry to protect the public health has gone unresolved for more than a century . . .

  The challenge for regulators is daunting; the global cosmetics industry is enormous, with an



  5
   Cosmetics Regulation. Information on Voluntary Actions Agreed to by FDA and the Industry.
  (GAO/HRD-90-58, Mar. 1990), citing Lack of Authority Hampers Attempts to Increase Cosmetic
  Safety. (GAO/HRD-78-139, Aug. 1978).
  6
   Id.
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   expected $265 billion in revenue in 2017. The Office of Cosmetics and Colors within the FDA’s

  Center for Food Safety and Applied Nutrition [CFSAN] is tiny in contrast and, with a budget of

  around $13 million for Fiscal Year 2017, chronically underfunded, even considering its limited

  responsibilities and scope of authority . . . History has repeatedly shown that when there is

  insufficient regulatory oversight, a few unscrupulous people or companies will exploit the

  vulnerable public for profit . . . [a]lthough FDA oversight of drugs and medical devices has been

  substantially strengthened by later legislation, the lack of similar enhancements for cosmetics

  means that the cosmetic industry remains largely self-regulated . . .For cosmetics—and for      6F




  dietary supplements—the FDA’s oversight authority remains stuck at the levels established in

  1938, nearly 80 years ago . . . The FDA is vastly underresourced for even the very limited
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      responsibility it currently has for the safety of cosmetics.” 19
                                                                6F7




      2640. In 2017, Kwa, et al. wrote, “[b]etter cosmetic surveillance is needed given their

      ubiquity

      and lack of a premarket approval pathway. Unlike devices, pharmaceuticals, and dietary

      supplements, cosmetic manufacturers have no legal obligation to forward adverse events to the

      FDA; CFSAN reflects only a small proportion of all events. The data suggest that consumers

      attribute a significant proportion of serious health outcomes to cosmetics. The lack of

      high-quality data leads to reactionary responses by the FDA subject to consumer pressure.” 20
                                                                                                 F8   F




  27         41.    In July 2018, Senators Dianne Feinstein and Susan Collins wrote in the

  Journal of the

  American Medical Association, “[t]here is no other class of products so widely used in the
                        8F




  7
   Califf, Robert M., Jonathan McCall, and Daniel B. Mark. “Cosmetics, Regulations, and the Public
  Health: Understanding the Safety of Medical and Other Products.” JAMA Internal Medicine 177, no. 8
  (August 1, 2017): 1080–82. https://doi.org/10.1001/jamainternmed.2017.2773.
  8
   Kwa, Michael, Leah J. Welty, and Shuai Xu. “Adverse Events Reported to the US Food and Drug
  Administration for Cosmetics and Personal Care Products.” JAMA Internal Medicine 177, no. 8 (August
  1, 2017): 1202–4. https://doi.org/10.1001/jamainternmed.2017.2762.
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   United States with so little regulation . . . [t]he lack of oversight is a broad threat to public

   health. . . As a result, US companies that market personal care products largely determine their

   own safety standards.” 218F9




   2842.     On November 11, 2008, Anna Prilutsky, then Senior Director Research & Development

   at Johnson & Johnson, sent a PowerPoint from Lori Dolginoff, then Director, Global

   Communications at Johnson & JohnsonJNJ, containing “the latest version of the content for the

   Pure Truth website” which stated on a slide titled “Ingredients in JOHNSON’s Baby products”

   that there is “[l]imited role of FDA.” JNJ000367482-3.

   2943.     In a December 2013 PowerPoint presentation, Defendant Imerys stated “[c]osmetics are

   different from foods and drugs and are governed by much looser regulation . . . Companies are in




   19 Califf, Robert M., Jonathan McCall, and Daniel B. Mark. “Cosmetics, Regulations, and the Public Health:
   Understanding the Safety of Medical and Other Products.” JAMA Internal Medicine 177, no. 8 (August 1,
   2017): 1080–82. https://doi.org/10.1001/jamainternmed.2017.2773.
   20 Kwa, Michael, Leah J. Welty, and Shuai Xu. “Adverse Events Reported to the US Food and Drug Administration
   for Cosmetics and Personal Care Products.” JAMA Internal Medicine 177, no. 8 (August 1, 2017): 1202–4.
   https://doi.org/10.1001/jamainternmed.2017.2762.
   21 Feinstein, Dianne, and Susan Collins. “The Personal Care Products Safety Act.” JAMA Internal Medicine 178,
   no. 5 (May 1, 2018): 601–2. https://doi.org/10.1001/jamainternmed.2018.0064.
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      charge of performing the analysis and conforming to the standards. The FDA requires no prior

      testing for cosmetic products.” IMERYS 068497.

      3044.    A 2009, Johnson & Johnson JNJ memorandum regarding “Cosmetics Regulation”
                    stated that “the oversight

      of the FDA is secondary to individual company responsibility to self-regulate in meeting these

      standards.” JNJTALC00494340.

      3145.    The memorandum continued, “[v]oluntary self-regulation of the cosmetics industry in

      the United States is not working. Consumers deserve a government that protects them from

      unsafe chemical exposures in the cosmetics they use every day.” JNJTALC000494340 at 49.

      3246.    In my opinion, a cosmetic manufacturer has a responsibility to substantiate the safety
                    of

      their product or must warn consumers that the safety of their product has not been determined.
                     or

      not sell the product.

       3347. In my opinion, in addition, if a health hazard may be associated with the product, a

       cosmetic manufacturer must include a warning on their product.
  9
   Feinstein, Dianne, and Susan Collins. “The Personal Care Products Safety Act.” JAMA
  Internal Medicine 178, no. 5 (May 1, 2018): 601–2.
  https://doi.org/10.1001/jamainternmed.2018.0064.
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  34.     In my opinion, the federal regulation of cosmetics is less stringent than the regulation of

  drugs, medical devices, and food additives. FDA’s oversight of cosmetics is also limited by

  resource constraints.

          B.      The standards in the cosmetic industry to substantiate the safety of
                  cosmetic products

  3548. Defendants have been long standing members of the Personal Care Products Council

  (formerly the CTFA). Deposition of Mark Pollack, August 29, 2018. 44:7-45:6; 62:15-64:2;

  105:13-18; 110:12-21; 128:10-21; Prepared Statement of Pamela G. Bailey, President Personal

  Care Products Council, May 14, 2008, United States House of Representatives Committee on

  Energy and Commerce.

  3649. The CTFA established the Cosmetic Ingredient Review in 1976. “The Cosmetic

  Ingredient Review (CIR) was established in 1976 by the industry trade association with the

  participation of the U.S. Food and Drug Administration and the Consumer Federation of

  America. The CIR is the industry funded panel that (reviews?) the safety of the ingredients used
               in
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  in cosmetics today. Its meetings are open to the public and its findings and minutes are publicly
    available on its website." FLDI Primer on Cosmetic Regulation, P. 12, PCPC_MDL00000998

   at 1012.


  3750. According to the CIR, the purpose of such review is, “is to determine those cosmetic
   ingredients for which there is a reasonable certainty in the judgment of competent scientists that


  the ingredient is safe under its conditions of use.” [emphasis added] CIR Procedures Report June
    2018, at 3.


   3851. The CIR has stated, “‘Safe”’ or “‘safety”’ means no evidence in the available
   information

   that demonstrates or suggests reasonable grounds to suspect a hazard to the public under the

  conditions of use that are now current or that might reasonably be expected in the future, e.g., a
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   low incidence of minor adverse reactions (as shown in animal or human testing or product

  experience). Such information includes, but is not limited to, the chemical structure of the

  ingredient, published and unpublished tests on the ingredient and products containing the

  ingredient, significant human experience on products containing the ingredient during marketing,

  and information on similar or related substances. A lack of information about an ingredient shall

  not be sufficient to justify a determination of safety.” [emphasis added] CIR Procedures Report

  June 2018, at 2.

  3952. Executive Vice President and Legal and General Counsel Elizabeth H. Anderson and

  Associate General Counsel Farah K. Ahmed orof the Personal Care Products Council authored

  the 2012 Food and Drug Law Institute’s Primer on the Cosmetic Regulatory Process which

  states, “[c]osmetics are not subject to premarket approval by the Food and Drug Administration

  (FDA), but the product and ingredients must be tested for safety. If the manufacturer cannot

  substantiate safety, a warning is required . . . The "‘intended use"’ doctrine states that cosmetic

  or drug status is
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   determined by claims about the intended use of the product.” PCPC_MDL00000998 at 1004.

   4053.   In my opinion, consistent with FDA regulations and statutes, a cosmetic manufacturer

   under the cosmetic industry standards must assure the safety of their ingredients. It is the

   responsibility of the cosmetic manufacturer to assure that there is reasonable certainty in the

   judgment of competent scientists that the product is safe. Safe as defined by the industry

   standards means “no evidence in the available information that demonstrates or suggests

   reasonable grounds to suspect a hazard to the public under the conditions of use that are now

   current or that might reasonably be expected in the future . . .”.” Cosmetic Ingredient Review

   Procedures, October, 2010/June 2018 Part A – General, Section 1. Definitions. (m).
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  4154.    Thus, in my opinion, manufacturers have a responsibility to assure that there is

  reasonable certainty there is no evidence to suspect their cosmetic may pose harm. Furthermore,

  in my opinion, if there is evidence that there are reasonable grounds to suspect that the cosmetic

  product may pose harm for the proposed conditions of use, such product does not meet the

  industry standards for safety.

           C.      Defendants’ statements that cosmetic manufacturers have responsibility to
                   substantiate the safety of their product.

  4255.    On January 26, 1994, Dr. Stephen D. Gettings, Director-Toxicology of the CTFA sent a

  final draft of a manuscript for presentation at a symposium symposium 22 to the “Talc Interested
                                                                   9F1 0




  Party Task

  Force”,” which included Dr. William Ashton and Michael Chudkowski (both at Johnson &JNJ),
  as well as

  Johnson), as well as Dennis Christensen and Richard Zazenksi (both at Luzenac America, Inc.,
  now Imerys). Dr.

  Gettings thanked the Talc Interested Party Task for members “for all your help” and stated he

  still had questions that he needs answered before he gives the presentation. In the attached



  22The symposium, “Workshop on Talc: Consumer Uses and Health Perspectives” was held on January 31, 1994, at
  the National Institutes of Health. IMERYS_00057325.
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  manuscript, Dr. Gettings stated, “In the United States, the safety of cosmetic ingredients and

  finished formulations must be substantiated by manufacturers. Raw material suppliers also bear

  a responsibility for the safety substantiation of ingredients they supply to the cosmetic industry

  since Section 201(i) of the FD&C Act defines ‘cosmetic’ to include articles used as components

  of cosmetic products (21 U.S.C. 321(i)).” IMERYS-A_0005946.


  4356.    Dr. Gettings further stated, “The talc industry has a moral and legal responsibility to

  supply products that can be used safely . . . Talc facilities engaged in the manufacture of USP,
  FCC, or CRFA-grade talc products are subject to the general provisions of the FDC&C Act and




  10
    The symposium, “Workshop on Talc: Consumer Uses and Health Perspectives” was held on January 31, 1994 at
  the National Institutes of Health. IMERYS_00057325.
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   are prohibited from introducing adulterated articles into interstate commerce . . .”

  IMERYS-A_0005946.

  4457.   In a June 24, 2003, PowerPoint Johnson & Johnson, JNJ stated that Johnson’s Baby

  products are “assessed for safety based on the intended use.” JNJTALC000777136.

  4558. On November 11, 2008, in the aforementioned email and PowerPoint presentation sent by

  Anna Prilutsky, Senior Director Research & Development at Johnson & Johnson, DefendantJNJ,

  Ms. Prilutsky stated, “The FDA requires an ingredient declaration on the product’s packaging to

  enable you to make informed purchasing decisions . . . The FDA also requires that each ingredient

  used in personal care products and each finished product be adequately substantiated for safety

  prior to marketing. FDA regulations do not have prescriptive tests that manufacturers are required

  to follow to substantiate safety. The responsibility for determining and conducting appropriate

  tests to substantiate safety is that of the manufacturer. Furthermore, if the safety is not

  substantiated, the label must bear the statement: Warning – The safety of this product has not

  been

   determined.” .JNJ000367482-3.

  4659.   The same PowerPoint continued, “Our baby products are composed of a variety of

  ingredients obtained from reputable, trusted suppliers. We hold these suppliers to high standards
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  of material safety, purity and quality based on our best for baby standards. The safety and quality of

  these materials are critical to the success – how well they meet your needs – and safety of the final

  products. When we acquire raw materials and active ingredients from our suppliers, we don’t

  simply take their word for the safety of ingredients. We rely on validated scientific proof of safety

  for individual ingredients and finished products. Every lot of every raw material is evaluated before

  it is released for use in any finished product. And we ensure that all ingredients
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   comply fully with regulations in all countries where our baby products are sold.” JNJ000367483.

   4760. In a June 1, 2010, PowerPoint presentation, sent by David Stanavage, then Senior

   Product Director, Johnson & JohnsonJNJ and Kathleen Wille, Manager, Regulatory Affairs,

   Johnson & JohnsonJNJ and meant to address concerns raised by retailer Walmart about what

   was “best for baby” and stated that it “assessed each ingredient that we consider for use in our

   personal care products for baby.” JNJ

   000438939-41. The PowerPoint continues, “[a]ll final baby product formulations are

   comprehensively assessed for safety . . . Johnson’s Brand is responsible for the ethical

   management of health, safety, and environmental aspects of our products through their total

   lifecycle.” JNJ 000438939-41.

   4861. The PowerPoint continued, “the FDA has limited resources and enforces according to the

   risk to public health. The FDA does not pre-approve personal care product labeling prior to

   marketing. It is the manufacturer’s responsibility to ensure that labeling is accurate. We follow

   strict rules for nomenclature to ensure an accurate representation of the contents of our products.”

   JNJ 000438941.

   4962. On October 15, 2012, Lorena Telofski testified on behalf of Johnson & Johnson

   that

   Johnson & Johnson goes “through a process to substantiate safety for the present use. If it

   doesn’t meet the threshold of safety for present use, it is not going to go on the market.”
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  201:198-23; see also 199:21-23.
  5063. On December 16, 2014, Jay Ansell, Vice President – Cosmetics Program, Personal Care

  Products Council (Formerly CTFA), sent an email stating his “primary concern” regarding the

  statement in a “Frequently Asked Questions” document for the Look Good Feel Better

   Program23
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  Program 11 that, “Cosmetic Ingredients are not required by federal or state laws to be tested for
            1F




  their contributions to the risks of acquiring cancer or other adverse health conditions from

  long-longtermterm use.” Ansell continued that “While it is true that Federal law does not

  require ‘Testing’, Federal law absolutely requires the safety be substantiated. 21 CFR

  740.10(a).” PCPC_MDL00122041.


           D.      Modernization of Cosmetic Regulation Act of 2022 (MoCRA)
  64.      At the end of the 117th Congress, the 102nd Session, Congress enacted the Consolidated

  Appropriations Act, 2023. As part of that omnibus appropriations, Congress enacted the

  Modernization of Cosmetic Regulation Act of 2022 (MoCRA). The implementation date for a

  number of these new requirements is December 29, 2023. FDA issued a new Guidance

  Document in November 2023, announcing that, “FDA does not intend to enforce the

  requirements under section 607 of the FD&C Act related to cosmetic product facility registration

  and cosmetic product listing for an additional six months after the December 29, 2023, statutory

  deadline, or until July 1, 2024, to provide regulated industry additional time to comply with these

  requirements. In addition, FDA does not intend to enforce the registration requirement for

  owners or operators of facilities that first engaged in manufacturing or processing a cosmetic

  product after December 29, 2022, or the listing requirement for cosmetic products first marketed



  23According to the Personal Care Products Council, the Look Good Feel Better program is offered as a collaboration
  of the Personal Care Products Council Foundation, the American Cancer Society, and the Professional Beauty
  Association that “teaches cancer patients how to cope with the appearance (related) side-effects of cancer treatment.
  PCPC_MDL00122043.
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  after December 29, 2022, until July 1, 2024.” Compliance Policy for Cosmetic Product Facility

  Registration and Cosmetic Product Listing, Guidance for Industry, U.S. Dept. of Health and

  Human Services, Food and Drug Administration, Office of Chief Scientist (OCS), November

  2023.

  65.     While the new requirements are yet to be effective, it is important to note that the new

  legislation builds upon the concept of safety substantiation that currently exists in the regulation

  under 21 CFR 740.10. Prior to the implementation of MoCRA, 21 CFR 740.10 required

  companies to substantiate the safety of their product prior to marketing but, in lieu of safety

  substantiation, it permitted cosmetic manufacturers to label the Warning disclaimer. The new

  legislation requires companies to adequately substantiate that a cosmetic product is safe and

  maintain records to support such representations. There is no Warning that can substitute for

  substantiating the safety of the product.

  66.     Both in the past and going forward, cosmetic manufacturers must substantiate the safety

  of their product.

  III. THE DEFENDANTS DID NOT SUBSTANTIATE THE SAFETY OF THEIR
         TALCUM POWDER PRODUCTS IN LIGHT OF QUESTIONS ABOUT
         ASBESTOS, NON-ASBESTIFORM AMPHIBOLES, AND FIBROUS TALC IN
         THEIR PRODUCT

  51.     As noted above, according to industry standards, if there is evidence that there are

  67.     In my opinion, once JNJ had evidence of a) the presence of asbestos because of its known

  carcinogenicity and absence of a threshold dose; or b) the presence of non-asbestiform

  amphiboles or fibrous talc, the safety of their product was not established.

  68.     In my opinion, beginning in the 1970’s, the safety of JNJ’s talcum powder products had

  not been substantiated, consumers were not warned of potential health risks, and there was a

  reasonable basis to believe that such an association between the product and health risks existed.

  69.     In my opinion, beginning in the 1970’s, because the safety of their product was not
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  established, their talcum powder products should not have been sold.

          A.    Asbestos is a known carcinogen
  70.     According to the National Cancer Institute, “Asbestos has been classified as a known

  human carcinogen (a substance that causes cancer) by the U.S. Department of Health and Human

  Services (HHS), the U.S. Environmental Protection Agency (EPA), and the International Agency

  for Research on Cancer (IARC).”24

  71.      According to the International Agency for Research on Cancer (IARC), “There is

  sufficient evidence in humans for the carcinogenicity of all forms of asbestos (chrysotile,

  crocidolite, amosite, tremolite, actinolite, and anthophyllite). All forms of asbestos (chrysotile,

  crocidolite, amosite, tremolite, actinolite, and anthophyllite) are carcinogenic in humans.” (IARC,

  “Asbestos (Chrysotile, Amosite, Crocidolite, Tremolite, Actinolite, and Anthophyllite,” p. 294).

  72.      In regard to asbestos, talc containing asbestos, and talc containing asbestiform fibers

  (fibrous talc), IARC published Monograph 100c, which found that, “[t]here is sufficient evidence

  in humans for the carcinogenicity of all forms of asbestos (chrysotile, crocidolite, amosite,

  tremolite, actinolite, and anthophyllite). Asbestos causes mesothelioma and cancer of the lung,

  larynx, and ovary . . . There is sufficient evidence in experimental animals for the carcinogenicity

  of all forms of asbestos (chrysotile, crocidolite, amosite, tremolite, actinolite and anthophyllite).

  All forms of asbestos (chrysotile, crocidolite, amosite, tremolite, actinolite and anthophyllite) are

  carcinogenic to humans (Group 1).” “The conclusions reached in this Monograph about asbestos




  24See, Agency for Toxic Substances and Disease Registry. Toxicological Profile for Asbestos. September 2001.
  Retrieved April 18, 2017, National Toxicology Program. Asbestos. In: Report on Carcinogens. Fourteenth Edition.
  U.S. Department of Health and Human Services, Public Health Service, National Toxicology Program, 2016. U.S.
  Environmental Protection Agency. Health Effects Assessment for Asbestos. September 1984. EPA/540/1-86/049
  (NTIS PB86134608). Retrieved April 18, 2017. IARC Working Group on the Evaluation of Carcinogenic Risk to
  Humans. Arsenic, Metals, Fibres and Dusts Lyon (FR): International Agency for Research on Cancer; 2012. (IARC
  Monographs on the Evaluation of Carcinogenic Risks to Humans, No. 100C).
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  and its carcinogenic risks apply to these six types of fibres wherever they are found, and that

  includes talc containing asbestiform fibres.” IARC Monographs on the Evaluation of

  Carcinogenic Risks to Humans: Volume 100c, 2012.25

  73.      In 2010, IARC published Monograph 93, which found that “[t]he relative risks for ovarian

  cancer among users of body powder (versus non-users) were homogenous across this relatively

  diverse set of eight studies, each of which indicated a 30–60% increase in risk . . . Perineal use of

  talc-based body powder is possibly carcinogenic to humans (Group 2B).” “IARC Monographs on

  the Evaluation of Carcinogenic Risks to Humans: Volume 93,” 2010. This monograph

  specifically addresses the safety of talc not containing asbestiform fibers.




  25 In IARC 100c published in 2012, “the Working Group noted that a causal relationship between exposure to
  asbestos and cancer of the ovary was clearly established, based on five strongly positive cohort studies of women
  with heavy occupational exposure to asbestos [references omitted]. The conclusion received additional support from
  studies showing that women and girls with environmental, but not occupational exposure to asbestos [references
  omitted] had positive, though non-significant, increases in both ovarian cancer incidence and mortality”
  Since IARC’s review, while published in 2012, included studies through 2009, there have been three meta-analyses
  regarding asbestos exposure and ovarian cancer risk:
  In 2011, Camargo, et al. performed a meta-analysis of 18 cohort studies of women occupationally exposed to
  asbestos. “The overall pooled SMR [standardized mortality ratio] estimate for ovarian cancer was 1.77 (95%
  confidence interval, 1.37-2.28) . . . Our study supports the IARC conclusion that exposure to asbestos is associated
  with increased risk of ovarian cancer.” Camargo et al. Occupational exposure to asbestos and ovarian cancer: a
  meta-analysis. Environ Health Perspect. 2011;119:1211-1217.
  In 2011, Reid, et al. also performed a meta-analysis to “quantify the evidence that exposure to asbestos causes
  ovarian cancer.” . . . “Fourteen cohort and two case-controlled studies were identified. . . When all studies were
  included in a meta-analysis, the effect size was 1.75 (95% CI, 1.45-2.10 attenuating to 1.29 (95% CI, 0.97-1.73) in
  studies with confirmed ovarian cancers. The authors “suggest that the IARC decision was premature and not wholly
  supported by the evidence.” Reid et al. Cancer Epidemiol Biomarkers Prev.; 21(7) July 2011.
  More recently in 2021, the German Medical Expert Advisory Board on Occupational Diseases at the Federal
  Ministry of Labour and Social Affairs (BMAS) conducted its own meta-analysis. This meta-analysis yielded an
  overall SMR of 1.88 (95% CI 1.47-2.39). “If the distinction is made according to “ovarian cancers confirmed”, as in
  Reid et al., a pooled effect estimate of 1.89 (95% CI 1.40-2.55) is obtained for the studies without histological
  verification of ovarian cancer and a pooled effect estimate of 1.98 (95% CI 1.32-2.97) for those with histological
  confirmation of ovarian cancer. The difference is thus negligible (p>0.8.).” Nowak, et al. Asbestos Exposure and
  Ovarian Cancer – a Gynaecological Occupational Disease. Background, Mandatory Notification, Practical
  Approach. Published online 2021 May 20. doi: 10. 1055/a-1361-1715.
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                 i.     No safe threshold for asbestos
  74.       According to a Rio Tinto Minerals presentation, “Talc: Asbestos Issues and

  Management,” “Asbestos has long been considered a human carcinogen” J&J 252.

            74.1. “Because there is no recognized ‘safe’ level of exposure to asbestos, the presence of

  any amount in talc would be a serious problem.” J&J 252.26

  75.       According to OSHA, “There is no ‘safe’ level of asbestos exposure for any type of

  asbestos fiber.”27

  76.       NIOSH, similarly, states, “Evaluation of all available human data provides no evidence

  for a threshold or for a ‘safe’ level of asbestos exposure.” (“WORKPLACE EXPOSURE TO

  ASBESTOS Review and Recommendations,” DHHS (NIOSH) Publication No. 81-103,

  November 1980).




  26 See also, Trial Testimony of Susan Nicholson in Prudencio v. Johnson & Johnson, RG20061303, June 18, 2021,
  at p. 964 (“Q. Are you aware of there being a safe level of exposure to asbestos? MS. BROWN: Objection. Beyond
  the scope. Calls for expert opinion. THE WITNESS: Well, as an expert, I could opine on that. Our policy at Johnson
  & Johnson is no asbestos in our products. So our company position is no asbestos is safe”); Trial Testimony of Dr.
  John Hopkins in Weirick v. Brenntag North America, Inc., JCCP 4647, Case No. BC656423, April 11, 2018, at p.
  108-109 (“Q Okay. And Johnson & Johnson knows there's no safe level of asbestos exposure, especially for
  children, correct, sir? MR. BICKS: Objection to the form. No foundation. A. Again, there is no known safe level. Q.
  That's right. Especially for children, correct? A. Yes.”); Trial Testimony of Dr. John Hopkins in Barden v. Brenntag
  North America, et. al, MID-L-0932-17AS, July 22, 2019, at p. 48-49 (Q “Johnson & Johnson knows there is no safe
  level of asbestos exposure, correct? A. Scientists have not shown a safe level. So, yeah, I would not disagree. Q.
  There is no known safe level of asbestos exposure, especially, for children, correct? A. Again, same answer. There's
  no -- no evidence to say otherwise, so we'll assume it's correct. Q. Well, in fact, your answer, if you could go right
  below on Page 108, you were asked this question. "Okay, and Johnson & Johnson knows there's no safe level of
  asbestos exposure, especially for children, correct, sir?” And your answer was again, "There is no known safe level,"
  correct? A. Yes. That's what I said. Q. And then the followup question was, "That's right, especially, for children,
  correct?" And you said, "yes," correct? A. That's right. That's what I agree, yeah.”).
  27 See Skammeritz, E. et al. "Asbestos Exposure and Survival in Malignant Mesothelioma: A Description of 122
  Consecutive Cases at an Occupational Clinic." The International Journal of Occupational and Environmental
  Medicine (IJOEM), Vol 2, No 4 October 2011., Greenberg M., Davies L, T. A. Mesothelioma Register 1967-68.
  British Journal of Industrial Medicine, 31, 91-104, 1974, Asbestos (Actinolite, amosite, anthophyllite, chrysotile,
  crocidolite, tremolite). World Health Organization (WHO), International Agency for Research on Cancer (IARC)
  Monographs on the Evaluation of Carcinogenic Risks to Humans, Overall Evaluations of Carcinogenicity: An
  Updating of IARC Monographs Volumes 1 to 42, Supplement 7, 1998.
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  77.     Per the World Health Organization, “No safe level can be proposed for asbestos because a

  threshold is not known to exist.”28,29

          B.          Definition of asbestos

  78.     Asbestos is the generic commercial designation for a group of naturally occurring mineral

  silicate fibers of the serpentine and amphibole series. These include the serpentine mineral

  chrysotile, and the 5 amphibole minerals – actinolite, amosite, anthophyllite, crocidolite and

  tremolite. IARC Monogr Eval Carcinog Risk Chem Man. 1973;2:1–181.

  79.     Johnson and Johnson, from the 1960’s through 2019, defined asbestos as follows:

          79.1. “Asbestos is defined to be the fibrous serpentine, chrysotile and the fibrous forms

  of the amphibole group as represented by amosite, anthophyllite, crocidolite, tremolite asbestos

  and actinolite”.30

          C.          The safety of nonasbestiform amphibole was and still has not
                      been established

                 i.          Geological relationships between asbestos and talc

  80.     According to Rio Tinto Minerals, as documented in a presentation in June 2009 titled

  “Analytical Capabilities and Test Methods,” there are different pathways that lead to the

  formation of talc. They cite the following breakdown of Talc Deposit mineralization by world

  production (IMERYS 300644, at p. 10):




  28 WHO Air Quality Guidelines 2nd edition http://www.euro.who.int/document/aiq/6_2_asbestos.pdf
  29 https://www.niehs.nih.gov/health/materials/asbestos_508.pdf
  30 See 4/21/64, Johnson & Johnson Baby Products Company Material Specification for Windsor 66 Talc,
  Bates labeled JNJNL61_000021162 (DX7144), 1/28/77, J&J Audit Testing of Windsor 66 Talc for Asbestos,
  Bates
  Labeled J&J-0086339, 2/23/78 Letter from J&J’s George Lee to R. N. Miller, Bates labeled JNJ 000285031 (J&J
  159), JJCPI Authorization for Interim Specification 11/20/1989, amended 6/5/91, Bates labeled
  JNJMX68_0000000440, 9/23/97 Material Specification for Windsor Grade 66 Talc by Luzenac America, Inc., Bates
  labeled JNJAZ55_000020366, Imerys certificate of analysis dated 11/30/2017, Bates labeled
  JNJTALC0000580245, Imerys certificate of analysis dated 2019, Bates labeled JNJTALC001427814.
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         a.      20%= Serpentine Host Rock (RTM Vermont, Ontario) Potential for serpentine

                 asbestos

         b.      <10% = Amphibole-bearing host rock* (non-RTM; New York State) Potential for

                 amphibole asbestos


         c.      10% = Meta-sedimentary host rock (RTM Trimouns, France)

         d.     60% = Mg-rich carbonate host rock (RTM Montana, Chinese Guangxi)
  81.     According to another Rio Tinto Materials presentation, “All talc deposits have the risk of

  localized asbestos occurrence if isolated metamorphic events (intrusion, etc.) occur in or near the

  deposit.” (IMERYS_422064).

  82.     A September 13, 2011 presentation, titled “Fiber Management Overview,” asked the

  question, “Can asbestos occur with talc?” The slide answered that question by stating

  (PLT-04451-0001, at p. 8):

         82.1. “Talc derived from a metamorphic host rock can contain amphiboles and serpentine

         82.2. “Ultramafic (serpentine) host rocks can contain chrysotile.


         82.3. “All types: localized metamorphic events can produce amphiboles.”
  83.     At a U.S. Food and Drug Administration Public Meeting: Testing Methods for Asbestos

  in Talc and Cosmetic Products Containing Talc on February 4, 2020, Dr. Bradley Van Gosen

  from the United States Geological Survey described “the mineral fibers that can be naturally

  intergrown with talc and show that their presence or absence is based on the mineral deposit type,

  that is the geologic conditions that form the talc deposit.” (U.S. Food and Drug Administration

  Public Meeting: Testing Methods for Asbestos in Talc And Cosmetic Products Containing Talc,.

  In a slide deck and published article, Dr. Van Gosen stated,
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         83.1. “Talc formation. Talc is a replacement mineral – It replaces a preexisting

  magnesium-rich mineral.” (p.10).


         83.2. “This process can be driven by:

                 * Regional metamorphism (tectonics)

                 * Contact metamorphism (igneous intrusion)
                 * Circulation of magmatic hydrothermal fluids (heated by magma at depth).”

    (p.10).

         83.3. “The geologic environments that form asbestos bring together magnesium and silica

  in solution, the same chemistry that forms talc.” (p. 9).

         83.4. In the article titled “Using the geologic setting of talc deposits as an indicator of

  amphibole asbestos content,” Dr. Van Gosen states, “Talc deposits are products of metasomatism

  caused by regional metamorphism, contact metamorphism, or hydrothermal metamorphism

  (meteoric fluids or brines heated by distant or buried intrusion).

         83.5. “A number of U.S. talc deposits of commercial size (under past or present economic

  conditions) were formed by metasomatic processes driven by regional metamorphism; these

  large bodies consistently contain talc intergrown with amphiboles, such as tremolite and (or)

  anthophyllite. Debate over the asbestos mineral content (major versus trace amounts) within

  these talc-amphibole deposits is the result of differing interpretations of the predominant habit

  (asbestiform versus non-asbestiform) of the amphibole particles.” (p. 920).

         83.6. “The host rock composition and process of formation determines the qualities of

  talc, which in turn affects the industrial applications of a particular deposit. The grain size and

  shape, color, and purity of talc influence its uses (Piniazkiewicz et al. 1994).
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         83.7. “In addition, the talc-forming mechanism – hydrothermal processes, contact

  metamorphism, or regional metamorphism – directly influenced the ultimate amphibole content

  of the talc ore body, described below through examples. Within a single mineral deposit, such as

  some talc ore bodies, amphibole crystals may range in habit from blocky to prismatic to acicular

  to asbestiform.” (p. 922).

         83.8. “Talc deposits in Vermont are typical “black wall” deposits, formed by regional

  metamorphism and metasomatism of ultramafic rocks, originally composed of dunite or peridotite.

         83.9. “These deposits form as zoned alteration “rinds” around ultramafic bodies; the

  altered zones can be 6.5 km or more long and 460 km wide (Cady and others 1963)” (p. 933).

         83.10. “Black-wall talc deposits are associated spatially with serpentine masses that in

  some areas host well-developed chrysotile asbestos (Bain 1942; Cady and others 1963). The

  alteration zone locally contains actinolite, tremolite, anthophyllite, and (or) cummingtonite, as

  described by Cady and others (1963)." (p. 934).

         83.11. At the FDA meeting, Dr. Van Gosen stated, “Talc and anthophyllite form in the

  same – can form in the same geologic environment. You’ll see that magnesium, silica, and water

  are the essential ingredients to form both talc and the asbestos minerals.” (p. 27:5-9).

         83.12. Dr. Van Gosen further stated, “When an amphibole bearing rock, including talc is

  pulverized, micronized, and put into a product, it can be difficult to determine whether a very

  small, thin, elongate amphibole particle that you observe, even under high magnification,

  whether it represents a cleavage fragment or instead is a fiber that was once part of a fiber

  bundle. And just to complicate matters, some amphibole particles, such as this example in the

  lower right, can display characteristics of both fibers and cleavage fragments.” (p. 29:10-21).
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          83.13. “The same geologic processes that form talc can also form amphiboles, sometimes

  including the asbestiform varieties of the amphiboles.” (p. 30:1-4).

          83.14. In 2020, Van Gosen at the FDA Public Meeting suggested “...that a very detailed

  mineralogy examination of the talc ores from this deposit types, taken from samples at the mine

  site, is a study that should be undertaken.” (p. 39:14-17). He further stated, “that it would be much

  easier to determine the amphibole and chrysotile content of a talc that was used in a commercial

  product, including cosmetics, if the mineralogy was examined from samples that were collected in

  place at the mine site before the talc rock had been mined, pulverized, micronized, and then mixed

  into a product where the mineral particles now, including fibers are now extremely small and

  scattered, and are difficult to observe or to analyze." (p. 44:1-11).

          83.15. In comments submitted to the FDA as part of the public docket, Dr. Laura Webb, a

  professor of geology at the University of Vermont, and a Defendant expert witness in this matter,

  stated with regard to Dr. Van Gosen’s publication in 2004 and 2005, “Although a good summary,

  one cannot accept at face value generalizations about the association of talc and amphibole

  asbestos made by Van Gosen [citation omitted]. That is, those generalizations are not

  representative of an exclusive suite of talc ores formed under conditions favorable neither to

  chrysotile or amphibole asbestos formation (or preservation). One must in fact understand the

  details of the local and regional geology of any give [sic] mine – including the potential for a

  complex distribution of rocks of different metamorphic grades resulting from complex tectonic

  history.” (Webb, “Comments on Testing Methods for Asbestos in Talc and Cosmetic Products

  Containing Talc, FDA-2020-N-0025,” p. 12).

  84.     In an email dated January 30, 2008, from Rio Tinto Materials Regulatory Affairs Manager

  Richard Zazenski to colleagues Peter Argust, Julie Pier, and Greg Hunter, Mr. Zazenski stated:
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          84.1. “Geologically, it doesn’t make sense to me that you can have a mineral deposit that

  just contains ‘non-asbestiform’ tremolite. I believe the USGS study of talc from Death Valley,

  California, nailed it correctly that if a deposit contains ‘non-asbestiform’ tremolite, there is also

  asbestiform tremolite naturally present as well. And since tremolite was never really a large

  commercial mineral such as chrysotile or crocidolite, there is not enough medical data to conclude

  that ‘blocky’ tremolite is simply a nuisance dust. But that has been the story line for Vanderbilt

  for years and they’re sticking to it.

          84.2. “I closely followed the OSHA/Vanderbilt debate during the 1980’s and early 1990’s.

  Essentially, OSHA ‘threw in the towel’ rather than expend their limited resources any longer on

  this issue. Their decision by no means should be interpreted as a vindication of Vanderbilt’s

  arguments.” IMERYS 442002-4.

  85.     A confidential report of the Geology Section, Windsor Minerals, Inc. by William J. Gregg

  dated February 20, 1978, written “under the direction of R. Roger N. Miller, President of Windsor

  Minerals” stated, “the amphibolites in the Moretown usually occur not more than 100 to 200

  meters away from the ultramafics and are generally more abundant than the amphibolites in the

  Cram Hill. In rarer cases very thin amphibolite layers less than 1 foot thick may run parallel to the

  ultramafic zone at less than 2 feet from the contact. These rocks are medium to coarse-grained

  and may occur as strongly layered lenses or larger, unlayered bodies up to 1 meter thick. The

  rocks contain abundant blue-green amphibole and albite, and minor amounts of carbonate,

  chlorite and opaque minerals”. IMERYS 437016.

          85.1. “The amphibolites within the Cram Hill usually occur within 10 to 20 meters of the

  ultramafic zone. They are usually fine-grained rocks composed of blue-green pleochroic

  amphiboles, albite, carbonates and chlorite in varying proportions. The feldspathic and carbonate
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  minerals are often segregated in layers with little or no amphiboles present. These layers are the

  dominant element of the earliest compositional layering recognized in the amphibolite (S0). This

  layering is disposed in tight to isoclinal early folds and is later refolded by open folds. (Fig. 9)

  IMERYS 437013.

         85.2. A photographic image demonstrating the layering in the amphibolites of the Cram

  Hill is shown in Figure 9. IMERYS 437017.

  86.    A Literature Review of Geology and Mineralogy of the Vermont Talcs started with general

  description of the authigenesis of talc mineral and stated “The authigenesis of ‘pure talc’ mineral,

  Mg3 [Si4010] (OH)2 is generally represented as being the end member (lowest free energy) of a

  long chain of mineralogical or geothermal or geochemical alterations (weathering events) taking

  place along very diverse paths depending basically on the geothermal and geohydraulic

  conditions of exposure over many millions of years. However, there is general agreement that the

  basic chain of events was about as follows:

         86.1. “An intrusive ultramafic (high in magnesium) magma which is essentially

  magnesian silicate glass with a large number of minor associated constituents;

         86.2. “Crystallization to a ‘serpentine’ or ‘serpentinite’ which is not a mineral but is a rock

  name for a rock formation with a high magnesium silicate content. The serpentines may alter or

  crystallize by a number of hydrothermal, geothermal, or a combination of sequences or reactions

  requiring ionic mobilities, disporportionations, solution replacements, etc., into a rather wide

  variety of recognizable and identifiable crystallographic types or ‘minerals.’ The most common of

  these are the platy hydrous magnesium (2-layer) phyllosilicates, antigorite or lizardite; the rare form

  of this group is the fibrous (asbestiform morphology) chrysotile. Other related minerals commonly

  found associated with the crystalline serpentine minerals are those few amphibole
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  structures - - tremolite, actinolite, and rarely, anthophyllite which are some of the

  crystallographically recognizable forms of the amphibole rock formations.

          86.3. “Under certain conditions all of these minerals, depending on temperature, pressure,

  ground water solutions, and/or other factors, alter first to chlorite, then to carbonates or dolomite,

  and finally to talc; there is some debate whether dolomite precedes talc or both are formed more

  or less simultaneously from the chlorite and there can be said to be evidence for both sequences.

  In some cases the dolomitic limestone is well separated from the steatite (talc); in other cases,

  there is much intermixing in various proportions where the ore is generally known by the miners

  as ‘grit’. The important aspect of these series of alterations is that talc is always the lowest free

  energy end-member and the alteration sequence has never been observed to go in the opposite

  direction. In many cases, however, there may be isomorphous replacements by talc of the

  preceding mineral morphologies, as well as occasional unaltered relicts of preceding mineral

  species.

          86.4. “The so-called “black-wall chlorite” is in fact the geochemical transition zone between

  the serpentine or other host rock and the talcose series replacements. This transition zone (the

  blackwall) may vary from a few inches to several free in thickness and ‘fingers’ or extensions of it

  may occasionally intrude into the talc ore body. It is at this transition interface that the associated

  minerals, i.e., chlorite, tremolite, actinolite, and rarely, chrysotile, may be found. Occasionally some

  small parts of this materials is mined and mixed up along with the talc ore. The blackwall is

  thermodynamically and geothermally only metastable and it moves very slowly as the replacements

  and transitions occur as described above through geologic time.” JNJ000263852.

  87.     A chart titled “Vermont Rock Type Code” identify as accessory minerals “amphiboles” on

  the first and second page. IMERYS 426609.
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  88.     A memo from J.J. Godla and D. G. Ogden to J.S. Forbes dated January 5, 1988, re: Visit

  to Ludlow, VT operations of Windsor Minerals, Inc. with Roger Miller, President and Winston

  Dezaine, Mine Supt. December 31, 1987, stated under a section titled Argonaut Mine: “The

  bladed amphibole mineral actinolite was observed in numerous areas within the chlorite schist

  inclusions.” In the General Comment section the memo states:

         88.1. “As far as asbestos problems [sic] are concerned, Miller states that he has been

  sampling all mine ore and produce shipped for 14 years. Composites have been submitted to

  McCrone Laboratory in Chicago, and no asbestiform minerals have been reported. The

  amphibole, actinolite (bladed) was observed in the chlorite schist inclusions and wall rock at all of

  the Ludlow mining operations.” IMERYS 542268.

  89.     A document entitled Windsor Minerals, Inc. “Geology of the Talc Mine at East Johnson,

  Vermont” incorporated a thesis written by Barry O. Seymour titled “Geology of the Talc Mine at

  East Johnson, Vermont.” JNJ 000287099. The thesis stated:

         89.1. “As mentioned earlier, serpentinization is much less intense in Quebec, than in the

  north-central Vermont area, and most deposits contain a combination of talc and asbestos, instead

  of just talc.” JNJ 000287264.

  90.     A Luzenac February 2010 report written by E.F. McCarthy titled Talc Geology, Mining

  and Processing for Cosmetic, Pharma and Food Applications, included a table titled Talc Ore

  Mineralogy (Cosmetic Source), which included columns for Montana, Vermont, Australia, China,

  and India. Under the heading “China”, a row titled “Tremolite” reported “0-5” and a row titled

  “Serp’tine” reported “trace”. IMERYS 081025.


              ii.      Distinguishing asbestos, non-asbestiform amphiboles and talc
  91.     According to the Rio Tinto Materials presentation, “Analytical Capabilities and Test

  Methods,” the slide “Asbestos is a possible trace contaminant in talc” states it is “difficult to
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   determine if individual fibers were originally associated with a bundle (may be disaggregated from

   milling and/or sample prep).” IMERYS 448613 (p. 14).

             91.1. The presentation went on to state:

                    a.        “Talc vs. Chrysotile [Identification]: Easy! (p. 15).

                    b.        Serpentine Interpretation: Easy! (p. 16).

                    c.      Amphibole Interpretation: May be difficult...” (p. 17).
             91.2. According to this industry presentation, there is an overlap of the Amphibole Fiber

   Mean Aspect Ratio between tremolite cleavage fragments and tremolite asbestos fibers. (p. 18).

             91.3. According to this presentation, elongated mineral particles are fibers which are “a

   regulated term defined by aspect ratio and length – varies according to method/regulation,”

   which include a subset that are asbestiform and a further subset that are asbestos. (p. 12).

   92.       Another presentation by Rio Tinto Materials, “Talc: Asbestos Issues and Management,”

   stated:

             92.1. “It is not known whether cleavage fragments of similar dimensions to asbestiform

   fibers pose the similar health risks.31

             92.2. “On a microscopic scale, one cannot distinguish between asbestiform and cleavage

   fragment.

             92.3. “Deposits can contain both asbestiform and non-asbestiform particles.” J&J 252 (p.

   11).

   93.       According to a presentation by the RJ Lee Group, Inc. on January 29, 2009 titled “What is

   Asbestos? Analytical Methods for Asbestos,” RJ Lee stated, “Controversy over whether asbestos



   31As I have stated previously, I am not offering any causation opinions regarding the health effects of cleavage
   fragments.
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  and non-asbestos elongated mineral particles have different biological and health effects.”

  IMERYS 441186.

  94.         According to an official statement from The American Thoracic Society titled “Health

  Effects of Tremolite” dated June 1990 and distributed by the American Mining Congress, “A

  troublesome issue has been the mineralogical distinction between fibers and cleavage fragments,

  and whether this distinction has biological implications.” IMERYS-MDL-AB_000194. The

  American Thoracic Society statement went on to state,

         94.1. “...the focus on tremolite has raised the issue of the importance of cleavage fragments

  as opposed to asbestiform fibers. The issue, fundamentally, is whether two fibrous particles of

  identical size and shape will have different biologic properties if the particles are pieces of mineral

  which have broken off a larger sample parallel to a crystal face (i.e., cleavage fragments) as

  opposed to particles which have originally grown in a fibrous habitat (i.e., asbestiform fibers).

         94.2. “It became apparent both from our review of the literature and from submissions

  made to this Committee by experienced mineralogists, that the distinction between cleavage

  fragment and asbestiform fibers, although theoretically clear, is in practice extremely murky.

  Some mineralogists believe that these two types of particles are always distinct, whereas others

  believe they shade off one into the other, and that intermediate forms (byssolite) exist. Further,

  these same submissions were at odds with each other in identifying particular samples used in

  various experiments (including the play sand samples analyzed by members of the Committee) as

  asbestiform fibers or cleave fragments. To complicate matters, it was also suggested to us that

  the important distinction is not that between cleavage fragments and asbestiform fibers, but

  between non-asbestiform and asbestiform fibers.
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         94.3. “Because of the lack of consensus among mineralogists, as well as the limited

  information about the minerals present in most published human and animal data (i.e., whether the

  particles used or observed really are fibers or cleavage fragments), we have to a great extent

  ignored the distinction, and ended up treating most of the data as based on ‘fibers’ of various sizes.

  The Committee recognizes that this is not an ideal solution, and where stronger evidence for the

  cleavage fragment or asbestiform nature of a particular fiber exists, we have noted it. However,

  until there is reasonable mineralogic unanimity both on general definition and the classification of

  specific samples, and then animal experimentation with such classified materials, it appears to us

  impossible to draw general conclusions about biologic effects based on the distinction between

  cleave fragments and asbestiform fibers.” IMERYS-MDL-AB_0001941.

         94.4. The society concluded, “Unquestioned health effects of tremolite asbestos have

  been demonstrated in both man and animals. These effects are identical to those produced by

  other forms of asbestos.

         94.5. “There may be important physico-chemical distinctions between asbestiform and

  non-asbestiform tremolite dust particles. However, there appears to be considerable controversy

  in applying these mineralogic definitions to specific samples of mineral, particularly individual

  particles viewed microscopically after collection by air sampling or found in human lung, or

  when used experimentally.

         94.6. “The evidence for biological effect distinctions based on mineralogical parameters,

  other than fiber dimension and fiber number, is currently inadequate.

         94.7. “At present, the prudent public health policy course is to regard appropriately sized

  tremolite ‘fibers,’ in sufficient exposure dose (concentration and duration), as capable of producing
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  the recognized asbestos-related diseases, and they should be regulated accordingly.”

  IMERYS-MDL-AB_0001953.

  95.          In the correspondence section in the British Journal of Industrial Medicine dated 1991,

  author Dr. B.W.K from the University of Pittsburgh said three questions needed to be answered

  before non-asbestiform tremolite could be “let off the hook” from a health perspective: “Firstly,

  can ‘non-asbestiform’ fibres, by mineralogical definition, be unambiguously identified to the

  satisfaction of experts and regulators? Secondly, if they can be identified, are they present to the

  exclusion of ‘asbestiform’ fibres in the same mix? Thirdly, if both of the previous conditions can

  be satisfied, do they inform as to the biological effects of long, thin, durable fibres that do not

  meet the crystallographic growth characteristics for asbestiform nature required by some experts?

  The answer to all three questions-without tergiversation-is no.” JNJ00000049.

          95.1. They concluded, “Until there is actual evidence, that ‘non-asbestiform’ fibres are

  easily defined, clearly separated from tremolite asbestos in real world work environments, and not

  productive of lung fibrosis or other health effects, it seems folly to declare them exempt from

  regulation.” JNJ00000049-50.

          95.2. According to an Executive Summary of Preliminary Recommendations on Testing

  Methods for Asbestos in Talc and Consumer Products Containing Talc, dated January 6, 2020,

  written by US federal government subject matter experts on the (IWGACP32):

          95.3. “The difficulty of identifying and quantifying individual asbestos or other mineral

  particles present at low concentrations in talc is compounded by the presence of non-asbestiform


  32The IWGACP, Interagency Working Group on Asbestos in Consumer Products, is made up of subject matter
  experts from eight federal agencies: Dept. of Health and Human Services (including experts from Food and Drug
  Administration (FDA), National Institute of Occupational Safety and Health (NIOSH), and National Institutes of
  Health (NIH)/National Institute of Environmental Health Sciences (NIEHS)), Dept. of Labor: Occupational Safety
  and Health Administration (OSHA), Environmental Protection Agency (EPA), Consumer Product Safety
  Commission (CPSC), Dept. of the Interior: U.S. Geological Survey (ISGS), and Dept. of Commerce: National
  Institute of Standards and Technology (NIST). IWGACP Public Meeting, 4 February 2020.
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  analogs with the same elemental composition and crystal structure, but different growth habit.

  Using TEM, differentiation of chrysotile from non-asbestiform serpentine analogs is relatively

  straightforward; however, each of the non-asbestiform amphiboles can disaggregate into particles

  resembling asbestiform fibers, giving rise to disputes between laboratories over whether elongate

  amphibole particles are truly asbestos, or are particles resulting from attrition of larger particles

  of a non-asbestiform analog. Because both types of elongate minerals are suspected of having

  biological activity with similar pathological outcomes, the distinction is irrelevant. Lack of

  consensus concerning what should be called ‘asbestos’ has persisted since the first reports

  indicating that asbestos might be present in talc used in cosmetics and has inhibited thorough

  toxicological and epidemiological investigations of disease attributable to talc that contains

  asbestos.” (p. 3)33.

  96.           According to the White Paper, “IWGACP Scientific Opinions on Testing Methods for

  Asbestos in Cosmetic Products Containing Talc” that provided “the scientific opinions of subject

  matter experts (SMEs) from an interagency working group related to testing cosmetic products

  containing talc and talc intended for use in cosmetics for the presence of asbestos, as well as

  other potentially harmful amphibole particles that can affect cosmetic product safety” (p. 4). That

  White Paper stated,

            96.1. “The difficulty of identifying and quantifying amphibole asbestos particles in talc is

  compounded by the potential presence of amphibole particles that have the same elemental

  composition and crystal structure as one of the asbestos minerals but may have originated from

  their non-asbestiform analogues. (See Appendix D) The characteristic feature of an ‘asbestos

  structure’ is the ‘bundle’ consisting of multiple particles that may show definitive characteristics




  33   See JNJTALC0015234748
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  of asbestos particles such as splaying or longitudinal splitting at either end of the structure.

  However, asbestos structures are less readily identifiable after extensive processing that can

  result in attrition, such as milling of talc to produce cosmetics. In the milling process,

  non-asbestos amphibole particles in the ore can be reduced in size, resulting in particles that may

  look like asbestos.” (White Paper: IWGACP Scientific Opinions on Testing Methods for

  Asbestos in Cosmetic Products Containing Talc, p. 14).

         96.2. According to Appendix D of the White Paper (p. 29), forces “applied to prismatic

  amphibole crystals can result in perfect cleavage along planes of weakness, often referred to as

  cleavage fragments. Similarly, attrition of bundles of asbestiform amphibole fibers can lead to

  structures such as the fibrils.” Appendices to White Paper: IWGACP Scientific Opinions on

  Testing Methods for Asbestos in Cosmetic Products Containing Talc (p. 33).

         96.3. Appendix D went on to state, “Alternatively, fracture at points of structural

  weakness caused by defects in amphibole crystals can result in particles having random shapes.

  Consequently, significant variation in morphology of amphibole particles can occur even within

  a mineral deposit and it may be difficult to classify individual particles as being asbestiform or

  non-asbestiform.” (p. 34)

         96.4. It further stated, “Because fiber bundles undergo attrition, it is difficult to draw

  conclusions about the (asbestiform/non-asbestiform) habit of any individual amphibole particle at

  the levels of magnification afforded by electron microscope.” (p. 36).

  97.    Appendix E of the White Paper titled “Health-Based Characteristics to Address Impacts of

  Asbestos and Other Elongate Mineral Particles in Talc Intended for Use in Cosmetics,” stated the

  following:
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          97.1. “Asbestos is a known human carcinogen...there is no established threshold for health

   effects from asbestos exposure.

          97.2. “These effects are rarely seen acutely but are more likely to occur many months or

   years following exposure.

          97.3. “The specific biological mechanisms underlying asbestos and other elongate mineral

   particle (EMP) [footnote omitted] induced inflammation and/or diseases in humans and other

   animals remain uncertain... a more complete understanding of particle characteristics associated

   with activation of these biological mechanisms is lacking...

          97.4. “Decisions to limit elongate particle size definition to specific size fractions (e.g.,

   length >5 μm; width > 0.2 μm, and aspect ratio >3:1) were established for the convenience of

   using light microscopy to estimate exposures in occupational environments [citation omitted].

   Thus, while it may be a useful index for exposure in certain situations, ‘the fiber counting

   protocol using a 3:1 aspect ratio and a length of 5 μm or greater as being in some way a

   definition of asbestos has no scientific basis.’

          97.5. “Particle size, tensile strength, morphology, chemical composition, bio-persistence,

   surface charge, surface porosity, and reactivity have all been implicated in the pathogenic processes

   associated with EMP exposure. (HEI 1991). Our general understanding of the mechanisms and

   progression of EMP-related disease comes from studies about biophysical, cellular, animal, and

   human responses to exposure. (NATO 1990, Fubini and Arean 1999, Xu, Zhou et al. 2002).

   Elongate particle interactions with cellular components can result in aberrations in cell division

   (Livingston, Rom et al. 1980, Achard, Perderiset et al. 1987, Renier, Levy et al. 1990, Korkina,

   Durnev et al. 1992), generation of reactive oxygen species (Brown, Fisher et al. 1998) and an

   inflammatory response (Shukla, Ramos-Nino et al. 2003, Mossman 2018, Pfau,
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  McNew et al. 2019). Several studies in animal models report that longer fibers are more strongly

  associated with cancer incidence (Stanton M.F. and Layard 1981, Davis, Addison et al. 1991,

  Berman,Crump et al. 1995).

         97.6. “Particle size, aspect ratio (length-to-width ratio), dissolution characteristics, and

  cellular processes affect exposure. Additionally, anatomy and physiology of the host, internal

  distribution, retention, and clearance from the body are all determinants of internal exposure.

  (CDC/NIOSH 2011).

         97.7. “Generally, thinner particles with higher aspect ratios, may penetrate more deeply

  into the lungs (Timbrell1982, Lippmann 1990, Bernstein, Rogers et al. 2011). Larger particles

  and those with higher density may impact the nasopharyngeal region of the upper airways, where

  they are more efficiently removed from the respiratory tract...

         97.8. “...censored exposure indices are not capable of, nor were intended to, be used in

  context of consumer exposure to the presence of asbestos in cosmetics.

         97.9. “More than four decades ago (prior to the practice of indexing fibers), the

  CDC/NIOSH fully characterized the presence of EMPs (including subsets of regulated asbestos

  and asbestiform minerals), in a talc mining and milling operation in St. Lawrence County, New

  York; where morbidity and mortality was significant in workers exposed to dusts (NIOSH1980).

  It was observed that 97% of the worker exposures to tremolite and 90-92% of the worker

  exposures to anthophyllite were to fibers <5 μm in length, well below the size range commonly

  recorded by less sensitive light microscopic techniques.

         97.10. “Once inside the body through inhalation, ingestion, or perineal exposure, EMPs

  can migrate through tissues and organs to secondary sites of exposure where progressive cell

  damage can occur (Cook and Olson 1979, Wehner 1994, Heller, Westhoff et al. 1996). The risks
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  of irreversible damage to cells and tissues of the body following exposure are associated with the

  accumulation of elongate particles in susceptible tissues. Retention and accumulation of elongate

  particles in biological tissue is influenced by the nature of the EMP, magnitude of the exposure,

  host physiology, type of tissue, migration and transformation of particles within the body, and

  clearance of particles through cellular mechanisms, including dissolution and removal by alveolar

  macrophages.

         97.11. “Research findings of Stayner et al. (2008) show that cumulative exposures to ‘all

  fibre size indices, including fibres <5 um in length, were highly statistically significant predictors

  of lung cancer or asbestosis mortality.’ (Stayner, Kuempel et al. 2008).

         97.12. “Together, many characteristics contribute to EMP toxicity, such as biological

  persistence, inter-tissue migration, or in vivo comminution (splitting of bundles into elongate

  fragments or fibers). Interactions of EMP at the biological interface can trigger intracellular

  multiprotein complexes associated with inflammation.

         97.13. “A number of studies (Goodglick and Kane 1990, Dodson, Atkinson et al. 2003, Ji,

  Wang et al. 2012) report an association between fiber length, width, and disease in laboratory

  animals and in exposed human populations. However, the methods, definitions, and protocols

  used to measure and count fibers in environmental samples are not independent of the specific

  analyst or microscope used to character exposures. (Rooker, Vaughan et al. 1982).

         97.14. “Although shorter particles are generally more rapidly cleared than longer ones, at a

  steady state of exposure, short EMPs can accumulate, presenting a persistent and much larger

  bioactive surface area than the commonly recorded longer fibers. (Lehnert, Valdez et al. 1989).

         97.15. “When comprehensive dose characterization has been available, biologically active

  EMPs, also known as censored EMPs (i.e., <5 μm in length), are often implicated as contributing
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  to disease. These EMPs have been frequently removed from the exposure analysis due to the

  limitations of optical microscopy. Further, our understanding of disease in relation to exposure

  (exposure-response analysis) is severely limited. The presence of elongate amphibole and

  serpentine minerals in some talc deposits have been known for many years (Kleinfeld, Messite et

  al. 1967, Rohl and Langer 1974, NIOSH 1980), yet analytical methods restricted by available

  technology (Rooker, Vaughan et al. 1982, Kenny, Rood et al. 1987) and developed for other

  purposes, have been adopted as tools for the scientific characterization of toxicological response

  and risk assessment in both occupational and non-occupational epidemiologic studies. This has

  severely limited our understanding of how exposure to EMPs of various size and characteristics

  contribute to asbestos-related disease (Stayner, Kuempel et al. 2008) [figure omitted].

          97.16. “Thus, for the purpose of evaluating the presence of asbestos in talc intended for

  use in cosmetics and talc-containing cosmetics, measurement and characterization of EMPs

  should be more inclusive in order to consider biologically relevant physical-chemical

  characteristics as they relate to biological actions of the offending mineral particles.” Appendices

  to White Paper: IWGACP Scientific Opinions on Testing Methods for Asbestos in Cosmetic

  Products Containing Talc (p. 42-49).

  98.         According to Appendix F of the White Paper, titled “Testing Issues,” “Some researchers

  have suggested that populations of amphibole asbestos fibers can be differentiated from

  non-asbestiform particles or cleavage fragments based on population width distributions reflecting

  differing tendencies in particle attrition among the two growth habits (Blount 1991; Van Orden et

  al. 2008, 2009; Harper et al. 2008). General guidelines for differentiation based on dimensions do

  not exist, although there are minima for length and aspect ratio for asbestos counting in published

  standards. The strict application of length and aspect ratio as measures to differentiate asbestiform
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  and non-asbestiform particles remains debated in the scientific literature. Thus, IWGACP is not

  in favor of using dimensional criteria to differentiate asbestiform and non-asbestiform particles in

  talc and cosmetics.” Appendices to White Paper: IWGACP Scientific Opinions on Testing

  Methods for Asbestos in Cosmetic Products Containing Talc (p. 71).

  99.             The significance of asbestiform versus nonasbestiform fibers was discussed by the

  pharmaceutical firm Pfizer, Inc. in 1977. Commenting on statements by the talc firm, R.T.

  Vanderbilt Co., Inc., Pfizer’s official J.P. Bartels wrote in a memo, “Vanderbilt Talc Letter,”

  “Tremolite then has always been classified as a form of asbestos.” (p. 3).

         99.1. Pfizer’s Mr. Bartels stated, “[R.T. Vanderbilt] launched a massive effort to block

  the [OSHA] standard and later to overturn it. Initially their thrust was that the amphiboles were

  not asbestos and should not be included in the asbestos standard. Later they took the position that

  the five amphiboles involved, especially tremolite, existed in both ‘asbestiform’ and

  ‘non-asbestiform’ varieties and that Vanderbilt talc contained the non-harmful variety. Although

  their position has never been supported by any scientist of renown or any other talc company,

  Vanderbilt has remained adamant in their defense of it.” Booker-MTI001061.

         99.2. Pfizer’s Mr. Bartels further stated, “Johns-Manville, another major talc producer,

  with considerable expertise in asbestos took a radically different approach. On September 30,

  1974, they issued a letter stating that their Grantham talcs contained amphiboles of asbestos and

  placed asbestos warning labels on their talc packages. In June 1976, they officially shut down

  their Grantham talc operation in Death Valley and went out of business.

         99.3. “Cyprus Mines and Engelhard have issued weak statements claiming that their

  products do not contain any asbestiform minerals.” Booker-MTI001062.


  100. In a Cyprus Ore Reserve Evaluation “Preliminary Summary,” R.C. Munro stated,
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          100.1. “Fibrous minerals – tremolite and actinolite are ubiquitous in several zones of the

   Vermont mines. The potential problems involved with fibre in dumps, and to some degree in

   products, must be carefully evaluated.” IMERYS 416201.

          100.2. Discussing impurities, Munro further stated, “Actinolite: can be present (needles

   and blades) in most of the deposits (2*), generally in well known locations (close to walls or

   waste contacts, in the chloritic fault zones, in pinched zones of deposits). The miners know these

   zones and seem to master the problem (what for contractors?), but it is impossible to get rid of

   accidental traces.” IMERYS 416215.

   101. In an interoffice memo from Cyprus Mines dated March 25, 1992, R. C. Munro, under the

   heading “Tremolite,” stated:

          101.1. “The other serious mineralogical contaminant in the talc ores of Vermont is the

   fibrous variety of the amphibole minerals, tremolite and actinolite (hydrous calcium

   iron-magnesium silicates) which have been classified as asbestiform minerals by OSHA and

   EPA. OSHA was expected to de-classify non-fibrous (blocky) tremolite on February 29, but has

   not yet announced their decision.

          101.2. “As a result, all tremolite, the fibrous varieties of al all amphiboles and chrysotile

   asbestos in talc ores are a source of great concern to all talc producers and especially to marketers

   of cosmetic products.

          101.3. “Cyprus claims that there are not fibres in their cosmetic talc products and they

   work rigorously to ensure this. However, a recent paper published by Rutgers University worker,

   Alice Blount, suggests the presence of fibre in several cosmetic talcs, some of which might have

   been from Cyprus West Windsor material, which is a source of great concern to Cyprus

   management and potentially to their principal customer, Johnson & Johnson. Talc de Luzenac
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   personnel are well aware of the situation and Phillipe Moreau is currently quietly working to

   identify the reality and the magnitude of the problem.

          101.4. “Vermont talcs are derived from altered serpentine - a natural host for asbestiform

   minerals. There is certainly visible tremolite and actinolite in specific zones of the Vermont

   deposits -fibrous tremolite was identified by the writer in exposures and cores at the East

   Argonaut and Black Bear mines. Cyprus staff report past tremolite from the Hammondsville and

   Clifton deposits.

          101.5. “Tremolite in these deposits is encountered in the contact zones between the talc

   and the surrounding schist; in ‘grey talcs’ in the vicinity of the contacts; and associated with the

   chlorite/amphibole waste zones within the talc ores that are locally termed “cinders.” Cyprus

   maintains a selective mining program in Vermont that is directed toward exclusion of all of these

   potentially fibre-bearing zones from the ores sent to the mills, and those suspect tonnages,

   including the associated talc, are left in the pit walls or sent to waste piles.” IMERYS 219721.

   102.   In response to the position taken by some asbestos testing laboratory scientists that, “there

   is a toxicological difference between asbestos structures which formed as fiber crystals and fibers

   which formed by cleavage plane separation” (p. 11), the Environmental Protection Agency (EPA)

   Region 9 stated on April 20, 2006,

          102.1. “It is the position of EPA, the U.S. Centers for Disease Control and Prevention,

   Agency for Toxic Substances and Disease Registry (ATSDR) and National Institute for

   Occupational Safety and Health (NIOSH), and the American Thoracic Society, among others,

   that microscopic structures of amphibole and serpentine minerals that are asbestiform and meet

   the size definition of PCM fibers, should be counted as asbestos, regardless of the manner by

   which they were formed.
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          102.2. “There are four reasons why the health agencies have taken this position: (1) The

  epidemiologic and health studies underlying EPA, and California EPA, cancer risk assessment

  methods were based on exposures to both cleavage fragments and fibers, but were unable to

  distinguish between the two, (2) The most recent panel of experts to review asbestos risk

  assessment methods, the 2003 Peer Consultation Panel convened by EPA, concluded that “it is

  prudent at this time to conclude equivalent potency [of cleavage fragments and fibers] for cancer,

  (3) No well-designed animal or human epidemiological studies have been conducted to date to test

  the hypothesis that cleavage fragments with the same dimensions of a fiber are benign, or that the

  human body makes any distinction, and studies that purport to show that cleavage fragments are

  benign are questioned by many asbestos health experts, (4) There are no routine air analytical

  methods, including those used by EPA, NIOSH, the Mine Safety and Health Administration

  (MSHA), the American Society for Testing and Materials (ASTM), and the ISO which differentiate

  between cleavage fragments and crystalline fibers.” (p. 11) (footnotes omitted).

  103. In my opinion, the safety of nonasbestiform amphibole or cleavage fragments was and has

  not been established.

  104. In my opinion, determination by a laboratory that certain amphibole particles were

  nonasbestiform in nature does not mean the safety of those nonasbestiform amphiboles was

  substantiated.

  105. In my opinion, the controversies and/or complexities surrounding: 1) the definition of

  asbestos; 2) what was excluded from the definition of asbestos; 3) the geologic relationship

  between asbestos and talc; 4) the difficulty of laboratory tests to characterize individual amphibole

  fibers as asbestiform or non-asbestiform; 5) whether cleavage fragments of similar dimensions to

  asbestiform fibers pose similar risks; 6) the difficulties distinguishing between asbestiform and
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   cleavage fragments as discussed below; 7) the limitations of detection by various laboratory

   measurements; 8) epidemiological results; 9) the inability over the decades of FDA to arrive at a

   definitive testing method for asbestos in talc; 10) the significance of talc fibers; and 11) the
                         extent

   and routes of exposure, reinforce the conclusion that the safety of the product had not been

   established.

   106. In my opinion, unable to substantiate the safety of their talcum powder products, JNJ was

   required to place the following conspicuous statement on the principal display panel: “Warning-

   The safety of this product has not been determined.” 21 CFR §740.10.

   IV.     IN LIGHT OF LABORATORY TEST FINDINGS CONDUCTED BY, PROVIDED
           TO, OR MADE AVAILABLE TO JNJ, BEGINNING IN AT LEAST THE EARLY
           1970S, JNJ COULD NOT SUBSTANTIATE THE SAFETY OF ITS TALCUM
           POWDER PRODUCTS AND SHOULD HAVE NOT SOLD ITS PRODUCTS

   107.    JNJ’s corporate representative, Dr. John Hopkins, testified:

                  Q.       And [JNJ] has always told the public that there’s never been a
                           single fiber of asbestos in any of its talc for Johnson’s Baby Powder
                           or Shower to Shower, correct?
                  A.       Yes.
                  Q.       It told that to customers, nurses, doctors and regulators and
                           hospitals, correct?
                  A.       Yes.34
           107.1. Dr. Hopkins further testified:

                  Q.       [JNJ] agrees that if the baby powder has asbestos, it should be
                           withdrawn from the market immediately, correct?
                  A.       It wouldn’t be sold in the first place.
                  ...
                  Q.       And [JNJ] agrees with that, the acceptable level of asbestos in
                           cosmetic talc [is] zero, right?


   34Trial Testimony of Dr. John Hopkins in Barden v. Brenntag North America, et. al, MID-L-0932-17AS, July 22,
   2019, at p. 43.
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                    A.        Yes.35
           A.       From the 1950s through the 2000s, JNJ received and acknowledged reports
                    from affiliated and non-affiliated laboratories identifying or suspecting the
                    presence of naturally occurring mineral silicate fibers of the serpentine and
                    amphibole series including, but not limited to, tremolite fibers, actinolite
                    fibers, anthophyllite fibers, amphibole asbestos, chrysotile (serpentine
                    asbestos), fibrous talc and non-asbestiform amphibole in talc sample

  108. JNJ’s corporate representative, Dr. John Hopkins, and Imerys’ corporate representative,

  Julie Pier, confirmed that from the 1950s through the 2000s, JNJ received and acknowledged

  reports from affiliated and non-affiliated laboratories identifying or suspecting the presence of

  naturally occurring mineral silicate fibers of the serpentine and amphibole series including, but
  not

  limited to, tremolite fibers, amphibole asbestos, chrysotile (serpentine asbestos), fibrous talc and

  non-asbestiform amphibole in talc samples.36

  109. I have reviewed Exhibit D-1-A to Dr. John Hopkins’ corporate representative deposition

  and Dr. Hopkins’ deposition testimony about JNJ’s response to the reports to JNJ of talc samples

  containing naturally occurring mineral silicate fiekutabers of the serpentine and amphibole

  series.37 In his corporate representative deposition testimony, Dr. Hopkins confirmed that many of

  the reports JNJ received of naturally occurring mineral silicate fibers of the serpentine and

  amphibole series met the company’s definition of asbestos.38

  110. A May 10, 1971, report to JNJ from Colorado School of Mines identified: “Report results:

  ‘Free nontalc needles’ .6%. ‘Free talc needles’ 2.21%”. JNJ 000294462 (J&J-255). In a May 14,

  1971, internal memorandum, JNJ stated, “The attached letter shows the particle size-shape consists

  35 Id. at p. 198.
  36 Hopkins Dep. Ex. D-1-A; Hopkins Dep. Ex. 28; Pier Dep. Ex. 47; Deposition of Julie Pier, September 12-13,
  2018. 37 Hopkins Dep. Ex. D-1-A; Deposition of John Hopkins, Ph.D., October 17, 2018. See also Trial Testimony
  of Dr. John Hopkins in Barden v. Brenntag North America, et. al, MID-L-0932-17AS, July 22, 2019, at pp. 38-39
  (“Q. Alright. Johnson & Johnson understood that it would be very, very bad for business and J&J’s representation if
  it ever came out that baby powder or any of its talc products ever contained asbestos, correct? A. If the baby powder
  did contain asbestos, it would be bad for business, if it did, yes.”).
  38 Hopkins Dep., October 17, 2018, 1070:3-22; Hopkins Dep. Ex. 27; Hopkins Dep. Ex. D-1-A.
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   of a production batch of our product produced in December, 1970.” JNJ 000294462 (Ex.

   J&J-255). The internal memorandum concluded, “We consider the free non-talc needles but a

   trace, both on a count and area basis. Those particles are tremolite.” JNJ 000294462 (Ex.

   J&J-255). 111. A JNJ memorandum dated July 29, 1971, stated, “The talc used in JOHNSON’S

   Baby Powder is obtained from a selected mine in Vermont where the ore consists mainly of

   platy talc with only trace amounts of fibrous minerals (tremolite/actinolite).” The memorandum

   continues, “The resulting talc has been shown by three independent consulting laboratories*

   [Colorado School of Mines Research Institute, McCrone Associates, Inc., and Dartmouth

   College Geology Department] to contain negligible traces of fibrous minerals and no chrysotile

   fibers.” JNJMX88__000004646 (Ex. J&J-19).

   112. A November 10, 1971, letter to Johnson & Johnson from Dr. Arthur M. Langer at Mount

   Sinai School of Medicine stated, “We have also analyzed one of your talc samples in some

   detail. In addition to the normal platy talc present, we have observed many ‘fibrous talcs’ as

   well.” Dr. Langer continued, “We also observed trace amounts of chrysotile asbestos only when

   the talc was sonified and markedly dispersed. The amounts of chrysotile are relatively small,

   occurring in amounts, we estimate, at less than .01%.” JNJTALC000292656.

   113. An internal JNJ memorandum dated September 26, 1972, discussed the results of testing

   performed on Johnson and Johnson’s product by FDA consultant Dr. S. Lewin on August 3,

   1972 and September 21, 1972. The results showed, “J&J Medicated Powder sample: 4%

   tremolite,” “Johnson's Baby Powder sample: 2% chrysotile,” another “Johnson’s Baby Powder

   sample: 3% chrysotile,” “J&J Shower to Shower samples: 2% chrysotile” in 3 samples and “5%

   +/- 2%” in a 4th sample.” JNJ000232996 (J&J-31)39.



   39   See also Ex. J&J-28 (August 3, 1972 report).
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  114. An October 1972 internal JNJ handwritten note stated, “There are trace quantities present

  confirmed both by McCrone & Bill Ashton. Levels are extremely low but occasionally can be

  detected optically. This is not new.” JNJAZ55_000004156 (J&J-26).

  115. In 1972, University of Minnesota Space Science Center received “specimens of powdered

  talc” from “[JNJ] and from McCrone Associates. Analysis of these samples using the scanning

  electron microscope was requested in order to determine the possible content of fibrous

  chrysotile asbestos contained in the talc samples. The University of Minnesota reported

  “Numerous fibrous structures were observed during this examination of both the original Lewin

  material [the samples from McCrone] and the Shower to Shower material supplied by [JNJ].”

  Under the section titled “Transmission Electron Microscopy,” the testing found “A large number

  of grids were examined and numerous examples of fibrous material were seen. Of the large

  number of grids examined, three examples of fibers which upon examination by electron

  diffraction could be classified as likely candidates for chrysotile asbestos in the [S]hower to

  [S]hower material and one example was found in the Lewin material,” and “[i]n Figures 17a and

  18a, electron micrographs of the transmission type show the typical stranded appearance of

  chrysotile asbestos.” The University of Minnesota concluded, “It is felt therefore that chrysotile

  asbestos does exist in the specimens of [S]hower to [S]hower and Lewin supplied to this

  laboratory.” JOJO-MA2546-01282 (J&J-33). The University of Minnesota’s Thomas Hutchinson

  provided images of “Chrysotile Fibers Embedded in Talc Particles,” and handwritten notes that

  stated, “Five fibrous particles were found which gave electron diffraction patterns unmistakably

  chrysotile asbestos” and “‘Shower to Shower’ . . . Three clear examples were found of serpentine

  material and which gave perfect chrysotile patterns.” JOJO-MA2546-00138.
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  116. An internal JNJ memorandum dated April 19, 1973 titled “Dispersion Staining Examination

  of Retained Samples of Johnson's Baby Powder" stated, “Twenty-five samples of Johnson’s

  Baby Powder representing retained samples from both ESDP and Chicago facilities were

  examined microscopically by the Dispersion-Staining technique for the presence of tremolite.

  Four of these samples are suspected of containing tremolite based on the finding of one or two

  ‘fibers’ per sample which satisfy the color/morphology criteria.” JNJ 000245155 (J&J-296).

  117. An internal JNJ memorandum dated April 26, 1973 stated: “It is our joint conclusion that we

  should not rely on the ‘Clean Mine’ approach as a protective device for Baby Powder in the current

  Asbestos or Asbestos-Form controversy. We believe this mine to be very clean; however, we are

  also confident that fiber forming or fiber type minerals could be found. The usefulness of the

  ‘Clean Mine’ approach for asbestos only is over.” The memorandum went on, “Our Baby Powder

  contains talc fragments classifiable as fiber. Occasionally sub-trace quantities of tremolite or

  actinolite are identifiable (Optical Microscope) and these might be classified as asbestos fiber.” The

  memorandum further “cautioned” that “no final product will ever be made which will be totally

  free from respirable particles.” JNJMX68_000013464 (J&J-44).

  118. An April 27, 1973 internal JNJ memorandum titled “Microscopic Examination of Johnson’s

  Baby Powder” stated, “Petrographic optical microscopy revealed ‘trace’ amounts of amphibole in

  each of the above samples. Based on the number of particles scanned, we estimate ‘trace’

  amounts to be .001 to .01% by weight.” JNJMX68_000010608 (J&J-335).

  119. A May 8, 1973 internal “Personal” memorandum from JNJ’s William Ashton stated, “Baby

  Powder lots 108T & 109T were alleged to contain asbestiforms by Lewin. . .. The first showing

  of actinolite we know about is October 1972.” JNJ 000301719 (J&J-368).
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  120. An internal JNJ memorandum dated May 16, 1973, titled “Proposed Specs for Analyzing

  Talc” stated, “’Preconcentration of Asbestos’: "This technique has not been written up yet, but

  evidently when applied to Vermont talc, 0.05% of tremolite-type is found. The limitation of this

  method is that it may be too sensitive.” JNJ 000232679.

  121. An August 27, 1973 internal JNJ memorandum acknowledged that the “Dutch Consumer

  Organization” analyzed Johnson’s Baby Powder and “detected asbestos-content of 1.59%.”

  Johnson & Johnson noted that the Organization’s definition of asbestos “could cause some errors,”

  and “At this moment they are analyzing our powder again, because we remarked that our powder

  was free of asbestos. However, when they stick to the same method and definition they might trace

  asbestos again, and . . .. publicize the results.” JNJAZ55_000006341 (J&J-299). A December 13,

  1973 internal JNJ memorandum titled “asbestos in baby powder” stated, “On our request they have

  tested another sample and the result of this second test was 0.3% . . . ” JNJAZ55_000006532. 122.

  A December 27, 1973 report prepared for JNJ by Colorado School of Mines titled “A Procedure to

  Examine Talc for the Presence of Chrysotile and Tremolite-Actinolite Fibers” stated, “Since

  developing the procedure, it has been applied to various talc samples examined for chrysotile

  and/or tremolite, as follows: A memorandum report dated April 2, 1973 [to JNJ] on the

  examination of four talc samples identified tremolite at levels of less than 20 ppm in one sample,

  and chrysotile at levels of less than 7 ppm in three samples. A letter report dated December 21,

  1973 [to JNJ] on the examination of Italian and Vermont talc identified chrysotile at a level of less

  than 10 ppm in the Vermont sample.” 57-0198 (J&J-263).

  123. In March 1974, Dartmouth College sent a “Confidential” memorandum to Johnson & Johnson

  subsidiary Windsor Minerals Inc. titled “Analysis of Talc Products and Ores for Asbestiform

  Amphiboles.” Dartmouth stated, “The purpose of this study is to develop methods for
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   measuring the concentration of asbestiform amphiboles in fine grained talc products and talc ores,”

   and “For the reasons described above, a concentration technique is mandatory because it brings the

   amphiboles into a reasonable concentration range for optical or other methods of analysis."

   Dartmouth continued, “Talc ore and talc product, provided by V. Zeitz of Windsor Minerals, were

   run through this procedure.” The memorandum concluded, “Conclusions: ‘(2) The ore sample

   contains 2300 ppm actinolite, and the talc product contains [approx.] 170ppm actinolite. (3)

   Actinolite is the dominant fiberform amphibole in the ore and talc product provided by Windsor

   Minerals. Small amounts of anthophyllite may be present.’” Further, “Plate 2” noted, “the

   length-striated character of actinolite; this is characteristic;” and “Plate 7” noted “Actinolite, talc,

   chromite, and a large anthophyllite fiber.” JNJNL61_000029411 (J&J-58).

   124. A May 8, 1974, report from JNJ subsidiary Windsor Minerals Company titled

   “Examination of Talc Ores and Products: Beneficiation Processes,” examined McCrone

   Associates’ testing of “6 samples of talc ores and talc products produced from these ores using

   the methods of light microscopy and transmission electron microscopy.” The results included,

   “one fiber, probably tremolite” and “a few other fibrous or rod-shaped particles” in Sample

   66A-ore, “fibrous forms of talc” in Sample 66U-ore, “one very small fiber” that “resembled

   chrysotile” in Sample 66U-product, “eight chrysotile fibers” in Sample 66AC-ore, “fibrous talc”

   and “one chrysotile fiber” in Sample 66AC-product. JNJ 000326107 (J&J-66).

   125. On November 5, 1975, JNJ’s testing agency McCrone Associates, Inc. sent a letter to

   Johnson & Johnson’s subsidiary Windsor Materials Company “supplement[ing their] report of 1

   July 1975 on a series of talc ore samples which we have analyzed for you.” JNJNL6 _000079335

   (J&J-97).40 McCrone stated, “Table 1 shows the actual fiber counts . . .. Some of them seem rather



   40   See also JNJMX68_000012745 (J&J-89).
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  high, one had 10 and one had 9 amphiboles. Most of these come in bundles of 1, 2, or 3 fibers

  with anywhere from 2-5 amphiboles in a bundle.” The attached “Table 1” reported “Fibers of

  Asbestos” in 10 samples. JNJNL61_000079335 (J&J-97).

  126. On March 16, 1976, Johnson & Johnson sent “two nine ounce bottles of our Baby Powder”

  to Colorado School of Mines for testing. Handwritten notes dated July 5, 1976, stated, “Optical

  Mic shows small (1%?) amounts of amphibole needles.” JNJ 000064762 (J&J-303).

  127. An April 23, 1998, letter from Rutgers Professor Alice M. Blount, Ph.D. advised Johnson &

  Johnson that “as [she] told [JNJ],” her 1991 paper titled “Amphibole Content of Cosmetic and

  Pharmaceutical Talcs” identified JNJ’s Baby Powder (Vermont Talc) as having “trace amounts

  of asbestos.” J&J-0049150.41

  128. On February 24, 2004, JNJ was faxed a report titled “Quantitative Analysis Report Asbestos

  in Bulk Material” describing results from a January 5, 2004, Transmission Electron Microscopy

  test of a Johnson’s Baby Powder sample performed by Forensic Analytical. The “Analytical

  Results” found 3.8% anthophyllite asbestos in the Johnson’s Baby Powder sample, equating to an

  “Asbestos Weight Percent” of .20%. JNJ 000375389.42

  129. A 2013 JNJ “Draft” “Copy for Safety and Care Commitment Website” describing the

  company’s “Use of Cosmetic Talc in Personal Care Products” was edited internally from “Our

  talc-based consumer products have always been asbestos free” to “Our talc-based products are

  asbestos free,” noting that “we cannot say ‘always.’” JNJTALC000067661.




  41 See also Blount, A.M., Amphibole Content of Cosmetic and Pharmaceutical Talcs, Environmental Health
  Perspective, Vol. 94, at pp. 225-230 (1991).
  42 See also IMERYS299277 (March 22, 2004, email from Julie Pier stating, “Johnson & Johnson called us
  frantically, because some outside lab apparently found asbestos in off-the-shelf baby powder. . .. [I]t prompted J&J
  to ask us where all the data was on their product. I was supposed to be doing quarterly samples by TEM, but they
  were all in the backlog. Since 2001. Oops . . .”).
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  130. In September 2018, FDA awarded AMA Analytical Services, Inc. “a one-year contract to

  test talc-containing cosmetics for the presence of asbestos fibers.”43 “AMA used Polarized Light

  Microscopy (PLM) and Transmission Electron Microscopy (TEM) to detect and quantify mineral

  particles suspected of being a form of asbestos.”44 “As part of this testing, two samples of

  Johnson’s Baby Powder were tested: one sample from lot #22318RB was found to be positive for

  asbestos; a second Johnson’s Baby Powder sample, lot #00918RA, tested negative for

  asbestos.”45 Specifically, “FDA testing [ ] found that [the sample from lot #22318RB] contains

  chrysotile fibers, a type of asbestos” and “a few talc fibers.”46

  131. On October 16, 2019, FDA advised JNJ that “Asbestos is a poisonous and/or deleterious

  substance, and, therefore, Johnson’s Baby Powder Batch #22318RB is adulterated within the




  43
  https://www.fda.gov/food/cfsan-constituent-updates/fda-releases-data-agencys-year-long-sampling-assignment-test-ta
  lc-containing-cosmetic-products. During the February 4, 2020 FDA “Public Meeting: Testing Methods for Asbestos
  in Talc and Cosmetic Products Containing Talc,” FDA’s Dr. Linda Katz acknowledged, “The manufacturers are
  responsible for making sure that the cosmetics that they market are safe for their intended conditions of use. They
  may do testing, and whatever testing they decide to do is up to them. We are not specific as to how these products
  must      be      tested.”     See       Transcript     of    the      FDA’s      Public     Meeting,      available   at
  https://www.fda.gov/media/136305/download?attachment, at p. 12. Dr. Katz noted that FDA became aware of issues
  with testing “going back to the 1960s and ‘70s” and “began to grapple with what would be the best approach and
  proposed a mandatory optical microscopy method. But at the same time, in around 1976, the [CTFA] also began
  developing a new method. And that method was referred to as the CTFA Method J4-1. The method was actually
  published in the ‘Asbestiform Amphibole Minerals in Cosmetic Talc.’ And this method became the standard that
  industry used to assess for talc that was being used in cosmetic products. That basically this is a method that uses
  Polarized Light Microscopy only if the X-ray Diffraction is positive. . . . But that in terms of being able to identify
  chrysotile fibers, that its sensitivity is not really very good.” Id. at pp. 14-15. Dr. Katz further stated that FDA “did
  not have capabilities to do the testing ourself,” and “FDA has still no established labs to conduct this testing.” Id. at
  p. 17. FDA has retained contract labs to conduct testing on limited occasions. See Dr. Lewin testing in 1972 (Ex.
  J&J-31, Ex. J&J-28); Sperry Rand confirmatory testing in 1972 (Ex. J&J-29); 2009-2010 AMA testing of 34
  samples (“FDA Summary of Results from Testing of Official Samples of Talc-Containing Cosmetics of Asbestiform
  Fibers          by          AMA             Laboratories         During          2009-2010,”           available       at
  https://www.fda.gov/media/122418/download?attachment); AMA 2019 testing (AMA Certificate of Analysis,
  available at: https://www.fda.gov/media/131989/download).
  44
  https://www.fda.gov/food/cfsan-constituent-updates/fda-releases-data-agencys-year-long-sampling-assignment-test-ta
  lc-containing-cosmetic-products.
  45
  https://www.fda.gov/news-events/press-announcements/baby-powder-manufacturer-voluntarily-recalls-products-asbe
  stos.
  46 See AMA Certificate of Analysis, found at: https://www.fda.gov/media/131989/download; see also
  https://www.fda.gov/news-events/press-announcements/baby-powder-manufacturer-voluntarily-recalls-products-asbe
  stos.
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  meaning of Section 601(a) of the Federal Food, Drug, and Cosmetics Act.” JNJTALC001281991.

  On October 18, 2019, JNJ voluntarily recalled “Lot #22318RB of Johnson’s Baby Powder.”47

  132. JNJ provided FDA with an “Investigation Final Report” regarding Lot #22318RB.

  According to JNJ, “the resulting investigation has determined that [Johnson’s Baby Powder] does

  not contain chrysotile based on the totality of the evidence,” and “the most probable causes are lab

  contamination error and/or chrysotile mis-identification.” JNJTALC001284148. In a prior draft of

  JNJ’s report, JNJ internally suggested removing language that chrysotile asbestos has never been

  “detected” (“I know this is accurate but since Imerys detected but later confirmed it was an

  environmental contaminate should we choose the word like confirmed?) and questioned why TEM

  was not used in sampling (“But no TEM? Would there be a rationale why not?”; “Do we really

  have a good answer regarding the lack of TEM done by Imerys?”; “How do we resolve that less

  TEM is done or am I wrong that it is and doesn’t matter?”). JNJTALC001298411.

  133. AMA’s Andreas Saldivar confirmed AMA’s results in his March 19, 2020, deposition:

          “Q.      Here's my question: For the results you turned over to the U.S.F.D.A., as a result
                   of this·contract of some 50 samples, whether or not those were -- those results
                   reported in non-detect or a positive finding of asbestos, does AMA stand behind
                   all of its results?

          A.       Yes.

          MR. MASSENBURG:· Form.

          BY MR. PANATIER:

          Q.       Okay. And did AMA follow all of the appropriate separation and analytical
                   methodologies that it told the F.D.A. it would?

          A.       We did, and we also followed all instructions from the F.D.A.

          Q.       Okay. All right. In that respect, sir, did you turn over valid results to the F.D.A.?

  47
  https://www.jnj.com/johnson-johnson-consumer-inc-to-voluntarily-recall-a-single-lot-of-johnsons-baby-powder-in-th
  e-united-states.
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           A.        We did.

  Andreas Saldivar Dep., 129:2-17.
  134. On May 19, 2020, JNJ “announced the discontinuation of talc-based baby powder in the

  United States and Canada.”48 Following this announcement, the House Subcommittee on

  Economic and Consumer Policy stated, “My Subcommittee’s 14-month investigation revealed

  that [JNJ] knew for decades that its product contains asbestos, and the company fought to keep

  using a testing method that would never have allowed it to be detected.”49

  135. In addition, I have reviewed other documents describing JNJ conducting or learning about

  additional findings of naturally occurring mineral silicate fibers of the serpentine and amphibole

  series in talc samples.50


  48
  https://oversightdemocrats.house.gov/news/press-releases/oversight-subcommittee-s-year-long-investigation-leads-to
  -johnson-johnson.
  49
  https://oversightdemocrats.house.gov/news/press-releases/oversight-subcommittee-s-year-long-investigation-leads-to
  -johnson-johnson.
  50 See, e.g., JNJNL61_000000266 (July 13, 1966 internal Johnson & Johnson memorandum titled “Microscopic
  Examination Museum Baby Powder Samples, identifying “tremolite” and “fibrous talc”); JNJAZ55_000004563
  (October 10, 1967 internal Johnson & Johnson memorandum reporting microscopic examination of three talc samples
  and finding “nonplaty talc” and “serpentine” non-talc particles in all three samples); JNJAZ55_000006090, J&J-15 (July
  7, 1971 report from Colorado School of Mines on the “344-L Vermont talc product and the six monthly Vermont talc
  product samples, detecting minor amounts (below 1%) of “tremolite and actinolite.”); JNJAZ55_000008893, J&J-257
  (September 3, 1971 finding low percentages of “chrysotile” in Shower to Shower tested by McCrone);
  JNJAZ55_000005958, J&J-23 (October 12, 1971 McCrone analysis finding traces of chrysotile in one of the additives
  in Shower to Shower); JNJ 000248615, J&J-29 (August 24, 1972 Johnson & Johnson handwritten notes regarding
  “Talc/Asbestos Shower to Shower Talc,” detailing Sperry Rand report of asbestos fibers detected in the Shower to
  Shower sample previously examined by Dr. Lewin.”); JNJ000260833, J&J-34 (October 27, 1972 McCrone report to
  Johnson & Johnson with handwritten “Do not use this Report. Replaced by Another Version,” which deleted references
  to specific amount of tremolite detected in talc samples); JNJNL61_000008084, J&J-100 (February 26, 1973 report
  from Colorado School of Mines titled “Mineralogical Examination of Five Talc Samples,” finding “slight traces of
  tremolite-actinolite minerals,” “a very minor amount of serpentine which may be chrysotile,” and “possible serpentine
  fibers.”); JNJMX68_000002666, J&J-65 (April 24, 1974 McCrone report of core samples taken from ore body and
  reporting chrysotile asbestos and fibrous tremolite when using transmission electron microscopy); J&J-74 (October 10,
  1974 McCrone report of samples from Windsor Materials, finding one sample to “contain fibrous asbestiform material,”
  and other samples to contain “chrysotile fibers”); JNJMX68_000012745, J&J-89 (July 1, 1975 McCrone report to
  Windsor Materials, finding “these samples do show some amphiboles at an extremely low level,” and “We kept a
  running tabulation of the asbestos which we could positively identify . . . In no case did the asbestos content exceed
  medium.”); JNJNL61_000064366, J&J-92 (September 9, 1975 Johnson & Johnson memorandum regarding Dr.
  Langer’s analysis of talcum powder products, stating “He has identified the products by name and claims that he
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  has detected tremolite and anthophyllite in Johnson’s Baby Powder.”); J&J-0150033 (March 31, 1976 Johnson &
  Johnson internal memorandum regarding “meeting with Johnson & Johnson personnel and the Mt. Sinai School of
  Medicine,” stating, “The Mt. Sinai group indicated that over the weekend the Selikoff group had been studying 6 new
  samples of talc and had reported that all of them contained minimal amounts of asbestos.”); J&J-0043753 (November
  14, 1978 letter regarding “Reducing the Number of ore Samples Collected for Analysis by McCrone Associates,” and
  stating from “Mid-1975 to May 1978 . . . Three samples only contained asbestiform fibers, one in each of these samples,
  i.e., 2 amphiboles and 1 chrysotile fiber.”); Ex. J&J-164 (February 9, 1979 report from George Lee’s Group finding
  tremolite and actinolite in composite samples); J&J-0085506 (March 4, 1981 Johnson & Johnson internal memorandum
  analyzing Guang Dong talc and noting “Classification of the various components in this talc sample is as follows: . . .
  Approximately 1% tremolite. (US Health agencies will classify this component under asbestos fiber definition); Ex.
  J&J-305 (January 12, 1984 McCrone report analyzing “for asbestos in the talc sample . . . identified as ‘Talc Powder –
  Superior Grade EV’ and finding that “Using polarized light microscopy with dispersion staining, it was determined that
  the sample contains 2 to 3% by weight tremolite-actinolite. The tremolite-actinolite in the sample is considered to be
  asbestos by current government regulations; however it appears to be cleavage fragments of the massive form rather than
  true asbestiform.”); Ex. J&J-177 (May 15, 1984 report from Mine Safety and Health Administration documenting
  asbestos at a mill used to supply Johnson & Johnson talc); J&J-0145303 (February 26, 1985 “Analytical Request and
  Report” submitted to Johnson & Johnson identifying sample of 100T lot of cosmetic grade Chinese talc to be
  “asbestiforms positive” using “Microscopy.”); J&J-0034630 (August 22, 1985 McCrone report to Windsor Minerals,
  Inc. analyzing seven talc samples and finding “The presence of asbestos minerals was verified by selected area electron
  diffraction (SAED), energy dispersive x-ray analysis (EDX) and by morphology,” and reporting “chrysotile asbestos” in
  2 of the 7 talc samples); Ex. J&J-182 (April 29, 1986 McCrone report to Windsor Minerals analyzing “three (3) talc
  samples for asbestos analysis,” and finding that “Examinations by transmission electron microscopy resulted in the
  detection of trace amounts of chrysotile asbestos in the samples.”); Ex. J&J-260 (March 14, 1988 letter to Johnson &
  Johnson from R.J. Lee analyzing “a talc sample using transmission electron microscopy to determine the serpentine and
  amphibole content,” with analysis “confined to the fibrous forms,” and concluding that “talc sample 879-57 Talc L
  contains approximately .0024% of chrysotile and .014% of fibrous tremolite.”); J&J-0145151 (January 17, 1989 “Talc
  Analysis” of Talc Powder, 200 Mesh Quixia Shan Dong performed by ES Laboratories, Inc. for Johnson & Johnson’s
  Baby Powder division using the “CTFA J4-1 Method,” and finding “0.5%” in “Amphibole Group [‘Tremolite,
  Actinolite, and Anthophyllite’]” and “1.0%” in “Serpentine Group [‘Chrysotile”]”); JNJNL_000006792 (Pier Dep. Ex.
  36) (May 23, 1989 letter from RJ Lee Group to Johnson & Johnson regarding “detailed analytical electron
  microscopical analysis of [Sample 731-116]” and detecting “two chrysotile fibers in the area examined (10 grid
  squares).”); JNJ 000223449 (July 31, 1989 RJ Lee Group letter to Johnson & Johnson regarding “detailed analytical
  electron microscopical analysis of [Sample 731-120]” and detecting “three (3) chrysotile fibers in the area examined (10
  grid squares).”); Ex. J&J-202 (March 25, 1992 report titled “Cyprus Ore Reserves-Arsenic and Tremolite” noting that
  “serious mineralogical contaminant in the talc ores of Vermont is the fibrous variety of the amphibole minerals, tremolite
  and actinolite (hydrous calcium iron-magnesium silicates) which have been classified as asbestiform minerals by OSHA
  and EPA.”); Ex. J&J-327 (April 1, 1992 report titled “Cyprus Ore Reserve Evaluation Preliminary Summary” stating
  that “Fibrous minerals – tremolite and actinolite are ubiquitous in several zones of the Vermont mines.”); J&J-0077385
  (October 13, 1995 letter from RJ Lee Group to Johnson & Johnson finding “One tremolite particle” in the Johnson’s
  Baby Powder sample tested); J&J-0021092 (August 25, 1997 report from State University of New York examining
  sample of Johnson’s Baby Powder, and finding “Intermixed with the platy particles were long fibrous particles which
  had a chemical composition of talc. Several of the fibers observed were asbestiform in nature with diameters less than 5
  micrometers and lengths greater than 10 micrometers. Some curved ‘serpentine’ fibers were found with similar
  composition.”). See also The Analysis of Johnson & Johnson’s Historical Product Containers and Imerys’ Historical
  Railroad Car Samples from the 1960’s to the Early 2000’s for Amphibole Asbestos, 2nd Supplemental Report of William
  E. Longo, Ph.D. and Mark W. Rigler, Ph.D., February 1, 2019 ((providing results from PLM, ATEM and HLS testing of
  72 historical talc samples from both the Italian (from 1960 to 1967) and Vermont talc mines (from the last 1960s, 1970s,
  1980s, 1990s, and early 2000s): 57 Johnson & Johnson powder samples (including 34 from Johnson’s Baby Powder, 23
  from Johnson and Johnson’s Shower to Shower containers), and 15 separate cosmetic talc samples from Imerys labeled
  “Railroad Car,” and finding that 42 of the 57 historical Johnson & Johnson talc samples (73%) were positive for
  amphibole asbestos and possessed
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  136. I also reviewed trial testimony of Dr. Hopkins during which he detailed and confirmed

  various laboratory tests JNJ received of talc samples containing naturally occurring mineral

  silicate fibers of the serpentine and amphibole series.51

  137. I have reviewed multiple JNJ documents describing talc samples in which no naturally

  occurring mineral silicate fibers of the serpentine and amphibole series were detected.52 This is

  not surprising since, as detailed below, JNJ opposed testing methods that were too sensitive and

  implemented methods that had significant limits of detection.53 I also recognize that on

  subsequent testing, or retesting or reinterpretation, findings changed.




  significant amounts of amphibole asbestos fibers/bundles per gram of talc, and 8 of the 15 Imerys “Railroad Car”
  samples (53%) were positive for asbestos); Trial Testimony of Matthew Sanchez, Ph.D. in Ingham, et. al v. Johnson
  & Johnson, et. al, Cause No. 1522-CC10417-01, June 27-28, 2018. In an email dated June 2, 2009, sent by Rio
  Tinto’s Rhea Kincaid, Product Stewardship, distributed an attachment labeled “May Highlights – Product
  Stewardship/Regulatory Affairs.” The document states, “Chinese authorities informed J&J that its internal testing
  confirmed asbestos in several talc body powders marketed in China including two products from J&J. However, four
  independent Chinese laboratories using similar test method to the Chinese authorities did not find any asbestos. J&J
  approached RTM for help on the issue. RTM provided initial support in identifying potential drawback of the test
  method used by the Chinese authorities. Chinese authorities invited J&J, the other concerned talc body powder
  companies, and the four independent Chinese laboratories whose asbestos test results were negative to discuss and
  resolve the test method discrepancies.” IMERYS 309325-28.
  51 See, e.g., Trial Testimony of Dr. John Hopkins in Ingham, et. al v. Johnson & Johnson, et. al, Cause No.
  1522-CC10417-01, April 16, 2019, at pp. 5342-5365, 5371-5373; Trial Testimony of Dr. John Hopkins in Barden v.
  Brenntag North America, et. al, MID-L-0932-17AS, July 22, 2019, at pp. 118-119, 193-194 (regarding Dr. Langer’s
  confirmation that his team found asbestos in Johnson’s Baby Powder), at pp. 225-226 (regarding Colorado School of
  Mines May 1971 findings), at pp. 271-274 (regarding Dr. Langer’s 1970s analysis of talc samples).
  52See, e.g., Exs. D-0263 to D-0732 (identifying non-detect results from 1990 to 1994); D-0916 to D-1919 (2005); D-
  1019, D-1029 (2009); D-1256 to D-1258 (2013); D-1447 to D-1471 (1973 to 1979).
  53See also JNJMX68_000009139 (December 17, 1974 JNJ letter stating, “We believe it is critical for the C.T.F.A. to
  now recommend these methods to the F.D.A. before the art advances to more sophisticated techniques with higher
  levels of sensitization.”); J&J-0084545 (February 18, JNJ letter regarding analytical testing methods stating, “I have
  also included our test method for the proposed Xray technique which was drawn up by Boots Ltd in conjunction with
  Dr. Pooley. We deliberately have not included a concentration technique as we felt it would not be in worldwide
  company interests to do this.”); JNJ000242147 (November 24, 1976 Johnson & Johnson letter from William Ashton
  to George Lee discussing FDA’s proposal request regarding “Separation of Asbestos in Foods, Drugs and Talc for
  Identification and Determination,” recognizing that “As I have pointed out many times, there are many talcs on all
  markets which will be hard pressed in supporting purity claims when ultra sophisticated assay separation and isolation
  techniques are applied. Chances are that this FDA proposal will open up new problem areas with asbestos and talc
  minerals.”); IMERYS446794 (April 4, 2002, email from Julie Pier discussing R.J. Lee’s approach); IMERYS299322
  (Pier Dep. Ex. 18) (March 1, 2004 emails between Julie Pier and Rich Zazenski detailing “J&J criteria” for testing
  and reporting “no asbestos”).
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   138. I recognize that all laboratory tests have some limitations and can be “explained away.”

   The opinions below are based on the totality of evidence JNJ and its affiliates accumulated over

   50 years, not on any one laboratory test or set of tests.

   139. In my opinion, based on the totality of evidence, JNJ’s findings and notice of naturally

   occurring mineral silicate fibers of the serpentine and amphibole series including, but not limited

   to, tremolite fibers, actinolite fibers, anthophyllite fibers, amphibole asbestos, chrysotile

   (serpentine asbestos), fibrous talc and non-asbestiform amphibole in talc samples prohibited JNJ

   from selling JNJ talcum powder products because they contained poisonous and deleterious

   substances, which “may render” the products “injurious to users under the conditions of use

   described in the labeling thereof or under such conditions of use as are customary or usual . . . ,”

   and were therefore adulterated. 21 U.S.C. § 361 (emphasis added).

   140. In my opinion, based on the totality of evidence, at a minimum, Johnson & Johnson’s

   findings and notice of naturally occurring mineral silicate fibers of the serpentine and amphibole

   series including, but not limited to, tremolite fibers, actinolite fibers, anthophyllite fibers,

   amphibole asbestos, chrysotile (serpentine asbestos), fibrous talc and non-asbestiform amphibole

   in talc samples prohibited the company from determining that the safety of Johnson & Johnson

   talcum powder products had been substantiated.

   V.     THE DEFENDANTS DID NOT SUBSTANTIATE THE SAFETY OF THEIR
          PRODUCT IN LIGHT OF QUESTIONS RAISED BY SCIENTIFIC
          EPIDEMIOLOGICAL STUDIES AND REVIEWS CONCERNING THE
          SAFETY OF TALC

   141.   As noted above, according to industry standards, if there is evidence that there are

   reasonable grounds to suspect that the cosmetic product may pose harm for the proposed

   conditions of use, such products do not meet the industry standards for safety.

   52142. Further, as noted above, FDA regulations require that a cosmetic manufacturer has a
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  responsibility to substantiate the safety of their product or must warn consumers that the safety of

  of their product has not been determined.

  53143. The safety of a cosmetic, as is the case for other FDA regulated products, needs to be

  determined “under such conditions of use that are customary or usual . . .” 54 Thus, it is not the
                                                                                           1 F1 2   1F




  safety of talc that is determinative, rather it is the safety of talc as it is in fact used. Thus safety

  needed to be substantiated for talcum powder products that come into contact with the

  perineum/genital area.

           A.       FDA’s 2014 Citizen’s Petition Response stated there was some evidence to
                    suspect or question the safety of talcum powder products
   According to the Personal Care Products Council, the Look Good Feel Better program is offered as a collaboration
  11


  of the Personal Care Products Council Foundation, the American Cancer Society, and the Professional Beauty
  Association that “teaches cancer patients how to cope with the appearance (related) side-effects of cancer treatment.
  PCPC_MDL00122043.
   Section 601 of the FD&C Act [21 U.S.C. 361]
  12
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  54144. In its 2014 response to the 1994199455 and 2008 Citizen’s Petitions, the FDA stated,

  “. . epidemiologic data [] show a statistically significant but modest increased risk of epithelial

  ovarian cancer, especially with serous histology, among women with a history of genital dusting

  with talcum powder. While the growing body of evidence to support a possible association

  between genital talc exposure and serous ovarian cancer is difficult to dismiss, the evidence is

  insufficient for FDA to require as definitive a warning as you are seeking.” 56 Steven M. Musser,
                                                                                             1F1 3   1F




  Ph.D., letter to Samuel S. Epstein, April 1, 2014.

  55145. The FDA’s response continued, “While there exists no direct proof of talc and ovarian

  carcinogenesis, the potential for particulates to migrate from the perineum and vagina to the

  peritoneal cavity is indisputable. It is, therefore, plausible that perineal talc (and other

  particulate) that reaches the endometrial cavity, Fallopian Tubes, ovaries and peritoneum may



  54 Section 601 of the FD&C Act [21 U.S.C. 361].
  55 As I stated above, based on my recollection, I was not personally and substantially involved in talc matters while
  Commissioner. There were certain letters that were addressed to the Commissioner during that time period
  concerning talc.
  56 The FDA response reviewed data dating back to at least 1961 and performed an expanded literature search from
  2008-2014.
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  elicit a foreign body type reaction and inflammatory response that, in some exposed women, may

  progress to epithelial cancers.”

  56146. While I am a professor of Epidemiology and Biostatistics, I leave it to other experts to

  discuss in detail the strengths, weaknesses, and specifics of the scientific evidence. FDA’s

  statement that “epidemiological data which show a statistically significant but modest increased

  risk of epithelial ovarian cancer, especially with serous histology, among women with a history

  of genital dusting with talcum powder,” while not supporting, in FDA’s opinion, the petition’s

  request for a “definitive” warning, demonstrates that the safety of talcum powder products was in

  question. Schedule 4 provides a summary of epidemiologic studies concerning the association of

  talcum powder products and ovarian cancer.

  57147. Searches of PubMed for “talc and ovarian cancer” and “body powders and ovarian

  cancer” from 01/01/2014-11/09/2023 demonstrates that since the FDA response to the citizens

  petition
                                                              1F


  in 2014 there are



   ten The FDA response reviewed data dating back to at least 1961 and performed an expanded literature search
      13


  from 2008-2014.
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  nineteen (1910) publications of original data including meta-analyses, clinical studies, clinical

  trials, systematic reviews, and observational studies. 1457       1F




  58148. I reviewed the abstracts from these 1910 articles. From those, I selected all

  epidemiological studies, including case-control studies (3), cohort studies (21), and

  meta-analyses (25) relating to talcum powder usage and the risk of ovarian cancer.58

  59.      Again, while I leave it to other experts to discuss the strengths, weaknesses, and

  specifics of the scientific evidence, these studies demonstrate that since the 2014 petition

  response, there is additional evidence to question the safety of talcum powder products.


  149. These epidemiological studies include:
         a.     A meta-analysis published by Berge et al. “resulted in a weak but statistically

                     significant association between genital use of talc and ovarian cancer, which




  57 The searches yielded ten (10) articles and one (1) article respectively. Note that there is no “article type” or “filter”
  for pooled study. See below for listing of additional studies that this PubMed search did not identify with the above
  search criteria.
  58 The remaining four (4) include: 1) Leemans, et al.; and 2) Frost, et al. that are both related the use of talc with
  pleurodesis; 3) Rasmussen, et al., studies the association between pelvic inflammatory disease and ovarian cancer;
  and 4) Mundt, et al. is a systematic review that does not have a meta-analysis associated with it.
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               appears to be limited to serous carcinoma.” However, the authors concluded: “Several

               aspects of our results, including the heterogeneity of results between case-control and

               cohort studies, and the lack of a dose-response with duration and frequency of use,

               however, do not support a causal interpretation of the association.” (Berge 2017).

                    b. Another meta-analysis published by Penninkilampi and Eslick found that “[any]

                        perineal talc use was associated with increased risk of ovarian cancer (OR =

                        1.31; 95% CI = 1.24, 1.39). More than 3600 lifetime applications (OR = 1.42;

                        95% CI = 1.25, 1.61) were slightly more associated with ovarian cancer than

                        <3600 (OR = 1.32; 95% CI = 1.15, 1.50). An association with ever use of talc

                        was found in case-control studies (OR = 1.35; 95% CI = 1.27, 1.43), but not

                        cohort studies (OR = 1.06; 95% CI = 0.90, 1.25). However, cohort studies found

                        an association



   14
        The searches yielded seventeen (17) and two (2) articles respectively.
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         between talc use and invasive serous type ovarian cancer (OR = 1.25; 95% CI = 1.01,

               1.55).” This is the most common type of ovarian epithelial cancer.

               (Penninkilampi 2018).

        c.     Regarding a potential mechanism for the observed increased risk, Penninkilampi

               and Eslick state “[t]he mechanism by which perineal talc use may increase the

               risk of ovarian cancer is uncertain. It has been previously proposed that talc, as a

               foreign body, may ascend from the vagina through to the uterine tubes and

               instigate a chronic inflammatory response, which may predispose to the

               development of ovarian cancer. It is argued that cellular injury, oxidative stress,

               and local increase in inflammatory mediators such as cytokines and

               prostaglandins may be mutagenic and hence promote carcinogenesis. . . . If

               chronic
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                     inflammation due to ascending foreign body is indeed the mechanism by which

                     talc use is associated with increased ovarian cancer risk, then these results fit

                     the picture.” Id.

            d.       Taher, et al. (2019) is a meta-analysis that showed a positive association

                     between a perineal use of talc powder and ovarian cancer was found [OR: 1.28

                     (95% CI: 1.20-1.37)]. A significant risk was noted in Hispanics and Whites, in

                     women applying talc to underwear, in pre-menopausal women and in

                     post-menopausal women receiving hormonal therapy. A negative association

                     was noted with tubal ligation.

            e.       Woolen, et al. (2022) studied women with frequent perineal talcum powder use

                     and finding “[f]requent talcum powder use was associated with an elevated risk of

                     ovarian cancer (adjusted pooled summary odds ratio 1.47 (95% CI 1.31, 1.65,

                     P<0.0001). There was no evidence of bias and low heterogeneity (I2= 24%,

                     P=0.22).”


            f.       Houghton, et al. (2014) is a cohort study59 based on data from the Women's



   59JNJ’s “Facts About Talc” under “Explore the Science: Studies on Talc and Ovarian Cancer” describes three [or
   four depending on whether the Nurses’ Health Study is broken down NHS (Gertig 2000) and NHSII (Gates 2010)]
   prospective studies published between 2000 and 2016 that considered an association between the perineal use of talc
   and ovarian cancer. (https://www.factsabouttalc.com/studies). These are the Nurse’s Health Study (Gertig, 2000 and
   Gates 2010), the Women’s Health Initiative (Houghton 2014) and The Sister Study (Gonzalez 2016). None of these
   three cohort studies found a significantly increased overall risk of ovarian cancer.

   These studies cited their limitations:
   The Nurses’ Health Study authored by Gertig (2000) cites for example: a) “the questions on talcum powder use refer
   to ever use and we cannot determine the age at which women began using talc or the duration of use”; b) “our
   relatively short follow up period may be inadequate to detect an association if the latency for development of ovarian
   cancer is more than 15 years”; c) “although we controlled of tubal ligation history the tubal ligation question was
   asked as part of a question on contraception use: therefore, postmenopausal women who were not sexually active
   may not have responded to the question”; and d) “[t]he prevalence of talc use in our study is somewhat higher than
   that in other studies and may reflect the fact that we asked about frequency of ever use rather than current use.”
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                    Health Initiative. Perineal powder use was assessed at baseline by self-report

                    regarding application to genitals, sanitary napkins, or diaphragms and duration of

                    use.” The authors found, “[e]ver use of perineal powder (hazard ratio [HR]adj =

                    1.06, 95% confidence interval [CI] = 0.87 to 1.28) was not associated with risk of



  The Nurses’ Health Study authored by Gates (2010) cites for example: a) “although our analysis included a large
  number of epithelial cases, we had a limited number of cases with certain subtypes and there was incomplete data
  for a few exposures, in particular talc use and family history of ovarian cancer”; and b) “the incomplete data may
  have influenced the observed associations for these exposures”. Of note, the Nurses’ Health Study by Gates only
  obtained information about talc use at baseline (“information on frequency of genital talc use was collected in
  1982.”).
  The Women’s Health Initiative authored by Houghton (2014) cites for example: a) “our analysis includes a lack of
  information regarding oophorectomy after baseline, which would result in the inclusion of some women not at risk
  for ovarian cancer in the analytical cohort”; b) “we have information on duration of powder use but not frequency”;
  c) “those using powder prior to 1976 may have been potentially exposed to asbestos, a known carcinogen”; d) “the
  WHI queried general perineal powder use rather than talc powder use and we had no specific information regarding
  the content of talc in products used.”
  The Sister Study authored by Gonzalez (2016) cites for example: a) “An important limitation of our study is that we
  collected douching and talc information on individuals for the year prior to study entry and have not accounted for
  the latency of ovarian cancer, which is likely to be long”; and b) “[a]t baseline participants were asked about
  douching and talc use during the previous 12 months”. Of note, the Sister Study had a median follow up period of
  6.6 years.
  Recent meta-analysis that included: a) cohort studies; b) case-control studies; or c) combine cohort and case-control
  studies, were done by Penninkilampi (2018), Berge (2018), Taher (2019), Woolen (2022).
  In Penninkilampi meta-analysis (2018), for all cohort and case-control studies found “Any perineal talc use was
  associated with increased risk of ovarian cancer (OR = 1.31; 95% CI = 1.24, 1.39).” Subgroup analysis: Cohort
  studies for all ovarian cancer found an “(OR = 1.06; 95% CI = 0.90, 1.25). However, cohort studies found an
  association between talc use and invasive serous type ovarian cancer (OR = 1.25; 95% CI = 1.01, 1.55).”
  In Berge meta-analysis (2018), the “main meta-analysis” for the combined cohort and case-controlled studies found
  “the summary relative risk (RR) for ever use of genital talc and ovarian cancer was 1.22 [95% confidence interval
  CI 1.13-1.30]. The stratified meta-analysis showed a RR for case–control studies was 1.26 (95% CI: 1.17–1.35) and
  for cohort studies was 1.02 (95% CI: 0.85–1.20).”
  In Taher meta-analysis (2019), for the combined cohort and case-control studies, found “[a] positive association
  between perineal use of talc powder and ovarian cancer was found [OR: 1.28 (95% CI: 1.20-1.37)].” Subgroup
  analysis: cohort effect was 1.06 (0.90, 1.25).
  In Woolen meta-analysis (2022), for the combined cohort and case-control studies, found “[f]requent talcum
  powder use was associated with an elevated risk of ovarian cancer (adjusted pooled summary odds ratio 1.47 (95%
  CI 1.31, 1.65, P<0.0001).”

  A recent pooled analysis of the four large cohort studies by O’Brien (2021) found that “the estimated HR for
  frequent vs never use was 1.09 (95% CI, 0.97 to 1.23 and for long-term vs never use, the HR was 1.01 (95% CI,
  0.82 to 1.25). However, the estimated HR for the association between ever use of powder in the genital area and
  ovarian cancer risk among women with a patent reproductive tract was 1.13 (95% CI, 1.01 to 1.26).”
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                           ovarian cancer compared with never use. Individually, ever use of

                           powder on the genitals (HRadj = 1.12, 95% CI = 0.92 to 1.36),

                           sanitary napkins (HRadj = 0.95, 95% CI = 0.76 to 1.20), or

                           diaphragms (HRadj = 0.92, 95% CI = 0.68 to 1.23) was not associated

                           with risk of ovarian cancer compared with never use, nor were there

                           associations with increasing durations of use.”

           150. I am aware of several studies since 2014 that the PubMed search on

           11/9/2023 did not identify. For completeness they are:

                    150.1. In a case-control and pooled study from Cramer et al., overall,

           “genital talc use was associated [with EOC] with an OR (95% CI) of 1.33 (1.16,

           1.52) with a trend for increasing risk by talc years.” The authors stated that “[t]hese

           observations provide a framework for talc carcinogenicity in EOC involving chronic

           inflammation. Cramer 2016.

                    d150.2. Using four case-control studies, Wu et al., examined six

           “well-accepted” risk factors for invasive epithelial ovarian cancer, including talc use,

           among Hispanics, African-Americans, and non-Hispanic whites. The population

           attributable risk percentage (PAR%) estimate was “12.2% to 15.1% for using talc in

           the three groups.” The combined OR with talc use was 1.46 (95% CI 1.27-1.69 (Wu

           2015).

           e150.3. In a study of African American women from Schildkraut et al., “[g]enital

              powder

              was associated with an increased risk of [epithelial ovarian cancer] EOC (OR =

              1.44; 95% CI, 1.11-1.86) and a dose-response relationship was found for duration
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              of use and number of lifetime applications (P < 0.05).” The authors concluded that “[t]he

   results support that body powder is a modifiable risk factor for EOC among AA women.”


                 f150.4. Regarding mechanism, Schildkraut et al. stated that their results “are
                     consistent
              with localized chronic inflammation in the ovary due to particulates that travel through

   a direct




   transvaginal route. The dose-response observed for duration of genital powder use provides

   further evidence for the relationship between genital powder and overall EOC risk.”


                    g. In a case-control and pooled study from Cramer et al., overall, “genital talc use

                     was associated [with EOC] with an OR (95% CI) of 1.33 (1.16, 1.52) with a trend
              150.5. Davis, et al. (2021) is a meta-analysis using “data from five studies in the Ovarian

   Cancer in Women of African Ancestry consortium” and found “[e]ver use of genital powder was

   associated with higher odds of ovarian cancer among African-American women [OR = 1.22;

   95% confidence interval (CI) = 0.97-1.53] and White women (OR = 1.36; 95% CI = 1.19-1.57).

   In African-American women, the positive association with risk was more pronounced among

   high-grade serous tumors (OR = 1.31; 95% CI = 1.01-1.71) than with all other histotypes (OR =

   1.05; 95% CI = 0.75-1.47). In White women, a significant association was observed irrespective

   of histotype (OR = 1.33; 95% CI = 1.12-1.56 and OR = 1.38; 95% CI = 1.15-1.66, respectively).”

   Davis further concluded, “[w]hile genital powder use was more prevalent among

   African-American women, the associations between genital powder use and ovarian cancer risk

   were similar across race and did not materially vary by histotype.”

              150.6. O’Brien, et al. (2020) is a pooled study using data from the Nurses’ Health Study.

   “Ovarian cancer incidence was 61 cases/100 000 person-years among ever users and 55 cases/100

   000 person-years among never users (estimated risk difference at age 70 years, 0.09% [95% CI, -
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   0.02% to 0.19%]; estimated HR, 1.08 [95% CI, 0.99 to 1.17]). The estimated HR for frequent vs

   never use was 1.09 (95% CI, 0.97 to 1.23) and for long-term vs never use, the HR was 1.01 (95%

   CI, 0.82 to 1.25).” The authors found further that “While the estimated HR for the association

   between ever use of powder in the genital area and ovarian cancer risk among women with a patent

   reproductive tract was 1.13 (95% CI, 1.01 to 1.26), the P value for interaction comparing women

   with vs without patent reproductive tracts was .15.”


          150.7. Gonzalez, et al. reported on data from the Sister Study looking at douching, talc
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  for increasinguse, and risk by talc years.”of ovarian cancer. The authors stated thatfound,
                 “[t]hesre observationswas little association between

                 provide a framework for talc carcinogenicity in EOC involving chronic

                 inflammation. (Cramer 2016).

  60.    Two studies failed to find a statistically significant association (Houghton, Gonzalez)

  baseline perineal talc use and subsequent ovarian cancer (HR: 0.73, CI: 0.44, 1.2). Douching was

  more common among talc users (odds ratio: 2.1, CI: 2.0, 2.3), and douching at baseline was

  associated with increased subsequent risk of ovarian cancer (HR: 1.8, CI: 1.2, 2.8).” The authors

  concluded, “[d]ouching but not talc use was associated with increased risk of ovarian cancer in

  the Sister Study.”

  61151. In my opinion, based on FDA’s analysis to the citizens petitions and the medicaltotality
                of the

  medical literature since FDA’s 2014 petition response, there is scientific evidence to suspect or
                  question

  question the safety of talcum powder products.

         B.      The International Association for Research on Cancer (IARC)
                 concluded that there was evidence of talcum powder’s carcinogenicity.

  62152. In 2010, IARC published Monograph 93, which found that “[t]he relative risks for

  ovarian cancer among users of body powder (versus non-users) were homogenous across this

  relatively diverse set of eight studies, each of which indicated a 30–60% increase in risk . . .

  Perineal use of talc-based body powder is possibly carcinogenic to humans (Group 2B).” “IARC
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  Monographs on the Evaluation of Carcinogenic Risks to Humans: Volume 93,” 2010. 2010.4F604F1 5




              This

  monograph specifically addresses the safety of talc not containing asbestiform fibers.

  63153. In regards to asbestos, talc containing asbestos, and talc containing asbestiform fibers

  (fibrous talc), IARC published Monograph 100c, which found that, “[t]here is sufficient evidence

  in humans for the carcinogenicity of all forms of asbestos (chrysotile, crocidolite, amosite,

  tremolite, actinolite, and anthophyllite). Asbestos causes mesothelioma and cancer of the lung,

  larynx, and ovary . . . There is sufficient evidence in experimental animals for the carcinogenicity




  60   IARC looked at data dating from at least 1933.
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   of all forms of asbestos (chrysotile, crocidolite, amosite, tremolite, actinolite and anthophyllite).

   All forms of asbestos (chrysotile, crocidolite, amosite, tremolite, actinolite and anthophyllite) are

   carcinogenic to humans (Group 1).” “IARC Monographs on the Evaluation of Carcinogenic

   Risks to Humans: Volume 100c,” 2012. “The conclusions reached in this Monograph about

   asbestos and its carcinogenic risks apply to these six types of fibres wherever they are found, and

   that includes talc containing asbestiform fibres.” 61       5F1 6




               C.       Defendants failed to substantiate the safety of their talcum powder products

        64154. In my opinion, in light of a) the FDA’s 2014 petition response acknowledging that there

        remains some evidence to suspect or question the safety of talcum powder products, b) the

        totality of the medical literature since 2014 that continues to raise safety questions; and c)

        IARC’s classification, defendants failed to substantiate the safety of their talcum powder

        products.
   15
        IARC looked at data dating from at least 1933.

   VI.         ALTHOUGH CONTROVERSIES AND COMPLEXITIES EXISTED,
               JNJ DEFENDED ITS PRODUCT DESPITE SIGNIFICANT QUESTIONS
               REGARDING ITS SAFETY AND PUT THE PUBLIC AT RISK

               A.       JNJ recognized iconic nature of their product

   155. On July 22, 2019, JNJ’s corporate representative John Hopkins testified, JNJ’s Baby

   Powder had been “sold for over 100 years,” “was a historical product . . . from the 1890’s” and

   was referred to as “[JNJ’s] flagship product.”62

   156. An August 4, 1999, Communication with Europe Strategic Planning states, “classic

   Johnson's Baby Powder fragrance is the most recognizable fragrance in the world”. JNJ

   000559770.


    Id61 Id. It is my understanding that other experts will discuss the specific aspects of asbestos and talc with
   16


   asbestiform
   fibers (fibrous talc).
   62Trial Testimony of Dr. John Hopkins in Barden v. Brenntag North America, et. al, MID-L-0932-17AS, July
   22, 2019, at pp. 102:10-104:1.
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         D.      Defendants failed to warn consumers that the safety of their talcum powder
                 products had not been determined

  65.    In my opinion because defendants failed to substantiate the safety of their talcum powder

  products, they should have warned consumers that the safety of their talcum powder products

  had not been determined.

  IV.    IN ADDITION TO THE WARNING THAT THE SAFETY OF TALCUM
         POWDER PRODUCTS HAS NOT BEEN ESTABLISHED, A WARNING
         ABOUT AN ASSOCIATION BETWEEN TALCUM POWDER AND OVARIAN
         CANCER WAS REQUIRED IF CERTAIN STANDARDS WERE MET

  66.    For purposes of my report, I defer to other experts who will discuss the association

  between talcum powder and ovarian and other forms of cancer.

  67.    As noted above, the FDA regulations require a warning if, “a health hazard may be

  associated with the product.” 21 CFR §740.10

  68.    In my opinion the regulatory standard is less stringent than proof of a causal association.

  It does require that there is a reasonable basis to believe that such an association exists.

  69.    Labeling violations may include failure to warn consumers of potential health risks.

  Section 601(a) of the Federal Food, Drug and Cosmetic Act [21 U.S.C. § 361(a)] and 602(a) of

  the Act [21 U.S.C. § 362(a)], which provides:

         “Section 601(a) of the Act [21 U.S.C. § 361(a)] a cosmetic is adulterated if it bears or
         contains any poisonous or deleterious substance which may render it injurious to users
         under the conditions of use prescribed in the labeling thereof, or, under such conditions of
         use as are customary or usual.

         “602(a) of the Act [21 U.S.C. § 362(a)], a cosmetic is misbranded if its labeling is false
         or misleading in any particular. Section 201(n) of the Act [21 U.S.C. § 321(n)] provides
         that, in determining whether a product's labeling or advertising is misleading “there shall
         be taken into account (among other things) the extent to which the labeling or advertising
         fails to reveal facts material with respect to consequences which may result from the use
         of the article to which the labeling or advertising relates under the conditions of use
         prescribed in the labeling or advertising thereof or under such conditions of use as are
         customary or usual.”
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  157. A June 20, 2003, JNJ email titled “JB Powder w China Talc” references baby powder as a

  sacred cow: “My sense is that the Baby Powder is such a ‘Scared Cow’ that we will just leave it

   70.    In my opinion, if there is a reasonable basis for an association between talcum powder

   products and ovarian cancer, a warning about increased risks of ovarian cancer needed to be

  madealone.” JNJL4T5 000004485.

   V.     TALCUM POWDER PRODUCTS WOULD BE ADULTERATED UNDER THE
          FEDERAL FOOD DRUG AND COSMETIC ACT IF THEY
          CONTAINED POISONOUS OR DELETERIOUS SUBSTANCES.

   71.    A cosmetic is adulterated if it bears or contains, “any poisonous or deleterious substance

   which may render it injurious to users.” 21 USC §361.

   72.    While as noted above other experts will testify to the presence and toxicity of asbestos

   and asbestiform fibers (fibrous talc) in talcum powder, it is my opinion that if asbestos or

   asbestiform fibers (fibrous talc) were found in talcum powder products, talcum powder products

   would be adulterated under the Federal Food Drug and Cosmetics Act.

  158. A JNJ document dated October 5, 1976, stated that the Market Share based volume in

  ounces for Johnson’s Baby Powder was 53.6% and for Shower to Shower was 11.1%. The other

  four named products together accounted for approximately 25%. JNJ000300223

  159. On JNJ affiliated website ourstory.jnj.com, the home page displays the title JOHNSON’S

  BABY POWDER 1894: “The company’s baby product business was born in 1894 when

  JOHNSON’S BABY POWDER hit the market.”

  160. A JNJ document regarding Johnson’s Baby Powder Talc Aspiration states “Baby Powder

  represents the cornerstone of our baby products franchise.” JNJNL_61_000009898.

         B.      JNJ was in possession of evidence and/or had concerns regarding asbestos
                 and the safety of its product beyond what is discussed above

  161. A letter to H.L. Warner, Office of General Counsel at JNJ on April 12, 1960, from W.E.

  Chase at Batelle Memorial Institute, concerns a patent application for “Platy Talc Beneficiation.”

  The purpose of the study was to determine if various reagents were “effective in selective flotation
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  of platy talc” In the chart, Summary of Flotation Experiments with Surface Active Reagents, Float

  Results indicated reduction but continued presence of nonplaty talc and tremolite. (D-0182). A

  73.            Asbestos and talc with asbestiform fibers (patent was never obtained to reduce the
                 recognized presence of fibrous talc) are known human carcinogens and tremolite.

  162. In a JNJ memo dated March 30, 1973, Tom Shelley, director of JNJ’s Central Research

  Laboratories writes to Mr. Warner’s colleagues: “[W]e will want to carefully consider the Pooley

  patents re. asbestos in talc. It’s quite possible that we may wish to keep the whole thing confidential

  rather than allow it to be published in patent form and thus let the whole world know.”

  (IARC 2012)J&J 0070263; JNJAZ65 000014444.

   74.    In my opinion, presence of asbestos in talcum powder products would meet the standards

   for adulteration since asbestos “may render [the product] injurious to users . . .” 21 USC §361.




                                                         David Kessler, MD

                                                         November 16, 2018
                                                         Date
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  163. Medical literature beginning in the 1960s raised concerns about the presence of fibers in

  cosmetic talcum products.

          163.1. Cralley et al. studied 22 talcum products, finding “fiber contents ranging from 8%

  to 30% by count of the total particulates with an average of 19%. Although the specific fibrous

  materials were not identified, they were predominantly fibrous talc, as shown by X-ray

  diffraction, with the probably [sic] presence in minor amounts of other fibrous minerals such as

  tremolite, anthophyllite, chrysotile and pyrophyllite.” JNJ000018189.

  164. The following year, in a letter to Dr. G. Hildick-Smith, dated April 9, 1969, W.H. Ashton

  discusses the subject, Alternate Domestic Talc Sources:

          164.1. “[We] have to firm up the position the Company should have on the presence of

  the mineral Tremolite in talc. Your staff will have to do this for us since the objections to that

  mineral have been mainly medical or clinical as opposed to chemical or physical.

          164.2. “The reason we have to firm up our position is that we moved into high gear on some

  alternate talc sources and it is normal to find different levels of Tremolite in many U.S. talcs.

          164.3. “Historically, in our Company, Tremolite has been bad because it has needle type

  crystals. . . Over the past year or two, the medical literature has made reference to potential

  hazards of talcs containing Tremolite and I have seen some articles under the umbra of

  environmental health agencies from here and abroad which pinpoint severe objections to that

  mineral in talcum powders.” JNJAZ55_000001073-74.

  165. Dr. C. S. Thompson with R. T. Vanderbilt, copying JNJ’s Dr. Hildrick-Smith replies that he

  has occasionally received inquiries from various individuals, including General Johnson and

  several pediatricians expressing concern over the possibility of the adverse effects on the lungs of

  babies or mothers who might inhale any substantial amounts of our talc formulations.”
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   SCHEDULE 1: BRIEF REGULATORY HISTORY OF COSMETIC TALCUM POWDER
                                           PRODUCTS
       165.1. The possibility of litigation was also discussed: “It might be that someone in the

   Law Department should be consulted with regard to the defensibility of our position in the event

   that such a situation could ever arise.”

          165.2. Dr. Thompson concluded, “It is my personal feeling that until we have at least

   substantial evidence, based on animal work, to the effect that the presence of Tremolite in our

   talc does not produce adverse effects, we should not extend its usage beyond an absolute

   minimum previously mentioned.” factsabouttalc.com 0144.pdf; JNJL61_000001535.

   166. On April 26, 1973, JNJ’s D.R. Petterson wrote a memo to D.D. Johnston, Subject: Windsor

   Minerals and Talc. That memo discusses a number of points of “considerable concern” that were

   discussed between JNJ’s D.R. Petterson, Bill Ashton, Roger Miller and Vernon Zeitz. According

   to the memo, the points that were covered at that meeting were:

          166.1. “1. It is our joint conclusion that we should not rely on the ‘Clean Mine’ approach as

   a protective device for Baby Powder in the current Asbestos or Asbestos-Form controversy. We

   believe this mine to be very clean; however, we are also confident that fiber forming or fiber type

   minerals could be found. The usefulness of the ‘Clean Mine’ approach for asbestos only is over.

          166.2. “2. It is possible that the technique of identification for asbestos or asbestos-form

   materials will be an optical approach. It probably will be some variation of the McCrone method.

   This method with appropriate concentrating techniques will permit a good laboratory to identify

   asbestos or tremolite in a talc sample.

          166.3. “3. The current medical research is confirming that it is particle shape, not

   chemical substance which is harmful as such-fiber-like materials will be suspect. The argument

   rages as to whether an aspect ratio of 3/1, 5/1, or 10/1 will be adopted.


          166.4. “4. The problem then is two fold, one for Windsor and one for Baby Powder
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                      a. At Windsor the mine is currently under the jurisdiction of the Bureau of Mines.

   The inspections of the mine indicate that we are well within the limits presently accepted for

   non-fibrous dust. Roger Miller feels that they could live within the current TLV values for

   fibrous talc of 5 parts per million. We don’t know the impact of a TLV of 2 fibers per cubic

   meter.

                      The May 8th meeting will primarily be an information meeting on mine and

   manufacturing safety. We would not expect standards to be set, however, there will be agitation

   probably by OSHA, NIOSH, and the Consumer Group (Selikoff), to lower the standards for the

   industrial exposure to the same level as asbestos...

                      b. As for Baby Powder, the entire thrust of communications with the FDA has

   concentrated on asbestos as harmful fiber-like material. Sophisticated techniques have been

   proposed to make sure that fiber-form materials present in the samples were identified as being

   asbestos. The implication is that all other fiber-forms, if present, were talc or other minerals and

   these were safe. This posture will no longer be satisfactory. If the FDA Food Division, which is

   moving more rapidly than the Cosmetic Division, publishes a standard, it will probably be to ban

   asbestos-form or fibrous material in talc. That could eliminate the current uses of talc in packaging

   materials. These talcs contain widely varying amounts of tremolite or fibrous talc. Our Baby

   Powder contains talc fragments classifiable as fiber. Occasionally sub-trace quantities of tremolite

   or actinolite are identifiable (Optical Microscope) and these might be classified as asbestos fiber.

            166.5. “5. We have been pursuing several alternatives to better protect our powder

   franchise. These include:

                      “a. An improvement in the flotation technique to better select platy talc, and

   perhaps reduce any tremolite or talc shards. The work is still in the lab and the timetable for

   1894 Johnson’s “Generally Regarded as Safe” (GRAS’s Baby Powder introduced in the
   marketplace. 17
                 1F




   1965 FDA designates talc as “Generally Regarded as Safe” or “GRAS” as a food additive. 18              1F
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   1967 Graham and Graham propose asbestos as etiologic factor in ovarian cancer. 19            1F




   1971 Henderson identified talc particles embedded in ovarian tumor tissue.           9F2 0




   1972 J&J test results demonstrating presence of asbestos in Shower to Shower product sent
   to FDA.
              In 1972, Professor Lewin, a chemist at New York University, tested 102 commercial
              products for the presence of asbestos, including cosmetic talcum powder products. One of
              the products tested was J&J’s Shower to Shower. The results were submitted to the FDA
              noting a finding of “5%” chrysotile asbestos in “sample 84” of Shower to Shower. The   2F2 1




              FDA’s testing (by optical microscopy) confirmed that “Sample No. 84 contained 107
              fibers of tremolite/actinolite per milligram.”  1F2 2




   1974 Talc/Asbestos Meeting with Commissioner Schmidt, FDA and J&J (1/16/1974)
           “We traced the history of the talc/asbestos problem. . . Our very preliminary calculation
   indicates that substantial asbestos can be allowed safely in a baby powder. . . Dr. Schmidt. . .
   pointed out that additional information being developed by Johnson & Johnson and others
   would meet the possible future need if talc per se is attacked.”            2F2 3




   1974 J&J to FDA: “Talc with 1% asbestos is safe.”                  3 F2 4




              Letter to Robert M. Schaffner, Associate Director for Technology, Bureau of Foods,
              FDA: “Johnson and Johnson has been cooperating with the Cosmetic, Toiletry and
              Fragrance Association Subcommittee on Asbestos in Talc. In an effort to answer the
              question for asbestos in talc, our statistical group has made an estimation of a theoretical
              safe level of asbestos and the data on dusting of baby powder. The calculation shows that
              a substantial safety factor can be expected with talc containing 1% w/w asbestos fibers.
              Therefore, methods capable of determining less than 1% asbestos n talc are not necessary
              to assure the safety of cosmetic talc.”




   17 Margaret Gurowitz, April 30, 2007. (Kilmerhouse.com.)
   18
        30 Fed. Reg. (Dec. 23, 1965)
   19
        Graham and Graham
   20
        Henderson (1971)
   21
        August 3, 1972 Letter from S. Lewin to A. Weissler,
   22
        FDA Memorandum for Project 00679, dated 9/6/73
   23
        JNJ000259267
   24
        JNJ000377123
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   commercialization is unknown. It is, however, a chemical procedure and therefore would

   probably not require major equipment change.

                  “b. A program investigating two different ways of removing a large portion of the

   very fine particles presently found in talc. We have demonstrated the feasibility of both

   approaches. The equipment and process development would take between 9 and 12 months on a

   crash basis. Other approaches which might be less expensive or more effective, have only been

   talked about. A crash engineering program could be undertaken with a good chance of success in

   this area. It should be cautioned, however, that no final product will ever be made which will be

   totally free from respirable particles. We are talking about a significant reduction in fine particle

   count but not 100% clean-up.

                  “c. Corn starch is obviously another answer. The product by its very nature does

   not contain fibers. Furthermore, it is assimilated by the body.

          166.6. “We would recommend that items ‘a’ and ‘c’ receive top priority. The Corn Starch

   program, is primarily one of merchandising and the development of explosion proof facilities.

   We would recommend this program be spear-headed by a task force under Jim Dettre.

          166.7. “The flotation program is currently being worked on at Windsor by Vernon Zeitz.

   We would propose a task force of Zeitz, Goodman, and Ashton and Rolle, to identify the

   opportunities in removing fiber-like materials from the beneficiated talc, with a recommendation

   to Management in 30 days.

          166.8. “If we are agreed with the above, then the Battelle program should be restudied to

   include cells of animals on a, b, and c. We might wish these to be new cells, or to delete certain

   cells now in the program.” JNJ000251888-90.
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          C.      JNJ failed to report to the FDA that laboratory tests found evidence of
                  naturally occurring mineral silicate fibers of the serpentine and amphibole
                  series. In my opinion, that failure misled the FDA over the last half a century

   167. Dr. John Hopkins, 30(b)(6) corporate representative of Johnson & Johnson, testified over

   four days (August 16, 2018, August 17, 2018, October 17, 2018, and November 5, 2018).

          167.1. Over the course of those four days, Dr. Hopkins reviewed numerous laboratory

   testing results of JNJ talc. His response was recorded in a chart, with a column made to

   document the results as provided in the testing reports. A second column was used to record Dr.

   Hopkins’ comments regarding those results. On Dr. Hopkins’ final day of testimony, he went

   through each result and responded with whether the results met JNJ’s definition of asbestos.

   Hopkins Dep. Vol. III-IV.

          167.2. The samples tested varied from research samples, ore, Shower to Shower, Baby

   Powder, medicated powders, talc, processed talc, air samples, core, and plant run samples.

          167.3. According to chart D-1-AA, developed during the deposition, Dr.

   Hopkins answered that there were approximately 28 times when Dr. Hopkins

   responded that the laboratory findings met JNJ’s definition of asbestos.

          167.4. One of the affirmative responses was for the laboratory results set forth in a report

   from Walter C. McCrone Associates, Inc. dated May 8, 1974, titled “Examination of Talc Ores

   and Products: Benefication Processes. “In sample 66-AC-Product, the report stated, “Only one

   chrysotile fiber was found in this sample; a significant reduction from the level in the ore sample.

   Again, no asbestiform amphibole minerals were detected.” JNJ 000326106 (J&J-66).

          167.5. The corresponding ore sample, 66-AC-ore, reported that “Eight chrysotile fibers

   were found in this sample, however, their lengths were all less than 1/3 of 1 μm. No asbestiform

   amphiboles were observed.” JNJ 000326106 (J&J-66).
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          167.6. In the summary section, this report stated in regards to the 66-AC-Product

   chrysotile fiber finding, “At the level of one fiber in a sample it is debatable whether this

   represents a true chrysotile level in the sample or whether it represents contamination

   during taking or preparation of the sample.” JNJ 000326106 (J&J-66).

          167.7. When asked at his November 5, 2018, deposition whether these findings met JNJ’s

   definition of asbestos, Dr. Hopkins stated: “Q. Right. Chrysotile satisfies the [JNJ] definition of

   asbestos, correct? A. If chrysotile is present, it would satisfy the definition, correct.” Hopkins

   Dep., November 5, 2018, 1238:8-12.

          167.8. Another affirmative response was for the laboratory results set forth in a report

   from Walter C. McCrone Associates, Inc. dated September 3, 1971. titled “Preliminary Report on

   Examination of Grantham Ore, Medicated Talcum Powder, and Shower to Shower Talcum

   Powder.” (J&J 257), Hopkins Dep., 1238:8-12.

          167.9. The report stated, “In the medicated powder, we found one fiber of chrysotile, and

   we estimate that this powder contains less than 0.001 % asbestos.” J&J 252, p.2.

          167.10. The report further stated in the “Shower to Shower sample we found several

   fibers which do not show the coring typical of' chrysotile. These may be fine fibers of talc or of

   Ca(PO 4)2nH20 which also occur as needles. There was one very small fiber which could have

   been chrysotile in a field of fine talc flakes. We were unable to obtain a diffraction pattern

   from the sample, but we feel strongly that it may be chrysotile. Again, the percentage of

   chrysotile is very low, in the range of p. 001-0. 0001%.” J&J 252, p.2.


             167.11. At his October 17, 2018, deposition, Dr. Hopkins testified as follows:

                  “Q: Is it the fourth entry. The fourth entry. My bad.

                  A. Yes.
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                  Q. ‘Fiber of chrysotile.’ Do you see that?

                  A. Yes.

                  Q. Okay. Under the Johnson & Johnson definition that's behind you, that would

                  be asbestos, correct, chrysotile?

                A. Chrysotile fiber would be asbestos, yes.” Hopkins Dep., 1072:1-13.
   168. In a March 17, 2016, letter to the United States Food and Drug Administration, Johnson &

   Johnson’s, Vice President of Regulatory Affairs North America, Jethro Ekuta, responded to the

   FDA’s February 25, 2016 “Request for Information on Talc.” Ekuta stated: “JJCI talc is also

   evaluated for a number of additional impurities...”

          168.1. Table two in the letter lists impurity testing for JJCI body powders, which

   included asbestos.

          168.2. On the subject of asbestos, Ekuta specifically states: “No asbestos-form

   structures have ever been found during any testing.” [emphasis added] JNJ 000636145,

   p.12 (PLT-00131).

          168.3. Rather than sharing JNJ’s test results with the FDA, Ekuta cited FDA surveys to

   the FDA: “FDA summarized its 2009 exploratory survey of marketed cosmetic grade raw

   material talc and finished cosmetic products containing talc, including JJCI products

   (Johnson’s® Baby Powder and Shower to Shower® Morning Fresh Absorbent Body Powder).

   FDA indicated that no asbestos fibers or structures were found in samples of cosmetic-grade raw

   material talc or cosmetic products containing talc including eye shadow, blush, foundation, face

   powder, and body powder.” JNJ 000636145, p.6 (PLT-00131).

          168.4. Ekuta references no other results in the letter than FDA results, which FDA

   already had.
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          168.5. In my opinion, JNJ’s representation to the FDA in their March 17, 2016, letter that

   no asbestos-form structures have ever been found during any testing was false and misleading.

          D.          JNJ defended its products to health agencies by representing that
                      its products were asbestos-free and safe

                 i.         JNJ attempted to remove talc from NTP list of carcinogenic
                            substances

   169. In a July 12, 2001, email titled “NTP – A Strategic Proposal,” from Imerys’ Director of

   Environment and Safety, Rich Zazenski, Mr. Zazenski states that “[w]ith regard to human data on

   ‘talc not containing asbestos’ [TNCA], clearly the epidemiology studies linking cosmetic talc and

   ovarian cancer have been the most troublesome. While everyone admits the relative risk ratios
                  are

   borderline, there are simply too many studies with these low RR’s to be ignored.” Zazenski states:

          169.1. “[A]dmittedly we did not grasp upon the significance of this ‘flaw’ anytime in the

   past 10-15 years when these studies were being published.

          169.2. “The NTP draft background document brought to life the uncertainty of the purity

   of the ‘cosmetic’ talcs used by the women in these study groups.”

          169.3. “If we can “invalidate” most, if not all, of the published epidemiology studies by

   demonstrating that sufficient doubt exists as to the purity of the cosmetic talc used prior to the mid-

   1970s, then it is likely that NTP might defer any reconsideration of ‘talc not containing asbestos

   (TNCA).’

          169.4. “In order to accomplish this objective, two key technical points are required. One,

   the published literature on the quality of cosmetic talcs prior to the 1970’s must be sufficient and

   persuasive (in that cosmetic talc may have contained asbestos). Secondly, there must be
                   published

   data that authenticates that asbestos is a risk factor for ovarian cancer. I believe we can document

   both of these points sufficiently to construct a well-referenced ‘White Paper’ for NTP . . .
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           169.5. “Our ‘White Paper’ can effectively invalidate the only ‘troublesome human data

   that NTP has for TNCA. I am going to investigate the literature on crystalline silica and ovarian

   cancer to see if this can ‘compound’ the quality dilemma . . . That would mean that cosmetic

   talcs (in the past) might have contained two substances that have been declared known human

   carcinogens. This type of information would irrefutably invalidate the conclusion of the

   epidemiology studies for TNCA.”

           169.6. “Last thought – I recognize the potential dangers in digging up this information –

   but were it not for this specific quality issue, we would be preparing now for a very dim future in

   the talc business.” IMERYS239757-8.

   170. A January 2, 2002, Luzenac63 document titled “Principal Argument for Adopting Luzenac

   America's NTP Strategy” states, “We engaged the council of the Center for Regulatory

   Effectiveness (‘CRE’) in November 2000 for the purpose of providing us direct assistance in

   developing a business strategy to challenge the NTP talc review. CRE ‘knows’ NTP.

           170.1. “From the beginning, CRE has recommended that we adopt an aggressive

   (professional) approach with NTP. Our technical (and legal) arguments have alternated between

   Luzenac and CRE letterhead - designed to maximize the intended effect.

           170.2. “CRE believes the request for by Dr. Olden (NTP Director) presents us with an

   opportunity to 'proactively' submit a detailed literature research paper that not only directly

   addresses the unresolved issues (mineralogy), but also other controversial issues that we

   anticipate will (or should) resurface (epidemiology, causation, consistency of results). It affords

   us the opportunity to initiate the agenda for discussions with NTP.




   63Luzenac Group was a wholly owned subsidiary of Rio Tinto from 1988 until August 2011, when it was sold to
   Imerys. It was the sole supplier of J&J talc during that time period.
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          170.3. “In November 2000, Luzenac discovered the “fatal flaw” in the NTP report. With

   the help of CRE we exploited this issue with NTP which ended in the deferral decision by the

   NTP Executive Committee. The public record will reflect that Luzenac America was the only

   talc-interested-party who recognized this fatal flaw (and winning strategy).

          170.4. “KEY POINTS . . . I am not at all concerned about angering CTFA or any of its

   members who might be customers. With our entire business literally at stake, we have the

   ‘standing’ to do what we feel is necessary in this battle for survival. As an aside, only [JNJ] and

   possibly one other company expressed interest in further funding of the consultants utilized by

   CTFA last December.” Pltf_LUZ_00000093-4;LUZ000566-7.

   171. In a presentation by Steve Jarvis, Head of Health, Safety and Environmental matters for

   Luzenac American, following NTP’s final review, he stated, “Now realistically . . . there are

   some health issues with talc. For nearly 20 years, epidemiologists have been finding a weak, but

   persistent statistical link between the hygienic use of talc and ovarian cancer. However . . . . the

   studies are weakened by no one being able to offer any feasible ‘causal’ explanations as to how

   and why talc would cause ovarian cancer . . . . but not a multitude of other cancers in the human

   anatomy.

          171.1. “But now we had only two months to prepare for the third NTP review meeting . . .

   a public meeting of the influential Board of Scientific Counselors Subcommittee. This occurred

   in December of last year and we achieved a very dramatic turnaround. The BSC subcommittee

   voted 7-3 not to list talc. [emphasis in original]

          171.2. “Our successful defense strategy was threefold . . . Secondly . . . and this was our

   secret weapon, engage the services of the Washington based Center for Regulatory Effectiveness,

   CRE. Since its formation in 1996 by several ex-high ranking officials in the OMB, CRE has grown

   1976 CTFA: Asbestiform Amphibole Minerals in Cosmetic Talc Methodology for Testing
   (J4-1)

          The method which has been adopted for the detection of amphibole minerals in cosmetic
          talc is the generally accepted method of x-ray diffraction. Methods which appear in the
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              literature for the detection of fibrous amphibole, such as, transmission electron
              microscopy with selected area diffraction1 and electron microprobe, have also been
              considered since they are capable of a lower level of detection than by x-ray diffraction.
              However, they have not been adopted since they suffer from the drawbacks, that the
              amount of material under examination is quite small (less than a microgram) and the
              time for analysis, expertise required, and expense of equipment eliminates them as
              routine methods. 4F2 5




   1977 An FDA Update on the Asbestos Question
              “It now appears that several years may be required to fully clarify some of the scientific
              questions on this subject. In the meantime it may be prudent to establish by regulation a
              standard for all to follow. No doubt this approach will be questioned in the absence of
              widespread gross contamination.”     5F2 6




   1977 Comparison between CTFA JD-4 method and FDA method
              At a CTFA Technical Administration Committee Meeting on February 1. 1977, the
              CTFA Standard (J4-1) for talc detection was published and distributed to FDA. The
              method was compared to the proposed FDA method. CTFA was qualitative; FDA was
              quantitative. CTFA had sensitivity to 0.5; FDA had sensitivity to 0.1. 6F2 7




   1978 Aerosol anti-perspirants safe
              “The charge to this Panel was to evaluate the safety and effectiveness of antiperspirant
              drug products. . . Talc is a magnesium silicate which is sometimes found to contain two
              groups of asbestos minerals: the serpentine and amphibole groups. It is these
              asbestiform minerals which are associated with the toxic effects of talc. The talc used in
              antiperspirant products is devoid of any asbestiform fibers. . .the Panel concluded
              that there is virtually no risk from asbestos in aerosolized talc in the amounts found
              in antiperspirant products if the material is determined to be free of asbestos by the
              Cosmetics, Toiletry and Fragrance Association, Inc. . . The Panel did not consider the
              safety of talc in products other than antiperspirants.”
                                                                   7F2 8




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        LoGiudice/WCD/0523
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        JNJ000038327
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        Federal Register 10/10/1978, 46695-46711
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   into a nationally recognized . . . and relatively respected . . . regulatory watchdog organization.

   Federal agencies frequently come to them for assistance. CRE has also taken NTP to court.

            171.3. “And thirdly, we decided to be aggressive. This was a fight we simply could not

   lose. As such, we retained expert legal counsel to ensure we would have a solid foundation for a

   legal challenge if necessary . . . it was the same firm which assisted CRE in their court battle with

   NTP . . . and we also became very aggressive in our communication with NTP and other federal

   agencies. We didn't let the windows of ‘formal comment periods’ become restrictive. We sent

   e-mails, faxes, overnight letters, and even telephones calls to key players in this battle . . . right

   up until hours before the final Executive Committee meeting. And we believe these strategies

   paid-off.

            171.4. “While we certainly would have preferred a total victory - where NTP declared talc

   was not a human carcinogen . . . we were relieved to at least get the review process ‘derailed’ for

   now . . . at least we have some ‘breathing space’ to prepare a thorough, scientific defense of talc.

            171.5. “One of the issues we plan to focus on is demonstrating to NTP that virtually all of

   the epidemiology studies they previously used must be declared invalid for use in assessing talc

   ‘not containing asbestos.’ This will be an expansion of the ‘Fatal Flaw’ defense Luzenac employed

   in the first review on talc. Additionally, we believe the latest epidemiology study which IS valid

   with regard to talc quality . . . it’s called the Gertig study64 . . . and which happens to be the largest




   64Gertig, published in 2000 reported data from the Nurses’ Health Study. Gertig accepted that “[c]osmetic talc may
   have been more likely to contain asbestos fibers prior to 1976, before voluntary guidelines were proposed”, citing
   Harlowe, a 1992 case-control study Gertig also affirmed the migration of talc into the peritoneal cavity and ovaries,
   stating “Talc is able to migrate through the genital tract and gain access to the ovaries because talc fibers have been
   detected in benign and malignant ovarian tissue.” Gertig found an increased, but not statistically significant, risk of
   all epithelial cancer with ever use of perineal talc (RR 1.09 (0.86-1.37)) and a statistically significant association
   with ever talc use and serous ovarian cancer (RR 1.40 (1.02-1.91)), the most common subtype of epithelial ovarian
   cancer – accounting for >50%.
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   study as well . . . shows no increased risk of ovarian cancer. The significance of this study must

   be more heavily weighted than prior studies.

          171.6. “One last point        lest we get complacent        regardless of what happens with

   NTP, we also have to keep an eye out for IARC. IARC reviewed talc back in 1986 and concluded

   there was insufficient evidence of talc carcinogenicity in humans. We are hoping that this NTP

   activity doesn’t stimulate IARC conduct an ‘end-run’ around NTP declare talc a possible human

   carcinogen . . . because I think you all know, we do not have the ability to become an active

   participant in that relatively ‘closed’ process. Pltf_IMERYS_00044439; IMERYS-A_0021921.

   172. These documents show that talc manufacturers argued to the NTP that talc prior to 1970’s

   had asbestos and that was the reason for the increased risk in epidemiologic studies. They imply

   that something changed in the manufacturing process that yielded asbestos free talc.

   173. If it was the voluntary adoption of the CTFA testing standard in 1976 that changed, that

   supports the notion that the talc mines always contained asbestos, and it was the testing that

   improved the quality of the talc.

   174. According to industry reviewers, “In 1976, specifications for cosmetic talc requiring that

   no detectable fibrous, asbestos mineral be present were developed. Therefore, this report will
                          only

   address the safety of talc that does not contain asbestos. Because the specification was developed

   in 1976, that year was used in determining what data are more likely relevant to the safety of

   cosmetic talc; therefore, some studies performed prior to 1976 may not be relevant to talc as

   currently used in cosmetics, and they might not be included in this assessment.” Fiume 2015.

                ii.       JNJ attempted to preempt IARC’s designation of talc as
                          carcinogenic and didn’t update MSDS based on the IARC
                          designation

   175. IARC found in 1987 that there was sufficient evidence for talc containing asbestiform

   fibers to be considered carcinogenic (Group 1 known human carcinogen); the evidence was
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                                   168790

   considered insufficient for talc not containing asbestiform fibres (Group 3 not

   classifiable). IARC 1987.

   176. In 2006, the Working Group met again to consider the evidence for talc without

   asbestiform fibres, considering evidence up until 2006. Although JNJ described the IARC

   process as “relatively closed,” JNJ still attempted to influence the process.

   177. In an email discussion with CPCUS (JNJ Consumer Products Division) members

   regarding having input into the IARC process dated August 29, 2005, the following was

   considered:

          177.1. “It is VERY difficult to have any impact on the IARC, and this has recently

   become more difficult by rule changes that make industry input difficult and suspect. CTFA

   advised that the best we can do was to ask Dr. John Hopkins to follow a process called

   “Self-Nomination.” And offer his name to IARC as a talc expert. I have asked John to do this and

   he agreed. I provided John with the proper weblink. We have some hope that [JNJ]’s reputation

   and our major commitment to talc might make John a valuable asset to the IARC (maybe?).

   CTFA also advised that Dr. Muscat is already involved with another IARC committee. Dr.

   Muscat and Huncharek are experts that are working with us on white papers for NTP and whom

   we respect. CTFA will ask Dr. Muscat and Huncharek to also self nominate for IARC. We would

   be happy if one of these experts was involved in the process.” JNJ000003911.

   178. In an email dated October 17, 2005, titled IARC Talc Review, CTFA sought support for

   the cost of Observers near the IARC Working Group meeting from JNJ. A “war room was to

   be operated near the IARC facility to serve as a meeting and communication site where

   Observers can go research issues.” JNJ 000003915; JNJ000004015.
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                                   168791

   179. Although not a member of the Working Group, Dr. Muscat, a JNJ consultant, attended the

   meetings as an observer and confidentially reported back to Luzenac through the law firm

   Crowell & Moring. (P334 JNJ000003969). On February 8, 2006, Dr. Muscat relayed the

   Working Groups epidemiology discussion including his “introduction into the discussion of the

   fact that the talc-diagram studies (supported by JNJ) did not show a relationship; with the

   scientific premise that talc-coated diaphragm would be a more plausible and direct route of

   exposure than perineal dusting. Evidently, the Working Group was not going to consider, or even

   be aware, of the negative talc-diaphragm studies . . . . It is critical that the Support Team provide

   scientific reasoning to knock the underpinnings from the Cramer et al. studies. P334

   JNJ000003969.


   180. IARC listed talc without asbestiform fibers as a possible carcinogen (Group 2b).
   Following the designation, Imerys added the following to its Material Safety Data Sheet (MSDS)

   for talc:

           180.1. “IARC (2006 in preparation) Has [sic] concluded that perineal use of talc based

   body powder is possibly carcinogenic to humans (Group 2B). This is not a route of exposure

   relevant for workers and applies to one specific use of talc only.” IMERYS 049953.

   181. In a January 19, 2005, email Dana Mickel (CPCUS) with the subject “MSDS

   Carcinogenic Rating,” stated:

           181.1. “I wanted to bring to your attention that a new field has been added to the Wercs

   (the system that is used to generate product MSDS) that identifies carcinogenic or suspected

   carcinogenic ingredients. Three of our products for the February launch have been flagged thus

   far with this warning. One of the products is Shower to Shower® Shimmer Effects Body Powder,

   Project Shimmer has been identified with 41.95% Talc. The other two are Aveeno® Lip
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                                   168792



   Relief Medicated Therapy, Project Angelina and Aveeno® Lip Relief Medicated Therapy Stick,

   Project Jagger both having Camphor at 1.1%. I do believe that a few other products will be

   flagged upon Scott's review later this week as well. The attached spreadsheet will help you

   identify where the carcinogenic classification of ingredients is derived from. JNJ 000390337.


          181.2. The email contained two attachments:
                      181.2.1. “ProjectShimmer.rtf” that stated, “The below component(s)

   have

   been defined as a cancer-suspect agent by a worldwide reputable agency” and lists Talc.

   JNJ000390340


                      181.2.2. “J&JCaringenciList.xls” [sic]65 the following excerpt

    1978 A Public Citizen letter to Dr. Donald Kennedy, Commissioner FDA

           The letter, sent on 8/4/1978 on behalf of Public Citizen by Sidney M. Wolfe, M.D. and
           Benjamin Gordon, states: “The strong likelihood that talc is carcinogenic was the
           subject of a letter from Dr. Marshall E. Deutsch to the New England Journal of
           Medicine on February 16, 1978. . . If there is good reason to believe – even if the
           evidence is not conclusive – that talc is carcinogenic, prudence would dictate that its use
           be eliminated promptly in FDA-regulated products such as drugs and cosmetics.” 29    2F




    1979 Dr. Kennedy responds to Citizens Petition letter

           On 1/11/1979, Dr. Kennedy replied to Dr. Wolfe and Dr. Gordon: “There is to date no
           conclusive evidence that pure talc is carcinogenic in man or animals . . . [T]he
           evidence implicates asbestos contamination of talc as the offending exposure in “talc”
           carcinogenesis. Meanwhile the FDA Bureau of Foods has carried out several x-ray
           powder diffraction surveys of the asbestos contamination of cosmetic talc (talcum
           powders). They found that cosmetic grades of talc are usually free of asbestiform
           particles. For example, in a 1977 investigation of 46 talc samples, the FDA found only
           three to contain asbestos (tremolite or anthophyllite. . .and even then the level was only
           0.1 percent or less. One firm, Johnson & Johnson, has also done extensive testing for
           asbestiform particles in cosmetic-grade talc; all results to date have been negative. . .
           At present, we believe that if talc poses any risks in the products under our control, it is
           related to contamination by asbestos fibers. However, the FDA is prepared to take
           whatever prudent additional action is indicated to protect the public health, if and
           when results of definitive tests show that the kinds of talc in foods, drugs, or cosmetics
           may represent a carcinogenic hazard. . . “ 9F3 0




    1982 Cramer publishes the first epidemiological study linking the genital use of
    talcum powder with ovarian cancer.
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                                   168793




               This article “provides some support for an association between talc and ovarian
               cancer hypothesized because of the similarity of ovarian cancer to mesotheliomas and
               the chemical relation of talc to asbestos, a known cause of mesotheliomas. . . If talc is
               involved in the etiology of ovarian cancer, it is not clear whether this derives from the
               asbestos content of talc or from the uniqueness of the ovary which might make it
               susceptible to carcinogenesis from both talc and other particulates.”          0F3 1




    1982 Letter from Allen R. Halper, Assistant to the Director, Division of
    Regulatory Guidance, Bureau of Foods, to Raymond J. Russell
               “The matter of contamination of talc with fibrous asbestos was extensively studied by
               both the Food and Drug Administration and industry in the mid to late 1970’s. We have




   29
         JNJ 000254361

   30
        JNJ000000251-254JNJ 000390346.
    31
         Cramer 1982
   In a second tab labeled “REG,” TALC is listed as A1 (ACGIH) and 3 (IARC). TALC

   (MG3H2(SIO3)4) is listed as A4 (ACGIH) and 3 by IARC. JNJ 000390346.

              181.3. In response, Robert A. Predale stated, “Do NOT send out any MSDS with this

   statement on it!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!! I will discuss with Joan, Steve and Paul and get

   back to you.” JNJ 000390337.




   65   The email gives the legend as follows:
         “K- 'The below component(s) have been defined as a human carcinogen by a worldwide reputable agency.'
           0 - 'The below component(s) have been defined as a cancer-suspect agent by a worldwide reputable agency.'
         Under review- 'The below component(s) are under review for carcinogenic effects by a worldwide reputable
         agency.'”
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                                   168794

          181.4. On February 2, 2005, Joan Casalvieri responded, “Talc is listed as both ACGIH A4

   and IARC class 3 - again not classified as a human carcinogen. There is another listing for talc

   that is class 1 ‘confirmed human carcinogen’ but we suspect this must be the grade that is known

   to contain asbestos. Please clarify if you know what this listing is. Cosmetic talc that we use in

   our products does not contain asbestos and is not carcinogenic. We are aware that the NTP is

   looking at talc as part of the 12th ROC. We are very involved in that exercise and will be on top

   of the findings.” JNJ 000390347.

          181.5. She further states, “I would suggest that the Wercs system needs to be modified so

   that materials that are not classified are not identified as requiring a warning statement. As

   toxicologists we need to be able to make assessment calls on our finished products based on the

   intended use. We do a very thorough internal safety assessment on our products and are assured

   that they are safe in general and specifically do not contain cancer causing ingredients. The

   scientific data and our safety assessment do not warrant that a warning statement be placed on

   our products.” JNJ 000390347.

   182. In 2006, IARC upped its classification of talc not containing asbestiform fibers to 2B,

   “Possibly carcinogenic to humans.” IARC 2007.

   183. Even after the 2006 classification, JNJ did not add a warning to its MSDS for talcum

   powder products.

   184. In a letter dated July 12, 2006, Eric Turner, VP of Health and Sustainability with

   Luzenac/Imerys wrote to Mark Ellis, President of Industrial Minerals Association of North

   America regarding Luzenac’s decision to forego any further funding of the University of

   Vermont talc study (re: “Mossman” study). Turner explained, “When IARC concluded their

   review and classified ‘perineal use of talc-based powders’ as a Group 2b carcinogen, we began to

          no knowledge of any cosmetic talc products on the market that contains fibrous
          asbestos. . . While we understand talc is chemically closely related to asbestos, we
          believe that the needle-like particles that you have briefly described in your letter are
          talc needles, not fibrous asbestos.” 32
                                              3F
Case 3:16-md-02738-MAS-RLS Document 28798-4 Filed 12/14/23 Page 117 of 442 PageID:
                                   168795


   1983 Petition for labeling of the hazardous effects produced by asbestos in cosmetic talc
              Philippe Douillet filed a petition stating, “[t]he purpose of this petition is to request a
              labeling of warning as well as a detailed list of components of the commercial cosmetic
              talcs. Because of its geological formation cosmetic talc may contain significant amounts
              of asbestos particle producing hazardous effects by its continuous use.” FDA denied the
                                                                                         2F3 3




              petition: “[W]e find that there is no basis at this time for the agency to conclude that there
              is a health hazard attributable to asbestos in cosmetic talc. Without evidence of such a
              hazard, the agency concludes that there is no need to require a warning label on cosmetic
              talc.” “An internal memo relating to this petition states: FDA surveillance activities that
                   3F3 4




              were conducted I the latter portion of the 1970s showed that the quality of cosmetic talc
              had significantly improved, and that even when asbestos was present, the levels were so
              low that no health hazard existed.” 4F3 5




   1985 QRAC (Quantitative Risk Assessment Committee) Memorandum: Asbestos in Talc
              “For completeness, a discussion is presented on a human epidemiological study
              purporting to show an association between talc use (talcum powder used for genital
              dusting on the perineum or on sanitary napkins) and ovarian cancer. The Cramer et al.
              study, which purported to show a significantly increased relative risk for ovarian cancer
              associated with talc use, 1) appears to have been misinterpreted statistically, 2) was
              uncorrected for several likely biasing factors, and 3) appears to have been strongly
              contradicted by another study showing a reduced relative risk as significant in the
              negative direction as the Cramer study was in the positive direction [Hartge]. . . In
              addition, there appears to be no association between customary human talc use per se and
              ovarian cancer.” [Hartge reported estimated relative risk of 2.5 with genital talc use]
                               5F3 6




   1992 Harlow publishes epidemiological study linking the genital use of talcum powder
   to ovarian cancer.
              “These data support the concept that a lifetime pattern of perineal talc use may increase
              the risk for epithelial ovarian cancer but is unlikely to be the etiology for the majority of
              epithelial ovarian cancers.”6F3 7




   32
        1982.12.3 FOIA Response to Russell on Particles in Talc Baby Powder
   33
        JNJTALC000173803, FDA00003595
   34
        JNJNL61_000067348
   35
        FDA_FOIA_004675-7
   36
        JNJ000047066-74
   37
        Harlow 1992
Case 3:16-md-02738-MAS-RLS Document 28798-4 Filed 12/14/23 Page 118 of 442 PageID:
                                   168796



   1993 NTP publishes Technical Report on the Toxicology and Carcinogenesis Studies of
   Talc

              This was an animal study performed using “non-asbestiform” talc. “Under the conditions
              of these inhalation studies, there was some evidence of carcinogenic activity* of talc in
              male F344/N rats based on an increased incidence of benign or malignant
              pheochromocytomas of the adrenal gland. There was clear evidence of carcinogenic
              activity of talc in female F344/N rats based on increased incidences of
              alveolar/bronchiolar adenomas and carcinomas of the lung and benign or malignant
              pheochromocytomas of the adrenal gland. There was no evidence of carcinogenic activity
              of talc in male or female B6C3Fl mice exposed to 6 or 18 mg/m3.”    7F3 8




   1994 ISTRP and FDA sponsor Workshop - Talc: Consumer Uses and Health Perspectives 39                  3F




              Workshop on 1/31/1994 moderated by Dr. John Bailey, Director of FDA’s Office of
              Cosmetics and Colors. In his introductory remarks, Dr. Bailey commented on two recent
              studies. Describing the first NTP animal study, he stated, “This study, using cosmetic
              grade talc reported that under the conditions of the study there was some evidence of
              carcinogenic activity in male rats. There was clear evidence of carcinogenic activity of
              talc in female rats, and there was no evidence of carcinogenic activity of talc in male or
              female mice.” Regarding the Harlow observational study, he further stated, “In these
              epidemiology studies the authors concluded that a lifetime pattern of perineal talc use
              may increase the risk of epithelial ovarian cancer. The authors went on to note that this
              use is unlikely, however, to be the etiology for the majority of epithelial ovarian cancer
              cases.”

   1994 Public Citizen’s Petition Requesting warning on Talcum Powder Products
              On 11/23/1994, Dr. Epstein sent, on behalf of Cancer Prevention Coalition, a “citizen
              petition” requesting that FDA take the following action: “immediately require cosmetic
              talcum powder products to bear labels with a warning such as “Talcum powder causes
              cancer in laboratory animals. Frequent talc application in the female genital tract
              increases the risk of ovarian cancer.” 40
                                                   3F




   1995 Response to Citizen’s Petition
              John Bailey wrote to Jill Cashen at Cancer Prevention Coalition to inform her that FDA
              has “not been able to reach a decision on your petition within the first 180 days of the
              filing of the petition because of the limited availability of resources and other agency
              priorities.”
                        0F4 1




   38
        National Toxicology Program Technical Report Series No. 421
   39
        IMERYS 210472-693
   40
        JNJ 000018407-16
   41
        BAILEY_0003251
Case 3:16-md-02738-MAS-RLS Document 28798-4 Filed 12/14/23 Page 119 of 442 PageID:
                                   168797


   2001 Bain Environmental Study Proposal to Donald C. Harvey, Chief, Cosmetics
   Technology Branch, Office of Cosmetics and Colors to Determine Composition of
   Cosmetic Talc
             “The proposed study will examine the composition of cosmetic grade talc, focusing on
             the presence of asbestos. Asbestos, a known carcinogen, can be found in talc if the
             mining site is not carefully selected or if the talc ore is not sufficiently purified. The
             asbestos as a factor in the cause of ovarian cancer. The National Toxicology Program
             (NTP) is considering talc as a possible compound for restudy. The Cosmetic Ingredient
             Review (CIR) recently decided to perform a separate review of talc because of the
             toxicological issues relating to talc use. There are few current data available on cosmetic
             talc composition. The data collected in this survey will be needed in order for the agency
             to pursue any regulatory action in the event of adverse findings by the NTP or CIR. The
             data collected will also assist in addressing the citizen petition’s request for a warning
             label on talc products. Abstract of Research Plan: Epidemiological studies have linked
             talc use by females in perineal are with ovarian cancer, one of the leading causes of death
             in American women. Talc and asbestos, a known carcinogen, can be found together if the
             mining site is not carefully selected or if the talc ore is not sufficiently purified. The
             asbestos concentration of currently marketed cosmetic talc is needed to clarify the role of
             asbestos as a factor in the cause of ovarian cancer.” It appears that this study was not
                                                                  1F4 2




             funded.
   2008 Second Petition Seeking a Cancer Warning on Cosmetic Talc Products
             The Petition, filed by Dr. Epstein on behalf of Cancer Prevention Coalition, requests
             FDA to take the following action: “Immediately require cosmetic talcum powder
             products to bear labels with a prominent warning such as: “Frequent talc application in
             the female genital area is responsible for major risks of ovarian cancer.”2F4 3




   2009 Personal Care Products Council sends Comments on Citizens Petition to FDA
             In a letter dated July 21, 2009, John Bailey, Executive Vice President PCPC, sent a letter
             to Division of Dockets Management regarding the Public Citizen Petition. This letter
             states: Given the lack of evidence of a causal role for talc in ovarian cancer, we therefore
             respectfully ask that the Petitioners’ request for a cancer warning be denied. The basis of
             the request lacks scientific merit and the addition of a warning label would be
             inappropriate and unnecessarily alarming.  4F4 4




   2009 FDA-PCPC Teleconference 11/4/2009: FDA recognition of CIR findings
             In a summary of this call on 11/4/2009, “Dr. Katz emphasized that she cannot carte
             blanche adopt CIR’s findings. That would work only if FDA does the evaluation. For
   42
        FDA_FOIA_010269
   43
        P-0709
   44
        PCPC_MDL00044971-73
Case 3:16-md-02738-MAS-RLS Document 28798-4 Filed 12/14/23 Page 120 of 442 PageID:
                                   168798



   question the value of proceeding any further with the Mossman study. To put it in the vernacular,

   the ‘horse has already left the barn.’ Due to the considerable costs involved and deadlines no

   longer a factor, Luzenac (Rio Tinto Minerals) made the business decision that the potential value

   of this study was greatly diminished and did not warrant any further pursuit at this time.”

   LUZ001443.

           184.1. A deleted sentence stated, “one of their primary arguments is that there are simply

   too many positive epidemiology studies published to stem the tide of negative sentiment.”

   LUZ001443.

                 iii.        JNJ attempted to prevent actions by Health Canada to remove talcum
                             powder products from the market

   185. Following the release of a draft Health Canada report, “Screening Assessment Talc

   (Mg3H2(SiO3)4),66” JNJ submitted a briefing document that was critical of Health Canada’s

   process and conclusions and defending the absence of asbestos in talc even though Health

   Canada made their conclusions based on a non-asbestos containing talcum powder. Johnson’s

   Baby Powder: A Comprehensive Review is dated March 17, 2020. JNJTALC001465273.

           185.1. In April 2021, Health Canada published its Final Assessment67 regarding the

   health risks of the genital use of talcum powder, in particular, ovarian cancer. Based on the

   information provided in the CIR review article (see discussion), Health Canada stated:

   “Historically, some talc source materials were contaminated with asbestos. However, in 1976, the

   Cosmetic Toiletry and Fragrance Association (CTFA) set purity standards for cosmetic-grade talc

   resulting in a reduction in asbestos levels in cosmetic products. (Fiume et al. 2015).


   66
   https://www.canada.ca/en/environment-climate-change/services/evaluating-existing-substances/draft-screening-ass
   essment-talc-mg3h2sio34.html
   67 Screening Assessment Talc (Mg3H2(SiO3)4), Chemical Abstracts Service Registry Number 14807-96-6,
   environment and Climate Change, Health Canada, April 2021.
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                                   168799

          185.2. “Cosmetic-grade talc should comply with USP standards that require a limit of

   20ppm lead and an absence of asbestos (Fiume et al. 2015) . . . “The cosmetic-grade talc used in

   the health effect studies in this assessment were considered to be free of asbestos.” Nonetheless,

   Health Canada found: “With regards to perineal exposure, analyses of the available human

   studies in the peer-reviewed literature indicate a consistent and statistically significant positive

   association between perineal exposure to talc and ovarian cancer. The available data are

   indicative of a causal effect.” The human health effects portion of the Assessment underwent

   external peer review.

   186. JNJ made the argument in front of Health Canada that talc and asbestos were different.

          186.1. JNJ’s table compares the characteristics of asbestos and talc
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                                   168800

          186.2. JNJ also stated, “[i] n order to distinguish between asbestos and other minerals and

   confirm the absence of asbestos in Johnson’s Baby Powder, [JNJ] uses highly advanced, reliable,

   and reproducible techniques, including x-ray diffraction, polarized light microscopy, and

   transmission electron microscopy. JNJTALC001465273, p. 14.

          186.3. “[JNJ] uses talc that meets or exceeds standards for both cosmetic and

   pharmaceutical grade talc. [JNJ] has rigorous testing standards and has never confirmed the

   presence of asbestos in Johnsons Baby Powder or any other [JNJ] product containing talc.”

   JNJTALC001465273, p. 14.


          186.4. JNJ argued in front of Health Canada “Regarding Potential Ovarian Findings:”
              - “Proposed conclusions represent a complete reversal from previous scientific

                   engagement;


               -   “Perhaps influenced by civil litigation outcomes in the US (not science based);
               -   “More appropriate and comprehensive application of Bradford Hill

                   considerations required;

               -   “Explore all likely explanations for epidemiological findings (balanced by

                   considerations for mode of action and biological plausibility);

               -   “Appropriate weighting of unpublished, non‐peer reviewed studies (critical

                   studies selection) is necessary” P-1206.

          186.5. JNJ further argued “Additional General Considerations”: “Proposed conclusions

   regarding ovarian toxicity do not consider the full body of scientific evidence and are at odds

   with other bodies of largely the same scientific evidence (US FDA, NCI, CR, etc.). P-1206.

   187. In the late 70’s, Vernon Zeitz, the Director of Research at JNJ’s Windsor Minerals, in a

   handwritten letter to his colleagues, including Dr. Hildick-Smith, wrote in frustration after the
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                                   168801



   then Department of Health Education and Welfare contacted him about a government study of

   Vermont talc workers: “I am also aware that this approach is not the way that [JNJ] does things,

   however, most wars are not won at peace talks around the conference table, but are won on the

   battle field by legions who are the most ruthless who have the greatest desire to win, along with

   possessing the best overall strategy and weapons. If we are to be those legions, it is imperative

   we overcome the inertia of our past to modernize and mobilize our defenses and offenses so we
         now, she doesn’t have the manpower, further, the current process does not provide for
         FDA’s review leading to “adopt or not”.      4F4 5




   2010 IARC Monograph on Talc
             Perineal use of talc-based body powder is possibly carcinogenic to humans (group 2B).
             Inhaled talc not containing asbestos or asbestiform fibres is not classifiable as to its
             carcinogenicity (Group 3). (based on literature through 2006)  5F4 6




   2010 FDA conducts study on presence of asbestos in talc-containing cosmetic products.
             Because FDA’s cosmetic laboratories do not have the equipment needed to perform the
             analyses, FDA searched for a qualified outside laboratory. The study ran from September
             28, 2009 to September 27, 2010. The survey found no asbestos fibers or structures in any
             of the samples of cosmetic-grade raw material talc or cosmetic products containing talc.
             The results were limited, however, by the fact that only four talc suppliers submitted
             samples and by the number of products tested. For these reasons, while FDA finds these
             results informative, they do not prove that most or all talc or talc-containing cosmetic
             products currently marketed in the United States are likely to be free of asbestos
             contamination. As Always, when potential public health concerns are raised, we will
             continue to monitor for new information and take appropriate actions to protect the
             public health. 47
                           4F




   2013 Cosmetic Ingredient Review issues Safety Assessment of Talc as Used in Cosmetics
             The CIR Expert Panel assessed the safety of talc for use in cosmetics and concluded that
             it is safe in the present practices of use and concentration; talc is reported to be used at
             up to 100% in cosmetics. Talc should not be applied to the skin when the epidermal
             barrier is missing or significantly disrupted. Industry specifications state that
             cosmetic-grade talc must contain no detectable fibrous, asbestos minerals. Therefore, the
             large amount of available animal and clinical data the Panel relied on in assessing the
             safety of talc only included those studies on talc that did not contain asbestos. The
             Discussion of this safety assessment addressed a number of points that were deliberated.   7F4 8




   2014 Response to Citizens Petitions dated 11/17/1994 and 5/13/2008

             “FDA did not find that the data submitted presented conclusive evidence of a causal
             association between talc use in the perineal area and ovarian cancer.” 4F4 9




   2016 FDA requests safety information fromenter into battle with the outcome assured.”
   WTALC00007366, PX9718, J&J-87.
   45
        PCP_ MDL00044971
Case 3:16-md-02738-MAS-RLS Document 28798-4 Filed 12/14/23 Page 124 of 442 PageID:
                                   168802

   46
        IARC 2010

   188. In my opinion, JNJ decided in the 1970’s to aggressively defend its product. That

   strategy kept their product on the market for fifty years but put the public’s health at risk. It need

   not have been that way if JNJ was willing to bear any additional cost and reformulate the

   47
        IMERYS462959product.
   48
        Safety Assessment of Talc as Used in Cosmetics, Final Report April 12, 2013
   49
        2014 Denial of CPC Citizen Petition

   189. In my opinion, a reasonable and prudent company, would have reformulated the product

   in the 1970’s.

              E.      JNJ through CTFA created the impression beginning in 1976 that changes in
                      testing resolved the asbestos controversy in talc; yet JNJ claimed its testing
                      never found asbestiform particles

   190. In a 1977 Status Report – Defense of Talc Safety, written by J&J’s George Lee, Mr. Lee

   states:

              190.1. “The past two months have seen no disruptive influences and to the contrary, the

   cosmetic talcs have enjoyed confirming reassurance from several independent authoritative

   sources that they are assessed to be free of hazard for normal consumer use.

              190.2. “We attribute this growing opinion to the fact that (1) the existence of CTFA’s

   self-regulating cosmetic grade talc specification has become common knowledge and that (2)

   favorable data from the various [JNJ] sponsored studies have been disseminated effectively to
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         In an email, dated 2/25/2016, Janice Adams-King, Safety Regulatory Safety Project
         Manager for Office of Drug Evaluation, Division of Nonprescription Drug Products,
         FDA sends Information Request: “Please provide all safety literature and data regarding
         talc, including data in support of the safety of this active ingredient and data that shows
         potential harmful effects for this active ingredient by March 17, 2016.” 50
                                                                                   4F




   2016 J&J responds to FDA’s Request for Information on Talc
         In a letter to Theresa Michele, Jethro Ekuta states the following:
                 Please note that talc is inactive, ie, not a pharmacologically active ingredient, and
                 is a major component in many body powders such as Johnson's® Baby Powder
                 and Shower to Shower® Powder, which are classified as cosmetics per regulation.
                 . . Examples of countries that regulate talc in cosmetics include the US, EU,
                 China, Canada, UK, and Brazil. The US FDA lists talc as Generally Recognized
                 as Safe (GRAS) for use in foods and Generally Recognized as Safe and Effective
                 (GRASE) for drugs. It is also listed as a color additive that may be used in
                 coloring drug products and as a component of colors for use in drugs and
                 cosmetics. Talc used in JJCI body powders meets pharmaceutical specifications as
                 established by the European and US Pharmacopoeia. . . In 1976, specifications
                 were developed for cosmetic talc requiring that no detectable fibrous, asbestos
                 mineral be present. This is important for any consideration of preclinical and
                 epidemiological literature prior to 1976, as the presence of asbestos was not
                 necessarily ascertained. . . At Johnson & Johnson Consumer Inc., our confidence
                 in using talc is based on more than 100 years of safe use and more than 30 years of
                 research by independent researchers, scientific review boards and global
                 regulatory authorities. Various agencies and governmental bodies have examined
                 whether talc is a carcinogen, and none have concluded that it is. The scientific
                 literature, post-market experience, and expert opinion do not support the
                 association of talc and ovarian cancer. 51
                                                         5F




   the scientific and medical communities in the U.K. and U.S.”

   J&J-0146266-69; JNJMX68_000013482-85.

   191. In my opinion, the problems with the CTFA testing methodology J4-1 were: 1) it did not

   address chrysotile; 2) it had some very significant detection limits because it did not include
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   transmission electron microscopy; 3) it was not apparently accompanied by any changes in

   mining or manufacturing which made the product safer; 4) and it failed to report fibrous talc.

   Moreover, the repeated assertion by JNJ that there have never been any positive tests for

   asbestiform particles suggests that the CTFA testing methodology J4-1 did not accomplish

   anything. To be useful CTFA’s testing methodology would have to detect some positive

   samples for asbestiform particles.

   192. JNJ continued to tell the public that its testing methodologies made the product

   asbestos-free and that no asbestos-form structures have ever been found during any testing. JNJ

   000636145, p. 12 (PLT-00131).

          192.1. A 2013 draft for the Home Page of JNJ’s SafetyandCareCommitment.com

   website included a heading with these remarks and edits:


          1. “Talc has over 100 years of safe use in personal care products.
          2. JOHNSON’S talc products are made using Pharmacopeial (USP) grade talc to ensure

             it meets the highest-quality, purity and compliance standards. Our talc-based

             consumer products are have always been (we cannot say “always”) asbestos free, as

             confirmed by regular testing conducted since the 1970s.

          3. We also make JOHNSON’S Baby Powder that contains cornstarch.

   JNJTALC000067661(P-83).
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   193. Numerous epidemiologic studies accepted the concept that talcum powder became

   asbestos free beginning in 1976, for example:

           193.1. Gertig (2000): “Cosmetic talc may have been more likely to contain asbestos

   fibers prior to 1976, before voluntary guidelines were proposed.”

           193.2. Huncharek (2003): “Voluntary guidelines were established by the cosmetic

   industry in 1976 to limit the content of asbestiform fibers in commercial talc preparations,

   although the magnitude of the risk of ovarian cancer as a result of perineal exposure to talc

   remains unclear.”

           193.3. Berge (2017): “Furthermore, talcum powders for domestic use in the USA have

   been virtually asbestos free since the 1970s (Rohl et al., 1976).”

           193.4. Schildkraut (2016): “Although particles of asbestos have been found in older

   body powder formulations, particularly prior to 1976, more recent body powder formulations no

   longer contain asbestos.”

           193.5. Cramer (1982): “Generic ‘talc’ is seldom pure and may be contaminated with

   asbestos, particularly in powders formulated prior to 1976.”

   194. Health agencies also accepted the concept that talcum powder became asbestos-free

   beginning in 1976:

           194.1. Health Canada stated, “Historically, some talc source materials were

   contaminated with asbestos. However, in 1976, the Cosmetic Toiletry and Fragrance

   Association (CTFA) set purity standards for cosmetic-grade talc resulting in a reduction of

   asbestos levels in cosmetic products.”68




   68Screening Assessment Talc (Mg3H2(SiO3)4), Chemical Abstracts Service Registry Number 14807-96-6,
   environment and Climate Change, Health Canada, April 2021.
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              194.2. The American Cancer Society Website “Talcum Powder and Cancer” states, “[i]n

   1976, the Cosmetic, Toiletry, and Fragrances Association (CTFA), the trade association

   representing the cosmetic and personal care products industry, issued voluntary guidelines

   stating that all talc used in cosmetic products in the United States should be free from detectable

   amounts of asbestos according to their standards.”69

   195. In my opinion, the acceptance of JNJ’s concept that changes in testing resolved the

   asbestos controversy in talc by researchers and health agencies impeded the resolution of

   important safety issues.

              F.       JNJ defended its product by representing that there could be safe levels of
                       asbestos when there was no known threshold

   196. On September 6, 1974, Dr. Nashed of JNJ wrote to Dr. Schaffner at FDA, stating that

   “[JNJ] has been cooperating with the Cosmetic, Toiletry and Fragrance Association

   Subcommittee on Asbestos in Talc,” copying multiple individuals. JNJNL61_000013575.

              196.1. He further states that: “In an effort to answer the question about the required

   degree of sensitivity of the method of assay for asbestos in talc, our statistical group has made an

   estimation of a theoretical safe level of asbestos fiber in baby powder utilizing the TLV for

   asbestos and the data on dusting of baby powder.” JNJNL61_000013575.

              196.2. He concluded: “Therefore, methods capable of determining less that 1% asbestos

   in talc are not necessary to assure the safety of cosmetic talc.” Plaintiff’s Exhibit 2489,

   JNJNL61_000013575.

   197. In a memo with letter dated February 13, 1975, on letterhead “Johnson & Johnson Baby

   Products Company” reporting on a meeting with CTFA and FDA, CTFA’s Dr. Estrin “indicated




   69   https://www.cancer.org/cancer/risk-prevention/chemicals/talcum-powder-and-cancer.html
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   that the purpose of our meeting was to present the analytical methodology which had been

   developed by the CTFA Task Force as applicable to cosmetic talcs. Representing the FDA

   were Dr. Schaffner, Mr. Eiermann, Dr. Yates, and others. Representing CTFA were Dr. Estrin,

   Mr. Sandland, Mr. Lee, and others. Discussions at the meeting included:

          197.1. “When questioned as to FDA efforts and progress in the approach of

   ‘concentrating asbestos’ to increase the level of sensitivity, Dr. Yates replied in a tone of

   frustration that all attempts have met with failure; they had investigated heavy density liquid

   separation.


          197.2. “Dr. Yates did not state that efforts would be continued in this direction.
          197.3. “Dr. Schaffner agreed that no one has purported to have seen chrysotile in

   cosmetic talc except Professor Lewin.

          197.4. “Dr. Berdick made the point that if chrysotile is not expected to be found in talc,

   then the FDA should not propose regulations to cover chrysotile.

          197.5. “Mr. G. Sandland stated that a regulation of 1% asbestos in talc was not only

   achievable by thoroughly tested methods., but also gave a safety factor of 48,000 (Silvertson

   calculation). Mr. Eiermann bluntly said that the calculation was wrong since the standard of 2

   fibers/cc is not a time weighted average.

          197.6. “Before we had a chance for rebuttal Dr. Schaffner said that the Silvertson

   calculation was foolish since no mother was going to powder her baby with 1% of a known

   carcinogen irregardless of the large safety factor.

          197.7. “Dr. Schaffner emphasized that there is an ultimate and more important need for

   talc clinical safety data in order to satisfy the consumerist advocates. The writer assured him that

   this would be forthcoming from [JNJ]. Plaintiff’s Exhibit 60; J&J-0089804.
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   198. In trial testimony, John Hopkins confirmed that there is no safe level of asbestos.

           Q: Now on the issue of the safe level [of asbestos] is zero, J&J agrees with that?

           A: Yes.

   199. In a January 16 memo regarding a meeting with FDA Commissioner Schmidt, JNJ’s Dr.

   Nashed stated: “Our very preliminary calculation suggests that substantial asbestos can be

   allowed safely in a baby powder. J&J-0132008, Plaintiff’s Exhibit 2456.

   200.     In my opinion, JNJ defended its product by representing that there could be safe levels of

   asbestos when there was no known threshold in the 1970’s and put the public at risk because

   there is no known safe level of asbestos.

           G.        JNJ opposed testing methods that would improve the sensitivity of their
                     testing and reduce the number of false negatives

   201. As noted above, JNJ was aware that false negative results would occur with its testing

   methodology, in part because these tests were not sensitive enough. In light of the fact that

   asbestos was a known carcinogen with no known threshold, in my opinion, a reasonable and

   prudent company would attempt to improve the sensitivity of its testing so as not to put the

   public at risk.

   202. With regard to its approach to the improving of its laboratory methods, JNJ took the

   following actions:

           202.1. In 1973, JNJ’s Dr. Nashed, replying to Mullen’s questions regarding 9-28-72

   regulations proposed by FDA, stated, “The proposal will have no impact on our talc since the

   method of analysis in the proposal will show that our talc is acceptable. However, if they change

   the method, we may have problems.” JNJAZ55_000006212.

           202.2. In a May 16, 1973, letter, JNJ’s Dr. Shelley wrote to colleagues that he was

   planning to meet with scientists in England regarding “specs for analyzing talc for asbestos.” The
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   scientists there were considering a “method of concentrating the asbestos so as to be able to

   analyze by X-ray.” JNJAZ55_000001893.

          202.3. In his letter, Dr. Shelley described the “Pooley Method” which uses “two

   techniques for preconcentration of chrysotile and tremolite in talc by x-ray diffraction analysis . .

   .” Dr. Shelley further stated, “The limitation of this method is that it may be too sensitive.”

   JNJAZ55_000001896.

          202.4. A J&J memo dated November 24, 1976, to Mr. George Lee from W.H. Ashton

   discussed “a disturbing proposal request which the FDA has currently made available to

   qualified bidders.” The subject was the Separation of Asbestos in Foods, Drugs and Talc for

   Identification and Determination. Mr. Ashton expressed his concerns:

                       202.4.1. “I find this proposal more disturbing than other proposals up to

   now because it aims at separation and isolation of asbestos from a wide scope of products and

   animal tissues. Up to now, our main problems have had to do with identification, whereas, now it

   looks like the FDA is getting into separation and isolation methodology which will mean

   concentration procedures.

                       202.4.2. “As I have pointed out many times, there are many talcs on all

   markets which will be hard pressed in supporting purity claims, when ultra sophisticated assay

   separation and isolation techniques are applied. Pltf_JNJ_00031883.

          202.5. A report from the Colorado School of Mines, prepared for JNJ titled “A Procedure

   to Examine Talc for the Presence of Chrysotile and Tremolite-Actinolite Fibers” stated:

                       202.5.1. “The purpose of this document is to report the methods used at the

   Colorado School of Mines Research Institute for detection of chrysotile and/or

   tremolite-actinolite in samples predominantly composed of talc.
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   50
        JNJ000523964
   51
        JNJ 000489313

                     202.5.2. “As the impurity level becomes very low (<<1%), it is necessary to
   examine increasingly larger amounts of sample in order to detect the impurity. As a result of the

   requirement to detect the proverbial “needle in a haystack,” we have evolved a procedure which

   preconcentrates the impurities prior to examination.

                        202.5.3. “A procedure to detect the presence of chrysotile and/or tremolite

   fibers in talc is presented. The procedure involves two heavy liquid separations to concentrate

   any chrysotile and tremolite-actinolite which may be present.

                        202.5.4. “The heavy liquid concentrates are examined by optical

   microscopy for the presence of optical size (greater than approximately 2 microns in length)

   fibers of chrysotile and/or tremolite-actinolite. The procedure is capable of detecting fibers

   present at a level of approximately 10 ppm or less. JNJ 000268039.

             202.6. In a February 1975 letter from Sloane to Dr. R. Rohl, Mr. Sloane, in commenting

   on a concentration technique, stated: “We deliberately have not included a concentration

   technique because we felt that it would not be in worldwide company interest to do this.” PX58,

   JNJ000063925, JNJ0069873.

   203. When there is no known safe level of a carcinogenic substance, having the ability to

   detect the smallest feasible quantities is paramount.

   204. In my opinion, when dealing with known human carcinogens, safety cannot be

   substantiated in the absence of being able to detect the smallest feasible quantities of those

   carcinogens.

   205. In my opinion, in the absence of being able to detect the smallest quantities, there can be

   no representation that the baby powder is free of carcinogenic substances.


   206. Yet, JNJ made repeat representations that their baby powder was asbestos free.
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                     SCHEDULE 2: RELEVANT STANDARDS FOR TALC                       1 F5 2




   207. Making claims that the product was asbestos free fails to tell the whole story unless the

   limit of detection is explained.

   208. Non-detection is not equivalent to asbestos-free and can be easily misinterpreted.

   209. Making claims to the public that Baby Powder contains no asbestos is misleading unless

   its testing methods detect the smallest quantities of asbestos.

   210. In my opinion, making claims that its product was asbestos free without vigorous efforts

   to improve the sensitivity of the testing methods is concerning.

   211. In my opinion, making such claims while opposing efforts to improve the sensitivity of

   the testing methods is evidence that JNJ defended its powder while putting the public at risk.
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   212. In my opinion, for more than fifty years JNJ made representations that were misleading

   and not transparent.

   213. The sampling, detection, and interpretation of asbestos in talc is complex. A

   sophisticated company like JNJ deals with those questions all the time.

   214. In my opinion, confronted by the laboratory, geological and epidemiological evidence in

   its possession, a reasonable and prudent company would reformulate the product or stop selling

   it.

            H.       JNJ had evidence that existing methods could lead to false negative results or
                      other irregularities that could result in negative test records

   215. A September 13, 2011, presentation, titled “Fiber Management Overview,” discusses

   “Potential False Negatives.” The slide identifies, “[e]xisiting methods [that] may lead to false

   negative results70 if:


   70Imerys also noted the potential for false positive results: “Existing methods may lead to false positive results if:
   Chlorite is present (interference with serpentine by XRD). Zinc stearate is present in cosmetic (interference with
   amphibole by XRD. XRD is used without microscopy follow-up. Identification by morphology alone without
   PLM/Dispersion staining. Other elongated inorganic phases are present. Platy particles viewed on edge. Presence of
   organic fibers (i.e., bag house fibers).” PLT-04451, p. 14.
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   52
        Not an exhaustive compilation of standards, but simply the most relevant to this litigation.
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          215.1. “Asbestos is present, but is below XRD detection limit.

          215.2. “Chrysotile is present, but is below resolution limit of PLM.

         215.3. “Product is ground too finely for adequate PLM characterization (not typical for
   List of Relevant Regulatory & Standard-Promulgating Bodies:

          ASTM – American Society of Testing and Materials
          BP – British Pharmacopoeia
          EP – European Pharmacopoeia
          FDA – Food and Drug Administration
          JP – Japanese Pharmacopoeia
          KP – Korean Pharmacopoeia
          NF – National Formulary
          PCPC (formerly CTFA) – Personal Care Products Council (formerly Cosmetic, Toiletry

   and Fragrance Associationpersonal care products).
          SFDA – Chinese State Food and Drug Agency
          USP – United States Pharmacopeia

      1) Regulatory or Standards Publications

      ■ United States Pharmacopeia-National Formulary (USP-NF)

   The United States Pharmacopeia Convention (USP), a non-governmental organization, publishes
   two compendia each year, along with various revisions and supplements: The United States
   Pharmacopeia & The National Formulary (USP-NF). These publications are currently in their
   42nd & 37th Editions respectively as of November 1, 2018.
   https://www.uspnf.com/publication-comment-schedule. The compendia contain monographs on
   various chemicals, ingredients, and substances used in drugs, medical devices, cosmetics, etc.
   Included in the USP compendia is a monograph on talc that includes its definition and various
   testing methods for potential contaminants. The Excipients Monograph 2 Expert Committee is
   responsible for the Talc Monograph.
   http://www.usp.org/expert-committees/excipient-monographs-2-expert-committee-work-plan
   (linked Excel spreadsheet). Over the years, employees from Imerys (previously Luzenac or Rio
   Tinto), including Jocelyn Ferret and Julie Pier, have held positions on this expert committee.
   IMERYS 437666; IMERYS 456885. Both were members during what appears to be the most
   recent revision to the USP test method for the absence of asbestos in the Talc Monograph.
   IMA-NA0024007.

   USP 28 Talc Monograph, 2nd Supplement: IMERYS 442501

      ■ Food Chemicals Codex (FCC)

   “The Food Chemicals Codex (FCC) [also published by USP] is a compendium of internationally
   recognized standards for the identity, purity, and quality of food ingredients.”
   https://www.usp.org/frequently-asked-questions/food-chemicals-codex-fcc

   The FCC, currently in its 11th edition, includes a monograph on talc.
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   FCC 7th Ed. Talc Monograph: IMERYS 456885.061-063

       ■ International Cosmetic Ingredient Dictionary and Handbook

           215.4. “TEM underestimates due to exclusion of larger particles.”

           215.5. Imerys continues by discussing, “[false] negative results on questionable ore can

   result in:

           215.6. “Potential worker health problem. [emphasis added]

           215.7. “Potential public health issue.”

           215.8. “Significant litigation potential.”

           215.9. Imerys also stated on a previous slide, “False negative results on questionable ore

   can result in:

                        215.9.1. “Potential litigation risk.

                        215.9.2. “Potential unnecessary waste of ore.”

   PLT-04451, p.14-15.
   216. In my opinion, in light of the fact that JNJ had evidence that (a) its existing methodologies

   could produce false negatives that would fail to identify asbestos particles when they were

   present, and (b) the asbestos was a carcinogen for which there was no known safe exposure, JNJ

   had a responsibility to take all feasible steps to develop either a methodology that reduced the

   amount of false negatives as low as reasonably possible or to stop selling the talc product.

   217. It also appears that human factors may have contributed, deliberately or not, to the reporting

   of negative test results.




           217.1. In an email from Luzenac’s Julie Pier to Bruno Ducasse, with the subject “RE:

   Clivage [sic] fragments,” Pier writes, “R.J. Lee has a different approach to the whole thing. They
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   believe that if you can find a hint of a diffraction pattern from another mineral while you are

   looking at the amphibole fiber, then you can call the fiber ‘transitional’ and not truly amphibole.

   The analyst told me that when she finds a tremolite fiber, she will tilt the stage until she can see a

   talc diffraction pattern come into view. I am very skeptical of this. There is a lot of scatter of the

   electrons and you can sometimes get interference in the diffraction patterns from adjacent

   particles, especially at a higher title. I have spoken to someone at the USGS about this, and they

   are also skeptical about the R.J. Lee philosophy.”71 IMERYS446794.

            217.2. A May 17, 2001, Confidential Draft of an Interoffice Memo from R. J. Zazenski to

   D. D. Harris with the subject “LNAO Product Certification Program,” under a heading “TEM

   Analysis Protocol,” Zazenski states, “If asbestos fibers are present above the detection limit in

   samples from current mining and production, a second sample will be prepared and re-analyzed.

   If the second analysis fails to confirm the first, the results from the sample will be formally

   recorded as ‘asbestos detected, not confirmed.’ If the second analysis confirms the first, the

   sample will be sent to RJ Lee Group for independent validation. The results of the RJ Lee analysis




   71See also May 16, 2016, letter from George Lincoln at R.J. Lee to Sid Shankar at JNJ responding to an audit. The
   letter states, “In several instances, a CAR or investigation was not opened to document why there was presence of
   chrysotile (white asbestos) in J&J analytical reports.” It also stated, “It indicated that Sample in ID# 3138494 had
   multiple chrysotile particles. Re-preparation could not duplicate the original results . . . As a result, the samples
   were re-analyzed . . .” If further states, “The re-test samples were re-analyzed using specific talc parameters on the
   XRF which should have been applied when the original samples were analyzed. They were not applied because the
   analyst who typically runs the XRF was out of the office and her backup did not apply the talc specific settings . . .
   Corrective Action, CAR-16012-XRD, has been opened in order to document the need for analyst retraining
   according to SOP XRD.019 and XRD.026 in order to provide a standard procedure” JNJ000521616. On June 28,
   2016, letter from George Lincoln at R.J. Lee to Michael Lesh at JNJ, stated, “RJ Lee Group staff acknowledge that
   communication in a formal narrative to the client in terms of re-testing irregular results prior to the issuance of a
   final report was lacking.” JNJTALC001042772. See also PLT-019, IMERYS 308446.
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   will be recorded as the formal, final result for that sample.” (emphasis in original) IMERYS

   039204.

   218. In my opinion, there is evidence that the opportunity for bias was introduced into the

   asbestos testing programs.

   219. It appears that it was not uncommon practice for J&J’s testing program to re-test samples

   when a positive test was reported. Re-testing would be appropriate if a pre-testing protocol

   governed such conduct and there were methods to assure that bias would not be introduced into

   the testing process. Re-testing outside of an agreed upon protocol can lead to what is known as

   “testing into compliance.” FDA has said in other contexts, “‘testing into compliance’ is

   unscientific and objectionable.”72

   220. Certainly, a sophisticated company such as JNJ recognizes the potential for introduction of

   bias in re-testing.

   221. As late as 2016, JNJ’s selected third party testing laboratories were arguing against using a

   “conservative” approach in talc testing. R.J. Lee’s Drew R. Van Order wrote to Dr. Stephen

   Raven of Johnson and Johnson on March 10, 2016, and stated,

           221.1. “Specification of a conservative aspect ratio (3:1) instead of a value of 20:1 to

   100:1 as is found in global analytical procedures will lead to increased variability in the reported

   asbestos content in the absence of the consideration of morphological criteria (e.g., very thin

   fibrils (generally thinner than 0.5 um) occurring in bundles or masses and often showing

   curvature). The variability results from the inclusion of non-asbestos minerals that are elongated

   simply due to fracture mechanics, not due to the growth of a fiber. These minerals may include

   the talc itself.” JNJTALC000276224-5.


   72“Guidance for Industry Investigating Out-of-Specification (OOS) Test Results for Pharmaceutical Production,”
   U.S. Department of Health and Human Services, October 2006, p.8.
   PCPC, a cosmetic industry trade association and defendant in this litigation, publishes the
   International Cosmetic Ingredient Dictionary and Handbook (previously called the CTFA
   Cosmetic Ingredient Dictionary). This Dictionary provides uniform names and definitions for
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   cosmetic ingredients (INCI, International Nomenclature Cosmetic Ingredient), lists cosmetic
   ingredient suppliers, and provides other information relevant to ingredients. Since its first
   publication in 1973, there have been 16 editions published, with the most recent edition in
   2016. The FDA currently recognizes cosmetic ingredient names based on the 2nd Edition of the
   Dictionary (21 CFR 701.3(c)). The sections on specific ingredients are called Monographs (i.e.,
   the Talc Monograph).

   CTFA 2d Edition: https://law.resource.org/pub/us/cfr/ibr/003/cfta.cosmetic.1977.pdf

   ICID 16th Edition (introduction only, excluding monographs):
   http://webdictionary.personalcarecouncil.org/ctfa-
   static/online/FrontMatter Vol1%20Edited%20for%20Websites.pdf

      ■ European Pharmacopoeia (EP)

   Created by the Convention on the Elaboration of a European Pharmacopoeia, the
   European Pharmacopoeia, developed by the European Pharmacopoeia Commission and
   currently in its 9 th Edition, includes a monograph on talc.
   https://www.edqm.eu/en/european-pharmacopoeia-commission
   https://www.edqm.eu/en/european-pharmacopoeia-ph-eur-9th-edition

   European Pharmacopoeia 7.0: http://www.fptl.ru/biblioteka/farmacop/EP-7.0-2.pdf (Talc
   Monograph starts on p. 1687)

      ■ British Pharmacopoeia (BP)

   The British Pharmacopoeia, developed by the British Pharmacopoeia Commission,
   incorporates monographs from the European Pharmacopoeia and provides additional
   monographs. https://www.pharmacopoeia.com/what-is-the-bp
   https://www.pharmacopoeia.com/the-bp-Commission
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       2) Testing Standards & Specifications 53    5F




       ■   PCPC/CTFA

     Test/Standard                                 Name (or Method)
     Identification                                CTFA G 3-1
     Acid-Soluble Substances                       CTFA E 32-1
     Screen Test                                   CTFA C 6-1
     Loss on Ignition                              CTFA E 36-1
     Arsenic                                       CTFA E 1-1, Parts I-a and II
     Lead                                          CTFA E 2-2, Parts I-A and II
     Fibrous Amphibole (Asbestiform                CTFA J 4-1
     Tremolite, et al)
     Quartz                                        CTFA J 5-1 (DTA) or CTFA J 6-1 (XRD)
   222. In my opinion, a reasonable and prudent manufacturer, when confronted with a carcinogen

   for which there is no known human threshold, would adopt procedures that were most protective

   (i.e., “conservative”) of the public health, even at the risk of increased variability.

           222.1. In contrast to the personal care product industry, the methods written for building

   materials have the included implication that a finding that amphiboles are asbestos. (“Existing

   methods written for building materials have the implication that amphibole/serpentine is

   asbestos.” IMERYS 193653.

   223. In my opinion, while microscopists and geologists have much to add to our scientific

   understanding, the failure of JNJ to adopt a public health approach to asbestos in talc testing,

   even if that led to over-inclusion and false positives, put consumers at risk.

           I.      JNJ failed to recognize and mitigate the potential risks of fibrous talc 224.

   Cralley et al. studied 22 talcum products, finding “fiber contents ranging from 8% to 30% by

   count of the total particulates with an average of 19%. Although the specific fibrous materials

   were not identified, they were predominantly fibrous talc, as shown by X-ray diffraction, with the

   probably [sic] presence in minor amounts of other fibrous minerals such as tremolite,

   anthophyllite, chrysotile and pyrophyllite.” JNJ000018189.
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   225. In the 1973 memo from D.R. Petterson to D.D. Johnston previously discussed relating to

   Windsor Mineral and talc, asbestos fibers and talc fibers were distinguished. The memo stated:

            225.1. “As for Baby Powder, the entire thrust of our communications with the FDA has

   concentrated on asbestos as harmful fiber like material. Sophisticated techniques have been

   proposed to make sure that fiber-form materials present in samples were identified as being

   asbestos. The implication is that all other fiber-forms, if present, were talc or other minerals and

   these were safe.

   JNJ000304864 (CTFA Compendium of Cosmetic Ingredient Composition,
   1990) JNJ000349424 (specification current as of 2000)

        ■   USP

    Test/Standard
    Identification
    Microbial Limits
    Acidity and alkalinity
    Loss on Ignition
    Water-soluble substances
    Limit of Iron
    Limit of Lead
    Limit of Calcium
    Limit of Aluminum
    Absence of Asbestos
    Content of Magnesium

   IMERYS 442501

        ■   ASTM

   ASTM D6620 - 06(2010)
   Standard Practice for Asbestos Detection Limit Based on Counts
   https://www.astm.org/Standards/D6620.htm

   ASTM D5756-02(2008)


    Current as well as historical testing methods included. At times, Defendants used internally developed testing
   53


   methods or other methods not included in this Schedule.
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                                   168821



             225.2. “This posture will no longer be satisfactory. If the FDA Food Division, which is

   moving more rapidly than the Cosmetic Division, publishes a standard, it will probably be to ban

   asbestos-form fibrous materials in talc.

             225.3. “Our Baby Powder contains talc fragments classifiable as fiber. Occasionally

   sub-trace quantities of tremolite or actinolite are identifiable (optical Microscope) and these

   might be classifiable as asbestos fiber.” JNJ00000294872.

   226. In an October 11, 1972, letter from Johnson & Johnson to the FDA, W. Nashed writes,

   “In summary, as stated above, talc itself may contain “asbestos-form” particles that are not

   asbestos. There are no specific data of other information showing that talc is carcinogenic.”

   JNJAZ55_00001362.

   227. As discussed above, FDA and other government scientists have recognized that the health

   risks associated with particles like asbestos extend to elongated mineral particles.

   228. Furthermore, IARC has categorized talc in fibrous form as a Group 1 carcinogen in the

   same category as asbestos.

   229. In my opinion, JNJ’s failure to recognize and mitigate the potential risks of fibrous talc

   put the public at risk.

             J.     JNJ implemented laboratory testing methods that had criteria that risked
                    missing positive results of asbestos.

   230. JNJ adopted a standard test method for “Analysis of Powdered Talc for Asbestiform

   Minerals by Transmission Electron Microscopy” dated March 8, 1989, that set a limit of

   quantifiable detection. Under the heading “Limit of Quantifiable Detection,” J&J’s test method

   stated:

             230.1. “The detection of five or more asbestiform minerals of one variety in an analysis

   constitutes a quantifiable level of detection.” J&J-0007920.
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           230.2. Dr. James R. Millette from Millette Technical Consulting discussed this setting of

   a quantifiable level of detection in the article, stating,

           230.3. “For lack of better statistical information at the time in 1990, the publication stated

   a rule of thumb that the detection of five or more asbestiform minerals of one variety in an

   analysis constituted a quantifiable level of detection. Subsequent method of development in the

   area of TEM analysis for asbestos has shown that the detection of less than five fibers in a sample

   can provide a statistically valid result.” Millette, James R., (2015). Procedure for the Analysis of

   Talc for Asbestos. The Microscope, Vol. 63(1), 11-20, 12.

           230.4. Generally, a detection limit means the minimum concentration of an analyte,

   substance or particles, that can be measured and reported with a certain degree of confidence that

   the analyte, substance or particles is distinguishable from the method blank results. See

   generally, for example, 40 CFR § 136.2.

           230.5. The estimated LOD, according to CDC method 7402, dated May 15 1989, is “1

   confirmed asbestos fiber above 95% of expected mean blank value.” Asbestos by TEM,

   Method 7402, NIOSH Manual of Analytical Methods (NMAM), Fourth Edition, 8/15/1994,

   p.1.

           230.6. According to a 2019 publication of ASTM International by Bertram Price titled

   The Foundation for ASTM D6620 Standard Practice for Asbestos Detection Limit Based on

   Counts and Its Application as a Study Design Parameter stated:

                   230.6.1.         “A detection limit (DL) is often, but erroneously, thought of as

   a quantitative boundary between measurements that are reliably differentiated from

   background and measurements nor differentiable from background.
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                     230.6.2.       “That is not, however, a DL’s function; A DL is the mean value of a

   statistical distribution of measurements that have a high probability of not being confused with

   below detection measurements.”73

              230.7. In my opinion, in dealing with a known carcinogen, the test methods that are

   employed should use a level of detection that does not miss finding asbestos fibers that are

   present in the sample, taking into account the mean background level. The test methods should

   be sensitive enough to protect the public health.

              K.     JNJ’s approach to the asbestos issue in talc was to initiate studies only
                     as required by confrontation

   231. In a “Strictly Confidential” memo, dated March 3, 1975, with Subject: “Management

   Authorization for Additional Talc Safety Studies,” Dr. Petterson writes:

              231.1. “Our current posture with respect to sponsorship of talc safety studies has been to

   initiate studies only as dictated by confrontation. This philosophy, so far, has allowed us to

   neutralize or hold in check data already generated by investigators who question the safety of

   talc.

              231.2. “The principal advantage for this operating philosophy lies in the fact that we

   minimize the risk of possible self-generation of scientific data which may be politically or

   scientifically embarrassing.

              231.3. “An alternative philosophy . . . would favor a more anticipatory approach. We

   would carry out other reasonable safety studies to continue our contradiction of generated

   negative data and to anticipate questions on safety which will probably be raised.”

   Plaintiff’s Exhibit 2514, JNJNL61_000016437.




   73   See generally ASTM D6620.
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   232. In my opinion JNJ, by adopting the approach to the asbestos issue in talc, which was to

   initiate studies only as required by confrontation, failed to substantiate the safety of its product.

           L.     JNJ created confusion and doubt when the safety of their product
                  was brought into question

   233. Per a November 13, 2000, email between Luzenac’s Rich Zazenski and Erin Turner,

   Luzenac referenced a “Critique” by Dr. Wehner by stating, “I expessed [sic] concern about the

   strident, some might say arrogant, tone of his original essay. That document failed to convince

   (although we do not know if the style contributed to that) so this time I strongly recommend we

   turn it round into a collaborative style that puts the consultants who prepared the draft in the

   firing line, not the NTP and its venerable Counsellors. The aim should be to create a reasonable

   doubt in their minds that they may not be acting on the best of advice from their consultants. It is

   not to curse them for fools in the hope they wiii [sic] agree they are fools and change their minds.

   All the points stay the same just the target of the -- critisism [sic] changes.” IMERYS 239407.

   234. On January 4, 2001, Luzenac’s Rich Zazenski sends an email to colleague Eric Turner

   reporting on a recent CRE meeting. Strategies for approaching and influencing health agencies

   were discussed:

           234.1. CRE’s Jim Tozzi “recommended that over the coming months, we target specific

   individuals at each of the agencies on the Executive Committee who might be likely be the

   attendees for the talc review. Then we select an issue which we want that particular individual to

   become familiar with before the committee meeting. For example, we target individuals within

   the FDA and the CPSC to focus on the weaknesses of the epidemiologic studies. Then perhaps

   we target individuals at OSHA and NIOSH for pointing out the irrelevance of the NTP animal

   study, etc.
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          234.2. “We dodged a bullet in December based entirely over the definition issue.

   However, I believe that given the issue at hand, the Draft report can be amended to remove the

   ‘fatal flaw assumptions’ by accounting for the ambiguities surrounding the content of body

   powders prior to 1976 in a different context.

          234.3. “Essentially, if the report were to be rewritten to state that the possibility of

   asbestos contamination of cosmetic talc prior to 1976 should simply be accounted for as an

   additional ‘confounding’ factor in the epidemiology studies, a revote for ‘talc not containing

   fibers’ would likely go the other way.

          234.4. The additional confounding factor might simply reduce the relevance of the

   human studies from ‘sufficient’ to ‘limited.’ Limited human studies most certainly result in

   a NTP listing recommendation – regardless of the relevance of the animal study.”

          234.5. Attendee Robert Bernstein responds: “Time to come up with more confusion.”

   IMERYS 303828.

   235. In my opinion, JNJ’s defensive strategy of creating doubt and confusion failed to resolve

   the safety issues associated with its product.


          M.     JNJ Misled doctors
   236. JNJ had multiple communications with the medical community. Regarding the perineal

   use of talcum powder and ovarian cancer, one of the most important groups were gynecologic

   oncologists who care for women with ovarian cancer. PLT-09808.

          236.1. For example, in an email exchange in February 2016, the JNJ marketing lead for

   the SGO (Society of Gynecologic Oncology) asked for talking points for the annual SGO

   meeting. The individual was provided with the “talc facts, verbatim, that are posted on

   www.jnj.com.” JNJTALC000250188.
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          236.2. This information on the document included:
          1) “JOHNSON’S talc products do not contain asbestos. . .The talc used in all our global

              production is carefully selected and processed to be asbestos-free, which is confirmed

              by regular testing since the 1970s.

          2) “The safety of talc is based on a long history of safe use and more than 30 years of

              research by independent researchers, scientific review boards and global authorities.

          3) “The grade of talc used in cosmetics is of high purity, comparable to that used for

              pharmaceutical applications and is free from asbestos and asbestiform fibers.

              Cosmetic grade talc is only mined from select deposits from certified locations, and

              milled to relatively large non-respirable particle size (>5µm).


          4) “Our sources for talc undergo comprehensive qualification. The incoming talc is

              routinely evaluated using a sophisticated battery of tests designed to ensure quality,
              safety, and compliance with all global standards.” JNJTALC000250189-90.” 237. In

   my opinion, in light of the totality of evidence in JNJ’s possession regarding scientific evidence

   of the association of talcum powder and ovarian cancer, laboratory testing suggesting the

   presence of particles for which the safety was not established, and the complexities of the

   geologic formation of talc and asbestos, JNJ’s statements to the gynecologic oncologists and the

   medical community more broadly was misleading because they failed to tell the whole story.


          N. JNJ Described Scientists as “Antagonistic Personalities”
   238. By December 1972, JNJ had already identified “Antagonistic Personalities In The Talc

   Story in the U.S. A. A memo from Dr. Gavin Hildrick-Smith to colleagues, including Drs.

   Fuller, Nashed, and Petterson, made these statements:
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          238.1. “The increase in the profile of talc as a potential health hazard has been actively

   promoted for a variety of reasons.

          238.2. “The start of the attack on talc originated in England at the Tenovus Research

   Institute in Cardiff where a technician in microscopy published a paper.

          238.3. “In the U.S.A. the leading group who initiated the attack is located in New York

   City and included these scientists: Dr. Sellikoff, Dr. Langer (‘a microscopist who visually

   identifies chrysotile in most samples of talc,’ others in Dr. Sellikoff’s department ‘who have the

   same mental attitude as Dr. Sellikoff’), Dr. Weissler at FDA (‘seems particularly anxious to

   condemn talc’), and Dr. Lewin, Professor of Analytical Chemistry at New York University who

   was used as a consultant by FDA (‘insists on claiming that asbestos is present in talc found to be

   free of asbestos by other authorities’). Plaintiff’s Exhibit 2514, JNJNL61_000016437.

          O.      JNJ continues to mislead the public via their website
                  www.factsabouttalc.com

   239. The current JNJ website “Facts about Talc” states in part:

          239.1. “We continue to use talc in our products because decades of science have

   reaffirmed its safety. Your trust in Johnson’s Baby Products and your confidence using them

   every day is a huge responsibility – that’s why we only use ingredients that are deemed safe to

   use by the latest science. Research, clinical evidence and over 40 years of studies by medical

   experts around the world continue to support the safety of cosmetic talc. Health authorities

   around the world have reviewed the data on talc, and it is used widely across the globe.

          239.2. “Even with talc’s long history of safe use in consumer products, some have

   questioned whether using talcum powder can increase a person’s risk of developing cancer.

   Recently, there have been questions raised as to whether the talc used in consumer products is
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   contaminated with asbestos. The weight of the science does not support any claim that our talc

   products cause cancer.

           239.3. “Thousands of tests repeatedly confirm that our consumer talc products do not

   contain asbestos. Our talc comes from ore sources confirmed to meet our stringent

   specifications. Not only is our talc routinely tested to ensure it does not contain asbestos, our talc

   has also been tested and confirmed to be asbestos-free by a range of independent laboratories

   and universities.”74


   240. In contrast, FDA’s website about Talc states in part:
          240.1. “Published scientific literature going back to the 1960s has suggested a possible

   association between the use of powders containing talc in the genital area and the incidence of

   ovarian cancer. However, these studies have not conclusively demonstrated such a link, or if such

   a link existed, what risk factors might be involved.

           240.2. “Cosmetics must be properly labeled, and they must be safe for use by consumers

   under labeled or customary conditions of use. The law does not require cosmetic companies to

   share safety information with FDA.

           240.3. “Both talc and asbestos are naturally occurring minerals that may be found in

   close proximity in the earth. Unlike talc, however, asbestos is a known carcinogen when inhaled.

   There is the potential for contamination of talc with asbestos.

           240.4. “In addition, questions about the potential contamination of talc with asbestos

   have been raised since the 1970s.”75


   241. In my opinion, JNJ continues to mislead the public on its website factsabouttalc.com.


    Johnson & Johnson Consumer Inc., Facts About Talc, https://www.factsabouttalc.com/ (last visited November 13,
   74


   2023).
   75 U.S. Food & Drug Administration, Talc, https://www.fda.gov/cosmetics/cosmetic-ingredients/talc (last visited
   November 13, 2023).
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   Standard Test Method for Microvacuum Sampling and Indirect Analysis of Dust
   by Transmission Electron Microscopy for Asbestos Mass Surface Loading
   (Withdrawn 2017)
   https://www.astm.org/DATABASE.CART/WITHDRAWN/D5756.htm

          Comparison of testing standards:




   IMERYS 444294 (2011)
        P.     Conclusion

   242. In my opinion, although controversies and complexities existed, JNJ defended its product

   despite significant questions regarding its safety and put the public at risk.

   VII. JNJ had an available alternative to talcum powder in cornstarch and had evidence
          of that in the 1970’s

   243. In a 1964 memo with subject “Cornstarch Development” reported a meeting with JNJ’s

   W. H. Ashton, R.G. Schoel, and others, Dr. Ashton writes:

          243.1. “Mr. Schoel requested we immediately undertake the formulation and
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   development of a cornstarch product which is inexpensive and free-flowing.

          243.2. “The product will use our standard perfume, P-5. It will be compounded at a level

   which gives an aroma match to our standard talc article.

          243.3. “The raw material cost of the Staley product is estimated to be 6.7 cents/lb. of

   product plus perfume.”

          243.4. Of the cornstarch products considered, “the Dry Flo has very appealing tone

   because it would open the door to a merchandising advantage which could refer to an all starch

   product, i.e. a blend of it with U.S.P. Cornstarch would have no inorganics.

          243.5. One of the largest commercial uses of Dry Flo was “as a condom lubricant where

   it replaced talc because it was found to be absorbed safely in the vagina whereas, of course, talc

   was not. JNJ 000265536-38.

   244. A Johnson & Johnson research proposal written by W. Ashton, dated March 5, 1974, and

   titled “TALC ALTERNATIVES” stated:

          244.1. “During the past couple of years our need for a non-talc dusting powder base has

   increased as a direct results of the talc/asbestos controversy. The thrust against talc has centered
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                      IN THE UNITED STATES DISTRICT COURT
                 Published Specifications as of 2004 (IMERYS 418301-02)


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      3) Government Regulations Directly Applicable to Talc

   21 CFR 73.1550

         PART 73 -- LISTING OF COLOR ADDITIVES EXEMPT FROM CERTIFICATION

         Subpart B--Drugs

         Sec. 73.1550 Talc.

                (a) Identity. (1) The color additive talc is a finely powdered, native, hydrous
                magnesium silicate sometimes containing a small proportion of aluminum
                silicate.

                (2) Color additive mixtures for drug use made with talc may contain only those
                diluents listed in this subpart as safe and suitable for use in color additive
                mixtures for coloring drugs.

                (b) Specifications. Talc shall meet the specifications for talc in the United
                States Pharmacopeia XX (1980) and the following:

                Lead (as Pb), not more than 20 parts per million.

                Arsenic (as As), not more than 3 parts per million.

                Lead and arsenic shall be determined in the solution obtained by boiling 10 grams
                of the talc for 15 minutes in 50 milliliters of 0.5N hydrochloric acid.

                (c) Uses and restrictions. Talc may be safely used in amounts consistent with
                good manufacturing practice to color drugs generally.

                (d) Labeling requirements. The label of the color additive and of any mixtures
                prepared therefrom intended solely or in part for coloring purposes shall conform
                to the requirements of 70.25 of this chapter.

                (e) Exemption from certification. Certification of this color additive is not
                necessary for the protection of the public health, and therefore batches thereof are
                exempt from the certification requirements of section 721(c) of the act.

   21 CFR 182.2437

         PART 182 -- SUBSTANCES GENERALLY RECOGNIZED AS SAFE

         Subpart C--Anticaking Agents

         Sec. 182.2437 Magnesium silicate.
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                (a) Product. Magnesium silicate.

                (b) Tolerance. 2 percent.

               (c) Limitations, restrictions, or explanation. This substance is generally
                 recognized as safe when used in table salt in accordance with good
                 manufacturing practice.

   21 CFR 178.3297

         PART 178 -- INDIRECT FOOD ADDITIVES: ADJUVANTS, PRODUCTION AIDS,
         AND SANITIZERS

         Subpart D--Certain Adjuvants and Production Aids

         Sec. 178.3297 Colorants for polymers.
         The substances listed in paragraph (e) of this section may be safely used as colorants
         in the manufacture of articles or components of articles intended for use in producing,
         manufacturing, packing, processing, preparing, treating, packaging, transporting, or
         holding food, subject to the provisions and definitions set forth in this section:

         (a) The term colorant means a dye, pigment, or other substance that is used to impart
         color to or to alter the color of a food-contact material, but that does not migrate to food
         in amounts that will contribute to that food any color apparent to the naked eye. For the
         purpose of this section, the term "colorant" includes substances such as optical
         brighteners and fluorescent whiteners, which may not themselves be colored, but whose
         use is intended to affect the color of a food-contact material.

         (b) The colorant must be used in accordance with current good manufacturing
         practice, including use levels which are not in excess of those reasonably required to
         accomplish the intended coloring effect.

         (c) Colorants in this section must conform to the description and specifications
         indicated. If a polymer described in this section is itself the subject of a regulation
         promulgated under section 409 of the Federal Food, Drug, and Cosmetic Act, it shall
         also comply with any specifications and limitations prescribed by that regulation.
         Extraction testing guidelines to conduct studies for additional uses of colorants under
         this section are available from the Food and Drug Administration free of charge from the
         Food and Drug Administration, Center for Food Safety and Applied Nutrition, 5001
         Campus Dr., College Park, MD 20740, 240-402-1200

         (d) Color additives and their lakes listed for direct use in foods, under the provisions of
         the color additive regulations in parts 73, 74, 81, and 82 of this chapter, may also be
         used as colorants for food-contact polymers.

         (e) List of substances:
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   primarily on biological problems alleged to result from the inhalation of talc and related mineral

   problems.

          244.2. “For defensive reasons, in the event that talc must be removed from the market,

   the development of a product based on ordinary cornstarch (Formula 31) is being finalized.

          244.3. “The product concept is that Formula 31 is divorced from talc allegations since

   cornstarch is a non-mineral. The assumption is that Formula 31 will be non-reactive (i.e.,

   biodegradable) . . .” JNJNL61_000001954-66.

   245. In JNJ’s Corn Starch Powder Fact Book dated 1976, the research and development of the

   cornstarch baby powder was described:

          245.1. “The first development period which took place between February 1964 to March

   1968 was centered on producing a medicated corn starch baby powder. JNJTALC000866115.

          245.2. It continued, “During the second phase of development which began in July 1971

   and is active presently, the effort was directed at duplicating Johnson’s Baby Powder (talc) with

   a biodegradable powder either as a replacement in even[sic] of a crisis or as an extension

   product. JNJTALC000866116.

          245.3. “The properties of corn starch and other powders did not duplicate those of talc

   but had unique and desired properties of their own. Corn Starch Baby Powder is more absorbent,

   whiter, more flowable, apparently able to retain perfume better than the talc products. It is

   lubricious but has a different texture than talc.” JNJTALC000866116.


          245.4. “Human and animal studies were found to be satisfactory.” JNJTALC000866116.
          245.5. “Johnson’s Corn Starch labeled as such was preferred over Johnson’s Baby

   Powder by 62% to 30%. The Corn Starch powder was preferred for its effectiveness, curative

   and other properties related to corn starch, i.e., absorption.” JNJTALC000866117.
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          245.6. “The data supports the conclusion that cornstarch is less reactive than talc and that

   there was a progressive loss of starch from the tissue with time. This latter observation would

   suggest that the accidental inhalation of cornstarch powder will not result in any chronic harmful

   effects.” JNJTALC000866125.

          245.7. The “Estimated Release Date” is written as “August 1976.” JNJTALC000866104.

   246. In 1978, the FDA determined that “corn starch is safe and effective for OTC use as a skin

   protectant.” JNJ000348778; Department of Health, Education, and Welfare, Food and Drug

   Administration, Skin Protectant Drug Products for Over-The-Counter Human Use, Conditions

   for Safety, Effectiveness and Labeling; Proposed Rulemaking. August 4, 1978, Part II.

   247. A July 18, 1977, JNJ review with the subject “JOHNSON’S Baby Powder with

   Cornstarch U/A Analysis” to C.E. LaRosa from Lauren E. Hielle-Tucker states: “In view of

   possible government legislation banning the cosmetic use of talcum powder, the Brand is test

   marketing JOHNSON’S Baby Powder with Corn Starch in Ft. Wayne, Indiana as a possible

   product replacement formula.” JNJ 0002456.

   248. In 1984, A document titled “Johnson & Johnson Baby Powder: Questions and Answers,”

   was “developed for limited internal distribution in response to the need for clarification of issues

   relating to baby powder and talc.” JNJ 000011150. This document states:

          248.1. “Specifically, its sole purpose at this time is to provide designated company

   spokespersons with answers to questions which could be raised by the press. It is not meant for

   distribution to anyone other than the individuals who will act as company spokespersons as

   necessary.” Three executives are mentioned, including James Utaski, President of JNJ’s Baby

   Products Company. JNJ 000011151.
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           248.2. “Communication objectives are: 1) Johnson & Johnson Baby Powder, used
   properly, is safe. Extensive, scientifically documented evidence supports this claim as does the

   Food and Drug Administration (FDA), and 2) No one knows more about safe, high quality baby

   care than Johnson & Johnson Baby Products Company. To ensure continued confidence in our

   baby powder, we will conduct research as needed to reconfirm the safety of the product.” JNJ

   000011152.


          248.3. Examples of Q&A included:

                  “Q: Haven’t they found traces of asbestos in talcum powder?
                  A: Not in JOHNSON’S Baby Powder. Since the 1940’s, when the testing

                  technology first became available, Johnson & Johnson has regularly tested its talc

                  to insure no asbestos contamination. Years ago, before quality controls were in

                  place, some talcum powders could have contained asbestiform particles. Since

                  1976, however, the FDA has been conducting tests on a regular basis and has

                  declared all talc-based baby powders to be free of such particles.


                  Q: Why did you introduce a cornstarch product?
                  A: While talc provides a moisture repellent barrier on the skin, cornstarch absorbs

                  moisture to make skin feel dry. It was found that some consumers preferred it, and

                  we wanted to provide them with a superior cosmetic grade cornstarch.


                  Q: Isn’t it because it is safer?
                  A: Not at all. First, the safety of talcum powder has been continuously re-affirmed

                  by Johnson & Johnson, the medical community and by the government. And, we

                  are always conducting research to ensure its safety. JNJ 000011156, JNJ

                  000011185.
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   249. In 2000, a review article, published in the American Journal of Obstetrics and
   Gynecology and titled “Perineal application of talc and cornstarch powders: valuation of ovarian

   cancer risk” addressed these issues and concluded:

           249.1. “In contrast to talc, cornstarch contains no asbestos and is capable of being

   removed from the peritoneal cavity, as demonstrated by in vivo studies on granuloma formation.

           249.2. “In view of the chemical nature of cornstarch, an increased risk for ovarian

   cancer as a result of perineal exposure to cornstarch, is biologically implausible. Furthermore,

   epidemiologic studies have found no association between perineal application of exclusively

   cornstarch powders and ovarian cancer.

           249.3. “Consequently, no increased risk for ovarian cancer from the use of perineal

   powder containing cornstarch exclusively is predicted from the review of the available

   literature.” JNJ000018894, Whysner John and Mohan, Melissa. Am J Obstet Gynecol 182(3).

   250. As noted above, in my opinion, confronted by the laboratory, geological and

   epidemiological evidence in its possession, a reasonable and prudent company would

   reformulate the product or stop selling it. JNJ had evidence in its possession that cornstarch was

   a safe and effective replacement for talc. The failure to switch to cornstarch put the public at

   risk.



   VIII. JNJ BABY POWDER LABEL AND LABELING WAS FALSE AND MISLEADING
          250.1. Over decades, JNJ Baby Powder made claims that it was “clinically and

   scientifically proven,” “mild and gentle,” “pure,” “purest, mildest, gentlest,” and “most

   effective." JNJ 000364540.

   251. Over time, JNJ’s Baby Powder made the claims that “Johnson’s the Number 1 choice of

   hospitals.” JNJ 000108692.
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   252. JNJ for decades built an image that it associated with its products “enhancing bond

   between mom and baby” and “most trusted by parents and health care professionals.”

   JNJTALC000733349.

   253. “That trust” was used within the company as its major asset and “golden egg.” JNJ

   000364540.

   254. Key to JNJ’s corporate strategy was an image of trust that grew out of the mother and

   child bond.

   255. A JNJ PowerPoint presentation titled “EQUITY,” prepared by Vice President of Global

   Marketing Marco Cirillo for “Baby Camp,” stated:

            255.1. “Agenda: Why is Baby the corporation’s #1 asset? [JNJ] is a name. [JNJ] is a

   logo. [JNJ] is a brand of products. [JNJ] is a manufacturer of branded products. [JNJ] is a large

   healthcare company. [JNJ] is a parent company. [JNJ] is more than that. It is a complex sum of

   meanings, associations, values and feelings. [JNJ] is deeply linked to baby products.”

            255.2. A Healthcare Corporate Identity Study by Yankelovich Partners in 1995 showed

   88% of consumers linked Johnson & Johnson to “baby products”.

            255.3. An Emotional Bonding Study, comparing Johnson & Johnson with competitors,

   from 1995 associated Johnson & Johnson (Johnson’s) baby care with trust (72%) and safety

   (75%).

            255.4. “Trust is important for healthcare companies.” According to a Johnson &

   Johnson Corporate Equity Study in 1996, 95% of consumers and healthcare professionals both

   stated that trust is “Extremely/very important”.
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          255.5. From the 1996 Johnson & Johnson Architecture Study, “What is ‘Trust’ in

   healthcare?: Products that will work without any unexpected adverse physical/emotional

   effects.” [emphasis in original]

          255.6. “What is ’Trust’ in healthcare?”: Consumers depend on the company to make

   products that are “effective” and “will not harm”.


          255.7. “Johnson & Johnson has: ‘Deep, Personal Trust.’”
          255.8. A 1996 Johnson & Johnson Architecture Study, “Deep, Personal Trust” based on

   being “safe” (“Won’t hurt me”) and “personal” (“‘Familiar’ intimacy with the Company”).

          255.9. “Johnson & Johnson’s unique trust results in real business gains for the

   company.” The slide gives the following examples of public tendencies: “Consumers: Forgive

   “brand” crisis. Institution: More interested in, willingness to work with, ability to consider ideas

   from. Partners: Predisposition for likeability, credibility and authority.”

                 255.10.   “What does the Johnson’s Baby brand stand for?” JNJ lists “Safe,”

   “Mild,” “Pure,” “Gentle,” . . . “Effective,” “Appealing in use,” “Trustworthy,” “Wholesome” . .

   . “Caring” and “Warm.”

                 255.11.   JNJ summarizes their presentation by stating: “(1) Baby is the

   corporation’s #1 asset and the mother-infant bond is at its core; (2) Johnson’s baby is 50% heart

   and 50% mind; (3) We MUST protect and enhance the Baby Equity.” JNJTALCC000354984.

   256. In my opinion the words JNJ used to market its baby powder created an impression that

   the company had substantiated the safety and purity of its product. That was false and

   misleading.
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   IX.            .       .SUMMARY OF OPINIONS76
   In my opinion:


           1. Of all the products that fall under FDA’s jurisdiction, cosmetics are among the least
              regulated. This is reflected in the fact that there is no premarket approval of cosmetic

              products.

           2. A cosmetic manufacturer has a responsibility to substantiate the safety of their product or

              must warn consumers that the safety of their product has not been determined or not sell

              their product.

          3. If a health hazard may be associated with the product, a cosmetic manufacturer must

              include a warning on their product.



           4. The federal regulation of cosmetics is less stringent than the regulation of drugs, medical
              devices, and food additives. FDA’s oversight of cosmetics is also limited by resource

              constraints.

          5. Consistent with FDA regulations and statutes, a cosmetic manufacturer under the

              cosmetic industry standards must assure the safety of their ingredients. It is the

              responsibility of the cosmetic manufacturer to assure that there is reasonable certainty in

              the judgment of competent scientists that the product is safe.

          6. Manufacturers have a responsibility to assure that there is reasonable certainty there is no

              evidence to suspect their cosmetic may pose harm.


           7. If there is evidence that there are reasonable grounds to suspect that the cosmetic product

              may pose harm for the proposed conditions of use, such product does not meet the


   76   This list of opinions is not exclusive. For all opinions, please see entire report.

              Magnesium silicate (talc)

              .       .   .
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   21 CFR 176.170

         PART 176 -- INDIRECT FOOD ADDITIVES: PAPER AND PAPERBOARD
         COMPONENTS

         Subpart B--Substances for Use Only as Components of Paper and Paperboard

         Sec. 176.170 Components of paper and paperboard in contact with aqueous and fatty
         foods.
         Substances identified in this section may be safely used as components of the uncoated or
         coated food-contact surface of paper and paperboard intended for use in producing,
         manufacturing, packaging, processing, preparing, treating, packing, transporting, or
         holding aqueous and fatty foods, subject to the provisions of this section. Components of
         paper and paperboard in contact with dry food of the type identified under Type VIII of
         table 1 in paragraph (c) of this section are subject to the provisions of 176.180.

         (a) Substances identified in paragraph (a) (1) through (5) of this section may be used as
         components of the food-contact surface of paper and paperboard. Paper and paperboard
         products shall be exempted from compliance with the extractives limitations prescribed
         in paragraph (c) of this section: Provided, That the components of the food-contact
         surface consist entirely of one or more of the substances identified in this paragraph:
         And provided further, That if the paper or paperboard when extracted under the
         conditions prescribed in paragraph (c) of this section exceeds the limitations on
         extractives contained in paragraph (c) of this section, information shall be available
         from manufacturing records from which it is possible to determine that only substances
         identified in this paragraph (a) are present in the food-contact surface of such paper or
         paperboard.

         (1) Substances generally recognized as safe in food.

         (2) Substances generally recognized as safe for their intended use in paper and
         paperboard products used in food packaging.

         (3) Substances used in accordance with a prior sanction or approval.

         (4) Substances that by regulation in parts 170 through 189 of this chapter may be safely
         used without extractives limitations as components of the uncoated or coated
         food-contact surface of paper and paperboard in contact with aqueous or fatty food,
         subject to the provisions of such regulation.
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            (5) Substances identified in this paragraph, as follows:

            .   .   .

            Magnesium silicate (talc)             Do.

            .   .   .

     21 CFR 182.70

            PART 182 -- SUBSTANCES GENERALLY RECOGNIZED AS SAFE

            Subpart A--General Provisions

            Sec. 182.70 Substances migrating from cotton and cotton fabrics used in dry food
            packaging.

            Substances migrating to food from cotton and cotton fabrics used in dry food packaging
            that are generally recognized as safe for their intended use, within the meaning of section
            409 of the Act, are as follows:

           . . .
         Talcindustry standards for safety.

      8. Once JNJ had evidence of a) the presence of asbestos because of its known
          carcinogenicity and absence of a threshold dose; or b) the presence of non-asbestiform

         amphiboles or fibrous talc, the safety of their product was not established.

      9. Beginning in the 1970’s, the safety of JNJ’s talcum powder products had not been

         substantiated, consumers were not warned of potential health risks, and there was a

         reasonable basis to believe that such an association between the product and health risks.

      10. Beginning in the 1970’s, because the safety of their product was not established, their

         talcum powder products should not have been sold.

      11. The safety of nonasbestiform amphibole or cleavage fragments was and has not been

         established.

      12. Determination by a laboratory that certain amphibole particles were nonasbestiform in

         nature does not mean the safety of those nonasbestiform amphiboles was substantiated.
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      13. The controversies and/or complexities surrounding: 1) the definition of asbestos; 2) what

         was excluded from the definition of asbestos; 3) the geologic relationship between

         asbestos and talc; 4) the inability of laboratory tests to characterize individual amphibole

         fibers as asbestiform or non-asbestiform; 5) whether cleavage fragments of similar

         dimensions to asbestiform fibers pose similar risks; 6) the ability to distinguish between

         asbestiform and cleavage fragments; 7) the limitations of detection by various laboratory

         measurements; 8) epidemiological results; 9) the inability over the decades of FDA to

         arrive at a definitive testing method for asbestos in talc; 10) the significance of talc fibers;

         and 11) the extent and routes of exposure, reinforce the conclusion that the safety of the

         product had not been established.


           .   .   .

     21 CFR 182.90

           PART 182 -- SUBSTANCES GENERALLY RECOGNIZED AS SAFE

           Subpart A--General Provisions

           Sec. 182.90 Substances migrating to food from paper and paperboard products.
           Substances migrating to food from paper and paperboard products used in food packaging
           that are generally recognized as safe for their intended use, within the meaning of section
           409 of the Act, are as follows:

           .   .   .

           Talc.

           .   .   .

     21 CFR 310.545
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      14. Unable to substantiate the safety of their talcum powder products, JNJ was required to

         place the following conspicuous statement on the principal display panel: “Warning-The

         safety of this product has not been determined.” 21 CFR §740.10.

      15. Based on the totality of evidence, JNJ’s findings and notice of naturally occurring mineral

         silicate fibers of the serpentine and amphibole series including, but not limited to, tremolite

         fibers, actinolite fibers, anthophyllite fibers, amphibole asbestos, chrysotile (serpentine

         asbestos), fibrous talc and non-asbestiform amphibole in talc samples prohibited JNJ from

         selling JNJ talcum powder products because they contained poisonous and deleterious

         substances, which “may render” the products “injurious to users under the conditions of use

         described in the labeling thereof or under such conditions of use as are customary or usual .

         . . ,” and were therefore adulterated. 21 U.S.C. §361.

      16. Based on the totality of evidence, at a minimum, Johnson & Johnson’s findings and

         notice of naturally occurring mineral silicate fibers of the serpentine and amphibole series

         including, but not limited to, tremolite fibers, amphibole asbestos, chrysotile (serpentine

         asbestos), fibrous talc and non-asbestiform amphibole in talc samples prohibited the

         company from determining that the safety of Johnson & Johnson talcum powder products

         had been substantiated.

      17. In light of a) the FDA’s 2014 petition response acknowledging that there remains some

         evidence to suspect or question the safety of talcum powder products, b) the totality of

         the medical literature since 2014 that continues to raise safety questions; and c) IARC’s

         classification, defendants failed to substantiate the safety of their talcum powder

            PART 310 -- NEW DRUGS

            Subpart E--Requirements for Specific New Drugs or Devices

            Sec. 310.545 Drug products containing certain active ingredients offered
            over-the-counter (OTC) for certain uses.

            (a) A number of active ingredients have been present in OTC drug products for various
            uses, as described below. However, based on evidence currently available, there are
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            inadequate data to establish general recognition of the safety and effectiveness of these
            ingredients for the specified uses:

            .   .   .

            (18) Skin protectant drug products --(i)(A) Ingredients--Approved as of May 7, 1991.

            .   .   .

            (B) Ingredients--Approved as of June 4, 2004; June 6, 2005, for products with annual
            sales less than $25,000.

            .   .   .

          (ii) Astringent drug products.

            .   .   .

            Talc

            .   .   .

     55 F.R. 25224 (June 20, 1990)

     In the comments on talc for proposed rulemaking amending the tentative final monograph for
     over-the-counter (OTC) skin protectant drug products, the FDA noted that “Cosmetic talc should
     contain at least 90 percent platy talc (having flat as opposed to fibrous particles) that is free of
     detectable amounts of fibrous minerals, including asbestos.”
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            SCHEDULE 3: EXAMPLES OF TALC IN FDA REGULATED PRODUCTS

        18. JNJ decided in the 1970’s to aggressively defend its product. That strategy kept their

         product on the market for fifty years but put the public’s health at risk. It need not have
         been that way if JNJ was willing to bear any additional cost and reformulate the product.

      19. A reasonable and prudent company, would have reformulated the product in the 1970’s.

      20. JNJ through CTFA created the impression beginning in 1976 that changes in testing


         resolved the asbestos controversy in talc.
      21. The problems with the CTFA testing methodology J4-1 were: 1) it did not address

         chrysotile; 2) it had some very significant detection limits because it did not include

         transmission electron microscopy; 3) it was not accompanied by any changes in mining

         or manufacturing which made the product safer; 4) and it failed to report fibrous talc.

         The repeated assertion by JNJ that there have never been any positive tests for

         asbestiform particles indicates that the CTFA testing methodology J4-1 did not

         accomplish anything.

      22. The acceptance of JNJ’s concept that changes in testing resolved the asbestos controversy

         in talc by researchers and health agencies impeded the resolution of important safety

         issues.

      23. JNJ defended its product by representing that there could be safe levels of asbestos

         when there was no known threshold and put the public at risk because there is no known

         safe level of asbestos.

      24. In light of the fact that asbestos was a known carcinogen with no known threshold, a

         reasonable and prudent company would attempt to improve the sensitivity of its testing so

         as not to put the public at risk.
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      Food       21 CFR 178.3297            Magnesium silicate (talc) may be safely used as colorants in
                                            the manufacture of articles or components of articles
                                            intended for use in producing, manufacturing, packing,
                                            processing, preparing, transporting, or holding food.
                 21 CFR 182.2437            Magnesium silicate is generally recognized as safe when
                                            used in table salt in accordance with good manufacturing
                 21 CFR 182.70              Talc migrating to food from cotton and cotton fabrics used
                                            in dry food packaging are generally recognized as safe.
                 21 CFR 182.90              Talc migrating to food from paper and paperboard
                                            products used in food packaging are generally recognized
      Drugs      21 CFR 73.1550             Talc may be safely used in amounts consistent with good
                                            manufacturing practice to color drugs generally.
                                            Certification of this color additive is not necessary for the
                                            protection of the public health, and therefore batches thereof
                                            are exempt from the certification requirements. Talc must
                                            still meet USP specifications for talc.
                 21 CFR 310.545             Based on the evidence currently available, there are
                                            inadequate data to establish general recognition of the
                                            safety and effectiveness of talc in astringent drug products
                                            for skin protectant drug products.
                 Transcript from FDA        Some opioids contain talc as an excipient and contain
                 Joint Meeting of the       labeling due to its presence that "parenteral abuse can be
                 Anesthetic and             expected to result in local tissue necrosis, infection,
                 Analgesic Drug             pulmonary granulomas."
                 Products and Drug
                 Safety and Risk
                 Management
                 Advisory
                 FDA presentation at        In the discussion on labeling, they note, "due to the
                 a Joint Meeting of         presence of talc as one of the excipients in MS CONTIN,
                 the Anesthetic and         parenteral abuse can be expected to result in local tissue
                 Analgesic Drug             necrosis, infection, pulmonary granulomas, and increased
                 Products Advisory          risk of endocarditis and valvular heart injury."
                 Committee and the
                 Drug Safety and Risk
                 Management
                 Advisory Committee
      Medical    21 CFR 895.102             Powdered surgeon's gloves are banned medical devices
      Devices    21 CFR 895.103             Powdered patient examination gloves are banned
                                            medical devices
                21 CFR 895.104             Absorbable powder for lubricating a surgeon's glove
                                           are banned medical devices
      25. Making claims that its product was asbestos free without vigorous efforts to improve the

         sensitivity of the testing methods is concerning.
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      26. Opposing efforts to improve the sensitivity of the testing methods is evidence that JNJ

         defended its powder while putting the public at risk.

      27. For more than fifty years JNJ made representations that were misleading and not

         transparent.

      28. Confronted by the laboratory, geological and epidemiological evidence in its possession,

         the only prudent and reasonable option was to reformulate the product or stop selling it.

      29. In light of the totality of evidence in JNJ’s possession regarding scientific evidence of the

         association of talcum powder and ovarian cancer, laboratory testing suggesting the

         presence of particles for which the safety was not established, and the complexities of the

         geologic formation of talc and asbestos, JNJ’s statements to the gynecologic oncologists

         and the medical community more broadly were misleading because they failed to tell the

         whole story.

      30. JNJ, by adopting the approach to the asbestos issue in talc, which was to initiate studies

         only as required by confrontation, failed to substantiate the safety of its product.

      31. In light of the fact that JNJ had evidence that (a) its existing methodologies could produce

         false negatives that would fail to identify asbestos particles when they were present, and

         (b) the asbestos was a carcinogen for which there was no known safe exposure, JNJ had a

         responsibility to take all feasible steps to develop either a methodology that reduced the

         amount of false negatives as low as reasonably possible or to stop selling the talc product.

      32. There is evidence that the opportunity for bias was introduced into the asbestos testing

         programs.
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      33. A reasonable and prudent manufacturer, when confronted with a carcinogen for which

         there is no known human threshold, would adopt procedures that were most protective

         (i.e. “conservative”) of the public health, even at the risk of increased variability.

      34. While microscopists and geologists have much to add to our scientific understanding, the

         failure to adopt a public health approach to asbestos in talc testing, even if that led to

         over-inclusion and false positives, put consumers at risk.

      35. In dealing with a known carcinogen, the test methods that are employed should use a level

         of detection that does not miss finding asbestos fibers that are present in the sample,

         taking into account the mean background level. The test methods should be sensitive

         enough to protect the public health.

      36. JNJ’s failure to recognize and mitigate the potential risks of fibrous talc put the public at

         risk.

      37. JNJ’s defensive strategy of creating doubt and confusion failed to resolve the safety

         issues associated with its product.


      38. JNJ continues to mislead the public on its website factsabouttalc.com.
      39. JNJ failed to report to the FDA that laboratory tests found evidence of naturally occurring

         mineral silicate fibers of the serpentine and amphibole series. That failure misled the FDA

         over the last half a century.

      40. JNJ’s representation to the FDA in their March 17, 2016, letter that no asbestos-form

         structures have ever been found during any testing was false and misleading.

      41. Although controversies and complexities existed, JNJ defended its product despite

         significant questions regarding its safety and put the public at risk.
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      42. Confronted by the laboratory, geological and epidemiological evidence in its possession,

         a reasonable and prudent company would reformulate the product or stop selling it. JNJ

         had evidence in its possession that cornstarch was a safe and effective replacement for

         talc. The failure to switch to cornstarch put the public at risk.




       November 15,
              2023
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                  SCHEDULE 4I: EPIDEMIOLOGICAL LITERATURE
                                    TABLE
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  I.       COHORT STUDIES

       AUTHOR           STUDY DESCRIPTION                     iir      1                          LIMITATIONS
                                I                                    -FINDINGS
                                                                                                                           LDISCUSSION AND
                                                                                                                           CONCLUSIONS

Gertig (2000)     Cohort Study (Nurses'’ Health Study          2000 (1st Report):           OVERALL                        2000:
                  "“NHS"”)                                     •Ever Talc Use —– R.R.       The questions on talcum        Prospective Study
Gates (2008)                                                   1.09 (0.86 —– 1.37)          powder use referred to ever    No overall association between "“ever
                  Study of 121,700 registered nurses           •Invasive Serous             use and cannot determine the   use"” of talcum powder and total risk
Gates (2010)      between ages 30-55 years from across         Ovarian Cancer —– R.R.       age at which women began       for ovarian cancer (R.R. 1.09; 95% CI
                  US. Talc use determined by self-             1.40 (1.02 —– 1.91)          using talc or the duration.     .86 —– 1.37)
                  administered 1982 questionnaire.                                                                          40% Increased risk for serous
                                                                                                                            invasive
                  Asked women if they had ever                  Gates 2008 Follow-up        Relatively short follow-up.    cancer with any (ever) history of talc
                  commonly used talcum, baby                   (2"2nd):                     Tubal ligation                 use which comprises the majority
                  powder, or deodorizing powder on             •Epithelial OC = 1.36        questions asked as part        of ovarian cancer (R.R. 1.40; 95%
                  their                                                                     of                             CI
                  perineal. Possible responses were:           (1.14 —– 1.63)               contraception.                  1.02 -1.9)
                  no, daily, 1-6 times per week, or <          •Serous OC = 1.60 (1.26                                      Risk stratified by histologic sub-type
                  1/week. Also asked if they had               —– 2.02)                     2010 (2"2nd Follow-up)         There was no apparent dose
                  applied products to sanitary napkins.                                     • Extended the follow up       response, although lacked
                  "“Ever                                                                                                   information on
                  talc use"” classified as ever talc use on    Gates 2010 Follow-up         through 2006 but no updated    duration of use.
                  either perineal area or sanitary             (o3rd.):                     use or exposure data
                  napkins. Every two years, participants       •Results not statistically                                  2008:
                  reported health updates; no updates on       significant for talc                                        •Regular talc use was associated with
                  talc use were included, but self-            exposure                                                    increased ovarian cancer risk in the
                  reported cases of ovarian cancer were        •All epithelial = 1.06                                      combined study population (RR, 1.36;
                  adjudicated through medical record           (0.89 -1.28– 1.28)                                          95% CI, 1.14-1.63; Ptrend < 0.001).
                  reviews. Exclusions for incomplete           •Serous = 1.06 (0.84 —–                                     may have a higher risk of ovarian
                   questionnaires on talc, if reported                                                                      cancer associated with genital talc
                   both ovaries removed, if reported a                                                                      use.
                   hysterectomy but did not report
                   whether at least one ovary                                                                              These results provided additional
                   remaining, or history of radiation                                                                      support for a main effect of genital
                   therapy.                                                                                                talc exposure on risk of epithelial
                                                                                                                           ovarian cancer. The presence of a
                  Three publications resulted from                                                                         significant trend between frequency
                  this study.                                                                                              of talc use and risk of total and
                                                                                                                           serous invasive ovarian cancer in the
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                                           1.35)                    NECC and pooled analysis further
  The first, published in 2000, included                            strengthens the evidence for an
  78,630 women, of whom 307 cases                                   association, as most previous studies
  of ovarian cancer were diagnosed.                                 have not observed a dose-response
  Ever use of talc was reported by
  40.4% of the cohort; 14.5% ever
  used talc dail .
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AUTHOR           STUDY DESCRIPTION                        FINDINGS       LIMITATIONS    DISCUSSION AND CONCLUSIONS

           use of talc was reported by 40.4% of                                         with increasing frequency or duration
           the cohort; 14.5% ever used talc daily.                                      of talc use.
                                                                                        Inflammatory response in vivo
           The second report from the Nurses'                                          of talc use.
           Health Study was in 2008. This was a                                         Inflammatory response in vivoIn vitro
           pooled analysis post-NHS: 2 phases                                           study where cells undergo cell
           pooled analysis post-NHS: 2 phases                                           proliferation, neoplastic
                                                                                        In vitro study where cells undergo
           (1992-1997; 1998-2003). Results from                                         celltransformation and cellular
                                                                                        generation
                                                                                        proliferation, neoplasticof reactive
           the Nurses’ Health Study were
                                                                                        oxygen species increasing
           combined with other cases and                                                transformation and cellular generation
           combined with other cases and                                                of reactive oxygen specieswith
           controls from case-control                                                   increasinged exposure to talc.
           studies.
                                                                                        with increased exposure to
           Study updated talc analysis from
                                                                                        talcAlthough no prior studies have
           NHS, including 8 additional years of
           follow-up. Analysis included 1,175                                           examined gene-talc interactions, the
           cases and 1,202 controls from a New       Although no prior
                                                     studies have
           England-based case-control study
                                                                                        indication of a possible
           andfollow-up. Analysis included 1,175
           210 cases and 6001,202 controls from
                                                                                        immune-related mechanism between
           thea New
           prospective Nurses’
                                                                                        talc and ovarian carcinogenesis and
           HealthEngland-based case-control
                                                                                        the evidence for gene-asbestos
           study and
           210 cases and 600 controls from the                                          the evidence for gene-asbestos
           Study.prospective Nurses’ Health                                             interactions suggest that
                                                                                        genes involved in
                                                                                        detoxification and
           •Additional support for the                                                  inflammatory pathways could be
           presenceStudy.                                                               important in the response to talc.

           Additional support for the presence
           of a significant trend between the
           frequency of talc use and risk of
           total and serous ovarian cancer                                              important in the response to talc. 2010
           frequency of talc use and risk of total                                      The incomplete data for a few
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                                                                   exposures, in particular talc use
  and serous ovarian cancer                                         exposures, in particular talc use
                                                                    and family history of ovarian cancer,
  The third Nurses’ Health Study report                             also are weaknesses because the
  was published in 2010. This analysis                             limited data may have influenced the
                                                                   because the limited data may
  included women from two separate
                                                                   haveobserved associations for these
                                                                   influenced the observedexposures.
  cohorts; the exact numbers of women
                                                                   The association with talc
                                                                   associationsuse in four these
  and cases with exposure data
                                                                   exposures.analysis differed from the
  regarding talc was not specified.                                 The association with talc use in our
                                                                    analysis differed from the
                                                                    association in a previous
                                                                    analysis of the NHS cohort (34),
                                                                    possibly because of a greater degree
                                                                    of exposure misclassification over
                                                                    24 years of followup. However, the
                                                                    suggestive positive association with
                                                                    the mucinous subtype may reflect a
                                                                    longer latency period between talc
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AUTHOR            STUDY DESCRIPTION                        FINDINGS                    LIMITATIONS              DISCUSSION AND CONCLUSIONS

                                                                                                                exposure and development

                                                                                                                 between talc exposure and
                                                                                                                 development of mucinous tumors.
                                                                                                                 Finally, the use of a single summary
                                                                                                                 measure for certain exposures, such
                                                                                                                 as physical activity, also may have
                                                                                                                 limited our ability to detect an
                                                                                                                 association.
                                                                                                                Associations differ by subtype.
                                                                                                                Associations differ by subtype.
Houghton     Cohort Study (Women’s Health            • Use of genital powders    Asked about duration of use    Ever perineal powder use was not
             Initiative)                             for >20 years resulted      only. The study may            associated with ovarian cancer
                                                     in a RR 1.06, 95% CI        have been comparing            risk, nor was it associated with
             • Enrolled 93,676 women between         (0.87-1.28)                 infrequent users with short    cancer when assess by area of
             1993-1998                               • Risk of serous invasive   term frequent users.           application, duration of use, or ovarian
             • 61,576 post-menopausal participants   cancer was increased by     Lack of information            cancer subtype.
             in the study cohort                     a non-statistically         regarding oophorectomy after
                                                     significant 13% (hazard     baseline
             • 429 total ovarian cancer cases        ratio 1.13, 95% CI 0.84 -   Non-differential
              •Average age at time completed         1.51).                      misclassification (need to
              questionnaire of talc use 62-63.3                                  recall past use and
              •Follow up for disease                                             duration); leading to a bias
              ascertainment was a mean of 12.4                                   toward the null
             • Included post-menopausal women                                    Information on use was not
             between 50 & 79                                                     collected after baseline.
             • Talc use assessed at baseline                                     Assumed women remained in
             with self-reporting questionnaires                                  same exposure group for 12

                                                                                 Information of powder
                                                                                 use not collected after
                                                                                 Short follow-up period (12.4
                                                                                 years)
                                                                                 Obtained information on
                                                                                 duration of use via
                                                                                 interviews, but unknown
                                                                                 during which years powder
                                                                                 used (i.e. application on
                                                                                 genital area, sanitary
                                                                                 napkins and diaphragm)
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                                               Queried general powder use
                                               rather than talc powder and
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    AUTHOR                 STUDY DESCRIPTION                        FINDINGS                    LIMITATIONS               DISCUSSION AND CONCLUSIONS

                                                                                          Queried general powder
                                                                                          use rather than talc powder
                                                                                          and had no specific
                                                                                          information regarding the
                                                                                          content of talc in products
                                                                                          used.

        Gonzalez                                              •Talc - H.R. 0.73 (0.44      Not specifically a talc or
                     Cohort Study (Sister Study)                                                                          Douching, not talc use, associated
          (2016)                                              —–                           ovarian cancer
                                                              1.2)                         ovarian cancer study.          with increased risk of ovarian cancer
                      The Sister Study, launched in 2003,     •Douching —–                 Baseline questionnaire
                      enrolled 50,884 women who had a         O.R. 2.1 (2.0 —–             inquired of douching and
                      sister diagnosed with breast cancer     2.3)                         talc use during the previous
                      Participants included 154 exposed                                    12 months of study
                      cases with ovarian cancer who did                                    initiation Questionnaire did
                      not have diagnosis of breast cancer                                  not inquire about lifetime
                      but sister had breast cancer                                         exposures 37% of cases
                     Enrollees were ages 35-74 years                                       had no medical records
                                                                                           84% white women;
                     At baseline, participants asked                                      84% white women; 56%
                     about talc and douching use during                                   56% post-menopausal
                     the previous 12 months 52%                                             Short follow-up 6.6 years
                     menopausal                                                            Reported prevalence of
                                                                                           talc use was 14%.
                     52% menopausal                                                       Reported prevalence of
                                                                                          talc use was 14%.



  II.      CASE CONTROL STUDIES

   AUTHOR            STUDY DESCRIPTION                         F , - IR l-                REPORTED LIMITATIONS            AUTHORS'’ DISCUSSION AND
                                                              ,FINDINGS                   .,.                             CONCLUSIONS

Cramer (1982)        Case Control Study.           Adjusted for parity and menopausal     Potential biases include that   The argument linking talc and
                     Population based.             status, any perineal' talc exposure    menstrual characteristics may   ovarian cancer includes four
                     Evaluated 215 women with      reported a relative risk of 1.92       differ between women with       elements: the chemical relationship
                     epithelial ovarian cancer     (1.27-2.89) for epithelial ovarian     ovarian cancer and controls.    between talc and asbestos, asbestos
                     and 215 age-matched           cancer. Women who had regularly        Further since talc into the     as a cause of pleural and peritoneal
                     control from greater          engaged in both perineal' use and on   pelvic cavity is prevented by   mesotheliomas, the possible relation
                     Boston, MA area. Talc         sanitary napkins had an adjusted       hysterectomy or tubal           between epithelial ovarian cancers
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  exposure was determined        relative risk of 3.28 (1.68-6.42)   ligation inclusion of subjects   and mesotheliomas, and the
  by questionnaire regarding     compared to women with neither      with pelvic surgery may         ability of talc to enter the pelvic
  "“regular"” talc use on the                                        obviate any association         cavity. The mineral talc is a. specific
                                 exposure.
  perineum and/or on                                                 between talc and ovarian
  sanitary napkins. 42.8% of                                         cancer. Other confounders        hydrous magnesium silicate
  ovarian cancer patients                                            include potential for selection chemically related to several
  reported regular use of talc                                       bias. Etiology may derive        asbestos group minerals and
  (prior to developing                                               from asbestos content of
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                    perineum and/or on                                                   between talc and ovarian        ability of talc to enter the pelvic
                    sanitary napkins. 42.8%                                              cancer. Other confounders       cavity. The mineral talc is a specific
                    of ovarian cancer patients                                           include potential for           hydrous magnesium silicate
                    reported regular use of                                              selection bias. Etiology may    chemically related to several
                    talc (prior to developing                                            derive from asbestos content    asbestos group minerals and
                    ovarian cancer)                                                      of talc or uniqueness of the    occurring in nature with them.
                    compared to 28.4% of                                                 ovary which make it             Generic “talc” is seldom pure and
                    controls.                                                            susceptible to                  may be contaminated with asbestos,
                                                                                         carcinogenesis from both        particularly in powders formulated
                                                                                         talc and other particulates.    prior to 1976.
                                                                                         Recall bias is also a           This study provides some support
                                                                                         potential limitation.           for an association between talc and
                                                                                                                         ovarian cancer hypothesized
                                                                                                                         because of the similarity of ovarian
                                                                                                                         cancer to mesotheliomas and the
                                                                                                                         chemical relation of talc to
                                                                                                                         asbestos, a known cause of
Hartge (1983)       Case Control Study.          The authors reported that women         The analysis was based on       Data indicate no overall association
(Letter to the      Hospital based.              who reported any talc use (body         only 7 cases and 3 controls.    between all talc use and risk of
Editor)             Evaluated 135 women with     powder or diaphragm) had an             Chance, bias in selection or    ovarian cancer. Although a small
                    epithelial ovarian cancer    estimated relative risk of 0.7 (0.4-    observation, or confounding     group of women who specifically
                    and 171 controls from the    1.1), while use on their genitals had   may have influenced these       reported genital use of body talcum
                    Washington, DC area. Talc    an estimated relative risk of 2.5       estimates. Further, patients    powders showed an excess relative
                    exposure was ascertained     (0.70-10.0) compared with never         with ovarian cancer may         risk, use of talc on a diaphragm, which
                    via questionnaire, but the   users.                                  have or perceived a greater     would be closest to the ovaries, did
                    authors did not                                                      need for using body powder      not seem to elevate risk.
                    provide detail as to                                                 in the genital area for
                    questions asked.                                                     reasons related to their

Whittemore (1988)   Case Control Study.          Women who reported using talcum         The study results should be     The data show a trend of increasing
                    Hospital based.              powder to the perineum showed a         interpreted cautiously based    risk with increasing frequency of
                    Evaluation included 188      relative risk of 1.45 (0.81-2.60).      on the studies’ failure to      perineal talc exposure, but the trend
                    ovarian cancer cases         on sanitary pad was associated          interview all eligible          was not statistically significant.

                    Francisco, CA area.          reduce risk and use on diaphragms       combining two studies and       as an ovarian carcinogen, neither do
                    Exposure to talc was         was associated with a non-              the two control groups in the   they provide strong evidence to
                    determined through           statistically significant 50%           second study. The is also the   implicate it.
                    structured personal          increased risk. The relative risk for   possibility of confounding by
                    interviews and documented    ovarian cancer increased with           unmeasured variables.
                    type of use including,       increasing applications of talc per
                    perineum, sanitary pads,     month; relative to nonusers, the
                    diaphragm or some            relative risk for 1-20 times per
                    combination of these uses.   month was 1.27, and the relative
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  Duration of talc use was   risk for 20 or more times per month
  also ascertained.          was 1.45. None of these values was
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                  perineum, sanitary pads,      month; relative to nonusers, the
                  diaphragm or some             relative risk for 1-20 times per
                  combination of these uses.    month was 1.27, and the relative
                  Duration of talc use was      risk for 20 or more times per
                  also ascertained.             month was 1.45. None of these
                                                values was statistically significant.
                                                The increased relative risk was
                                                apparent for women who had
                                                never had tubal ligation or
                                                hysterectomy, but not for women
                                                who had had one of these
                                                procedures. Compared with non-
                                                users, women with 1-9 years of
                                                use had a relative risk of 1.6 (1.00-
                                                2.57), but women with greater

Booth (1989)      Case Control Study.           The authors reported women who          As the design is case control    The evidence linking talc with ovarian
                  Hospital based.               used talc in the genital area had       there may have been some         cancer is controversial. In this

                  ovarian cancer and 451        cancer based on the frequency of        The women were not asked         genital area more than once a week or
                  controls in the UK. A         exposure:                               how long they had been           daily had higher risks of ovarian
                  questionnaire ascertained     Rarely use: 0.9 (0.3-2.4)               using talc (duration).           cancer than women who used talc less
                  the frequency of exposure     Monthly: 0.7 (0.3-1.8)                                                   frequently. The women were not
                  to talc in the genital area   Weekly: 2.0 (1.3-3.4)                                                    asked how long they used talc. It is
                  (never, rarely, monthly,      Daily: 1.3 (0.8-1.9)                                                     possible that because of their
                  weekly, daily).                                                                                        symptoms talc use by the cases may
                                                Cases and controls did not differ                                        not have reflected their frequency of
                                                by    percentage    who     kept                                         past use. Since these and other
                                                diaphragms in talc.                                                      results (Cramer 1982; Hartge 1983)
                                                                                                                         are insufficient to reject an
                                                                                                                         association, further work is need on
                                                                                                                         the relation between genital use of

Harlow (1989)     Case Control Study.           Women who used deodorizing              The elevated risk among          Given the clues provided by this study
                  Population based.             powders had a relative risk of 2.8      women who specifically used      regarding the possible importance of
                  Evaluated 116 women with      (1.1-11.7) for borderline ovarian       deodorizing powders could        deodorizing powders, it would be
                  serous or mucinous            tumors, while any perineal exposure     have been due to chance or       advisable for future studies to elicit
                  borderline ovarian cancer     to powder showed a relative risk        applicable only to borderline,   information on brand name of
                  identified through a          of 1.1 (0.7-2.1)                        not malignant ovarian            talc-containing powders and the timing
                  Western Washington                                                    tumors.                          and duration of such use. Although
                  population-based cancer       No data were presented regarding                                         these data need replication, they raise
                  registry, as well a           frequency or duration of                                                 the possibility that the risk of ovarian
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  population-based sample of   talc/powder use.                    tumors in women who apply
  158 control women. The                                           deodorizing powder to the perineum
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                    population-based cancer      No data were presented                                                   these data need replication, they
                    registry, as well a          regarding frequency or duration                                          raise the possibility that the risk of
                    population-based sample      of talc/powder use.                                                      ovarian tumors in women who
                    of 158 control women.                                                                                 apply deodorizing powder to the
                    The study used an                                                                                     perineum may not relate to talc per
                    open-ended question                                                                                   se but rather to asbestos
                    asking women to specify                                                                               contamination and/or a substance
                    the types of powder they                                                                              or substance used specifically for
                    used for perineal                                                                                     deodorization.
                    application after bathing,                                                                            An association between talc use and
                    on sanitary napkins, and                                                                              ovarian neoplasms seems
                    for diaphragm storage.                                                                                biologically plausible, since
                    Powder was categorized                                                                                particulates contaminating the
                    as baby powder,                                                                                       vaginal area may migrate into the
                    deodorizing powder,                                                                                   pelvic cavity and since particles of

Chen (1992)         Case Control Study.          Seven cases and 5 controls reported     Given the nature of the          Similar to previous studies, a threefold
                    Population based.            using “dusting powder” to the           cancer registry in China,        increased risk was associated with
                    Interviewed 112 women        lower abdomen and perineum for 3        some of the ovarian              perineal talc exposure. It is interesting
                    with ovarian cancer and      more months. After adjusting for        patients may not have been       that that similar results are obtained
                    224 community controls in    education and parity, the users of      ascertained for study. Also,     from quite different parts of the world.
                    Beijing, China. A            “talc-containing” dusting powder        potentially damaging were
                    questionnaire was            showed a relative risk of 3.9 (0.9-     the high rate of loss due to
                    developed to obtain          10.6).                                  deaths. A third limitation was
                    histories and data was                                               the exclusion of controls with
                    collected via face-to-face                                           current health problems. The
                    interviews. No                                                       small number of subjects of
                    information was provided                                             exposed to talc is another
                    about how women were                                                 limitation.
                    asked about
                    talc-containing dusting

                    (for cases) and a
                    comparable date in

Harlow & Cramer     Case Control Study.          Perineal talc use was associated        Authors stated that this study   Because the overall association
(1992)              Population based.            with an odds ratio for epithelial       failed to answer a key issue     between genital use of talc and
                    Interviewed 235 white        ovarian cancer of 1.5 (1.0-2.1)         in talc-ovarian cancer           ovarian cancer remains weak, it is
                    women diagnosed with         when adjusted for parity, education,    association: whether the risk    unlikely that this exposure-disease
                    ovarian cancer in the        marital status, religion, use of        pertains to all cosmetic talc    pathway is the principal one
                    Boston, MA metropolitan      sanitary napkins, douching,             or only to certain               in ovarian cancer etiology. The

                    confirmed through an         application showed an odds ratio of     contaminated with asbestos.      that by applying these odds ratios to
                    independent pathology        1.7 (1.1-2.7). Use of talc on a daily                                    the exposure rate among cases, the
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  review. Talc exposure was   basis increased the odds ratio for   proportion of ovarian cancer incidence
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  Boston, MA metropolitan           sanitary napkins, douching, age,        or only to certain               in ovarian cancer etiology. The
  area. Tumors were                 and weight. Direct perineal             preparations likely to           authors concluded that they
  confirmed through an              application showed an odds ratio of     contaminated with asbestos.      that by applying these odds ratios to
  independent pathology             1.7 (1.1-2.7). Use of talc on a daily                                    the exposure rate among cases, the
  review. Talc exposure was         basis increased the odds ratio for      The variation in risk among      proportion of ovarian cancer incidence
                                                                            The variation in risk
  determined through in-            ovarian cancer to 1.8 (1.1-3.0) and     amonghistologic subtypes         attributable to this level of talc
                                                                            may
                                                                            histologic subtypes
  person interviews. Talc use       use for more than 10 years 1.6 (1.0-    mayreflect a chance finding      exposure is about 10%. They further
                                                                            or a
                                                                            reflect a chance finding or
  was reported as any               2.7). For women who had more than       aneed to examine                 state that given the poor prognosis for
                                                                            endometroid
                                                                            need to examine
  genital application, type of      10,000 applications while               endometroidand borderline        ovarian cancer, any potentially
                                                                            tumors more
  application (sanitary             menstruating had an odds ratio          and borderline tumors more       harmful exposures should be
  napkin/underwear, via             of 2.8 (1.4-5.4).                       carefully for evidence of        avoided, particularly those with
                                                                            foreign body effect.             limited
  partner or application to         Using techniques of metaanalysis,                                        benefits. For that reason, they
  diaphragm, via dusting to         the authors calculated an OR of 1.3     foreign body effect.Authors      discouraged the use of talc in genital
                                                                            cannot rule out the
                                                                            Authors cannot rule out
  perineum), number of              (1.1-1.6) for any perineal exposure     thepossibility of differential   hygiene, particularly as a daily habit.
                                                                            over
  applications per month,           and ovarian cancer risk.                 possibility of differential
  years of use, age at first use,                                            over or under reporting of
  years since last use, whether                                              talc exposure their cases and
  use was before or after                                                    controls, especially in those
  1960, brand of application,                                                with reproductive events that
  estimated total lifetime                                                   enhance ORs.
  applications, estimated
  applications excluding use                                                Authors presume that
  after hysterectomy or tubal                                               responders and
  ligation, and estimated                                                   non-responders were similar
  applications excluding use                                                in characteristics, but
  after hysterectomy or tubal                                               validity depends on that
  ligation and use during                                                   presumption.
  nonovulatory months.
                                                                            Adjustments were made to
                                                                            account for confounding, but
                                                                            authors cannot rule out the
                                                                            presence of unknown factors
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                                                                                             might have influenced the
                                                                                             observed associations.
Rosenblatt (1992)     Case Control Study.           Women who were exposed to               Given its small sample size    The authors stated that the results of
                      Hospital based.               genital fibers greater than or equal    and the potential selection    their study and others suggested that
                      Evaluated a total of 77       to 37.4 years had an increased odds     bias stemming from the         genital fiber exposure may be
                      cases of ovarian cancer and   ratio for ovarian cancer of 2.4 (1.0-   inclusion of patients from     associated with an adverse effect, but
                      46 controls, who were         5.8). Exposure to talc on sanitary      only one hospital, further     further study is needed to determine if
                      treated for non-              napkins resulted in an increase odds    research needs to be           this relationship is causal in nature.
                      gynecologic/non-malignant     ratio of 4.8 (1.3-17.8). Use of         performed in order to
                      diseases from Baltimore,      genital bath talc was associated with                                 Tubal ligation may protect against
                                                                                            confirm the findings.
                      MD. Participants were         an odds ratio of 1.7 (0.7-3.9).                                       ovarian cancer by inhibiting
                      interviewed via               Diaphragm use with powder showed                                       carcinogenic action of talc through
                      questionnaire (questions      an odds ratio of 3.0 (0.8-10.8).                                       blockage of the fallopian tube or
                      provided in Appendix 1 of                                                                            through screening effect.
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                  MD. Participants were         an odds ratio of 1.7 (0.7-3.9).                                        Tubal ligation may protect against
                  interviewed via               Diaphragm use with powder showed                                       ovarian cancer by inhibiting
                  questionnaire (questions      an odds ratio of 3.0 (0.8-10.8).                                       carcinogenic action of talc through
                  provided in Appendix 1 of     A negative association was                                             blockage of the fallopian tube or
                  publication) about            A negative association was                                             through screening effect.
                  presence and length of        observed for antecedent tubal
                  genital fiber and             ligation with an odds ratio of 0.15
                  respiratory fiber exposure.   (0.027-0.88).
                  Fiber exposure was
                  defined as exposure to
                  asbestos, talc, and
                  fiberglass. The “dose” of
                  exposure was determined
                  by adding the number of
                  years of each type of
                  genital or respiratory
                  exposures from all
                  sources. Further, only
                  exposure prior to tubal
                  ligation (for women who
                  had that procedure) was
                  counted.
                  Further, only exposure
                  prior to tubal ligation
                  (for women who had
                  that procedure) was
                  counted.

Tzonou (1993)     Case Control Study.           After adjusting for variable, talc    The study has the power          The results of the present study do not
                  Hospital based.               application in the perineum was       limitation associated with its   support an association between talc
                  Evaluated189 women with       associated with a relative risk of    moderate size and, as in any     and ovarian cancer but, given the
                  ovarian cancer and 200        1.05 (0.28-3.98) based on 6 cases     case-control study, there        overlapping range of the confidence
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                  controls in Greater Athens,   and 7 controls reported using talc   exists a possibility of          intervals, they are not
                  Greece area. Exposure was     in the perineal area.                selection and, less likely, of   incompatible with it.
                  ascertained by asking if                                           information bias. The
                  women used of talc in the                                          possibility that ovarian
                  perineal area (no; yes).                                           cancer may be caused by
                                                                                     exposure to asbestos has be
                                                                                     raised by other authors who
                                                                                     pointed out that mineral
                                                                                     talc is closely related
                                                                                     asbestos and presented
                                                                                     clinical and experiments
                                                                                     evidence linking exposure
                                                                                     to talc with ovarian cancer.
Purdie (1995)     Case Control Study.           Use of talc around                   Selection and recall biases      Regular use of talc in the region of the
                  Population based.             abdomen/perineum was associated      and potential confounders        abdomen or perineum was associated
                  Evaluated 824 cases of        increase risk for ovarian cancer     were considered.                 with a slight increase (and positively
                  epithelial ovarian cancer     with an odds ratio of 1.27 (1.04 -                                    associated) in the risk of ovarian
                  and 860 controls from         1.54).                                                                cancer.
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Purdie (1995)     Case Control Study.            Use of talc around                      Selection and recall             Regular use of talc in the region of
                  Population based.              abdomen/perineum was                    biases and potential             the abdomen or perineum was
                  Evaluated 824 cases of         associated increase risk for            confounders were                 associated with a slight increase (and
                  epithelial ovarian             ovarian cancer with an odds             considered.                      positively associated) in the risk of
                  and 860 controls from          1.54).                                                                   cancer.
                  gynecological oncology

                  gynecological oncology
                  treatment centers in three
                  Australian states. Talc
                  exposure was determined
                  through use of a
                  questionnaire via
                  face-to-face interviews.
Cramer (1995)     Case Control Study.            Use of talc “in genital hygiene” was    Authors considered recall        Authors reported a protective effect of
                  Population based.              associated with an increased risk for   bias and confounding             prior hysterectomy or tubal ligation
                  Evaluated 450 women            ovarian cancer with an odds ratio                                        for ovarian cancer and offer several
                  diagnosed with ovarian         1.6 (1.2-2.1).                                                            explanations including blockage of
                  cancer in Boston, MA                                                                                     vaginal contaminants.
                  area hospitals, and 454                                                                                  Thus tubal effluences or vaginal
                  controls selected from the                                                                               contaminants are no longer able to
                  general population.                                                                                      reach the pelvic cavity and ovaries.
                  Examined the association                                                                                 Although many vaginal
                  between ovarian cancer                                                                                   contaminants could be proposed,
                  and prior hysterectomy or                                                                                talc use in genital hygiene may be an
                  tubal ligation.                                                                                          important one.

Chang (1997)      Case Control Study.            Women with any regular talc             Differences in talc              This investigation supports previous
                  Population based.              exposure had an increased risk of       concentration among various      contentions that exposure to talc may
                  Evaluated 450 patients         developing ovarian cancer with an       baby powders, body powders       increase risk of ovarian carcinoma.
                  with borderline or invasive    odds ratio of 1.42 (1.08-1.86). Use     and deodorizing powders          Dusting with talcum powder is not an
                   ovarian cancer and 564        of cornstarch was not associated        were not investigated in this     unusual practice for women and,
                   population controls in        with increased risk, but there          study. Furthermore, reporting     given the heterogeneity of the etiology
                  Ontario, Canada. A             small numbers in this exposure          error in reported talc use and   and course of ovarian carcinoma, any
                   questionnaire was used        group. Use of talc on sanitary          failure to interview all          possible harmful practices,
                   during an in-person           napkins was associated with an          eligible case and                 particularly those with little
                   interview. Questions about    odds ratio of 1.26 (0.81-1.96), and     control subjects may              benefit, should be deliberated.
                  regular talc use and type of   talc after bathing showed an odds       biases. As with any case         A questionable dose-response
                  talc use, as well as           ratio of 1.31 (1.00-1.73). Dose         control study, the possibility   relationship was observed between
                  questions from which           response data revealed an odds ratio    of selection bias and            duration or frequency of exposure and
                   information about duration    per 10 years of use at 1.06 (0.99-      information bias exists,         risk.
                   and frequency of exposure     1.14).                                  although the consistency of
                   were included. Women                                                  this study with others that
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  were questioned about the                    have addressed reproductive
  application of talc to the                   factors and ovarian carcinoma
  perineum and about use of                    is reassuring.
  talc on sanitary napkins.
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                 were included. Women                                                this study with others that
                 were questioned about                                               have addressed
                 the application of talc to                                          reproductive factors and
                 the perineum and about                                              ovarian carcinoma is
                 use of talc on sanitary                                             reassuring.
                 napkins. They also
                 ascertained the use of
                 cornstarch on the

Green (1997)     Case Control Study.          Women who had ever used talc in        Recall of use of talc among      Despite the limitation, these results
                 Population based.            the perineal region had an increased   older women may not have         add support to the body of evidence
                 Included 824 women with      risk for ovarian cancer with a         been accurate, tending to        implicating talc as a factor in the
                 ovarian cancer who were      relative risk 1.3 (1.1-1.6). Further   reduce the estimated RRs;        pathogenesis of peritoneal epithelial
                 identified through cancer    the authors found that compared        moreover, the actual quantity    neoplasia.
                 registries and 855           with women who had neither used        of talc used was unknown.        Our findings support the theory that
                 population-based controls    talc     nor     had      surgical                                      contaminants from the vagina, such

                 Questionnaire was used to    without surgery with a relative risk                                    cavity through patent fallopian tubes
                 determine perineal talc      1.3 (1.0-1.7) and lowest among                                          and may enhance malignant
                 exposure but no details      women with a history or tubal                                           transformation of the ovarian surface
                 were provided on the         sterilization or hysterectomy who                                       epithelium. Surgical tubal occlusion
                 specific questions posed     had not applied talc to the perineum                                    may reduce the risk of ovarian cancer
                 regarding talc use.          with a relative risk 0.6 (0.5-0.84).                                     by preventing the access of
                 Duration and particular                                                                               such agents.
                 ages/years used were                                                                                  In view of this particular finding
                 also obtained.                                                                                        (reduction of risk of ovarian and
                                                                                                                       peritoneal tumors) and the evidence
                                                                                                                       presented here and elsewhere that
                                                                                                                       pelvic contaminants such as talc are
                                                                                                                       associated with ovarian cancer, we
                                                                                                                       conclude that closure of the
                                                                                                                       fallopian tubes by surgery prevents
                                                                                                                       chronic contact between these
                                                                                                                       agents and ovarian epithelium. It
                                                                                                                       seem likely that peritoneal irritants
                                                                                                                       act as co-carcinogens by increasing
                                                                                                                       the accumulated number of
                                                                                                                       mutational events in ovarian surface
                                                                                                                       epithelial cells.

Cook (1997)      Case Control Study.          Use of any of the genital powder       Study reported that it is        These results offer support for the
                 Population based.            applications (perineal application,    difficult to postulate that an   hypothesis, raised by prior
                 Evaluated 313 cases          sanitary napkins, genital              increased risk for ovarian       epidemiologic studies, that powder
                 ovarian cancer identified    sprays, diaphragms resulted in a       cancer may specifically be       exposure from perineal dusting
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  through a cancer registry   relative risk 1.5 (1.1-2.0). The risk   due to powder and associated
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Cook (1997)     Case Control Study.           Use of any of the genital powder        Study reported that it is          These results offer support for the
                Population based.             applications (perineal                  difficult to postulate that an     hypothesis, raised by prior
                Evaluated 313 cases           application, sanitary napkins,          increased risk for ovarian         epidemiologic studies, that powder
                ovarian cancer identified     sprays, diaphragms resulted in a        cancer may specifically be         exposure from perineal dusting
                through a cancer registry     relative risk 1.5 (1.1-2.0). The risk   due to powder and associated       contributes to the development of
                                                                                                                         contributes to the development
                and 422 population-based      was highest in women who dusted         constituents when some of
                                                                                                                         ofovarian cancer.
                                                                                                                         ovarian cancer.Given the common
                controls in Western           perineal areas with powder, with a      the deodorant sprays do not
                                                                                                                         practice (28-51%
                                                                                                                         Given the common practice
                                              relative risk 1.8 (1.2-2.9).
                Washington. Women were                                                contain aerosolized powder.        (28-51%of women), even the modest
                                              Compared
                                                                                                                         elevation
                                                                                                                         of women), even thein ovarian cancer
                questioned about storing      with never users of genital
                                                                                                                         risk by modest elevation
                diaphragms in powder,         deodorant sprays, women who used        Limitations of the present         in ovarian cancer risk by most
                dusting perineal areas with   these products for 12 months or less    study include the fairly           epidemiological studies could have
                                                                                      low                                a notable impact on the incidence
                                                                                                                         of
                powder after bathing,         had a relative risk for ovarian         proportion of eligible women       notable impact on the incidence of
                powdering sanitary            cancer of 1.5, while those who          who participated and the           ovarian cancer in the US.
                                              used them
                napkins, and using genital    for more than 12 months had a           potential differential recall of
                deodorant sprays. Women       relative risk of 2.7. Compared with     powder usage.
                were also questioned about    never users of genital deodorant
                duration and frequency of     sprays, women who used an
                powder application and        estimated 500 lifetime applications
                about types of powder         or less of genital deodorant sprays
                applied.                      had a relative risk for ovarian
                                              cancer of 1.7, while those who had
                                              an estimated lifetime applications
                                              greater than 500 had a relative risk
                                              of 2.6. Both of these dose-response
                                              trends were statistically significant
                                              (p < 0.05). None of the other types
                                              of perineal talcum powder product
                                              use showed trends to greater risk
                                              with greater estimated duration
                                              used or applications. The authors
                                              then categorized powders into
                                              specific types: cornstarch, talcum
                                              powder, baby powder, deodorant

                                              (assuming talcum powder was
                                              likely a constituent of the latter
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                     three as well). Exclusive use of
                     cornstarch only or of deodorizing
                     powder only were associated with
                     no increase in risk for ovarian
                     cancer, but the numbers of cases
                     were very small (5 and 9,
                     respectively). Exclusive use of
                     other types of powder increased
                     risk between 20 and 60 percent,
                     but the results were not statistically
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                                                 numbers of cases were very small
                                                 (5 and 9, respectively). Exclusive
                                                 use of other types of powder
                                                 increased risk between 20 and 60
                                                 percent, but the results were not
                                                 statistically significant. Risk for
                                                 serous ovarian cancers increased in
                                                 women who ever used any genital
                                                 powder with a relative risk 1.7
                                                 (1.1-2.5). The relative risk for
                                                 “other tumors” among ever users
                                                 was 1.8 (1.1-2.8), while risks for
                                                 mucinous or endometrioid tumors
                                                 were not increased in genital
                                                 powder users.
Godard (1998)     Case Control Study.            Women who had ever used perineal                                        Perineal talc used was a nonsignificant
                  Population based.              talc had an increased risk for                                          risk factor (RR 2.49, P=.064). Talc
                  Evaluated 170 women with       ovarian cancer with a relative risk                                     has previously been implicated in the
                  ovarian carcinomas or          2.49 (0.94-6.58). The relative risk                                     development of ovarian cancer.
                  borderline tumors and 170      for sporadic ovarian cancer 2.45                                        Although there are reports of talc
                  controls in Montreal,          (0.85-7.07), and a relative risk of                                     embedded in human ovarian

                  The authors used               cancer.                                                                 human female reproductive tract, the
                   questionnaires, but talc                                                                              literature reviewed does not provide
                   use questions were not                                                                                any convincing evidence that pure
                   described in the                                                                                      cosmetic talc, when used as
                   publication. However,                                                                                 intended, presents a health risk to

                  “never” perineal use of talc
                  was reported.

Wong (1999)       Case Control Study.            Women with ever use of talc in         The study has two potential      A significant association between the
                  Hospital based.                genital or thigh region had an odds    weaknesses. First, as with       use of talcum powder and the risk of
                  Evaluated 499 patients         ratio of 1.0 (0.8-1.3) and both talc   any retrospective study using    developing epithelial ovarian cancer is
                  with ovarian cancer and        applied to those region and sanitary   data collected from the          not demonstrable, even with
                  755 patients with non-         napkin has an odds ratio of 1.1        patients’ recall of evens,       prolonged exposure.
                  gynecological                  (0.7- 1.7). For duration of use of     potential ascertainment and
                  malignancies in Buffalo,       use of 1-9 years reported an odds      recall bias may exist. Second,
                  NY. Exposure to talc           ratio of 0.9 (0.6-1.5); 10-19 years    condoms and diaphragms are

                  determined using a self-       1.4 (0.9-2.2) and greater than or      potential sources of talc
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  administered                  equal to 20 years of 0.9 (0.6-1.2).   exposure. The
  questionnaire. Women                                                questionnaire asked about
  were queried on site of                                             these forms of
  talc use (sanitary napkin                                           contraception but does not
  vs. genital/thigh area) and                                         ask about the frequency or
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                  administered                  1.4 (0.9-2.2) and greater than or       exposure. The questionnaire
                  questionnaire. Women          equal to 20 years of 0.9                asked about these forms of
                  were queried on site of       (0.6-1.2).                              contraception but does not
                  talc use (sanitary napkin                                             ask about the frequency or
                  vs. genital/thigh area) and                                           duration of usage.
                  duration of use. But, the                                             Consequently, the study is
                  study did not report the                                              limited to the use of talc on
                  questions asked.                                                      the perineum or sanitary
                                                                                        napkins and does not
                                                                                        address potential talc

Cramer (1999)     Case Control Study.           Women with any genital exposure         The relatively weak odds        In summary, we have demonstrated a
                  Population based.             had an adjusted odds ratio of 1.60      ratios observed could reflect   consistent association between talc
                  Evaluated 563 women with      (1.18-2.15). For frequency per          potential biases, especially    and ovarian cancer that appears
                  ovarian cancer and 523        month, women with less use less         recall and confounding.         unlikely to be
                  controls in eastern MA and    than 30 had an odds ratio of 2.21       Recall bias is possible         explained by recall or confounding.
                  NH areas. Exposure to         (1.37-3.56) whereas with 40+ use        because talc exposure in        The dose-response relationship is
                  body powders was              had an odds ratio of 1.57 (0.8-3.10).   these studies is based on       weak but improved by considering
                  ascertained through           Women with serous invasive              person recollection.            factors such as closure of the female
                  personal interview.           ovarian cancer had an adjusted odds     However, recall bias seems      tract, ovulation and exposure prior to
                  Women were asked if they      ratio of 1.7 (1.22-2.39)                more likely to affect           pregnancy, and we
                  had “regularly used talc,                                             exposures that have occurred    have outlined a plausible biologic

                  powders dusted or                                                     that have occurred over long    estimate that avoidance of talc in
                  sprayed” to feet, arms, or                                            term. If publicity regarding    genital hygiene might reduce the
                  other non-genital areas, to                                           the association correlated      occurrence of a highly lethal form of
                  the genital or rectal                                                 with selective recall, one      cancer by at least 10%. Balanced
                  area, on sanitary                                                     might expect a trend for        against what are primarily
                  underwear. A husband’s                                                from more recent studies to     reasons for using talc in genital
                  use of powder in his                                                  report higher exposure rate.    hygiene, the risk benefit decision is
                  genital area was also                                                 As to confounding, the          not complex.
                  assessed. Age at first use,                                           authors found no evidence       Appropriate warnings should be
                  types of powders,                                                     that genital talc exposure      provided to women about the
                  applications per month and                                            varied by key risk factors      potential risks of regular use of talc
                  total years of use were                                               ovarian cancer such as age,     the genital area.
                  assessed. Potential                                                   parity, OC use. The
                  exposure from condoms                                                 demonstrated consistent
                  or diaphragms was not                                                 association between talc and
                  assessed.                                                             ovarian cancer appears to be
                                                                                        unlikely to be explained by
                                                                                        recall or confounding.
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                                               In attempting to address the
                                               lack of a clear dose response,
                                               the authors point out that it is
                                               difficult to quantify the
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                                                                                     unlikely to be explained by
                                                                                     recall or confounding.
                                                                                     In attempting to address the
                                                                                     lack of a clear dose
                                                                                     response, the authors point
                                                                                     out that it is difficult to
                                                                                     quantify the amount of
                                                                                     powder actually used and
                                                                                     degree of perineal dusting
                                                                                     that might constitute an
                                                                                     amount of powder actually
                                                                                     used and degree of
                                                                                     perineal dusting that might
                                                                                     constitute an “application
                                                                                     of talc,” Other
                                                                                     considerations include the
                                                                                     use during ovulation and
                                                                                     closure of tract as a result
                                                                                     of tubal ligation or
                                                                                     hysterectomy.
Ness (2000)     Case Control Study.          Compared with never-users, women        A limitation of the study was     Talc use on all areas of the body
                Hospital based.              who used talc in genital/rectal areas   the somewhat low                  elevated ovarian cancer risk, even
                Evaluated women with         had an elevated odds ratio for          participation rate among          after adjustment for potentially
                ovarian cancer ascertained   ovarian cancer of 1.5 (1.1-2.0).        cases and controls. Another       important confounding factors.
                from 39 hospitals in         Users on sanitary napkins had an        limitation is the potential for
                Eastern Pennsylvania,        increased risk for ovarian cancer       recall bias, which is a           Environmental factors and medical
                Southern New Jersey, and     with an odds ratio 1.6 (1.1-2.3).       concern with any                  conditions that increased the risk
                                             Use                                     case-
                Delaware. 767 cases of       on underwear increased risk to an       control study. However, in        included talc use.... The spectrum of
                ovarian cancer were          odds ratio of 1.7 (1.2-2.4). Use on a   this study recall bias is         associations provides support for the
                interviewed, with 1,367      diaphragm/cervical cap or by a male     unlikely to explain factors       hypothesis that inflammation may
                population-based controls.   partner did not increase risk.          that appear to be protective,     mediate ovarian cancer risk.

                determined by asking         or other body areas did not show        of the associations found. A
                women if they ever used      increasing risk with increasing         final limitation is that many
                talc, baby, or deodorizing                                           of the effect sizes
                powder at least once per
                month for 6 or more
                months in their genital or
                rectal area, on sanitary
                napkins, on underwear,
                on a diaphragm or
                cervical cap, or on
                non-genital areas. They
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          also were asked about         numbers of years of use.               were modest.
          male partner use of talc
          to the genital area or
          underwear.




Mills     Case Control Study.           Ever use of perineal talc had an       The sample size was            This study provides some support for
          Population based.             increased risk for ovarian cancer      relatively small and the       the hypothesis that perineal talc use is
          Evaluated 256 cases from      with an odds ratio 1.37 (1.02-1.85).   response fraction lower than   associated with an increased risk for
          cancer registries and 1,122   Increasing frequency of use was        ideal. Recall bias has been    epithelial ovarian cancer.
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                   use of talc to the
                   genital area or
                   underwear.
Mills (2004)       Case Control Study.           Ever use of perineal talc had an       The sample size was               This study provides some support for
                   Population based.             increased risk for ovarian cancer      relatively small and the          the hypothesis that perineal talc use is
                   Evaluated 256 cases from      with an odds ratio 1.37 (1.02-1.85).   response fraction lower than      associated with an increased risk for
                   cancer registries and 1,122   Increasing frequency of use was        ideal. Recall bias has been       epithelial ovarian cancer.
                   population-based controls     associated with increasing risk-       implicated.... It has also been   The precautionary principal should be
                   from in 22 counties of        women using talc 4-7 times per         suggested that use of talc is     invoked, especially given that this is
                   Central California. Women     week had an odds ratio of 1.74         habitual versus memorable         serous form of cancer, usually
                   Women were queried about
                                                 (1.14-2.64) for ovarian cancer         and not likely to be subject to   associated with a poor prognosis, with
                   their
                   about their talcum powder
                                                 (p=0.015). There was an indication     recall bias. Treatment effect     no current effective screening tool....
                   use in the
                   use in the genital area,      of trend with duration of use up to    is also a limitation.             Unlike other forma of
                   years of use, frequency of    4-12 years OR 1.86 (1.16-2.98), but                                      environmental exposures, talcum
                   use, and total                                                                                         powder use is
                    use, and total duration of   the number of years beyond that                                          easily avoidable.
                    use.                         did not increase risk further. A
                   duration of use.              similar relationship was found for
                   Invasive and                  cumulative dose (frequency x
                   borderline tumors             duration) and risk peaked in
                   were studied.                 second and third quartiles
                                                 (p=0.051). Risk for women with
                                                 serous invasive tumors had an
                                                 odds ratio of 1.77


                                                 (1.12-2.81).

Merritt (2008)     Case Control Study.           Ever use of talc in the perineal       Low response rate for             Former studies together with the
                   Population based.             region was associated with an odds     controls (47%), which could       current findings support the
                   Evaluated 1,576 women         ratio of 1.17 (1.01-1.36). The         have resulted in selection        hypothesis that talc particles are
                   with ovarian cancer and       increase was strongest for serous      bias and possibly lead to an      transported to the ovaries via
                   1,509 population-based        with an odds ratio 1.21 (1.03-1.44)    over-representation of health     unobstructed fallopian tubes.
                   controls from Australia.      and was also seen for endometrioid     subjects among the controls.      Focusing on talc use, we found that
                   Women provided                with an odds ratio 1.18 (0.81-1.70).   Additionally, the analysis of     any use of perineal talc was associated
                   information on self-          A trend for duration of use greater    the medical conditions was        with a small but significantly
                   administered                  than 25 years was seen for all cases   based entirely on self-           increased risk of ovarian cancer
                   questionnaires. To            with an odds ratio of 1.29 (1.04-      reported medical history and      overall and specifically amongst the
                   determine use of talcum       1.58) p=0.021).                        as a result the accuracy of       invasive and LMP serous tumours
                   powder in the perineal                                               these reports could not be        although no clear dose-response with
                   region, participants were                                            confirmed, although self-         increasing duration of use was
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  asked if they had ever used                  reports of these                  identified. This finding is consistent
  powder or talc in the                        miscellaneous conditions are      with results of previous studies.
  genital area, on
  genital area, on                             unlikely to be influenced         We conclude that on balance
  underwear, or on sanitary                    greatly by case/control status.   chronic inflammation does not play
  pads/diaphragms. They                                                          a major role in the development of
  were also asked about age                                                      ovarian cancer.
  at first use and years of
  talc use in these areas.
  Duration of talcum
  powder use prior to and
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                   sterilization wasor on                                                   unlikely to be influenced         We conclude that on balance
                   sanitary                                                                 greatly by case/control status.   chronic inflammation does not play
                     pads/diaphragms. They                                                                                    a major role in the development of
                     were also asked about age                                                                                ovarian cancer.
                     at first use and years of
                     talc use in these areas.
                     Duration of talcum
                     powder use prior to and
                     after surgical sterilization
                     was calculated, and all
                     analyses were limited to
                     the time when the
                     fallopian tubes would
                     have been patent. Use of
                     talc on arms, chest or
                     abdomen was also
                     collected.
Moorman (2009)     Case control.                    After adjusting for age there was an    The North Carolina Ovarian        The relative importance of ovarian
                   Population based.                increased risk for ovarian cancer       Cancer Study included more        cancer risk factor may differ for
                   Investigated 1,114 cases         with (ever/never) talc use reported     African-American women            African-American women but
                   with histopathologically         for both whites with an odds ratio of   that any other study of           conclusions were limited by the small
                   confirmed tumors as part         1.04 (0.82 -1.33) and African           ovarian cancer, but the           sample.
                    of the North Carolina           American of 1.19 (0.68-2.09).           relatively small sample
                    Ovarian Cancer Study                                                    made it difficult to
                    conducted in a 48-county                                                ascertain which association
                    region of North Carolina.                                               were true associations and
                    Control women were                                                      which were due to chance
                    frequency-matched by                                                    findings. Other limitations
                    age and race/ethnicity.                                                 included the case-control
                    Talc exposure was                                                       method. The possibility of
                    ascertained through                                                     bias being introduced due
                    in-person interviews and                                                to nonparticipation of
                    questionnaire conducted                                                 ovarian cancer cases and

Wu (2009)          Case control.                    After adjusting for race, age,          Confounding, bias.                The role of talc in the development
                   Population based.                education, tubal ligation, family                                         of ovarian cancer has been studied
                   Evaluated 609 women with         history, menopausal status, use of                                        extensively. In a 2006 review by the
                   newly diagnosed epithelial       oral contraceptives, and parity ever                                      International Agency for Research on
                   ovarian cancer and 688           perineal use of talc was associated                                       Cancer (IARC), talc was classified as
                   population-based control         with an increased relative risk of                                        possibly carcinogenic to humans

                   Angeles county, CA. Talc         The risk of ovarian cancer                                                the 20 epidemiological studies on talc
                   exposure was determined          increased significantly with                                              and ovarian cancer show consistently
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  through a comprehensive     increasing frequency and duration       a 30--60% increased risk associated
  questionnaire that used a   of talc use; compared to never users    with talc use.
  reference date of 2 years   risk and was highest among long         However, only about half of the
  before the date of          duration (20 years), frequent (at       studies examined exposure response
  diagnosis (or date of       least daily) talc users with an         relationships and the evidence for this
  interview for controls).    adjusted relative risk of 2.08 (1.34-   is less consistent. This study adds to
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               exposure was determined         increased significantly with                                               and ovarian cancer show
               through a comprehensive         increasing frequency and duration                                          consistently a 30--60% increased
               questionnaire that used a       of talc use; compared to never users                                       risk associated with talc use.
               reference date of 2 years       risk and was highest among long                                            However, only about half of the
               before the date of              duration (20 years), frequent (at                                          studies examined exposure
               diagnosis (or date of           least daily) talc users with an                                            response relationships and the
               interview for controls).        adjusted relative risk of 2.08 (1.34-                                      evidence for this is less consistent.
               Subjects were asked if they     3.23). The association between talc                                        This study adds to small group of
               ever used talc at least once    use and risk of ovarian cancer was                                         studies that have investigated the
               per month for 6 months or       strongest for serous ovarian cancer                                        combination of frequency and

               positive, they were asked if    1.70 (1.27-2.28).                                                          significant trend with increasing
               they had ever used talc in                                                                                 number of total applications. The
               non-perineal areas,                                                                                        results also suggest that talc use
               perineal areas or on                                                                                       prior to 1976 may be more
               underwear or sanitary                                                                                      important. The lack of sufficient
               pad/diaphragm. Questions                                                                                   information on frequency, duration
               on talc use included age at                                                                                and calendar period of talc use may
               first use, frequency of use                                                                                have contributed to misclassification
               (times per month) and                                                                                      of this exposure variable in some

                                                                                                                          OK

Rosenblatt     Case control.                   Risk of ovarian cancer with genital      The validity of all of these      IARC has designated perineal
               Population based.               powder was associated with an odds       studies, including this may be    exposure to talc as a possible
               Evaluated a total of 812        ratio 1.27 (0.97-1.66). The risk for     influenced by the level of        carcinogen in women. A modest
               women with ovarian              borderline ovarian tumors showed         non-response among cases          association of ovarian cancer with this
               cancer identified through a     an odds ratio of 1.55 (1.02-2.37)        and controls and by the           exposure was seen in the study and in
               cancer registry and 1,313       and for invasive ovarian cancers the     potential for misclassification   some previous ones, bur the
               controls from the western       odds ratio was 1.27(0.87-1.58). Use      (differentials and non-           association generally has not been
               Washington population.          of powder on either sanitary napkins     differential) of exposure         consistent with or among studies.
               Sources of genital powder       or diaphragms did not increase risk.     status.                           Therefore, no stronger adjective than
               were ascertained, including     Use of vaginal deodorant spray                                             “possible” appears warranted at this
                direct perineal application,   showed an odds ratio 1.15 (0.85-                                            time.
                use on sanitary napkins and    1.56). None of the dose-response or                                         It is not evident how (or if) additional
               diaphragms, and use of          time variables (years of use, lifetime                                     investigation will be able to resolve
               deodorant vaginal spray.        number of applications, age at first                                       the issue of whether perineal exposure
               For powder use on sanitary      use, age at last use, calendar year of                                     to talc predisposes to ovarian
               napkins and use of vaginal      first use, time since first year, time                                     malignancy. Further case-control
               deodorant sprays, the           since last use) showed evidence of                                         studies will continue to be hindered by
               authors recorded the total      increasing relative risk of ovarian                                        the limitations mentioned above. Data
               number of months or years       cancer with increasing level of                                            from additional cohort studies would
               in which these products         exposure to talcum powder                                                  be welcome, but without details
               were used. For use of           products. Similarly, there was no                                          concerning the composition of the
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  perineal powder, the         evidence of increased risk for        powders used by cohort members –
  investigators recorded the   ovarian cancer with increasing dose   details that many participants may not
  age began and ended,                                               be able to provide – the results of
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              authors recorded the total   increasing relative risk of ovarian                                        the limitations mentioned above. Data
              number of months or years    cancer with increasing level of                                            from additional cohort studies would
              in which these products      exposure to talcum powder                                                  be welcome, but without details
              were used. For use of        products. Similarly, there was no                                          concerning the composition of the
              perineal powder, the         evidence of increased risk for                                             powders used by cohort members –
              investigators recorded the   ovarian cancer with increasing dose                                        details that many participants may not
              age began and ended,         of powder use on sanitary                                                   be able to provide – the results of
              number of weeks or           napkins, or of vaginal deodorant                                            such studies may similarly be
              months of use per year,      sprays.                                                                     ambiguous in their interpretation.
              and average days per                                                                                   their interpretation.
              week used. Study                                                                                         OK
              participants were also
              asked about the types of
              powder used, including
              talcum, baby, cornstarch,
              deodorant, body/bath, and
              other or unknown. The
              authors then calculated
              the lifetime duration of
              use, and estimated
              lifetime number of
              applications.

    Kurta     Case Control.                Use of perineal talc showed an          Reliance on self-reported use     Concludes that risk of ovarian cancer
              Population based.            increased risk for ovarian cancer       of study drugs and talc- recall   is significantly associated with talc
              Evaluated 902 cases of       with an odds ratio 1.40 (1.16–1.69).    bias.                              use.
              women with ovarian                                                                                      Compared to Caucasians, African
              cancer and 1,802                                                                                        Americans had a significantly
              controls from resident of                                                                               increased risk of ovarian cancer.
              Western Pennsylvania,                                                                                   The following variables were also
              Eastern Ohio, and                                                                                       significantly associated with
              Western New York                                                                                        ovarian cancer risk: age at
              State. Perineal talc use                                                                                menarche, OC use, parity,
              was defined as ever                                                                                     gravidity, duration of
              using dusting powder or                                                                                 breastfeeding, perineal talc use, and
              deodorizing spray on the                                                                                tubal ligation.
              genital or rectal areas,                                                                                OK
              on sanitary napkins, on
              underwear, or on
              diaphragms or cervical
Wu (2015)     Case Control. Population     Use of genital talc for one year or     Small sample sizes for            Population attributable risk
              based.                       more in combined ethnicities was        Hispanics and African             percentages (PAR%s), defined as
              Investigated the             associated with an increased risk for   Americans                         the percentages of disease in the
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  associations of risk of     ovarian cancer with an odds ratio    population that are attributable to a
  ovarian cancer and talcum   1.46 (1.27-1.69). Similar relative   given risk factor (or set of risk
  powder products use and     risks were seen in non-Hispanic      factors), were calculated. The risk
  other risk factors. 1,701   white, Hispanic, and African-        associations with six well-accepted
  cases were identified       American women. For 5 years          factors (parity, oral contraceptive use,
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                  through the SEER               increments of genital talc use, the                                    tubal ligation, endometriosis, family
                  population-based               risk for ovarian cancer increased                                      history of ovarian cancer, and talc use)
Wu (2015)          Case Control. Population      Use of genital talc for one year or     Small sample sizes for         Population attributable risk
                   based.                        more in combined ethnicities was        Hispanics and African          percentages (PAR%s), defined as
                   University of                 associated with an increased risk       Americans                      the percentages of disease in the
                   SouthernInvestigated          for ovarian cancer with an odds                                        population that are attributable to
                   the associations of risk      ratio 1.46 (1.27-1.69). Similar                                        a given risk factor (or set of risk
                   of ovarian cancer and         relative risks were seen in                                            factors), were calculated. The risk
                   talcum powder products        non-Hispanic white, Hispanic, and                                      associations with six well-accepted
                   use and other risk            African- American women. For 5                                         factors (parity, oral contraceptive use,
                   factors. 1,701 cases          years increments of genital talc use,                                  tubal ligation, endometriosis, family
                   were identified through       the risk for ovarian cancer                                            history of ovarian cancer, and talc
                   the SEER                      increased with an odds ratio of 1.14                                   use) were comparable and significant
                   population-based              (1.09-                                                                 in
                   University of Southern
                  California cancer              1.20).                                                                 Hispanics, AA, and non-Hispanic
                  registry. and 2,319                                                                                   whites.
                  controls were recruited                                                                               As expected, each of these six
                  from the cases’                                                                                       risk factors had statistically
                  neighborhoods using                                                                                   significant effects on risk in all

                  In-person interviews were
                  conducted. To determine
                  use of talcum powder,
                  women were asked if they
                  ever used talc at least
                  once per month for 6
                  months or more. If the
                  response was positive,
                  they were asked whether

                  (feet, arms, chest or back),
                  perineal areas, or on
                  underwear or sanitary
                  pads/diaphragm. Questions
                  on talc use included age at

                  (times per month)

Cramer (2016)     Case control.                  Genital talc use was associated with    Recall bias. There are no       Overall, there is an association
                  Population based.              an increased risk of ovarian cancer     external records to validate    between genital talc use and EOC and
                  Reported on association        with an odds ratio of 1.33 (1.16-       talc use reported by study      a significant trend with increasing
                  between genital talc use       1.52). Reported a significant trend     participants to assess whether “talc years” of use.
                  and risk of ovarian cancer.    for greater ovarian cancer risk with    our degree of                  Among many epidemiologic
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  Evaluated 2,041 cases of       increasing talc-years of use. > 7,200   misclassification is         variables, no confounders for the
  ovarian cancer from tumor      apps (equivalent to >20 years of        reasonable. Whether the      association were identified.
  boards and registries in       daily use showed an odds ratio 1.49     association is a result of   The association may be stronger in
  Eastern Massachusetts and      (1.06-2.10).                            confounding must be          AA women.
  Massachusetts and 2100                                                 addressed. No evidence       OK
  controls identified from the                                           of confounding was
  sample population as                                                   identified but authors did
  controls. Participants were                                            find several examples of
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                       Evaluated 2,041 cases of       increasing talc-years of use. > 7,200   misclassification is              Among many epidemiologic
                       ovarian cancer from tumor      apps (equivalent to >20 years of        reasonable. Whether the           variables, no confounders for the
                       boards and registries in       daily use showed an odds ratio 1.49     association is a result of        association were identified.
                       Eastern Massachusetts and      (1.06-2.10).                            confounding must be               The association may be stronger in
                       Massachusetts and 2100                                                 addressed. No evidence of         AA women.
                       controls identified from the                                           confounding was                   OK
                       sample population as                                                   identified but authors did
                       controls. Participants were                                            find several examples of
                       asked if they “regularly” or                                           effect modification that
                       “at least monthly” applied                                             have biological relevance:
                       powder to the genital or                                               prolactin may be mediator.
                       rectal area, sanitary
                       napkins or tampons,                                                     There are inherent
                       underwear, or non-genital                                               limitations quantifying a
                       areas. Type of powder,                                                  dose–response due to a
                       age begun, years used,                                                  lack of metrics for how
                       and applications per                                                    much talc is in an
                       month were ascertained.                                                 “application,” how much
                       Lifetime exposure was                                                   enters the vagina, and how
                       estimated by multiplying                                                much reaches the upper
                       frequency of applications                                               genital tract where,
                       per month by months                                                     presumably, any
                       used, and talc- years was                                               deleterious effect is
                       calculated. Participants                                                mediated. This may
                       were then divided into                                                  account for the failure to
                       quartiles according to                                                  identify a dose–response in
                       these variables.                                                        many papers on talc and
                       Participants were also                                                  ovarian cancer.
                       asked if their partners
                       dusted or sprayed powder
                       to their genital or rectal
                       areas. Condom and
                       diaphragm use were
                       ascertained as potential
                       sources of genital talc

Schildkraut (2016)     Case control.                  Use of genital powder was                 Result could have been          Study showed that genital powder use
                       Population based.              associated with an odds ratio 1.44        spurious do to underreporting   was associated with ovarian cancer
                       Investigated the association   (1.11-1.86). A dose response was          of genital talc and sample      risk in AA women and are consistent
                       between body powder use        found for duration of use (> 20         size may have been too            with localized chronic inflammation
                       and ovarian cancer in          years was associated with an odds         small.                          in the ovary due to particulates that
                       African American women         ratio of 1.52 (1.11-2.07) and                                             travel through a direct transvaginal
                       in 11 geographic areas of      of lifetime applications (P trend                                         route. The dose response observed for
                       the U.S. Evaluated 584         1.14) and daily use of genital                                            duration of genital powder use
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  case identified through     powder showed an odds ratio of       provides further evidence for the
  SEER cancer registries or   1.71 (1.26-2.33.) Histological       relationship between genital powder
  through hospital            analysis revealed an odds ratio of   and overall EOC risk. Data suggest an
  departments and 745         1.38 (1.03-1.85) for serous and      increased risk for serous and non-
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  and ovarian cancer in        years was associated with an odds    size may have been too   in the ovary due to particulates that
  African American women       ratio of 1.52 (1.11-2.07) and        small.                   travel through a direct transvaginal
  in 11 geographic areas of    of lifetime applications (P trend                             route. The dose response observed for
  the U.S. Evaluated 584       1.14) and daily use of genital                                duration of genital powder use
  case identified through      powder showed an odds ratio of                                provides further evidence for the
  SEER cancer registries or    1.71 (1.26-2.33.) Histological                                relationship between genital powder
  through hospital             analysis revealed an odds ratio of                            and overall EOC risk. Data suggest an
  departments and 745          1.38 (1.03-1.85) for serous and                               increased risk for serous and non-
  controls. Controls were      genital use of powder and 1.63                                serous subtypes with use of genital
  randomly selected from the   (1.04-2.55) for non-serous.                                    powder.
  same populations as the
  cases. Participants were                                                                   The results of the current study
  questioned via phone                                                                       suggest that the use of body
  interview whether they had                                                                 powder is an especially important
  ever regularly used talc,                                                                  modifiable risk factor for EOC in
  cornstarch, baby, or                                                                       AA women.
  deodorizing powders.
  questioned via phone                                                                       suggest that the use of body powder
  interview whether they had                                                                 is an especially important
  ever regularly used talc,                                                                  modifiable risk factor for EOC in
  cornstarch, baby, or                                                                       AA women.

  Women were classified as
  “regular users” if they
  reported using any of
  these powders at least

  “never users” otherwise.
  Regular users were asked
  about frequency and
  duration of use; use on
  genital areas, underwear,
  sanitary napkins, or
  diaphragms; and use on
  non-genital areas.
  Lifetime number of
  applications was
  estimated as number of
  applications per month
  times number of months
  used. Occupational
  exposure (yes/no) was
  ascertained for a subset
  of participants.
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  III. META-ANALYSES AND POOLED STUDIES

                        STUDY DESCRIPTION                                       REPORTED LIMITATIONS             AUTHORS'’ DISCUSSION AND


                                                    a
     L                                                                                                                CONCLUSIONS
   AUTHOR
                                                          FINDINGS
                                                                      1

Harlow (1992)     Meta-Analysis of 6 studies with   Statistically significant   Cannot rule out the             Because the overall association
                  1106 cases                        OR of 1.3 for any           possibility in differential     between genital use of talc and
                                                    perineal talc exposure      over- or under-reporting        ovarian cancer remains weak, it is
                                                    Daily vs. <daily talc       of talc exposure in cases       unlikely that this exposure-disease
                                                    use and talc use >10        and controls                    pathway is the principal one involved
                                                    years vs. <10 years                                         in ovarian cancer etiology. The
                                                    were associated with                                        authors concluded that they calculate
                                                    greater risk for ovarian                                    that by applying these odds ratios to
                                                    cancer.                                                     the exposure rate among cases, the
                                                                                                                proportion of ovarian cancer
                                                                                                                incidence attributable to this level of
                                                                                                                talc exposure is about 10%. They
                                                                                                                further state that given the poor
                                                                                                                prognosis for ovarian cancer, any
                                                                                                                potentially harmful exposures should
                                                                                                                be avoided, particularly those with
                                                                                                                limited benefits. For that reason, they
                                                                                                                discouraged the use of talc in genital

GUMSGross &       OR = 1.27                         1.27 (95%CI, 1.09-1.48)     Other risk factors were not     The body of knowledge found in
Berg,             Pooled 10 studies —– 614 cases                                adjusted for in a consistent    the medical literature does not
1995              Supported by J&J                                              manner across studies.          unequivocally support the
                                                                                Selection bias and              hypothesis that talc use by women
                                                                                differential bias were not      puts them at an increased risk of
                                                                                addressed specifically in the   ovarian cancer. However, the
                                                                                studies.                        results of the meta-analyses do
                                                                                                                suggest the possibility of an
                                                                                                                increased risk of ovarian cancer due
                                                                                                                to perineal talc use. Further
                                                                                                                research in this area is warranted by
                                                                                                                these results.
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Cramer, 1999     Meta-analysis                        1.36 (95%CI, 1.24-1.49)   Recall: Recall bias                 There is a consistent association
                 Pooled 14 studies plus Cramer 1999                              seems more likely to affect        between talc and ovarian cancer that
                 Attributable Risk of 10-11%                                     exposures that have occurred       appears unlikely to be explained by
                                                                                 over a short term than those       recall or confounding. The
                 Ruled out recall bias
                                                                                 that have occurred over a long     dose-response relationship is weak but
                 Grant by NCI                                                    term. Since average duration       improved by considering factors such
                                                                                 of talc use exceeded 20 years in   as closure of the female tract, ovulation
                                                                                 both                               and exposure prior
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                                                                                     use exceeded 20 years in both       female tract, ovulation and exposure
                                                                                     cases and controls in our           prior to pregnancy, and we have
                                                                                     current study, genital talc         outlined a plausible biologic rationale
                                                                                     exposure may be less likely to      for this association. Authors estimated
                                                                                     be subject to recall bias.          that avoidance of talc in genital
                                                                                     Furthermore, if publicity           hygiene might reduce the occurrence of
                                                                                     regarding the association           a highly lethal form of cancer by at
                                                                                     correlated with selective           least 10%. Balanced against what are
                                                                                     recall, one might expect a          primarily aesthetic reasons for using
                                                                                     trend for cases from more           talc in genital hygiene, the risk benefit
                                                                                     recent studies to report higher     decision is not complex.
                                                                                     exposure rates, but the             Appropriate warnings should be
                                                                                     exposure rates reported do not      provided to women about the potential
                                                                                     suggest this is the case. It also   risks of regular use of talc in the genital
                                                                                     seems reasonable that               area.
                                                                                     selective recall would lead to
                                                                                     cases reporting all types of
                                                                                     talc exposure more frequently
                                                                                     than controls, but our study
                                                                                     found that cases did not report
                                                                                     a significant excess of talc use
                                                                                     in non-genital areas compared
                                                                                     to controls.
                                                                                     Confounding: Authors
                                                                                     found no evidence that
                                                                                     genital talc exposure varied
                                                                                     by key risk factors for
                                                                                     ovarian cancer such as age,
                                                                                     parity or OC use and little
                                                                                     variability of the association
Huncharek, 2003   5     Meta-analysis                      1.33 (95%CI, 1.16-1.45)   The meta-analysis presented         Despite the finding of a positive
          77
   542003
       F                RR = 1.33                                                    shows inconsistencies in the        association, demonstration of a
                        16 studies                                                   available data.                     dose-response relationship is an
                        No disclosure regarding industry                             The summary relative risk           important criterion for making causal
                        relationship.                                                may be spurious due to bias or      inferences from epidemiological data.
                                                                                     uncontrolled confounding.           If no relationship exists, a causal link




   Dr. Muscat and Huncharek were consulting with Johnson & Johnson at the time of this publication. In October 2000, Dr. Huncharek solicited
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finding for an Ovarian Cancer Meta-Analysis from J&J to be performed by he and Dr. Muscat and he provided J&J with “preliminary results” of
his analysis in November 2000. Deposition of Susan Nicholson, dated July 26, 2018; Deposition of Linda Loretz, Ph.D., dated October 1, 2018. In
November 2000, J&J, through its senior scientist, John Hopkins provided editorial comments to Dr. Huncharek’ s preliminary results that would
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  more strongly refute the relationship between asbestos and talc and causation. JNJ 000377405. These 2000 J&J comments were ultimately
  incorporated into the final Huncharek Meta-Analysis which was submitted in 2002 and published in 2003.This relationship was not disclosed.


                                                                                    The summary relative risk       relationship exists, a causal link
                                                                                    may be spurious due to bias     between exposure and disease is
                                                                                    or uncontrolled                 questionable.

                                                                                                                    Asbestos contamination of talc has
                                                                                                                    been identified in the past but
                                                                                                                    current production methods limit or
                                                                                                                    completely eliminate

                                                                                                                    In summary, pooling data from the
                                                                                                                    sixteen available observational
                                                                                                                    studies examining the relationship
                                                                                                                    between perineal use of cosmetic
                                                                                                                    talc and the development of invasive
                                                                                                                    epithelial ovarian cane.er failed to show
                                                                                                                    evidence of a causal relationship.

Langseth, 2008      Meta-analysis                         1.35 (95%CI, 1.26-1.46)   Methodological factors such     The evidence in favor of an association, a
                    20 case-control studies; one cohort   Pooled OR = 1.35 (1.26-   as recall bias should           a very large number of studies have found
                                                                                                                    found that women who used talc
                    (Gertig)                              1.46)                     always be considered in case-
                                                                                                                    experienced
                                                                                                                    experienced excess risks of ovarian
                    No studies below 1.0 RR                                         control studies. It             cancer; some

                    IARC review                                                     could have been a problem       cancer; some results were

                    Financed by the Cancer Registry of                              had there been widespread       statistically significant and some were
                                                                                    publicity about the possible    not. There was some indication in
                                                                                    association                     the cohort study of an increase in
                                                                                    between use of body             serous tumours.
                                                                                    powder and cancer. The          study of an increase in serous
                                                                                                                    tumours. The evidence of talc
                                                                                    International Agency for
                                                                                                                    migrating to the ovaries lends
                                                                                    Research on Cancer              credibility to such a possible
                                                                                    (IARC) working group            association. The main
                                                                                    considers that there has        epidemiological evidence
                                                                                    not been widespread             against the association is the absence
                                                                                    public concern about this       of clear exposure-response
                                                                                    issue and therefore             associations in most studies, as well as
                                                                                    considers it unlikely that      the absence of an overall
                                                                                    such a bias could explain       excess risk in the cohort study.
                                                                                    the consistent findings.        On balance, the
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  Norway                                       Another source of recall     epidemiological evidence
                                               bias could result from the   suggests that use of
                                               fact that women with the     cosmetic talc in the perineal area may
                                                                            be associated with ovarian cancer
                                               cancer tend to remember or
                                                                            risk. The mechanism of
                                               overreport                   carcinogenicity may be related to
                                                                            inflammation.
                                                                            High degree of consistency among
                                                                            studies.




                                                                            The carcinogenicity of non-asbestiform
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                                                                                       women with the cancer               The carcinogenicity of
                                                                                       tend to remember or                 non-asbestiform talc was assessed
                                                                                       overreport their use of             by a monograph working group at
                                                                                       body powder. The                    IARC in 2006. After considering biases
                                                                                                                           and possible confounding factors, the
                                                                                       influence of
                                                                                                                           IARC working
                                                                                       this type of recall bias cannot     group concluded that the
                                                                                       be ruled out.                       epidemiological studies provided limited
                                                                                                                           evidence for the carcinogenicity of
                                                                                                                           perineal use of talc-based body powder,
                                                                                                                           and classified this use as possibly
                                                                                                                           carcinogenic to human beings (that is,
                                                                                                                           group 2B).
                                                                                                                           The current body of experimental
                                                                                                                           and epidemiological evidence
                                                                                                                           is insufficient to establish a
                                                                                                                           causal association between
                                                                                                                           perineal use of talc and ovarian
                                                                                                                           cancer risk.
Berge, 2017        Meta-analysis                         Summary RR =1.22             The heterogeneity of results         This meta-analysis
                   24 case-control studies and three     (95%CI, 1.13-1.30)           by study design and the lack         resulted in a weak but statistically
                   cohort studies                        Case-control studies =       of a trend for duration and          significant
                   302,705 women                         RR 1.26; cohort studies      frequency of use, however,            association between genital use of talc
                                                         = 1.02                       detract from a causal                 and ovarian cancer,

                                                         1.24                         association.                         carcinoma.
                                                         There was no trend in
                                                         RR with either
                                                         duration or frequency
                                                         of genital talc use.


Penninkilampi,     Meta-analysis                         Any perineal talc            A limitation of this study is that   Hence while case–control studies are low-
2018               24 case-control (13, 421 cases) and   use was associated with      that it pools nonrandomized          low-levellevel evidence, they have been
                   three cohort studies (890             increased risk of ovarian    studies, primarily case–             preferred in the investigation of the
                   cases, 181,860 person-years)          cancer (OR = 1.31; 95% CI    controlcase–control studies.         association between talc use and
                                                                                      The retrospective nature             ovarian
                                                         = 1.24, 1.39). More than     retrospective natureof               ovarian cancer. They also have the
                                                         3600 lifetime applications   case–control studies                 important
                                                         (OR = 1.42; 95% CI =
                                                         1.25, 1.61) were slightly
                                                                                      of case–control studies              important advantage of not requiring 15
                                                                                      introduces the potential for
                                                         more3600 lifetime                                                 or more years of follow-up, as is
                                                                                      recall
                                                         applications
                                                         associated with ovarian(OR   recall bias. In this case, it is     years of follow-up, as is necessary for
                                                         = 1.42; 95% CI = 1.25,       entirely possible that patients      a cohort study to sufficient detect
                                                         1.61) were slightly more     with                                 cases of
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                                                           entirely possible that
                             cancer than <3600 (OR                                             sufficient detect cases of ovarian cancer
                             =associated with ovarian      patientsovarian cancer may be       relative to certain
                                                           more
                             cancer than <3600 (OR =       aware of their previous talc use    exposures. One potential way to overcome
                                                                                               cancer relative to certain
                                                           with ovarian cancer may
                             1.32; 95% CI = 1.15, 1.50).                                       exposures.this limitation in future studies
                                                           beand hence be more likely to
                                                                                               is to ensure
                             An association with ever      report higher past use. It is       that talc use is always included in
                                                                                               One potential way to overcome
                             use of talc was found in      possible to attempt to overcome
                                                                                               thisquestionnaires of any cohort studies
                             case–control studies (OR =    this by blinding the participants   investigating ovarian cancer. It is
                             1.35; 95% CI = 1.27, 1.43),   to the nature of the study,         important not only that talc use be
                             but not cohort studies (OR    usually by asking spurious          investigated but also the precise
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                                                = 1.06; 95% CI = 0.90,         however, the effectiveness of     duration, and frequency of use. As it
                                                1.25). However, cohort         this approach may be limited.     stands, a meta-analysis of observational
                                                studies found an               Many of the studies in this       studies such as the present study provides
                                                between talc use and           review recorded data about talc   the highest level of evidence practically
                                                invasive serous type           use as part of a more extensive   feasible for this research question.
                                                ovarian cancer (OR =           questionnaire focused on other
                                                95% CI = 1.01, 1.55).          associations, which may reduce    The results of this review indicate that
                                                                               the potential for recall bias.    perineal talc use is associated with a
                                                 An association with           more aware of their               limitation in future studies is to
                                                 ever use of talc was          previous talc use and             ensure that talc use is always
                                                 found in case–control         hence be more likely to           included in questionnaires of any
                                                 studies
                                                                               report higher past use. It is     cohort studies investigating ovarian
                                               (OR = 1.35; 95% CI = 1.27,
                                               1.43), but not cohort studies
                                                                               possible to attempt to            cancer. It is important not only that
                                               (OR = 1.06; 95% CI = 0.90,      overcome this by blinding         talc use be investigated but also the
                                               1.25). However, cohort          the participants to the           precise location, duration, and
                                               studies found an association    nature of the study, usually      frequency of use. As it stands, a
                                               between talc use and invasive   by asking spurious                meta-analysis of observational
                                               serous type ovarian cancer      questions; however, the           studies such as the present study
                                               (OR = 1.25; 95% CI = 1.01,      effectiveness of this             provides the highest level of
                                               1.55).                          approach may be limited.          evidence practically feasible for this
                                                                               Many of the studies in this       research question.
                                                                               review recorded data about        39% increased risk of ovarian
                                                                               talc use as part of a more        The results of this review indicate
                                                                               extensive questionnaire           that perineal talc use is associated
                                                                               focused on other                  with a 24%–39% increased risk of
                                                                               associations, which may           ovarian cancer. While the results of
                                                                               reduce the potential for          case– controlcase–control studies are
                                                                               recall bias. However, since       prone to recall bias, especially with
                                                                               the initiation of lawsuits in     intense media attention following the
                                                                               2014, there has been              commencement of litigation in 2014,
                                                                               extensive media coverage          the confirmation of an association in
                                                                               regarding this association,       cohort studies between perineal talc use
                                                                               and the potential for recall      and serous invasive ovarian cancer is
                                                                               bias in case–control studies      suggestive of a causal association.
                                                                               conducted since then may be
                                                                               exacerbated.


Terry,     Pooled analysis                      Any perineal talc              Differences in the wording of     In conclusion, our large pooled analysis of
           RR = 1.24 (1.15-1.33)                use was associated with        questions about genital           case-control studies shows a small-to-
           8 population based studies; 8,525    increased risk of ovarian      powder use and retrospective      moderate (20–30%) increased risk of
           cases and 9,859 controls             cancer (OR =                   nature of the exposure            ovarian cancer with genital-powder
           (2600 exposed cases)                 1.31; 95% CI = 1.24, 1.39).    ascertainment. This results in    use, most clearly pertaining to

           Pooled study; authored by OCAC       applications                   varying levels of                 needed to understand how genital powders
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                                                    (OR = 1.42; 95% CI =         misclassification of true         may exert a carcinogenic effect, and
                                                    1.25, 1.61) were slightly                                      which constituents (e.g. talc) may be
                                                    associated                   There was missing data, but       Since there are few modifiable risk factors
Terry, 2013     Pooled analysis                      Any perineal talc use       Differences in the wording        for ovarian cancer, avoidance of
                RR = 1.24 (1.15-1.33)                was associated with         of questions about genital        genital powders
                8 population based studies; 8,525    increased risk of           powder use and                    may be a possible strategy to
                                                     ovarian cancer (OR =                                          reduce ovarian cancer incidence.
                cases and 9,859 controls (2600                                   retrospective nature of the
                                                     1.31; 95% CI = 1.24,
                exposed cases)                       1.39). More than 3600
                                                                                 exposure ascertainment.
                                                                                                                   In conclusion, our large pooled
               Pooled study; authored by OCAC        lifetime applications       This results in varying
                                                                                                                   analysis of case-control studies
                                                     (OR = 1.42; 95% CI =        levels of misclassification
                                                                                                                   shows a small-to-moderate
                                                     1.25, 1.61) were slightly   of true exposure.
                                                                                                                   (20–30%) increased risk of ovarian
                                                     more associated             There was missing data, but
                                                     with ovarian cancer than
                                                                                                                   cancer with genital-powder use,
                                                                                 was not likely to bias results,
                                                     <3600 (OR = 1.32; 95%                                         most clearly pertaining to
                                                                                 according to authors
                                                     CI = 1.15, 1.50).                                             non-mucinous epithelial ovarian
                                                     An association with ever                                      tumors. More work is needed to
                                                     use of talc was found in                                      understand how genital powders
                                                     case–control studies (OR                                      may exert a carcinogenic effect,
                                                     = 1.35; 95% CI = 1.27,                                        and which constituents (e.g. talc)
                                                     1.43), but not cohort                                         may be involved. Since there are
                                                     studies (OR = 1.06; 95%
                                                                                                                   few modifiable risk factors for
                                                     CI = 0.90, 1.25).
                                                     However, cohort studies                                       ovarian cancer, avoidance of
                                                     found an association                                          genital powdersThe biologic
                                                     between talc use and                                          plausibility for the observed association
                                                     invasive serous type                                          between genital-powder use and ovarian
                                                     ovarian cancer (OR =                                          cancer risk has been challenged because
                                                     1.25; 95% CI = 1.01,                                          evidence for dose-response has been
                                                     1.55).                                                        inconsistent. The lack of significant
                                                                                                                   dose-response may reflect the difficulty
                                                                                                                   inherent in accurate recollection of
                                                                                                                   specific details of frequency and
                                                                                                                   duration of genital-powder use.
                                                                                                                   Alternatively, the association between
                                                                                                                   genital-powder exposure and ovarian
                                                                                                                   cancer risk may not
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                                                      (OR = 1.35; 95% CI =                                           may be a possible strategy to
                                                      1.27, 1.43), but not cohort                                    reduce ovarian cancer incidence.
                                                      studies (OR =
                                                      1.06; 95% CI = 0.90,                                           The biologic plausibility for the
                                                      1.25). However, cohort
                                                      studies found an
                                                                                                                     observed association between
                                                      association between talc                                       genital-powder use and ovarian
                                                      use and invasive serous                                        cancer risk has been challenged
                                                      type ovarian cancer                                            because evidence for dose-response

                                                      1.55).                                                         dose-response may reflect the
                                                                                                                     difficulty inherent in accurate
                                                                                                                     recollection of specific details of
                                                                                                                     frequency and duration of
                                                                                                                     genital-powder use. Alternatively,
                                                                                                                     the association between
                                                                                                                     genital-powder exposure and
                                                                                                                     ovarian cancer risk may not be
                                                                                                                     linear and a modest exposure may
                                                                                                                     be sufficient to increase cancer risk.

                                                                                                                     When unexposed group was
                                                                                                                     included in the analysis there was a
                                                                                                                     clear dose response w/ increased
                                                                                                                     number of applications

                                                                                                                     be linear and a modest exposure may
                                                                                                                     be sufficient to increase cancer risk.

                                                                                                                     When unexposed group was included
                                                                                                                     in the analysis there was a clear dose
                                                                                                                     response w/ increased number of
                                                                                                                     applications.
O’Brien,     Data were pooled from 4 large, US-       The pooled sample             This study has several           “In this analysis of pooled data from
             based cohorts: Nurses’ Health            included 252 745 women        limitations”: 1) the included    women in 4 cohorts, there was not a
             Study, Nurses’ Health Study II,          (median age at baseline, 57   cohorts varied widely in how     statistically significant association
             Sister Study, and Women’s Health         years) with38% self-          they assessed exposure,          between self-reported use of
                                                      reporting use of powder in
             Initiative Observational Study. Ever,                                  particularly the duration and    powder in the genital area and
             (>20 years, and frequent (>1/week)       reported long-term use, and   frequency of powder use; 2)      ovarian cancer. The HR for the
             use of powder in the genital area were   2 2% reported frequent use.   use of powder in the genital     association between ever powder use
             studied. The primary analysis            During a median of 11.2       area could not be assess as a    and incident ovarian cancer was 1.08
             examined the association between         years of follow-up (3.8       time-varying factor, as none     (95% CI, 0.99 to 1.17) . . . When
             ever use of powder in the genital area   million person-years at       of the four studies collected    restricted to women with patent
             and self-reported incident ovarian       risk), 2168 women             data on use after baseline; 3)   reproductive tracts at baseline, the HR
             cancer.                                  developed ovarian cancer      specific exposure windows        was 1.13 (95% CI, 1.01 to 1.260.” . . .
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                             (58 cases/100 000person-        could not be examined, nor     “However, the study may have been
                             years). Ovarian cancer          could type of powder used or   underpowered to identify a small
                             000 person-years among          patency status at time of      increase in risk.”
                             ever users and 55               powder use; 4) as with all
                             cases/100 000                   observational studies,
                             person-years among never
                                                             residual confounding is
                             users (estimated risk
                             difference at age 70 years,
                                                             possible; 5) the study may
                             0.19%]; estimated HR,           6) confounding by
                             1.08 [95% CI, 0.99 to           indication is another
                             1.17]).The estimated HR         potential
                             for frequent vs never use
                                                             limitation, and it would
                             was 1.09 (95% CI, 0.97 to
                             1.23) and for long-term vs
                                                             occur if women with other
                             never use, the HR was           underlying conditions that
                             1.01 (95% CI, 0.82 to           were associated with
                             1.25). Subgroup analyses        ovarian cancer were also
                             were conducted for10            more likely to use powder
                             variables; the tests for        in the genital area; 7)
                             heterogeneity were not          because tests to confirm
                             statistically significant for   patency were not
                             any of these comparisons.
                                                             performed, it is possible
                             While the estimated HR
                                                             that not all women
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                                                       genital area and ovarian     tract in this analysis had truly
                                                       cancer risk among            patent tubes.
                                                       women with a patent
                                                       reproductive tract was
                                                       1.13(95% CI, 1.01 to
                                                       1.26), the P value for
                                                       interaction comparing
                                                       women with vs without
                                                       patent reproductive tracts
Davis     We used data from five studies in the        The prevalence of ever       Limitations of our study must be      In conclusion, in this consortium analysis
          Ovarian Cancer in Women of African           genital powder use for       considered. Recall bias was not       of AA and White women, while the
          Ancestry consortium. Participants            cases was 35.8% among        a concern for the cases and           prevalence of ever genital body powder
          620 African-American cases, 1,146            African-American women       controls included in our study        use was higher among AA women in the
          African-American controls,2,800 White        and 29.5% among White        from the prospective study            OCWAA consortium, the association
          cases, and 6,735 White controls who          women. Ever use of genital   (WHI). However, for case–             between genital powder use and ovarian
          answered questions on genital powder use     powder was associated with   control studies, recall bias can      cancer risk was similar among AA and
          prior to 2014. The association between       higher odds of ovarian       a concern for some exposures.         White women. Furthermore, there was not
          genital powder use and ovarian cancer risk   cancer among African-        This is particularly true for         a dose-response relationship between
          by race was estimated using logistic         American women               genital powder use with the           frequency or duration of genital powder
          regression.                                  [OR:1.22;95% confidence      advent of talc related lawsuits in    use and ovarian cancer risk or any
                                                       interval (CI): 0.97–1.53]    2014.All our analyses excluded        significant differences in association by
                                                       and White women (OR:          interviews from case–control         histotype.
                                                       1.36; 95% CI:                 studies after 2014 to address
                                                       1.19–1.57). In                this issue of recall bias. Genital
                                                       African-American              body powder use was
                                                       women, the positive           self-reported in each of the
                                                       association with risk         contributing
                                                       was more pronounced           OCWAA studies. It is possible
                                                       among high-grade              that there were systematic
                                                       serous tumors (OR:            differences in the way
                                                       1.31; 95% CI:1.01–            participants remember or report
                                                       1.71) than with all other     genital body powder and there
                                                       histotypes (OR:1.05;          were differences in the wording
                                                       95% CI:0.75–1.47). In         of the genital powder questions
                                                       White women, a                in the various studies.
                                                       significant association       However, the definition of
                                                       was observed                  genital body powder exposure
                                                       irrespective of histotype     was the same for cases and
                                                       (OR:1.33; 95%                 controls in each of the
                                                       CI:1.12– 1.56 and OR:         individual OCWAA studies and
                                                       1.38; 95%                     we did not observe
                                                       CI:1.15–1.66,                 heterogeneity across studies in
                                                       respectively).”               the effect estimates,
                                                                                    (WHI) were not materially
                                                                                    different from the four
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                                                                                     retrospective case–control
                                                                                     studies. It is likely that with
                                                                                     the exclusion of interviews
                                                                                     conducted in 2014 and later,
                                                                                     any misclassification would
                                                                                     be non-differential with
                                                                                     respect to the outcome,
                                                                                     resulting in bias toward the
Woolen     A systematic review and meta-analysis        Initial database searches    The primary strength of our        In this analysis of pooled data 10 case-
           was conducted according to                   returned 761unique           study is our focus on frequent     control studies and a single cohort study,
           meta-analysis of observational studies       citations and after          users of perineal talcum powder.   the frequent use of perineal talcum

           studies were included if they reported       66,876 patients, and 6542    talcum powder use, the most        ovarian cancer. These results support
           frequent perineal talcum powder use and      cancers were included        common frequency is                women avoiding the frequent use of
           an adjusted odds ratio or hazard ratio for   (Cohen’s κ= 0.88).           dailyuse,13and this is the first   talcum powder in the perineal area. We
           ovarian cancer.                              Publication quality was      systematic review to focus on      found frequent use of perineal talcum
                                                        high (median NOS = 8,        multiple times per week            powder is associated with an
                                                        range: 4 to 9). Frequent     users. The results were            increased risk of ovarian cancer,
                                                        talcum powder use was        consistent and homogenous,         adjusted odds ratio of 1.47 (95% CI
                                                        associated with an           and the included studies were      1.31, 1.65).
                                                        elevated risk of ovarian     of high quality. The work has
                                                        cancer (adjust-ed pooled     limitations as well. We
                                                        summary odds ratio 1.47      constructed our selection
                                                        (95% CI 1.31, 1.65,          criteria prospectively to
                                                        P<0.0001). There was no      include studies with multiple
                                                        evidence of bias and low     times per week and as close to
                                                        heterogeneity (I2= 24%,      daily talcum powder exposure
                                                        P=0.22). There was no        as possible. However, this
                                                        meaningful difference        meant that cohort and
                                                        limiting analysis to         case-control studies that might
                                                        publications with a NOS      have frequent-use patients
                                                        quality score of 8 or 9 or   were excluded if the
                                                        limiting studies based on    questionnaire did not explicitly
                                                        study design.                capture this information. The
                                                                                     definition of talcum powder
                                                                                     use varied by frequency and
                                                                                     duration between the
                                                                                     case-control and cohort
                                                                                     Schildkraut et al.17were
                                                                                     unable      to     differentiate
                                                                                     between use of perineal
                                                                                     powders and the small subset
                                                                                     (estimated at 1.5%). However,
                                                                                     the differences in definition
                                                                                     and small inclusion of
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                                               likely did not affect the results
                                               as there was no evidence for
                                               statistical heterogeneity in our
                                               study. The included studies
                                               were adjusted for multiple
                                               The possibility of additional
                                               confounders to the studies likely
                                               exists.
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                               APPENDIX A: RESUME
                                       73
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                                   DAVID A. KESSLER


   1969-1973       AMHERST COLLEGE, Amherst, Massachusetts
                   Bachelor of Arts, magna cum laude (B.A. Independent Scholar, 1973)
   1973-1979
                   HARVARD MEDICAL SCHOOL, Boston,
   1975-1977       Massachusetts Doctor of Medicine (M.D. 1979)

   1984-1986       UNIVERSITY OF CHICAGO LAW SCHOOL, Chicago, Illinois
                   Doctor of Law (J.D., 1978), Harvard Law School, 1977-1978
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                   UNIVERSITYOF OF CALIFORNIA, SAN
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   2003-present
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                   Dean, School of Medicine
   2003-2007
                   Vice Chancellor of Medical Affairs

                   YALE UNIVERSITY SCHOOL OF MEDICINE
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    1997-2003      Professor of Pediatrics, Internal Medicine, and Public Health

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   1984-199
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                   THE   HOSPITAL     OF THE  ALBERT    EINSTEIN  COLLEGE
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    1982-1984       MONTEFIORE MEDICAL CENTER
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                   MONTEFIORE MEDICAL CENTER
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   HONORARY DEGREES

   1992           AMHERST COLLEGE, Amherst, Massachusetts
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   1993           PHILADELPHIA COLLEGE OF PHARMACY AND SCIENCE,
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   1993           DICKINSON COLLEGE OF LAW, Carlisle, Pennsylvania
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   1997           NORTHEASTERN UNIVERSITY, Boston, Massachusetts
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   1998           MOUNT SINAI SCHOOL OF MEDICINE, New York, New York
                  Doctor of Humane Letters honoris causa

   1998           COLGATE UNIVERSITY, Hamilton, New York
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   1998           YALE UNIVERSITY, New Haven, Connecticut
                  Master of Arts privation

   1999           CONNECTICUT COLLEGE, New London,
                  Connecticut
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   2001           DICKINSON COLLEGE, Carlisle, Pennsylvania
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   2001           UNION COLLEGE, Schenectady, New York
                  Doctor of Laws, honoris causa

   2002           UNIVERSITY OF LOUISVILLE, Louisville, Kentucky
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   David A. Kessler                                                Page

   2005           STATE UNIVERSITY OF NEW YORK, Syracuse, NY
                  Doctor of Science, honoris causa
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                                   168913
   David A. Kessler                                                            Page

   2012           DREXEL UNIVERSITY, Philadelphia, PA
                  Doctor of Science, honoris causa

   2013           CLAREMONT GRADUATE UNIVERSITY, Claremont, CA
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   HONORS

                  NATIONAL ACADEMY OF SCIENCES, Public Welfare
                  Medal, Honorary Member

                  INSTITUTE OF MEDICINE, Member

                  AMERICAN SOCIETY OF CLINICAL ONCOLOGY
                  Distinguished Service Award for Scientific Achievement

                  AMERICAN ACADEMY OF ARTS AND SCIENCES, Fellow

                  PHI BETA KAPPA, Amherst College

                  UNIVERSITY OF CHICAGO LAW REVIEW, Associate Editor

                  2008 PUBLIC HEALTH HERO AWARD, UC Berkeley

                  SIGMA XI, The Scientific Research Society of North America

                  BARNARD COLLEGE Barnard
                  Medal of Distinction

                  CASPAR PLATT AWARD, The University of Chicago Law School

                  HARVARD BLODGETT AWARD IN BIOLOGY, Amherst College

                  WHITING FOUNDATION GRANT-IN-AID for research
                  at Sloan-Kettering Institute

                  NATIONAL SCIENCE FOUNDATION FELLOWSHIP (declined)

                  JOHN WOODRUFF SIMPSON FELLOWSHIP, awarded by
                  Amherst College for the study of medicine

                  ALVAN T.--VIOLA D. FULLER AMERICAN CANCER SOCIETY
                  JUNIOR RESEARCH FELLOW (declined)
Case 3:16-md-02738-MAS-RLS Document 28798-4 Filed 12/14/23 Page 236 of 442 PageID:
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   David A. Kessler                                                       Page

                  NATIONAL INSTITUTES OF HEALTH TRAINING FELLOWSHIP
                  RECIPIENT for physiology research at the Marine Biological
                  Laboratory,
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   David A. Kessler                                                                   Page

                  Woods Hole, Massachusetts

                  PHI DELTA THETA SCHOLARSHIP
                  DISTINGUISHED PUBLIC SERVICE AWARD
                  The George Washington University School of Medicine and Health Sciences

                  UNITED STATES DEPARTMENT OF JUSTICE, CIVIL DIVISION
                  Special Citation

                  AMERICAN SOCIETY OF PUBLIC ADMINISTRATION
                  National Capitol Area Chapter
                  President's Award for Outstanding Achievement

                  AMERICAN FEDERATION FOR AIDS RESEARCH (AmFAR)
                  Sheldon W. Andelson Public Policy Achievement Award

                  THE WOODROW WILSON AWARD FOR DISTINGUISHED
                  GOVERNMENT SERVICE Johns Hopkins University

                  HAL OGDEN AWARD
                  Association of State and Territorial Directors of Health Promotion and
                  Public Health Education and the U. S. Centers for Disease Control

                  NATIONAL ORGANIZATION FOR RARE DISEASES (NORD)
                  Outstanding Service to the Public Health Award

                  MARCH OF DIMES
                  Franklin Delano Roosevelt Leadership Award

                  CHILDREN'S HOSPITAL NATIONAL MEDICAL CENTER
                  Children's Research Institute Award of Academic Excellence

                  AMERICAN HEART ASSOCIATION
                  National Public Affairs Special Recognition Award for Food Labeling

                  ISRAEL CANCER RESEARCH FOUNDATION
                  President's Award

                  INSTITUTE FOR ADVANCED STUDIES IN IMMUNOLOGY AND AGING
                  Lifetime Public Service Award

                  AMERICAN LUNG ASSOCIATION
                  Special Recognition Award

                  UNIVERSITY OF CHICAGO ALUMNI ASSOCIATION
                  Professional Achievement Award (Washington, D.C. Chapter)
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                  U. S. DEPARTMENT OF HEALTH AND HUMAN SERVICES
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                  Secretary's Award for Excellence in Public Service

                  NATIONAL KIDNEY CANCER ASSOCIATION
                  Progressive Leadership Award

                  JOHNS HOPKINS UNIVERSITY SCHOOL OF PUBLIC HEALTH
                  Dean's Medal

                  AMERICAN CANCER SOCIETY
                  Medal of Honor

                  AMERICAN HEART ASSOCIATION
                  Meritorious Achievement Award

                  WORLD HEALTH ORGANIZATION Pan
                  American World Health Organization World
                  No Tobacco Day Award

                  AMERICAN HEART ASSOCIATION
                  National Public Affairs Special Recognition Award for Tobacco

                  PROFESSIONAL ACHIEVEMENT CITATION, University of
                  Chicago Alumni Association

                  PENNSYLVANIA HOSPITAL Molly
                  and Sidney N. Zubrow Award

                  AMERICAN LUNG ASSOCIATION OF CONNECTICUT
                  Humanitarian Award

                  AMERICAN COLLEGE OF PREVENTIVE MEDICINE
                  Special Recognition Award

                  ASSOCIATION OF AMERICAN MEDICAL COLLEGES AND THE ROBERT
                  WOOD JOHNSON FOUNDATION
                  David E. Rogers Award for Improving Health and Healthcare of the American
                  People

                  JACOBS INSTITUTE OF WOMEN'S HEALTH
                  Excellence in Women's Health Award

                  NARAL PRO-CHOICE AMERICA
                  Lifetime Achievement Award

                  THE ASSOCIATION OF STATE AND TERRITORIAL CHRONIC DISEASE
                  PROGRAM DIRECTORS
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                  Joseph W. Cullen Award for Outstanding Contributions to Chronic Disease
                  Prevention and Control
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   David A. Kessler                                                           Page


                  THE COLLEGE OF WILLIAM & MARY LAW SCHOOL
                  2005 Benjamin Rush Medal

                  CALIFORNIA CENTER FOR PUBLIC HEALTH ADVOCACY
                  David Kessler Award for Extraordinary Contribution to the
                  Public Health

                  BOOKS FOR A BETTER LIFE AWARD

   INTERNSHIP & RESIDENCY

   1981-1982 SENIOR ASSISTANT RESIDENT, Department of Pediatrics,
               The Johns Hopkins Hospital

   1980-1981 ASSISTANT RESIDENT, Department of Pediatrics,
               The Johns Hopkins Hospital

   1979-1980 INTERN, Department of Pediatrics,
               The Johns Hopkins Hospital


   ACADEMIC APPOINTMENTS

   2003-          UNIVERSITY OF CALIFORNIA, SAN FRANCISCO
   present        Professor of Pediatrics
                  Professor of Epidemiology and Biostatistics

   1997-          YALE UNIVERSITY
   2003           Professor of Pediatrics
                  Professor of Internal Medicine
                  Professor of Public Health

   1990-          ALBERT EINSTEIN COLLEGE OF MEDICINE
   1997           Department of Pediatrics
                  (On leave) Department of Epidemiology and Social Medicine
                  Associate Professor of Pediatrics
                  Associate Professor of Epidemiology and Social Medicine

   1988-          ALBERT EINSTEIN COLLEGE OF MEDICINE
   1990           Department of Epidemiology and Social Medicine
                  Assistant Professor

   1986-          COLUMBIA UNIVERSITY SCHOOL OF LAW
   1990           Julius Silver Program in Law, Science and Technology
                  Lecturer on Law
Case 3:16-md-02738-MAS-RLS Document 28798-4 Filed 12/14/23 Page 242 of 442 PageID:
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   David A. Kessler                                                               Page

   1982-         ALBERT EINSTEIN COLLEGE OF MEDICINE
   1990          Department of Pediatrics
                 Assistant Professor

  SPECIAL STUDY

  June           JOHNS HOPKINS SCHOOL OF HYGIENE AND PUBLIC HEALTH
  1987           Graduate Summer Program in Epidemiology - Pharmacoepidemiology

  June           YALE SCHOOL OF ORGANIZATION AND MANAGEMENT
  1985           Advanced Management Studies in Health Care Management

  1977-1978 HARVARD LAW SCHOOL, Special Student

  RESEARCH EXPERIENCE

  Summers        SLOAN-KETTERING INSTITUTE FOR CANCER RESEARCH
  1970-1972      Division of Drug Resistance, New York, New York
                 Research Asst

  Summer         MARINE BIOLOGICAL LABORATORY, Woods Hole, Massachusetts
  1972           Physiology course

  1974-1975 CHILDREN'S HOSPITAL MEDICAL CENTER
               Department of Surgical Research, Boston, Massachusetts
               Research Associate

  Summer         DEPARTMENT OF HEALTH, EDUCATION and WELFARE
  1976           Office of the General Counsel, Chicago, Illinois
                 Law Clerk


  VISITING COMMITTEE

  1992-1994 UNIVERSITY OF CHICAGO LAW SCHOOL


  UNIVERSITY ACCREDITATION


  2008-2012 WESTERN ASSOCIATION OF SCHOOLS AND COLLEGES,
              Chair of LLU Accreditation Committee
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  2013-2015 NORTHWEST COMMISSION ON COLLEGES AND UNIVERSITIES
              University of Washington
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  SPECIAL PROJECTS

  1982-1988 THE ROBERT WOOD JOHNSON FOUNDATION
             Program for Hospital Initiatives in Long-Term Care,

  1989-1990 THE PEW CHARITABLE TRUSTS
             THE ROBERT WOOD JOHNSON FOUNDATION
             Program to Strengthen Hospital Nursing Co-Director


   CORPORATE BOARD AND ADVISORY POSITIONS AND COMMITTEES

   2020         ELLODI PHARMACEUTICALS

   2011 - Present2020 IMMUCOR
                 Member of Board, Chairman of Compliance Committee

   2008 - Present2020 TPG

    Senior Advisor
   2011 - 2014 APTALIS HOLDINGS
                Member of Board, Chairman of Compliance Committee

   2009 –2017TOKAI
               Member of Board

   2007         GOOGLE HEALTH ADVISORY COUNCIL

   2007         REVOLUTION HEALTH GROUP
                  Medical Advisory Board

   2007         PERSEUS LLC
                   Advisory Board

   2003 – 2014 FLEISHMAN HILLARD INTERNATIONAL COMMUNICATIONS
                 International Advisory Board

   2000 - 2003 PERSEUS-SOROS BIOTECHNOLOGYFUND FUND Scientific Advisory
              Board
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   ADVISORY COMMITTEES

   2007               THE RHODES TRUST, THE RHODES SCHOLARSHIPS
                       Chair, California Selection Committee
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   2006               CENTER FOR THE ADVANCED STUDIES ON AGING, UNIVERSITY OF
                      MIAMI External Advisory
                      Group

   2005 -2015 BROAD MEDICAL RESEARCH PROGRAM
               Advisory Board

   2005               CLINTON SCHOOL OF PUBLIC HEALTH, UNIVERSITY OF ARKANSAS
                      FOR MEDICAL SCIENCES
                      National Advisory Board

   2003, 2013 HEINZ AWARDS (HEINZ FAMILY FOUNDATION)
                Awards Juror

   2003               MARCH OF DIMES
                      Chair, Prematurity Campaign in Northern California

   2002 - 2004
                      CENTERONALCOHOLMARKETINGANDYOUTHATGEORGETOWNCEN
                      TER ON ALCOHOL MARKETING AND YOUTH AT GEORGETOWN
                      UNIVERSITY Advisory Board

   2001 -             UNIVERSITY OF CHICAGO LAW REVIEW
                      Editorial Advisory Board

   2000 - 2005 JOURNAL OF THE AMERICAN MEDICAL ASSOCIATION
                 Oversight Committee

   2000               GOVERNOR'S BLUE RIBBON COMMISSION ON MENTAL HEALTH,
                      STATE OF CONNECTICUT
                      Honorary Chair

   2000               FILM AID INTERNATIONAL, INTERNATIONAL RESCUE COMMITTEE
                      Advisory Board

   1999               WORLD HEALTH ORGANIZATION
                      Expert Panel on Tobacco

   1997               ADVISORY COMMITTEE ON TOBACCO AND PUBLIC HEALTH
                      (Co-Chairman with C. Everett Koop)

   1993               GOVERNMENT UNIVERSITY INDUSTRY ROUNDTABLE
                      National Academy of Sciences

   1990               ADVISORY COMMITTEE ON THE FOOD AND DRUG ADMINISTRATION
                      Chairman, Drugs and Biologics Subcommittee
Case 3:16-md-02738-MAS-RLS Document 28798-4 Filed 12/14/23 Page 247 of 442 PageID:
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   1988 - 1989
                      NATIONALADVISORYCOUNCILONHEALTHCARETECHNOLOGYNAT
                      IONAL ADVISORY COUNCIL ON HEALTH CARE TECHNOLOGY
                      ASSESSMENT, Department of Health and Human Services, Washington, D.C.
                      Chairman, Patient Outcomes Subcommittee
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   David A. Kessler                                                               Page

   PRIOR FEDERAL COMMITTEE MEMBERSHIPS

                  WHITE HOUSE COMMISSION ON PRESIDENTIAL SCHOLARS

                  NATIONAL COUNCIL ON SCIENCE AND TECHNOLOGY
                  Committee on Health, Safety and Food R&D, Vice Chair

                  INSTITUTE OF MEDICINE
                  Forum On Drug Development and Regulation

                  INSTITUTE OF MEDICINE
                  AIDS Roundtable

                  NATIONAL TASK FORCE ON AIDS DRUG DEVELOPMENT

                  OFFICE OF SCIENCE AND TECHNOLOGY POLICY Federal Coordinating
                  Council for Science, Engineering and Technology Committee on Life Science
                  and Health Biotechnology Research Subcommittee, Member ex officio


   BOARDS OF DIRECTORS

      Current: Past

                  CENTER FOR SCIENCE IN THE PUBLIC INTEREST

                        Chairman of Board

                  DRUG STRATEGIES
   Past:

                  AMHERST COLLEGE BOARD OF TRUSTEES

                  ELIZABETH GLASER PEDIATRIC AIDS FOUNDATION

                        Chairman, Board of Directors
                  NATIONAL CENTER FOR ADDICTION AND SUBSTANCE
                  ABUSE COLUMBIA UNIVERSITY

                  INTERNATIONAL PARTNERSHIP FOR MICROBICIDES INDEPENDENT
                  CITIZENS OVERSIGHT COMMITTEE OF THE CALIFORNIA INSTITUTE
                  FOR REGENERATIVE MEDICINE

                  HENRY J. KAISER FAMILY FOUNDATION
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                  DOCTORS OF THE WORLD
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                  YALE-NEW HAVEN HOSPITAL

                  CONSUMERS UNION

                  NATIONAL COMMITTEE FOR QUALITY ASSURANCE

                  NEW YORK COUNTY HEALTH SERVICE REVIEW ORGANIZATION

                  COMPREHENSIVE MEDICAL REVIEW ORGANIZATION


   FELLOWSHIP

                  YALE COLLEGE Fellow,
                  Calhoun College


   LECTURESHIPS

                  THE REGIS J. FALLON LECTURE SERIES ON HEALTH AND LAW
                  University of Chicago

                  GRAYSON DISTINGUISHED LECTURE
                  Southern Illinois University School of Law

                  WEINBERG SYMPOSIUM LECTURE
                  Harvard Medical School

                  THE THOMAS B. FERGUSON LECTURE
                  Society of Thoracic Surgeons

                  GEORGE E. ALTMAN, M.D. LECTURE
                  Beth Israel Hospital

                  BETH AND RICHARD SACKLER LECTURE
                  University of Pennsylvania

                  MARTIN W. WITTE LECTURE
                  Newport Beach Public Library and Newport Beach Public Library Foundation

                  HERBERT L. ABRAMS LECTURE
                  Harvard Medical School

                  GEORGE GOODMAN LECTURE
                  State University of New York at Stony Brook

                  EVNIN LECTURE
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                  Princeton University, Woodrow Wilson School
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                  BOYARSKY LECTURE
                  Law, Medicine, and Ethics, Kenan Ethics Program, Duke University

                  CHARTER LECTURE
                  The University of Georgia

                  GARDERE & WYNNE LECTURE
                  Health Law and Policy Institute, University of Houston

                  DISTINGUISHED LECTURE IN NATIONAL SERVICE
                  University of Miami

                  TENTH ANNUAL JOHN O. VIETA, MD LECTURE
                  Lenox Hill Hospital

                  HARPER FELLOWSHIP LECTURE
                  Yale Law School

                  DR. JAMES STEWART KAUFMAN MEMORIAL LECTURE
                  The Mt. Sinai Health Care Foundation

                  DULCY B. MILLER MEMORIAL LECTURE
                  Smith College

                  JEAN MAYER LECTURE IN NUTRITION AND FOOD POLICY
                  Tufts University

                  HENRY BARNETT DISTINGUISHED LECTURESHIP
                  Albert Einstein College of Medicine

                  MARTIN A. CHERKASKY DISTINGUISHED LECTURESHIP
                  Robert Wagner Graduate School of Public Service New York
                  University

                  ALPHA OMEGA ALPHA DISTINGUISHED LECTURESHIP
                  Cornell Medical School--New York Hospital

                  ST. GEORGE SOCIETY LECTURESHIP
                  Johns Hopkins Medical School

                  GOVERNOR WINTHROP ROCKEFELLER DISTINGUISHED
                  LECTURESHIP University of Arkansas Medical School

                  MOLLY AND SIDNEY N. ZUBROW LECTURE
                  Pennsylvania Hospital
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                  LEROY HOECK M.D. DISTINGUISHED LECTURESHIP
                  Children's Hospital National Medical Center
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                  JULES AND JANE HIRSH HEALTH POLICY ADDRESS
                  George Washington University

                  JOHN S. LATTA LECTURESHIP
                  University of Nebraska Medical
                  School

                  PAUL K. SMITH MEMORIAL LECTURE
                  George Washington University

                  WOLK HEART FOUNDATION LECTURE
                  Colgate University

                  HASTINGS LECTURE
                  Association for the Advancement of Medical Instrumentation
                  National Heart, Lung and Blood Institute
                  INSTITUTE OF MEDICINE 25TH DISTINGUISHED LECTURESHIP
                  University of Washington

                  RALPH CAZORT LECTURESHIP
                  Meharry Medical School

                  DAVID M. IFSHIN MEMORIAL LECTURE
                  Potomac, Maryland

                  CHARLES C. LEIGHTON MEMORIAL LECTURE
                  Leonard David Institute of Health Economics
                  University of Pennsylvania

                  D. W. HARRINGTON LECTURE State
                  University of New York At Buffalo School of
                  Medicine and Biomedical Sciences

                  SAMUEL RUBIN LECTURE FOR THE ADVANCEMENT OF LIBERTY
                  Columbia University

                  LEO S. WEIL MEMORIAL LECTURE
                  Tulane Medical Center, Touro Infirmary,
                  and Louisiana State University School of Medicine

                  THOMAS PARRIN LECTURE
                  University of Pittsburgh School of Public Health

                  DAVID PACKARD LECTURE
                  Uniformed Services University of the Health Sciences
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                  NORMAN E. ZINBERG LECTURE
                  Harvard Medical School
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                  JOHN H. ERSKINE LECTURE
                  St. Jude's Children's Research Hospital

                  MARTIN V. BONVENTRE MEMORIAL LECTURE
                  The Brooklyn Hospital Center

                  PURVES LECTURE
                  Woodbridge Library, Woodbridge, Connecticut

                  VISITING SCHOLAR LECTURE University of
                  Oklahoma - Board of Regents Oklahoma Scholar
                  Leadership Extension Program

                  J. ROSWELL GALLAGHER LECTURER
                  Society of Adolescent Medicine

                  KATHERINE BOUCOT STURGIS LECTURESHIP
                  American College of Preventive Medicine

                  HELMUT SCHUMANN LECTURE
                  Dartmouth-Hitchcock Medical Center
                  50TH ANNIVERSARY COMMUNICATION LECTURE
                  Centers for Disease Control and Prevention
                  5TH JAMES BORDLEY III MEMORIAL LECTURE
                  Mary Imogene Bassett Hospital

                  TURNER LECTURE
                  University of California

                  MARIE SHULSKY MEMORIAL LECTURE ON HEALTH AND
                  SOCIAL RESPONSIBILITY
                  Fifth Avenue Synagogue, New York, New York

                  GERTRUDE AND G.D. CRAIN, JR. LECTURE SERIES
                  Medill School of Journalism, Northwestern University

                  GEORGE ARMSTRONG LECTURE
                  Ambulatory Pediatric Society

                  ARCO FORUM OF PUBLIC AFFAIRS
                  Institute of Politics, John F. Kennedy School of Government
                  Harvard University
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                  PAUL LEVINGER LECTURE AND PROFESSORSHIP PRO TEM IN THE
                  ECONOMICS OF HEALTH CARE Brown University
Case 3:16-md-02738-MAS-RLS Document 28798-4 Filed 12/14/23 Page 258 of 442 PageID:
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                  ARNOLD J. SCHWARTZ MEMORIAL HEALTH LECTURE
                  Robert F. Wagner Graduate School of Public Service New York
                  University

                  RONALD ALTMAN MEMORIAL LECTURE
                  Festival of Arts, Books and Culture, Cherry Hills, New Jersey

                  SAMUEL MARTIN, M.D. III MEMORIAL LECTURE Division of
                  General Internal Medicine and Leonard Davis Institute University of
                  Pennsylvania

                  CARL J. MARTINSON, M.D. MEMORIAL LECTURESHIP ON HEALTH
                  PROMOTION AND DISEASE PREVENTION University of Minnesota

                  LEONARD SILK MEMORIAL LECTURE Mt.
                  Desert Island Biological Laboratories

                  CALDWELL LECTURE
                  American Roentgen Ray Society

                  RICHARD H. DENT LECTURE St.
                  George's School

                  ROBERT T. WONG DISTINGUISHED PROFESSORSHIP
                  University of Hawaii, Manoa

                  NIDA/American Psychiatric Association Obesity Symposium

                  HARVARD OBESITY COURSE

                  STANFORD BARIATRIC COURSE

                  AMERICAN BARIATRIC SOCIETY

                  RHODES ENDOWED LECTURE

                  STAFFORD LITTLE LECTURE PUBLIC LECTURES AT
                  PRINCETON

                  GERALD AND SALLY DENARDO LECTURESHIP, SANTA
                  CLARA UNIVERSITY

                  ALEX AND LENA CASPER MEMORIAL LECTURE, MIAMI
                  UNIVERSITY

                  UNIVERSITY OF VERMONT FOOD SYSTEMS
                  LEADERSHIP
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                  GOOGLE LECTURE
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   David A. Kessler                                                Page



                  GLOBAL STUDIES SYMPOSIUM, WHITMAN COLLEGE
                  Excellence in Public Service

                  DONALD DUNPHY LECTURE, MCCONE HOSPITAL,
                  UNIVERSITY OF NORTH CAROLINA

                  CENTER FOR GLOBAL HEALTH, STANFORD MEDICAL
                  SCHOOL

                  STANFORD UNIVERSITY: THE ETHICS OF FOOD & THE
                  ENVIRONMENT

                  STANFORD MEDICAL SCHOOL, DEPARTMENT OF
                  MEDICINE, GRAND ROUNDS

                  LEGACY WARNER SERIES LECTURE ON IMPACT OF
                  FAMILY AND SMOKING PREVENTION AND CONTROL
                  ACT

                  LEADING VOICES IN PUBLIC HEALTH, EAST
                  TENNESSEE STATE UNIVERSITY

                  92ND STREET YMCA PUBLIC LECTURE, NEW YORK

                  COMMONWEALTH CLUB OF CALIFORNIA

                  SAN FRANCISCO PUBLIC LIBRARY LECTURE

                  KANSAS CITY PUBLIC LIBRARY

                  YALE ROBERT WOOD JOHNSON CLINICAL SCHOLARS
                  PROGRAM


   COMMUNITY/PUBLIC SERVICE AWARDS

                  NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED
                  PEOPLE
                  Montgomery County Chapter
                  Person of the Year

                  LEAGUE OF WOMEN VOTERS, NEW YORK
                  Carrie Chapman Catt Award

                  COMMON CAUSE
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   David A. Kessler                                                Page
                  Public Service Achievement Award
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                  AMERICAN ACADEMY OF PEDIATRICS
                  Excellence in Public Service

                  BUSINESS WEEK
                  Best in Public Service

                  GEORGE ORWELL AWARD FOR HONESTY AND CLARITY
                  IN PUBLIC LANGUAGE
                  National Conference of Teachers of English

                  ANTI-DEFAMATION LEAGUE OF B'NAI BRITH
                  Man of Achievement Five Towns, New York

                  GOLDEN SLIPPER CLUB OF PHILADELPHIA
                  Golden Slipper Award

                  NATIONAL FATHER'S DAY COMMITTEE
                  Father of the Year Award

                  UNITED SENIORS HEALTH COOPERATIVE
                  Seniors Advocate Award

                  NATIONAL ASSOCIATION OF GOVERNMENT COMMUNICATORS
                  Communicator of the Year Award

                  NATIONAL CONSUMERS LEAGUE
                  Trumpeter Award

                  THE INTERNATIONAL PLATFORM ASSOCIATION
                  George Crile Award

                  AMERICAN LUNG ASSOCIATION of New York
                  Life and Breath Award in Public Health

                  CONSUMER FEDERATION OF AMERICA
                  Philip Hart Public Service Award

                  CAMPAIGN FOR TOBACCO FREE KIDS
                  Distinguished Service Award
                  MEDICAL SOCIETY OF NEW YORK, 1st District
                  Branch Public Service Award

                  ONCOLOGY NURSING SOCIETY
                  Public Service Award

                  PUBLIC VOICE FOR FOOD & HEALTH POLICY
                  Special Recognition Award for Advancing the Consumer Interest in Food and
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                  Agriculture Policy
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   David A. Kessler                                                           Page


   ATTENDING PEDIATRICIAN

   2003 - 2013        UNIVERSITY OF CALIFORNIA, SAN FRANCISCO MEDICAL
                      CENTER

   1997-2003      YALE-NEW HAVEN HOSPITAL

   1982-1990      BRONX MUNICIPAL HOSPITAL CENTER

   1982-1990      NORTH CENTRAL BRONX HOSPITAL

   1982-1990      MONTEFIORE MEDICAL CENTER

   1982-1990      HOSPITAL OF THE ALBERT EINSTEIN COLLEGE OF MEDICINE


   COMMUNITY ACTIVITIES

                  SCARSDALE SCHOOL DISTRICT, Scarsdale, New York

   1986-1990 Legislative Affairs Advisory Committee 1988-
               1990 Buildings and Facilities Advisory
               Committee

   1990           SCARSDALE STUDENT TRANSFER EDUCATION PLAN, Board of Trustees



   GENERAL INFORMATION

   Address:    Office Phone:
          2715 Steiner9 Oxford Street                            (415) 929
          1121 San Francisco, CA 94123310-8084 Chevy Chase, Maryland 20815

   Married:       Born:
              Paulette Kessler                                 May 31, 1951
              Two children - Elise and Ben




              California
              Connecticut (non-active)
              Maryland
              New York (non-active)
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           Paulette Kessler                             May 31, 1951
           Two children - Elise and Ben



  MEDICAL LICENSURE
           California
           Connecticut (non-active)
           Maryland (non-active)
           New York (non-active)
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   David A. Kessler                                                                  Page

   PUBLICATIONS

          Books

                  Kessler, David A., FAST CARBS, SLOW CARBS, Harper (2020)
                  快碳水、 慢碳水:Kessler, David A., CAPTURE: UNRAVELING THE MYSTERY OF
                  MENTAL SUFFERING, Harper, Pub. date: April 2016 Paperback : April, 2017
                       被绑架的⼼灵

                  Kessler, David A. THE END OF OVEREATING: TAKING CONTROL OF
                   THE INSATIABLE AMERICAN APPETITE, Rodale, 2009
                           Translated and Adapted:



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                         Perché mangianmo troppo (e come fare per smetteria
                          Laat je niet volvreten: Hoe de voedselindustgrie schade toebrengt ann
                             onze gexondheid
                          Das Ende des groben Fressens Wie die Nahrungsmittelindustrie Sie zu
                             ubermaBigem Essen berleitet und was Sie dagegen tun konnen
                          Muszáj annyit enni? Hadüzenet a só, a zsír és a cukor ellen
                          Also: Romania, Canada, UK, Australia, India
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   Dr. David Kessler testified at trial or deposition as an expert in the following cases over more
   than the last seventwelve years through November 1615, 20182023:
       •   In re Risperdal, Philadelphia, PA and Texas cases, including No. 2012CCV-61916-1
            (Tex. Dist. Ct. filed Oct. 2, 2012 and Pledger and Walker); Wolken JCCP 4775
       •   Wells v. Allergan, Inc. No. 12-973 (W.D. Okla. filed Sept. 4, 2012);
       •    Drake v. Allergan, Case No. 2013 vv00234 (U.S. Dist. Ct. Burlington, Vermont)
       •   In re C.R. Bard, Inc., Pelvic Repair Sys. Prods. Liab. Litig., MDL No. 2187
            (S.D.W.V. filed July 15, 2010)
       •   SB v. Ortho-McNeil-Janssen Pharm., Inc. (In re Risperdal Litig.), No. 100503629
            (Pa. Ct. Com. Pl. filed May 27, 2010)
       •   In re Yaz & Yasmin (Drospirenone) Marketing, Sales Practices & Prods.
            Lib. Litig., MDL No. 2100 (J.P.M.L. filed July 30, 2009)
       •   In re Flonase Antitrust Litigation (American Sales Company, Inc. v. Smithkline
            Beecham Corp.), 08-cv-3149- 3149, United States District Court, Eastern District
            of Pennsylvania
       •   Pharmathene, Inc. v. Siga Techs., Inc., No. 2627 (Del. Ch. filed Dec. 20, 2006)
       •   Commonwealth v. Merck & Co., No. 09-1671 (Ky. Cir. Ct. filed Sept. 28, 2009) (and
            Utah)
       •   State v. Merck & Co., No. 05-3700 (E.D. La. filed Aug. 5, 2005)
       •   Commonwealth Care Alliance v. AstraZeneca Pharm. L.P., No. SUCV2005-269
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            2011)
       •   Brown v RJ Reynolds Tobacco Company et al., No. 2007 CA 002855 (Fla. Cir. Ct.
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       •   In re Merck & Co., Inc. Sec., Deriv. & “ERISA” Litig., MDL No. 1658, No.
            05-2367052367 (D.N.J. filed May 5, 2005)
       •   In re Prograf Antitrust Litigation MDL2242, United States, MDL No. 2242 (U.S.
            District Court, District of Massachusetts
       •   In re Nexium Antitrust Litigation, MDL No. 2419 United States(U.S. District Court,
            District of Massachusetts)
       •   Cabana v. Stryker. Superior Court of State of California, Los Angeles
       •   In Re: Fosamax Litigation, Civil Action No. 282, (Superior Court of New Jersey,
            Atlantic County) and Case No. 30-2012-00547764 (Superior Court of California,
            Orange County)
       •   Western Sugar Coop et al v. Archer-Daniels-Midland Co, et al, No. 11-03473
            (U.S. District Court, Central District of California, No. 11-03473)
       •   H.B., et al. v. Abbott Laboratories, No. #15-cv-702-NJR-SCW (U.S. District
            Court, Southern District of Illinois, filed June 26, 2015)
       •   In re New England Compounding Pharmacy, Inc. Products Liability Litigation,
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   •   In re: DePuy Orthopaedics, Inc., Pinnacle Hip Implant Prods. Liab. Litig., MDL No.
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        2011)
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        Judicial Circuit (Div. 7), Broward County, Florida).
   •    In re Bard IVC Filters Products Liability Litigation, Case No. 2:15-MD-02641-
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       • In re: Zoloft Litigation, JCCP No. 4771 (Superior Court of California, Orange County)
       •   In re: Testosterone Replacement Therapy Product Liability Litigation, MDL
            No. 2545 (U.S. District Court, Northern District of Illinois – Eastern Division)
       •   In re: Xarelto Products Liability Litigation, MDL No. 2592 (U.S. District Court,
            Eastern District of Louisiana – New Orleans Division); Philadelphia County Court
            of Common Pleas
       •   In re: Benicar (Olmesartan) Product Liability Litigation, Civil No.
            15-2606 (U.S. District Court, District of New Jersey)
       •   In re: Cook Medical, Inc. IVC Filters Marketing, Sales Practices and Product
            Liability Litigation, MDL No. 2570 (U.S. District Court, Southern District of
            Indiana – Indianapolis Division)
       •   State of Texas, ex rel. v. AstraZeneca LP, et al., Case No.
            D-1-GN-13-003530 (District Court of Travis County, Texas)
       •   Council for Education and Research on Toxics v. Starbucks Corp. et al., case
            number BC435759
       •   In Rere: Asacol Antitrust Litigation, Case No. 1:15-cv-12730-DJC (U.S. District Court
            for the District of Massachusetts)
       •   United States v. Merck. ex rel., In re: Merck Mumps Vaccine Antitrust
            Litigation (U.S.Dist Ct District Court, Eastern District of Pennsylvania)
       •   Blue Cross Blue Shield v GlaxoSmithKline (U.S.Dist Ct District Court, Eastern
            District of Pennsylvania)
       •   Tinsley v. Streich (Circuit Court City of Charlottesville, Virginia))
       •    People of the State of California v. Johnson & Johnson, et al., Case No.
            37-2016-00017229-CU-MC-CTL (Superior Court of the State of California,
            County of San Diego)
       •    In re: Taxotere (Docetaxel) Products Liability Litigation, MDL No. 2740 (U.S.
            District Court, Eastern District of Louisiana)
       •    In re: National Prescription Opiate Litigation, MDL No. 3804 (U.S. District Court,
            Northern District of Ohio)
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            County, Tennessee v. Momenta Pharmaceuticals, et al., Case No. 3:15-cv-01100
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            California, Alalameda
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       •   In re: Davol, Inc./C.R. Bard, Inc., Polypropylene Hernia Mesh Products
           Liability Litigation, 2:18-md-2846 (U.S. District Court, Southern District of Ohio)
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           South Carolina, Columbia Division)



   Dr. David Kessler provided sworn expert statements in the following cases over the last five years:

       • DePuy ASR Hip System Cases, No. CJC-10-4649 (Cal. Super. Ct. filed Dec. 22, 2010)
       • Cordero v. Endoscopy Ctr. of S. Nev. LLC (In the Matter of Endoscopy Ctr. &
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          Court, Western District of Tennessee)
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          Orange)
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          County of Los Angeles Case No. 21STCV22822




   1,000Hourly rate: $1,250/hr
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                      APPENDIX C: MATERIALS CONSIDERED
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     21 CFR 73.1550
     21 CFR 740.10
     21 CFR 895.102
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     21 CFR 895.104
     21 USC §331(a)
     21 USC §361
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     Hopkins J&J-357
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     IMERYS 039204
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     IMERYS 049953
     IMERYS 050651
     IMERYS 068497
     IMERYS 077676
     IMERYS 081025
     IMERYS 117597
     IMERYS 124796
     IMERYS 140471
     IMERYS 145558
     IMERYS 173520
     IMERYS 193653
     IMERYS 196407
     IMERYS 219720
     IMERYS 219721
     IMERYS 239407
     IMERYS 242497
     IMERYS 245837
     IMERYS 248208
     IMERYS 271483
     IMERYS 281625
     IMERYS 299322
     IMERYS 300644
     IMERYS 303828
     IMERYS 308446
     IMERYS 309325
     IMERYS 330548
     IMERYS 393976
     IMERYS 414536
     IMERYS 416192
     IMERYS 416201
     IMERYS 416215
     IMERYS 418290
     IMERYS 418301
     IMERYS 422062
     IMERYS 422992
     IMERYS 426609
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     IMERYS 430404
     IMERYS 436972
     IMERYS 437013
     IMERYS 437016
     IMERYS 437017
     IMERYS 441158
     IMERYS 441186
     IMERYS 442002
     IMERYS 443102
     IMERYS 444294
     IMERYS 446059
     IMERYS 446417
     IMERYS 446794
     IMERYS 446967
     IMERYS 447074
     IMERYS 447341
     IMERYS 448613
     IMERYS 542261
     IMERYS 542268
     IMERYS 550153
     IMERYS_00057325
     IMERYS_422064
     IMERYS026527
     IMERYS028813
     IMERYS034215
     IMERYS038563
     IMERYS040759
     IMERYS051370
     IMERYS056686
     IMERYS074844
     IMERYS074887
     IMERYS081025
     IMERYS099495
     IMERYS136822
     IMERYS136824
     IMERYS138675
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     IMERYS152814
     IMERYS205540
     IMERYS208853
     IMERYS209398
     IMERYS209930
     IMERYS210472
     IMERYS210707
     IMERYS239749
     IMERYS239757
     IMERYS239791
     IMERYS239883
     IMERYS240286
     IMERYS240342
     IMERYS240415
     IMERYS244415
     IMERYS244677
     IMERYS250192
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     IMERYS251651
     IMERYS255224
     IMERYS255384
     IMERYS265231
     IMERYS269418
     IMERYS279682
     IMERYS280786
     IMERYS281179
     IMERYS284935
     IMERYS288545
     IMERYS288588
     IMERYS299277
     IMERYS299322
     IMERYS303828
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     IMERYS303861
     IMERYS306274
     IMERYS306387
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     IMERYS308446
     IMERYS309326
     IMERYS324700
     IMERYS325989
     IMERYS363871
     IMERYS418290
     IMERYS422289
     IMERYS437666
     IMERYS442501
     IMERYS446794
     IMERYS456885
     IMERYS462959
     IMERYS467511
     IMERYS467736
     IMERYS-A_0005946
     IMERYS-A_0010837
     IMERYS-A_0021921
     IMERYS-MDL-AB_0001939
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     J Hopkins Imerys 05
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     J Hopkins PM J&J 201
     J Hopkins PM J&J 225
     J Hopkins PM J&J 283
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     J&J 0005925
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     J&J 0012116; JNJ 000338279
     J&J 0017054; JNJZ55 000015437; Plaintiff Exhibit 2226-1
     J&J 0018692
     J&J 0023059; JNJMX68 000015818
     J&J 0023063; JNJMX68 000015819
     J&J 0023507; JNJMX68 000015892
     J&J 0023533; JNJMX68 000015898
     J&J 0023545; JNJ 000315161
     J&J 0023551; JNJ 000315164
     J&J 0023554; JNJ 000315167
     J&J 0023558; JNJ 000315170
     J&J 0023562; JNJ 000315173
     J&J 0023570; JNJ 000315179
     J&J 0023574; JNJMX68 000315182
     J&J 0023578; JNJ 000315185
     J&J 0023582; JNJ 000315188
     J&J 0023590; JNJ 000315194
     J&J 0023595; JNJMX68 000315197
     J&J 0023608; JNJMX68 000015916
     J&J 0023633; JNJMX68 000015922
     J&J 0023637; JNJMX68 000015923
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     J&J 0023641; JNJMX68 000015924
     J&J 0023778; JNJ 000315321 J&J
     0023782; JNJ 000315324 J&J
     0024162; JNJ 000315520 J&J
     0024166; JNJ 000315523 J&J
     0024174; JNJMX68 000016021 J&J
     0024239; JNJMX68 000016037 J&J
     0024248; JNJMX68 000016039 J&J
     0024313; JNJMX68 000016053 J&J
     0024337; JNJMX68 000016059 J&J
     0024413; JNJMX68 000016074 J&J
     0024431; JNJMX68 000016078 J&J
     0024440; JNJMX68 000016080 J&J
     0024456; JNJ 000315730 J&J
     0024464; JNJMX68 000016085 J&J
     0024485; JNJ 000315751 J&J
     0024501; JNJ 000315763 J&J
     0024509; JNJMX68 000016096 J&J
     0024513; JNJ 000315772 J&J
     0024523; JNJ 000315778 J&J
     0024526; JNJ000315781; D 0428 0001
     J&J 0024530; JNJ 000315784
     J&J 0024534; JNJ 000315787
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     J&J 0024542; JNJ 000315793; D 0425 0001
     J&J 0024546; JNJ 000315796
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     J&J 0024562; JNJ 000315808; D 0424 0001
     J&J 0024567; JNJ 000315811; D 0415 0001
     J&J 0024571; JNJ 000315814; D 0414 0001
     J&J 0024575; JNJ 000315817; D 0411 0001
     J&J 0024580; JNJ 000315820; D 0409 0001
     J&J 0024592; JNJ 000315829
     J&J 0024601; JNJ 000315835
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     J&J 0024605; JNJ 000315838 J&J
     0024622; JNJ 000315850 J&J
     0024626; JNJ 000315853 J&J
     0024688; JNJ 000315826 J&J
     0025005; JNJMX68 00016129
     J&J 0025014; JNJMX68 000016132
     J&J 0025058; JNJMX68 000016150
     J&J 0025075; JNJMX68 000016157
     J&J 0025107; JNJMX68 000016169
     J&J 0025155; JNJMX 000016186
     J&J 0025168; JNJMX68 000016189
     J&J 0025201; JNJMX68 00016196
     J&J 0025214; JNJMX68 000016199
     J&J 0026063; JNJMX68 000016152
     J&J 0037447; JNJMX68 000011090
     J&J 0037466; JNJMX68 000011106
     J&J 0037475; JNJNL61_000037723
     J&J 0037477; JNJMX68 000011109
     J&J 0037480; JNJMX68_000011111
     J&J 0037492; JNJMX68 000011116
     J&J 0037504; JNJMX68 000011124
     J&J 0037512; JNJNL61_000037726
     J&J 0037519; JNJMX68_000011126
     J&J 0037540; JNJNL61_000037730
     J&J 0037541; JNJNL61_000037731
     J&J 0037542; JNJNL61_000037732
     J&J 0037543; JNJNL61_000037733
     J&J 0037544; JNJNL61_000037734
     J&J 0037546; JNJ 000280852 J&J
     0037547; JNJNL61_000037737 J&J
     0037548; JNJNL61_000037738 J&J
     0037623; JNJNL61_000037763 J&J
     0037625; JNJNL61_000037765 J&J
     0037626; JNJNL61_000037766 J&J
     0037627; JNJNL61_000037767 J&J
     0037628; JNJNL61_000037768
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     J&J 0037629; JNJNL61_000037769
     J&J 0037642; JNJNL61_000037770
     J&J 0037644; JNJNL61_000037771
     J&J 0037645; JNJNL61_000037772
     J&J 0037646; JNJNL61_000037773
     J&J 0037647; JNJNL61_000037774
     J&J 0037651; JNJNL61_000037775
     J&J 0037653; JNJNL61_000037777
     J&J 0044937; JNJ 000292066
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     J&J 0059869; JNJMX68_000012023; Plaintiff Exhibit 2451-1
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     J&J 0066447; JNJNL61 000063476
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     J&J 0083118; JNJNL 61 000062534
     J&J 0083362; JNJH29W_000010709
     J&J 0084545; JNJNL61_000062953
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     J&J 0087535; JNJAZ55_000017891
     J&J 0087625; JNJNL61 000064937
     J&J 0089804; JNJAZ55_000013775
     J&J 0090798; JNJNL61 000048137
     J&J 0093588; JNJAZ55_000011185
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     J&J 0096500; JNJTALC000172085
     J&J -0096500; JNJTALC000376774; JNJTALC000172086
     J&J 0106409; JNJNL61 0000053191
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     J&J 0110820; JNJNL61 000067469
     J&J 0111727; JNJ 000334161; Pltf JNJ 000000034161
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     2631-1 J&J 0132008; JNJMX68_000017147
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     J&J 0149688; JNJMX68_000015773
     J&J 0150033
     J&J 0150033; JNJ 000304421
     J&J 0151109; JNJ 000343318
     J&J 0151109; JNJ 000343318; Hopkins 87
     J&J 0152253
     J&J 0152253; JNJ 000064511
     J&J 0163917; JNJNL61 000042443
     J&J 0164224; JNJ 000064649
     J&J 0164227; JNJ 000064652
     J&J 02 J&J 04 J&J 09 J&J 10 J&J 100 J&J 105 J&J 107
     J&J 108 J&J 11 J&J 111 J&J 112 J&J 121 J&J 14 J&J 141
     J&J 142 J&J 148425; JNJNL61 000058245; Plaintiff
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     J&J 182
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     J & J    2 9 6    J & J
     2 9 8    J & J    3 1
     J & J    3 3   J & J
     3 3 5    J & J    3 4
     J & J    3 4 ;
     J & J - 0 0 0 5 5 0 9
     J&J 35
     J&J 36
     J&J 38
     J&J 39
     J&J 44
     J&J 46
     J&J 47
     J&J 49
     J&J 57
     J&J 58
     J&J 60
     J&J 65
     J&J 66
     J&J 69
     J&J 71
     J&J 74
     J&J 75
     J&J 77
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     J&J 87
     J&J 89
     J&J 90
     J&J 92
     J&J 93
     J&J 95
     J&J 97
     J&J Healthwashing Babies For 100 Years
     J&J_0148425; JNJNL61_000058245
     J&J-00037531; JNJNL61_000037729
     J&J-0004370; JNJ000065570
     J&J-0004453; JNJ 000578888
     J&J-0004454; JNJ 000065627
     J&J-0004479; JNJ 000065646; DX-7202
     J&J-0004667; JNJH29W_000078719
     J&J-0004724; JNJNL61_000078757
     J&J-0005504; JNJ000346836
     J&J-0005504; JNJNL61_00007880
     J&J-0005694; JNJNL61_000078916
     J&J-0005912; JNJ 000577872
     J&J-0005925; JNJMX68_000012745
     J&J-0005925; JNJMX68_000012745; Plaintiff Exhibit 2620-1
     J&J-0005925; JNJMX68_000012745; PLT-00036-0001
     J&J-0006986; JNJ 000346992
     J&J-0007007; JNJ 000346999
     J&J-0007013; JNJNL61_000078978
     J&J-0007042; JNJ000347002
     J&J-0007064; JNJ000341705
     J&J-0007507; JNJMX68_000012803
     J&J-0007590; JNJ 000291467 (E-0564 - bates #s are out of order and assorted)
     J&J-0007785; JNJMX68_0000128749
     J&J-0007794; JNJMX68_000012851
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                                   169003



     J&J-0007920
     J&J-0008053; JNJMX68_000012905
     J&J-0008356; JNJ 000291787
     J&J-0011098; JNJNL61_000053641
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                                   169004



     J&J-0017054; JNJ 000309861
     J&J-0018692; JNJ 000346335; Pltf_JNJ_00068182
     J&J-0020224; JNJNL61_000052948
     J&J-0020831; JNJ 000064241
     J&J-0021092
     J&J-0030343; JNJ 000312967
     J&J-0034263; JNJ 000314226
     J&J-0034263; JNJ 000314226; Hopkins 137
     J&J-0034299; JNJ 000684541
     J&J-0034484; JNJNL61_0000134004
     J&J-0034593; JNJNL61_000043235
     J&J-0034609; JNJ 00031425 (cut off)
     J&J-0034630
     J&J-0034630; JNJMX68_000013019
     J&J-0034643; JNJNL61_000043240
     J&J-0034677; JNJ 000314255
     J&J-0036693; JNJ 000031001
     J&J-0037209; JNJMX68_000011026
     J&J-0037376; JNJ 000280750
     J&J-0037377; JNJ 000280751
     J&J-0037380; JNJ 000280754
     J&J-0037381; JNJ 000280755
     J&J-0037382; JNJ 000280756
     J&J-0037383; JNJ 000280757
     J&J-0037388; JNJ 000280759
     J&J-0037390; JNJ 000280761
     J&J-0037391; JNJ 000280762; Pltf_JNJ (bates # illegible)
     J&J-0037394; JNJ 000280765
     J&J-0037395; JNJ 000280766
     J&J-0037404; JNJ 000280772
     J&J-0037404; JNJMX68_000011056
     J&J-0037405; JNJ 000280773
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     J&J-0037406; JNJ 000280774
     J&J-0037407; JNJ 000280775
     J&J-0037409; JNJ 000280777
     J&J-0037410; JNJ 000280778
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                                   169006


     J&J-0037417; JNJ 000280782
     J&J-0037420; JNJ 000280785
     J&J-0037421; JNJ 000280786
     J&J-0037425; JNJ 000280790
     J&J-0037439; JNJ 00071234
     J&J-0037440; JNJTALC000071235
     J&J-0037474; JNJ 00071242
     J&J-0037476; JNJ 00071243
     J&J-0037478; JNJ 000280820
     J&J-0037479; JNJ 00071244
     J&J-0037481; JNJ 000280822
     J&J-0037482; JNJ 00071245
     J&J-0037486; JNJ 00071247
     J&J-0037488; JNJ 000280825
     J&J-0037489; JNJ 000280826
     J&J-0037497; JNJ 00071250
     J&J-0037500; JNJ 00071250
     J&J-0037503; JNJ 00071252
     J&J-0037511; JNJ 00071255
     J&J-0037512; JNJ 00071256
     J&J-0037514; JNJ 00071257
     J&J-0037515; JNJ 00071258
     J&J-0037516; JNJ 00071259
     J&J-0037517; JNJ 00071260
     J&J-0037518; JNJ 00071261
     J&J-0037521; JNJ 00071262
     J&J-0037526; JNJNL61_000037727
     J&J-0037528; JNJNL61_000037728
     J&J-0037532; JNJ 00071266
     J&J-0037533; JNJ 00071267
     J&J-0037534; JNJ 00071268
     J&J-0037535; JNJ 00071269
     J&J-0037536; JNJTALC000071270
     J&J-0037537; JNJ 00071271
     J&J-0037538; JNJ 00071272
     J&J-0037624; JNJNL61_000037764
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                                   169007



     J&J-0037632; JNJ 000683572
     J&J-0037633; JNJ 000683573
     J&J-0037648; JNJ 000683579
     J&J-0043656; JNJ 000347203
     J&J-0043746; JNJ 00031431
     J&J-0043746; JNJMX68_000015709
     J&J-0043746; JNJMX68_000015709; Hopkins 112
     J&J-0043753
     J&J-0043753; JNJ 000314315
     J&J-0043753; JNJMX68_00015711; Hopkins 111
     J&J-0044096; JNJNL61_000043286
     J&J-0044780; JNJMX68_000013066
     J&J-0044793; JNJMX68_00013067
     J&J-0044840; JNJ 000292059
     J&J-0044868; JNJ 000314361
     J&J-0044868; JNJMX68_000015726
     J&J-0044934; JNJ 000063285
     J&J-0044934; JNJMX68 000013080
     J&J-0044937; JNJMX68_00013082
     J&J-0045013; JNJMX68_010913
     J&J-0049150; JNJNL61_000052427
     J&J-0049807; JNJ 000064087
     J&J-0049964; JNJ000064591
     J&J-0055341; JNJNL61_000074060
     J&J-0056679; JNJAZ55_000018511
     J&J-0056679; JNJTALC000301073
     J&J-0059869; JNJMX68_000012023
     J&J-0060851; JNJTALC000171588
     J&J-0060870; JNJ000294461
     J&J-0060888; JNJ 000294462
     J&J-0060938; JNJ 000294507; PLT-04497-0001
     J&J-0060957; JNJMX68_000013398
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                                   169008



     J&J-0061460; JNJH29W_000009932
     J&J-0061460; JNJH29W_000009932; Hopkins 93
     J&J-0063313; JNJNL61_000076240
     J&J-00700701; JNJMX68_000012063
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     J&J-0070071; JNJMX68_000012063
     J&J-0070263; JNJAZ55_000014444
     J&J-0070812; JNJ 000303042
     J&J-0070812; JNJH29W_000008569
     J&J-0070812; JNJMX68_000014190
     J&J-0073766; JNJMX68_000017758
     J&J-0073883; JNJ 000329803
     J&J-0073930; JNJ 000329832; Pltf_JNJ_00063125
     J&J-0073975; JNJNL61_000064375
     J&J-0076514; JNJAZ55_000012423
     J&J-0077385
     J&J-0077385; JNJ 000063951
     J&J-0082407; JNJ 000046762; Pltj_JNJ_00008906
     J&J-0082492; JNJAZ55_000016555
     J&J-0082492; JNJAZ55_000016555; Hopkins 77
     J&J-0082756; JNJH29W_000010514
     J&J-0082779; JNJNL61_000062372
     J&J-0083118; JNJNL61_000062534
     J&J-0083120; JNJ 000325951
     J&J-0083129; JNJNL61_000062639
     J&J-0083381; JNJ 000326125
     J&J-0084545
     J&J-0084545; JNJNL61_000062953; PLT-00058-0001
     J&J-0084587; JNJ000326963
     J&J-0084611; JNJNL61_000062982
     J&J-0084692; JNJMX68_000017515
     J&J-0085506
     J&J-0086337; JNJMX68_000018543
     J&J-0086339
     J&J-0086339; JNJMX68_000018545
     J&J-0086491; JNJTALC000102293
     J&J-0087625; JNJNL61_000064937
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                                   169010



     J&J-0088056; JNJTALC000471186
     J&J-0089804; Plaintiff's Exhibit 60
     J&J-0090656; JNJ 000300297
     J&J-0090834; JNJ 000300436; Pltf_JNJ_00051924
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                                   169011


     J&J-0093588; JNJAZ55_000011185
     J&J-0095138; JNJ 000033761
     J & J - 0 0 9 6 5 0 0 ; J N J T A LC 0 0 0 3 7 6 7 7 4
     J&J-0098861; JNJAZ55_000015021
     J & J - 0 1 0 1 3 7 1 ; J N J N L6 1 _ 0 0 0 0 6 7 3 0 6
     J&J-0102399; JNJ 000297377
     J & J - 0 1 0 4 6 1 3 ; J N J N L6 1 _ 0 0 0 0 4 7 3 7 5
     J & J - 0 1 0 4 6 1 3 ; J N J N L6 1 _ 0 0 0 0 4 7 3 7 6
     J&J-0106161; JNJ 000289953
     J&J-0106244; JNJ 000033681;
     Pltf_JNJ_00006016 J&J-0106453;
     J N J N L6 1 _ 0 0 0 0 5 3 2 2 2 J & J - 0 1 0 9 2 2 5 ;
     JNJAZ55_000013621 J&J-0109238; JNJ
     000063581 J&J-0109238; JNJ
     000063581; Hopkins 120 J&J-0109926;
     JNJ 000308358 J&J-0111752;
     J N J N L6 1 _ 0 0 0 0 6 7 7 1 1 J & J - 0 1 1 1 8 6 2 ;
     J N J N L6 1 _ 0 0 0 0 6 7 7 8 3 J & J - 0 1 2 3 2 3 8 ;
     J N J N L6 1 _ 0 0 0 0 7 9 3 3 4 J & J - 0 1 2 3 3 8 ;
     J N J N L6 1 _ 0 0 0 0 7 9 3 3 4 J & J - 0 1 2 9 7 6 3 ;
     J N J N L6 1 _ 0 0 0 0 6 3 9 9 2 J & J - 0 1 2 9 8 3 5 ;
     JNJMX68_000011214 J&J-0130530;
     JNJAZ55_000017552 J&J-0130530;
     J N J T A LC 0 0 0 3 0 0 2 6 0 J & J - 0 1 3 2 0 0 8 ;
     JNJMX68_000017147 J&J-0141179;
     JNJMX68_000015598 J&J-0141525; JNJ
     000284176 J&J-0141625; JNJ
     000284275 J&J-0141654; JNJ
     000284303 J&J-0141657; JNJ
     000284306 J&J-0141688; JNJ
     0002843337 J&J-0142149;
     J N J T A LC 0 0 0 2 9 5 9 0 5 J & J - 0 1 4 2 6 9 4 ;
     JNJMX68_000011557 J&J-0142694;
     JNJMX68_000011557; Hopkins 126
     J&J-0142783; JNJ000285111
     J&J-0142803; JNJ 000285131
     J&J-0142816; JNJTALC00007133
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                                   169012



     J&J-0142830; JNJ000285154
     J&J-0144932; JNJ000285446
     J&J-0145030; JNJ 000285541
     J&J-0145040; JNJ 000285551
     J&J-0145055; JNJ 000285566
     J&J-0145060; JNJ 000285571
     J&J-0145151
     J&J-0145303
     J&J-0145685; JNJ 000294872; Pltf_JNJ_00050035
     J&J-0145685; JNJ 000294872; Pltf_JNJ_00050035; PLT-00040-0001
     J&J-0145685; JNJMX68_000013464
     J&J-0146266
     J&J-0146266; JNJMX68_000013482
     J&J-0147505; JNJTALC000471205
     J&J-0147606; JNJ 000312709
     J&J-0147727; JNJAZ55_000015519
     J&J-0148425; JNJNL61_000058245
     J&J-0148425; JNJN61_000058245
     J&J-0148425; JNJNL61_000058245
     J&J-0149149; JNJ 000035171
     J&J-0149674;JNJ 000314559
     J&J-0149688; JNJMX68_000015773
     J&J-0149699; JNJ000314584
     J&J-0149699; JNJ000314584; Hopkins 82
     J&J-0150033
     J&J-0150033; JNJ 000304421
     J&J-0150033; JNJ000304421
     J&J-0150089; JNJ 000063955; Pltf_JNJ_00007386
     J&J-0151607; JNJNL61_000057638
     J&J-0153295
     J&J-0157876; JNJ000318396
     J&J-0161635; JNJNL61_000065569
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                                   169013



     J&J-0163874; JNJH29W_000007641
     J&J-0163911; JNJNL61_000042441
     J&J-0163917; JNJNL61_000042443
     J&J-0163931; JNJ 000288585
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                                   169014



     J&J-0163931; JNJ 000288585; Hopkins 106
     J&J-0163944; JNJNL61_000042448
     J&J-0164278; JNJMX68_000016961
     J&J-0166451; JNJ 000058767
     J&J-017870; JNJ 00003550
     J&J-0312008; JNJMX68_000017147
     J&J-044521; JNJ 000063266; Pltf_JNJ_0006449
     J&J-044925; JNJ 000063284
     J&J-069607
     J&J-090834; JNJ 000300436
     J&J1
     J&J100
     J&J141
     J&J15
     J&J164
     J&J-164
     J&J169
     J&J17
     J&J175
     J&J177
     J&J-177
     J&J182
     J&J-182
     J&J184
     J&J185
     J&J-188
     J&J19
     J&J190
     J&J2
     J&J202
     J&J-202
     J&J220
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                                   169015



     J&J23
     J&J255
     J&J256
     J&J257
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                                   169016



     J&J258
     J&J-260
     J&J-263
     J&J28
     J&J-28
     J&J29
     J&J-29
     J&J-305
     J&J31
     J&J-31
     J&J-327
     J&J33
     J&J44
     J&J47
     J&J57
     J&J58
     J&J65
     J&J66
     J&J74
     J&J-74
     J&J75
     J&J-87
     J&J89
     J&J9
     J&J-9; J&J-0005141; JNJAZ55_00015127
     J&J97
     jh081618
     jh081718
     jh101718
     jh110518
     JJCI Invest Summary- 3DEC2019.pdf
     JNJ 000 315152; J&J (Bates # cut off)
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                                   169017



     JNJ 000 315155; J&J (Bates # cut off)
     JNJ 000 315158; J&J (Bates # cut off)
     JNJ 000000119
     JNJ 000000316089; J&J-0025176 (bates # cut off)
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                                   169018



     JNJ 000000497
     JNJ 000000523
     JNJ 000000636
     JNJ 000000704
     JNJ 000001403
     JNJ 000002302 (P287 - bates #s cut off)
     JNJ 000002303
     JNJ 000002303; Plft JNJ 00000205
     JNJ 000002348
     JNJ 000002351; Plft JNJ 00000212
     JNJ 000002412
     JNJ 0000024568
     JNJ 000003401
     JNJ 000003405
     JNJ 000003405; Plft JNJ 00000258
     JNJ 000003478
     JNJ 000003618
     JNJ 000003628; Plft JNJ 00000294
     JNJ 000003632
     JNJ 000003753
     JNJ 000003911; Plft JNJ 00000322
     JNJ 000003915
     JNJ 000003916
     JNJ 000003916; Plft JNJ 00000324
     JNJ 000003934
     JNJ 000003934; Plft JNJ 00000330
     JNJ 000003948
     JNJ 000003948; Plft JNJ 00000335
     JNJ 000003954 (Bates #s cut off) - P326
     JNJ 000003954; Plft JNJ 00000337
     JNJ 000003964
     JNJ 000003969
     JNJ 000003985
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     JNJ 000003987 (Bates #s cut off) - P338
     JNJ 000004113
     JNJ 000004225
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                                   169020



     JNJ 000004225; Plfr JNJ 00000377
     JNJ 000004464
     JNJ 000004541
     JNJ 000004581
     JNJ 000004641; Pltf_JNJ_00000450
     JNJ 000004682
     JNJ 000004712
     JNJ 000004797
     JNJ 000005180; Hopkins 88
     J N J 0 0 0 0 0 6 0 6 8 1 J N J
     0 0 0 0 0 6 2 0 1 J N J 0 0 0 0 1 0 6 4 8
     J N J 0 0 0 0 1 1 1 5 0 J N J
     0 0 0 0 1 1 1 5 1 J N J 0 0 0 0 1 1 1 5 2
     J N J 0 0 0 0 1 1 1 5 6 J N J
     0 0 0 0 1 1 1 8 5 J N J 0 0 0 0 1 1 7 0 8
     J N J 0 0 0 0 1 1 9 1 6 J N J
     0 0 0 0 1 3 9 6 3 J N J 0 0 0 0 1 3 9 6 4
     J N J 0 0 0 0 1 4 3 0 9 J N J
     0 0 0 0 1 4 3 1 7 J N J 0 0 0 0 1 5 5 3 8
     J N J 0 0 0 0 1 5 5 4 3 ( b a t e s #
     c u t o f f b u t d e d u c e d w i t h
     p a g e c o u n t ) J N J
     0 0 0 0 1 5 5 7 3 ( b a t e s # c u t
     o f f b u t d e d u c e d w i t h
     p a g e c o u n t ) J N J
     0 0 0 0 1 5 7 5 0 ;
     P l t f _ M I S C _ 0 0 0 0 0 1 9 7
     JNJ 000016381
     JNJ 000016604
     JNJ 000016645
     JNJ 000016908
     JNJ 000017775
     JNJ 000018265
     JNJ 000019616; Pltf_JNJ_ (bates # illegible)
     JNJ 000020733; Pltf_JNJ_00000001
     JNJ 000021008
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     JNJ 000021035
     JNJ 000021090
     JNJ 000021092
     JNJ 000021093
     JNJ 000022050
     JNJ 000022307; Plft JNJ 00002617
     JNJ 000022679 (bates # cut off but deduced with page
     count) JNJ 000023186 JNJ 0000239703 JNJ 000024462 JNJ
     000024495 JNJ 000024568 JNJ 000024701 JNJ 000026241
     JNJ 00002693 JNJ 000029640 JNJ 000029970 JNJ
     000030679 JNJ 000037468 JNJ 000040596; J&J-0115053
     JNJ 000058760
     JNJ 000059401; Pltf JNJ 00003973
     JNJ 000060260
     JNJ 000060624
     JNJ 000060818
     JNJ 000061131
     JNJ 000061164
     JNJ 000061342
     JNJ 000061617
     JNJ 000061832
     JNJ 00006201; Plft JNJ 00000758
     JNJ 000063281; J&J-0044777
     JNJ 000064190; J&J-0164319
     JNJ 000064439; J&J-0044836
     JNJ 000064762; J&J-303
     JNJ 000065646; J&J-0004479
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                                   169022


     JNJ 000069507
     JNJ 000069510
     JNJ 000069513
     JNJ 000069516
     JNJ 000069519
     JNJ 000069522
     JNJ 000069525
     JNJ 000069528
     JNJ 000069531
     JNJ 000069534
     JNJ 000069537
     JNJ 000069540
     JNJ 000069543
     JNJ 000069546
     JNJ 000069549
     JNJ 000069552
     JNJ 000069555
     JNJ 000069558
     JNJ 000069561
     JNJ 000069564
     JNJ 000069567
     JNJ 000069570
     JNJ 000069573
     JNJ 000069576
     JNJ 000069579
     JNJ 000069582
     JNJ 000069585
     JNJ 000069588
     JNJ 000069591
     JNJ 000069594
     JNJ 000069597
     JNJ 000069600
     JNJ 000069603
     JNJ 000069606
     JNJ 000069609
     JNJ 000069612
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     JNJ 000069615
     JNJ 000069618
     JNJ 000069621
     JNJ 000069624
     JNJ 000069627
     JNJ 000069630
     JNJ 000069633
     JNJ 000069637
     JNJ 000069641
     JNJ 000069644
     JNJ 000069647
     JNJ 000069650
     JNJ 000069653
     JNJ 000069658
     JNJ 000069661
     JNJ 000069664
     JNJ 000069667
     JNJ 000069670
     JNJ 000069673
     JNJ 000069676
     JNJ 000069679
     JNJ 000069682
     JNJ 000069685
     JNJ 000069688
     JNJ 000069691
     JNJ 000069694
     JNJ 000069697
     JNJ 000069700
     JNJ 000069703
     JNJ 000069706
     JNJ 000069709
     JNJ 000069712
     JNJ 000069715
     JNJ 000069718
     JNJ 000069724
     JNJ 000069727
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                                   169024


     JNJ 000069730 JNJ
     000069736 JNJ
     000069739 JNJ
     000069742 JNJ
     000069745 JNJ
     000069748 JNJ
     000069751 JNJ
     000069754 JNJ
     000069757 JNJ
     000069760 JNJ
     000069763 JNJ
     000069766 JNJ
     000069769 JNJ
     000069771 JNJ
     000069772 JNJ
     000069775 JNJ
     000069778 JNJ
     000069784; D 0423 0001
     JNJ 000069787; D 0426
     0001 JNJ 000069790 JNJ
     000069793
     JNJ 000069796; D 0420 0001
     JNJ 000069799; D 0421 0001
     JNJ 000069805; D 0416 0001
     JNJ 000069811; D 0412 0001
     JNJ 000069814; D 0410 0001
     JNJ 000069817; D 0408
     0001 JNJ 000069820; D
     0413 0001 JNJ 000069826
     JNJ 000069829 JNJ
     000069832 JNJ
     000069835 JNJ
     000069838 JNJ
     000069841 JNJ
     000069844 JNJ
     000069847
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                                   169025


     JNJ 000069850
     JNJ 000069853
     JNJ 000069856
     JNJ 000069859
     JNJ 000069862
     JNJ 000069865
     JNJ 000069868
     JNJ 000069871
     JNJ 000069874
     JNJ 000069880
     JNJ 000069883
     JNJ 000069886
     JNJ 000069887
     JNJ 000069889
     JNJ 000069892
     JNJ 000069895
     JNJ 000069898
     JNJ 000069901
     JNJ 000069904
     JNJ 000069907
     JNJ 000069910
     JNJ 000069913
     JNJ 000069916
     JNJ 000069919
     JNJ 000069925
     JNJ 000069928
     JNJ 000069931
     JNJ 000069934
     JNJ 000069937
     JNJ 000069940
     JNJ 000069943
     JNJ 000069946
     JNJ 000069952
     JNJ 000070044
     JNJ 000070047
     JNJ 000070162
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                                   169026


     JNJ
     000070169
     JNJ
     000070173
     JNJ
     000070178
     JNJ
     000070182
     JNJ
     000070187
     JNJ
     000070191
     JNJ
     000070195
     JNJ
     000070199
     JNJ
     000070203
     JNJ
     000070205
     JNJ
     000070210
     JNJ
     000070214
     JNJ
     000070218
     JNJ
     000070223
     JNJ
     000070227
     JNJ
     000070232
     JNJ
     000070236
     JNJ
     000070239
     JNJ
     000070242
     JNJ
     000070245
     JNJ
     000070248
     JNJ
     000070251
     JNJ
     000070254
     JNJ
     000070260
     JNJ
     000070263
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                                   169027


     JNJ
     000070268
     JNJ
     000070272
     JNJ
     000070275
     JNJ
     000070278
     JNJ
     000070281
     JNJ
     000070285
     JNJ
     000070288
     JNJ
     000070291
     JNJ
     000070294
     JNJ
     000070297
     JNJ
     000070300
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                                   169028


     JNJ 000070303
     JNJ 000070306
     JNJ 000070309
     JNJ 000070312
     JNJ 000070315
     JNJ 000070318
     JNJ 000070321
     JNJ 000070324
     JNJ 000070327
     JNJ 000070330
     JNJ 000070333
     JNJ 000070336
     JNJ 000070339
     JNJ 000071263; J&J-0037527
     JNJ 000071264; J&J-0037529
     JNJ 000071265; J&J-0037530
     JNJ 000084970
     JNJ 000085114; Pltf_JNJ_00013482
     JNJ 000085294; Pltf_JNJ_00013566
     JNJ 000086540 JNJ 000086587 JNJ
     000086612 JNJ 000086638 JNJ
     000087425 JNJ 000087825 JNJ
     000087952 JNJ 000087991 JNJ
     000088012 JNJ 000089413 JNJ
     000089770; Pltf_JNJ_00015068
     JNJ 000093555
     JNJ 000093556; Pltf_JNJ_00015498
     JNJ 000108692 JNJ 000132581
     JNJ 000135529; J&J-0024774
     (bates # cut off) JNJ
     000135541; J&J-0024191
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                                   169029



     JNJ 000221052
     JNJ 000221699
     JNJ 000221705
     JNJ 000222859
     JNJ 000223449
     JNJ 000223509; Pltf_JNJ_ (bates # illegible) ; PLT-04716-0001
     JNJ 000224459; Hopkins 71
     JNJ 000227834
     JNJ 000227834; Hopkins 141
     JNJ 000227883
     JNJ 00023
     JNJ 000231284
     JNJ 000231334
     JNJ 000231419
     JNJ 000231479
     JNJ 000231543
     JNJ 00023155
     JNJ 000231766; Pltf_JNJ_00028745
     JNJ 000232501
     JNJ 000232501; Pltf_JNJ_00028989
     JNJ 000232679
     JNJ 000232679; Pltf_JNJ_00029049
     JNJ 000232852 (bates # cut off but deduced with page count)
     JNJ 000232996
     JNJ 000232996; Pltf_JNJ_00029144
     JNJ 000233714; Pltf_JNJ (bates illegible)
     JNJ 000235197
     JNJ 000235207; Pltf_JNJ_(bates # illegible)
     JNJ 000235235 (bates # cut off but deduced with page count)
     JNJ 000235393; Hopkins 102
     JNJ 000236073
     JNJ 000236135
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     JNJ 000237200
     JNJ 000237227
     JNJ 000237229
     JNJ 000237244
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                                   169031


     JNJ 000237264 JNJ 000237272 JNJ 000237275 JNJ
     000237278 JNJ 000237281 JNJ 000237285 JNJ 000237291
     JNJ 000237293 JNJ 000237298 JNJ 000237299 JNJ
     000237310 JNJ 000237318 JNJ 000237322 JNJ 000237332
     JNJ 000237334 JNJ 000237336 JNJ 000237340 JNJ
     000237341 JNJ 000237344 JNJ 000237345 JNJ 000237347
     JNJ 000237369 JNJ 000239634 JNJ 000239703 (bates # cut
     off but deduced with page count) JNJ 000239823 JNJ
     000239824 JNJ 000239825 JNJ 000240311 JNJ 000240739
     JNJ 000240739; Pltf_JNJ (bates # illegible)
     JNJ 000241394
     JNJ 000241394; Pltf_JNJ_00031718
     JNJ 000242147
     JNJ 000242147; Pltf JNJ 00031883
     JNJ 000242789
     JNJ 000243003; JPltf_JNJ_00032154
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                                   169032



     JNJ 000244013
     JNJ 000244358
     JNJ 000244743
     JNJ 000244743; DX-7058
     JNJ 000244773
     JNJ 000245155
     JNJ 000245520
     JNJ 000245526
     JNJ 000245548
     JNJ 0002456
     JNJ 0002456
     JNJ 000245678; Pltf_JNJ_00032929
     JNJ 000246135
     JNJ 000246159
     JNJ 000246180
     JNJ 000246183
     JNJ 000246272
     JNJ 000246294
     JNJ 000246309
     JNJ 000246329
     JNJ 000246445
     JNJ 000246863
     JNJ 000247504
     JNJ 000247504; DX7073
     JNJ 000248615
     JNJ 000248953
     JNJ 000249322; Pltf JNJ 00034286
     JNJ 000250047
     JNJ 000250250
     JNJ 000250495
     JNJ 000250539
     JNJ 000250604; Pltf_JNJ_00034656
     JNJ 000250897
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     JNJ 000250919
     JNJ 000251322
     JNJ 000251888
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                                   169034



     JNJ 000251923
     JNJ 000252339
     JNJ 000252636
     JNJ 000252694; Pltf JNJ 0000000252694
     JNJ 000252948
     JNJ 000253056
     JNJ 000253056; Pltf_JNJ (bates # illegible)
     JNJ 000255905
     JNJ 000255906
     JNJ 000255916
     JNJ 000257537
     JNJ 000257631
     JNJ 000257707
     JNJ 000258113
     JNJ 000259267; Pltf JNJ 00037754
     JNJ 000260285; Pltf JNJ 00000002060285
     JNJ 000260473
     JNJ 000260700
     JNJ 000260833
     JNJ 000260833; Pltf_JNJ_00038325
     JNJ 000261010
     JNJ 000261816
     JNJ 000261816; DX8373.0001
     JNJ 000261816; Hopkins 116
     JNJ 000263849
     JNJ 000264495; Pltf_JNJ_00039476
     JNJ 000264500 (pages out of order; first pg is JNJ 000264510)
     JNJ 000264500 (pgs out of order; first pg is JNJ 000264509)
     JNJ 000264617
     JNJ 000264620
     JNJ 000264673
     JNJ 000264708
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                                   169035



     JNJ 000264721
     JNJ 000264725
     JNJ 000264728
     JNJ 000264731; Pltf_JNJ_00039587
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                                   169036


     JNJ 000264733
     JNJ 000264734
     JNJ 000264747
     JNJ 000264813
     JNJ 000265133; Hopkins 169
     JNJ 000265139 JNJ
     000265173 JNJ 000265344
     JNJ 000265404 JNJ
     000265536; Pltf JNJ
     00039857
     JNJ 000265782 JNJ 000266375 JNJ
     000266428 JNJ 000266448 JNJ
     000266479 JNJ 000266498 JNJ
     000266500 JNJ 000266519 JNJ
     000266524 JNJ 000266529 JNJ
     000266534 JNJ 000266544 JNJ
     000266554 JNJ 000266559 JNJ
     000266587 JNJ 000266591; Ex 39 - 243
     various bates JNJ 000266592 JNJ
     000266597 JNJ 000266602 JNJ
     000266607 JNJ 000266612 JNJ
     000266617 JNJ 000266622 JNJ
     000266627 JNJ 000266632 JNJ
     000266637
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                                   169037


     JNJ 000266642 JNJ 000266651 JNJ 000266656 JNJ
     000266670 JNJ 000266687 JNJ 000266688 JNJ 000266691
     JNJ 000266692 JNJ 000266693 JNJ 000266694 JNJ
     000266698 JNJ 000266699 JNJ 000266700 JNJ 000266701
     JNJ 000266702 JNJ 000266706 JNJ 000266708 JNJ
     000266710 JNJ 000266711 JNJ 000266713 JNJ 000266713
     is first page (Ex 17 - 195 of various bates #s) JNJ 000266719
     JNJ 000266720 JNJ 000267602 JNJ 0002680 (bates # cut
     off)
     JNJ 000268037
     JNJ 000268037; Pltf_JNJ_ (bates # illegible)
     JNJ 000268548
     JNJ 000268964
     JNJ 000268988
     JNJ 00026953
     JNJ 000270070
     JNJ 00027008
     JNJ 00027008 (bates # cut off) Exhibit 6611
     JNJ 000270083
     JNJ 000270084
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     JNJ 000270390 (bates # cut off but deduced with page count)
     JNJ 000270495; Plf_JNJ_00041555
     JNJ 000271546
     JNJ 000273650
     JNJ 000273664
     JNJ 000273729
     JNJ 000273759
     JNJ 00027409
     JNJ 000274273; Pltf_JNJ_00042548
     JNJ 000274510
     JNJ 000274547
     JNJ 000274634
     JNJ 000274706
     JNJ 000275518
     JNJ 000276515
     JNJ 000277158
     JNJ 000277175
     JNJ 000277537
     JNJ 000277555
     JNJ 000280690; J&J-0037209
     JNJ 000280750; J&J-0037376
     JNJ 000280751; J&J-0037377
     JNJ 000280754; J&J-0037380
     JNJ 000280755; J&J-0037381
     JNJ 000280756; J&J-0037382
     JNJ 000280757; J&J-0037383
     JNJ 000280758; J&J-0037384
     JNJ 000280765; J&J-0037394
     JNJ 000280766; J&J-0037395
     JNJ 000280774; J&J-0037406
     JNJ 000280777; J&J-0037409
     JNJ 000280785; J&J-0037420
     JNJ 000280786; J&J-0037421
     JNJ 000280824; J&J-0037485
     JNJ 000280826; J&J-0037489
     JNJ 000280852; J&J-0037546
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                                   169039



     JNJ 000281816
     JNJ 000285031; J&J 159
     JNJ 000285133; J&J-0142805
     JNJ 000285248
     JNJ 000285249
     JNJ 000285302; J&J-0144367; Leavitt Pltfs' Ex JJ-3584 pg 1; Hopkins
     24 JNJ 000287009
     JNJ 000287099
     JNJ 000287264
     JNJ 000290049; J&J-0106581
     JNJ 000291602; J&J-0007992
     JNJ 000291632; J&J-0008042
     JNJ 000292058; J&J-0044831
     JNJ 000292062; J&J-0044894
     JNJ 000301719
     JNJ 000304716; J&J-0038831
     JNJ 000306944; J&J-0098163
     JNJ 000309430; J&J-0164283
     JNJ 000312709
     JNJ 000314849; J&J-0023059 JNJ
     000314852; J&J-0023063 JNJ 000314855;
     J&J-0023067        JNJ        000314858;
     J&J-0023071 (bates # cut off)
     JNJ 000314859; J&J-0023075 (bates # cut off)
     JNJ 000314862; J&J-0023080 (bates # cut off)
     JNJ 000314865; J&J (bates # cut off)
     JNJ 000315131; J&J (bates # cut off)
     JNJ 000315134; J&J (bates # cut off)
     JNJ 000315137; J&J (bates # cut off)
     JNJ 000315140; J&J (bates # cut off)
     JNJ 000315143
     JNJ 000315146
     JNJ 000315149
     JNJ 000315191; J&J-0023586
     JNJ 000315198; J&J-0023600
     JNJ 000315201; J&J-0023604
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                                   169040



     JNJ 000315204; J&J-0023608
     JNJ 000315207; J&J-0023612
     JNJ 000315207; J&J-0023612
     JNJ 000315210; J&J-0023616
     JNJ 000315213; J&J-0023620
     JNJ 000315216; J&J-0023624
     JNJ 000315219; J&J-0023629
     JNJ 000315222; J&J-0023633
     JNJ 000315225; J&J-0023637
     JNJ 000315231; J&J-0023645
     JNJ 000315390; J&J-0023903
     JNJ 000315460; J&J-0024021
     JNJ 000315517; J&J-0024158
     JNJ 000315526; J&J-0024170
     JNJ 000315532; J&J-0024178
     JNJ 000315535; J&J-0024182
     JNJ 000315538; J&J-0024186 (bates # cut off)
     JNJ 000315544; J&J-0024195
     JNJ 000315547; J&J-002419 (bates # cut off)
     JNJ 000315550; J&J-0024203
     JNJ 000315556; J&J-0024211
     JNJ 000315562; J&J-0024218
     JNJ 000315565; J&J-0024223 (bates # cut off)
     JNJ 000315568; J&J-0024227
     JNJ 00031557; J&J-0024239
     JNJ 000315571; J&J-00242 (bates # cut off)
     JNJ 000315574; J&J-0024236 (bates # cut off)
     JNJ 000315580; J&J-0024243
     JNJ 000315583; J&J 0021248
     JNJ 000315586; J&J-0024263
     JNJ 000315589; J&J-0024257
     JNJ 000315592; J&J-0024261 (bates # cut off)
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     JNJ 000315595; J&J-0024265
     JNJ 000315601; J&J-0024274
     JNJ 000315604; J&J-0024278 (bates # cut off)
     JNJ 000315610; J&J-0024286 (bates # cut off)
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                                   169042


     JNJ 000315613; J&J-0024281
     JNJ 000315616; J&J-0024295
     JNJ 000315619; J&J-0024299 JNJ
     000315622;       J&J-0024304     JNJ
     000315625;       J&J-0024309     JNJ
     000315628; J&J-0024 (bates # cut off)
     JNJ 000315631; J&J-0024317
     JNJ 000315634; J&J-0024321
     JNJ 000315637; J&J-0021325
     JNJ 000315640; J&J-0024328
     JNJ 000315643; J&J-0024333
     JNJ 000315649; J&J-0024341
     JNJ 000315655; J&J-0024350
     JNJ 000315658; J&J-0024 (bates # cut
     off) JNJ 000315670; J&J (bates # cut off)
     JNJ 000315673; J&J (bates # cut off) JNJ
     000315676; J&J (bates # cut off) JNJ
     000315676; J&J-0024337
     JNJ 000315685; J&J-0024393
     JNJ 000315688; J&J (bates # cut off)
     JNJ 000315691; J&J (bates # cut off)
     JNJ 000315694; J&J (bates # cut off)
     JNJ 000315697; J&J (bates # cut off)
     JNJ 000315700
     JNJ 000315703; J&J (bates # cut off)
     JNJ 000315708; J&J (bates # cut off)
     JNJ 000315709; J&J (bates # cut off)
     JNJ 000315712; J&J (bates # cut off)
     JNJ 000315715; J&J (bates # cut off)
     JNJ 000315718; J&J (bates # cut off)
     JNJ 000315721; J&J (bates # cut off)
     JNJ 000315727; J&J (bates # cut off)
     JNJ 000315733; J&J (bates # cut off)
     JNJ 000315736; J&J (bates # cut off)
     JNJ 000315739; J&J (bates # cut off)
     JNJ 000315742; J&J (bates # cut off)
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     JNJ 000315745; J&J (bates # cut off) JNJ
     000315748; J&J-00240 (bates # cut off) JNJ
     000315757; J&J (bates # cut off) JNJ
     000315766; J&J-0024505
     JNJ 000315841; J&J-0024609
     JNJ 000315844; J&J 0024614
     JNJ 000315847; J&J-0024618
     JNJ 000315863; J&J-0025005 (bates # cut
     off) JNJ 000315870; J&J (bates # cut off) JNJ
     000315877; J&J-002626 (bates # cut off) JNJ
     000315880; J&J (bates # cut off) JNJ
     000315881; J&J (bates # cut off) JNJ
     000315886; J&J (bates # cut off) JNJ
     000315974; J&J (bates # cut off) JNJ
     000315994; J&J (bates # cut off) JNJ
     000315998; J&J (bates # cut off) JNJ
     000316000; J&J (bates # cut off) JNJ
     000316004
     JNJ 000316009; J&J (bates # cut off) JNJ
     000316013; J&J (bates # cut off) JNJ
     000316017; J&J (bates # cut off) JNJ
     000316022; J&J (bates # cut off) JNJ
     000316026; J&J (bates # cut off) JNJ
     000316031; J&J (bates # cut off) JNJ
     000316037; J&J (bates # cut off) JNJ
     000316040; J&J 025111(bates # cut off) JNJ
     000316043; J&J (bates # cut off) JNJ
     000316046; J&J (bates # cut off) JNJ
     000316049; J&J (bates # cut off) JNJ
     000316052; J&J (bates # cut off) JNJ
     000316058; J&J-0025135
     JNJ 000316061; J&J-0025139 (bates # cut off)
     JNJ 000316070; J&J-0025151
     JNJ 000316076; J&J-0025159
     JNJ 000316078; J&J-0025163
     JNJ 000316083; J&J-0026168
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     JNJ 000316085; J&J (bates # cut off)
     JNJ 000316101; J&J-0025 (bates # cut off)
     JNJ 000316104; J&J-0025201
     JNJ 000316107; J&J-0025205
     JNJ 000316111; J&J-0025214
     JNJ 000317600; J&J-0061460
     JNJ 000324759; J&J-0058754
     JNJ 000324762; J&J-0005857
     JNJ 000324795; J&J-0058790
     JNJ 000326106: J&J-66
     JNJ 000326107; J&J-66
     JNJ 000332579
     JNJ 000346335
     JNJ 000346748; J&J-0004742
     JNJ 000347203; J&J-0043656
     JNJ 000347440; J&J-0123035
     JNJ 00035508; Pltf JNJ 00035508
     JNJ 000356204
     JNJ 000356232
     JNJ 000357359
     JNJ 000364540
     JNJ 000369649
     JNJ 000370144
     JNJ 000370144;
     JNJ 000370144; Plaintiff Exhibit 2291-1
     JNJ 000370144; Hopkins 129
     JNJ 00037313
     JNJ 000375382
     JNJ 000375389
     JNJ 0003763
     JNJ 000379229
     JNJ 000381975
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     JNJ 000383282; Pltf_JNJ_00076427
     JNJ 000389261
     JNJ 000389261; Pltf_JNJ_00077274
     JNJ 000389973; Pltf_JNJ_00077390
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     JNJ 000390337
     JNJ 000390346
     JNJ 000390347
     JNJ 000405425
     JNJ 00040596
     JNJ 000422053
     JNJ 000426237
     JNJ 000426315; Pltf JNJ 00081620
     JNJ 000438939
     JNJ 000438940
     JNJ 000438941
     JNJ 000444737; Pltf JNJ_00084026
     J N J 0 0 0 4 4 8 8 6 6 J N J 0 0 0 4 5 6 9 9 3
     J N J 0 0 0 4 5 7 1 6 1 J N J 0 0 0 4 6 8 7 5 3
     J N J 0 0 0 4 6 8 7 8 3 J N J 0 0 0 4 6 8 8 6 3
     ( b a t e s # c u t o f f b u t d e d u c e d
     w i t h p a g e c o u n t ) J N J
     0 0 0 4 7 0 3 6 3 ;
     P l t f _ J N J _ 0 0 0 8 7 0 3 6
     JNJ 000470365; Pltf_JNJ_00087037
     JNJ 000488207
     JNJ 000488207; Leavitt Pltfs' Ex. LE-0852
     JNJ 000488208
     JNJ 000489313
     JNJ 000490055
     JNJ 000519841
     JNJ 000519842
     JNJ 000519843
     JNJ 000521581
     JNJ 000521602
     JNJ 000521616
     JNJ 000557904
     JNJ 000558343
     JNJ 000558360
     JNJ 000558372
     JNJ 000558382
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     JNJ 000558568
     JNJ 000558731
     JNJ 000558931
     JNJ 000558970
     JNJ 000559770
     JNJ 000576297
     JNJ 000577860; J&J-0163919
     JNJ 000577861; J&J-0163920
     JNJ 000577862; J&J-0163921
     JNJ 000631351
     JNJ 000636145
     JNJ 000636145; PLT-00131
     JNJ 000645424
     JNJ 00064658; J&J-0164240
     JNJ 000648488
     JNJ 000683572; J&J-0037632
     JNJ 000683573; J&J-0037633
     JNJ 000683579; J&J-0037648
     JNJ 000695224
     JNJ 000872667
     JNJ 000877145
     JNJ 000877372
     JNJ 000877441_0001
     JNJ 000879224
     JNJ 000880026
     JNJ 000881713
     JNJ 000881859_0001
     JNJ 000881899 JNJ 000881905 JNJ
     000881917 JNJ 000882142 JNJ 000883004
     JNJ 000885696 JNJ 000886031 JNJ
     000886826 JNJ 000886933 (bates # cut in
     half/illegible)
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                                   169048



     JNJ 0083118; JNJNL61 000061 (no bates # but deduced with page count)
     JNJ_000245868; Pltf_JNJ_00033024
     JNJ000000022
     JNJ000000112
     JNJ000000251
     JNJ00000049
     JNJ000000636
     JNJ000000767
     JNJ000000935
     JNJ000001400
     JNJ000002484
     JNJ000002527
     JNJ00000294872
     JNJ000003911
     JNJ000004015
     JNJ000004349
     JNJ000007936
     JNJ000011704
     JNJ000014476
     JNJ000015565
     JNJ000015573
     JNJ000016326
     JNJ000016393
     JNJ000016566
     JNJ000016645
     JNJ000017587
     JNJ000017613
     JNJ000018189
     JNJ000018407
     JNJ000018894
     JNJ000019157
     JNJ000019158
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                                   169049



     JNJ000019228
     JNJ000019415
     JNJ000019709
     JNJ000020298
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                                   169050


     JNJ000020656
     JNJ000020728
     JNJ000020759
     JNJ000020907
     JNJ000021004
     JNJ000021008
     JNJ000021285
     JNJ000022597
     JNJ000023191
     JNJ000024397
     JNJ000024418
     JNJ000024462
     JNJ000025132
     JNJ000026092
     JNJ000026764
     JNJ000030027
     JNJ000030036
     JNJ000030476
     JNJ000031001
     JNJ000033761
     JNJ000035173
     JNJ000035707
     JNJ000036519
     JNJ000038327
     JNJ000040596
     JNJ000042593
     JNJ000047005
     JNJ000047066
     JNJ000050364
     JNJ000063925
     JNJ000066259
     JNJ000066264
     JNJ000085114
     JNJ000086531
     JNJ000087989
     JNJ000087991
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                                   169051


     JNJ000088278
     JNJ000092224
     JNJ000133095
     JNJ000221062
     JNJ000231207
     JNJ000231422
     JNJ000232574
     JNJ000232996
     JNJ000237115
     JNJ000238358
     JNJ000238365
     JNJ000239315
     JNJ000239387
     JNJ000242147
     JNJ000242147
     JNJ000245216
     JNJ000245488
     JNJ000248160
     JNJ000248584
     JNJ000248615
     JNJ000249213
     JNJ000249322
     JNJ000250399
     JNJ000250666
     JNJ000251888
     JNJ000253027
     JNJ000254361
     JNJ000257836
     JNJ000259267
     JNJ000260697
     JNJ000260833,
     J&J-34 JNJ000261557
     JNJ000261640
     JNJ000263103
     JNJ000263852
     JNJ000265404
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                                   169052



     JNJ000265536
     JNJ000266504
     JNJ000267139
     JNJ000267823
     JNJ000268037
     JNJ000269042
     JNJ000270084
     JNJ000284107
     JNJ000294872; Pltf JNJ 00050035
     JNJ000300223
     JNJ0003007294
     JNJ000304364
     JNJ000304421
     JNJ000304716
     JNJ000304864
     JNJ000307413
     JNJ000308280
     JNJ000314657
     JNJ000315799
     JNJ000326795
     JNJ000330448
     JNJ000336835
     JNJ000343580
     JNJ000343611
     JNJ000343612
     JNJ000343613
     JNJ000343614
     JNJ000343946
     JNJ000346836
     JNJ000348778
     JNJ000349424
     JNJ000356521
     JNJ000367482
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     JNJ000367483
     JNJ000368327
     JNJ000368353
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                                   169054


     JNJ00036926
     9
     JNJ00037451
     2
     JNJ00037538
     9
     JNJ00037677
     0
     JNJ00037712
     3
     JNJ00037712
     5
     JNJ00037740
     5
     JNJ00038289
     4
     JNJ00038300
     6
     JNJ00038305
     7
     JNJ00038546
     8
     JNJ00039034
     0
     JNJ00040508
     7
     JNJ00040561
     0
     JNJ00042257
     8
     JNJ00042623
     7
     JNJ00044171
     0
     JNJ00044775
     5
     JNJ00045831
     2
     JNJ00046881
     3
     JNJ00046893
     0
     JNJ00047154
     4
     JNJ00048820
     8
     JNJ00048931
     3
     JNJ00051946
     0
Case 3:16-md-02738-MAS-RLS Document 28798-4 Filed 12/14/23 Page 377 of 442 PageID:
                                   169055


     JNJ00052160
     2
     JNJ00052161
     6
     JNJ00052396
     4
     JNJ00052396
     7
     JNJ00054205
     8
     JNJ00056681
     5
     JNJ00056681
     6
     JNJ00057662
     4
     JNJ00057683
     1
     JNJ00059257
     3
     JNJ00059856
     9
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                                   169056



     JNJ000623908
     JNJ000635886
     JNJ000636886
     JNJ000636887
     JNJ000636921
     JNJ000636932
     JNJ000636949
     JNJ000636972
     JNJ000637555
     JNJ000639691
     JNJ000648485
     JNJ000681690
     JNJ000682019
     JNJ000682120
     JNJ000682134
     JNJ000682228
     JNJ000801383
     JNJ000877320_0001
     JNJ00250919; Pltf_JNJ_00034825
     JNJ0069873
     JNJ19L61_000021692
     JNJ55 0000000088
     JNJA255_000002042
     JNJAZ000009378
     JNJAZ000009380
     JNJAZ5 000004875
     JNJAZ55 000000024
     JNJAZ55 000000088
     JNJAZ55 000001096
     JNJAZ55 000001096; Schmitz Pltfs Ex 0692
     JNJAZ55 000001583
     JNJAZ55 000001607
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                                   169057



     JNJAZ55 000001856
     JNJAZ55 000001871
     JNJAZ55 000002042
     JNJAZ55 000003312
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                                   169058


     JNJAZ55 000003320 JNJAZ55 000003548
     JNJAZ55 000003585 JNJAZ55 000003635
     JNJAZ55 000003645 JNJAZ55 000004904
     JNJAZ55 000004959 JNJAZ55 000005743
     JNJAZ55 000006061 JNJAZ55 000006212
     JNJAZ55 000009050 JNJAZ55 000009057
     JNJAZ55 000009059 JNJAZ55 000009126
     JNJAZ55 000009127 JNJAZ55 000009432
     JNJAZ55 000009434 JNJAZ55 000010706
     JNJAZ55 000020377 JNJAZ55_ 000001101
     JNJAZ55_ 000009347 JNJAZ55_0000000049
     JNJAZ55_000000027 JNJAZ55_000000049
     JNJAZ55_000000081 JNJAZ55_000000087;
     Hopkins 63 JNJAZ55_0000002042
     JNJAZ55_0000002042; Plaintiff Exhibit 2523-1
     JNJAZ55_000000280
     JNJAZ55_000000367
     JNJAZ55_000000388
     JNJAZ55_000000577
     JNJAZ55_000000577; Hopkins 79
     JNJAZ55_0000006228
     JNJAZ55_000000797
     JNJAZ55_000000797; Hopkins 78
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     JNJAZ55_0000008386
     JNJAZ55_000000840
     JNJAZ55_000000840; Hopkins 75
     JNJAZ55_000000905
     JNJAZ55_000000905; Hopkins 73
     JNJAZ55_000001013; JNJAZ55_000000049 - JNJAZ55_000000051
     JNJAZ55_000001014
     JNJAZ55_000001032
     JNJAZ55_000001032; Hopkins 72
     JNJAZ55_000001073
     JNJAZ55_000001073; Plaintiff Exhibit 2356-1
     JNJAZ55_000001095
     JNJAZ55_000001096
     JNJAZ55_000001096
     JNJAZ55_000001096 (no bates # on first page but deduced with page count)
     JNJAZ55_000001096; Plaintiff Exhibit 2595-1
     JNJAZ55_000001101
     JNJAZ55_000001114
     JNJAZ55_000001195 (P-2342 - 6 various bates #s)
     JNJAZ55_000001223
     JNJAZ55_000001282
     JNJAZ55_000001283
     JNJAZ55_000001283; J&J-00000943
     JNJAZ55_000001583
     JNJAZ55_000001583; Plaintiff Exhibit 2541-1
     JNJAZ55_000001587
     JNJAZ55_000001588
     JNJAZ55_000001607
     JNJAZ55_000001687
     JNJAZ55_000001819
     JNJAZ55_000001866
     JNJAZ55_00000187
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     JNJAZ55_000001871
     JNJAZ55_000001871; Plaintiff Exhibit 2496-1
     JNJAZ55_000001885
     JNJAZ55_000001885; Plaintiff Exhibit 2580-1
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     JNJAZ55_000001892
     JNJAZ55_000001893
     JNJAZ55_000001896
     JNJAZ55_000002037
     JNJAZ55_000002038
     JNJAZ55_000002042
     JNJAZ55_000002190
     JNJAZ55_000002541
     JNJAZ55_000002542
     JNJAZ55_000002550
     JNJAZ55_000002560
     JNJAZ55_000002561
     JNJAZ55_000002882
     JNJAZ55_000003021
     JNJAZ55_000003239
     JNJAZ55_000003312
     JNJAZ55_000003320
     JNJAZ55_000003357
     JNJAZ55_000003381
     JNJAZ55_000003496
     JNJAZ55_000003545
     JNJAZ55_000003548
     JNJAZ55_000003548; Plaintiff Exhibit
     2439-1 JNJAZ55_000003553
     JNJAZ55_000003576; Leavitt Pltfs' Ex.
     IT V - 4 0 9 6 p g 1 J N J A Z 5 5 _ 0 0 0 0 0 3 5 8 5
     JNJAZ55_000003635
     JNJAZ55_000003635; Plaintiff Exhibit
     2447-1 JNJAZ55_000003645
     JNJAZ55_000003645; Hopkins 62
     JNJAZ55_000003645; Plaintiff Exhibit
     2446-1 JNJAZ55_000003828; Hopkins 84
     JNJAZ55_000004156
     JNJAZ55_000004172
     JNJAZ55_000004563
     JNJAZ55_000004573
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     JNJAZ55_000004614
     JNJAZ55_000004628
     JNJAZ55_000004628
     JNJAZ55_000004643
     JNJAZ55_000004644
     JNJAZ55_000004804; Plaintiff Exhibit 2404-1
     JNJAZ55_000004875
     JNJAZ55_000004875; Leavitt Pltfs' Ex L-0110
     JNJAZ55_000004904
     JNJAZ55_000004959
     JNJAZ55_0000050
     JNJAZ55_000005015
     JNJAZ55_000005015; Plaintiff Exhibit 2455-1
     JNJAZ55_000005041
     JNJAZ55_000005081
     JNJAZ55_000005084
     JNJAZ55_000005253
     JNJAZ55_000005261
     JNJAZ55_000005725
     JNJAZ55_000005743
     JNJAZ55_000005743; Plaintiff Exhibit 2382-1
     JNJAZ55_000005839
     JNJAZ55_000005914
     JNJAZ55_000005914; Plaintiff Exhibit 2565-1
     JNJAZ55_000005957
     JNJAZ55_000005957 (108 various bates numbers)
     JNJAZ55_000005957 (134 pages of assorted various bates #s)
     JNJAZ55_000005957 (D-7481 - 134 pages of assorted various bates #s)
     JNJAZ55_000005958
     JNJAZ55_000005967
     JNJAZ55_000005980
     JNJAZ55_000006060
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     JNJAZ55_000006061
     JNJAZ55_000006061; Plaintiffs Exhibit 2371-1
     JNJAZ55_000006075
     JNJAZ55_000006081
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     JNJAZ55_000006088
     JNJAZ55_000006088; Plaintiff Exhibit 2375-1
     JNJAZ55_0000060880
     JNJAZ55_000006090
     JNJAZ55_000006145
     JNJAZ55_000006196
     JNJAZ55_000006212
     JNJAZ55_000006341
     JNJAZ55_000006344
     JNJAZ55_00000653
     JNJAZ55_000006532
     JNJAZ55_000006914
     JNJAZ55_000007436
     JNJAZ55_000008118; Plaintiff's Exhibit 90219.00
     JNJAZ55_000008177
     JNJAZ55_000008241
     JNJAZ55_000008888
     JNJAZ55_000008893
     JNJAZ55_000009057
     JNJAZ55_000009127
     JNJAZ55_000009265
     JNJAZ55_000009265; Plaintiff Exhibit 2617-1
     JNJAZ55_000009314
     JNJAZ55_000009320
     JNJAZ55_000009378; Plaintiff Exhibit 2578-1
     JNJAZ55_000009380
     JNJAZ55_000010175
     JNJAZ55_000010175; Hopkins 123
     JNJAZ55_000010177
     JNJAZ55_000010259
     JNJAZ55_000010568
     JNJAZ55_000010662
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     JNJAZ55_000010706
     JNJAZ55_000010707
     JNJAZ55_000013489
     JNJAZ55_00001362
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     JNJAZ55_000019613; Hopkins 107
     JNJAZ55_000020366
     JNJAZ55_000020377
     JNJAZ55_000020437
     JNJAZ55_000020530
     JNJAZ55_000020531
     JNJAZ55_00004643
     JNJAZ55_0000596
     JNJAZ55_0000596
     JNJAZ56_000001892
     JNJAZ65 000006061
     JNJAZ65_000005743
     JNJH29W 000008569; J&J-0070812
     JNJH29W 000008569; J&J-0070812; Hopkins 70
     JNJH29W_000000025
     JNJH29W_000002618
     JNJH29W_000002618; Hopkins 86
     JNJH29W_000003085
     JNJH29W_00003081
     JNJI4T5 000004096;
     JNJI4T5 000004096; Plaintiff Exhibit 2261-1
     JNJI4T5 000004097
     JNJI4T5 000004097 (no bates # on first page but deduced with page count)
     JNJI4T5_000000386
     JNJI4T5_000000692
     JNJI4T5_000000816
     JNJI4T5_000000826
     JNJI4T5_000000837
     JNJI4T5_000000883
     JNJI4T5_000000938
     JNJI4T5_000000957
     JNJI4T5_000000994
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     JNJI4T5_000001061
     JNJI4T5_000001076
     JNJI4T5_000001138
     JNJI4T5_000004090
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     JNJI4T5_000004090; TALC KCRA-TV 3
     JNJI4T5_000004097 JNJI4T5_000004099
     JNJI4T5_000004251 JNJI4T5_000004293
     JNJI4T5_000004302 JNJI4T5_000004336
     JNJI4T5_000004345 JNJI4T5_000004354
     JNJI4T5_000004386 JNJI4T5_000004396
     JNJI4T5_000004406 JNJI4T5_000004485
     JNJJNL61 000007330 JNJJNL61 000013301
     JNJJNL61 000017453 JNJJNL61 000021202
     JNJJNL61 000029410 JNJJNL61 000029410;
     Schmitz Pltfs Ex 0740
     JNJL4T5         000004485     JNJL4T5
     00000944           JNJL61_000001535;
     factsabouttalc.com 0144.pdf
     JNJL61_0000020439
     JNJL91000106449
     JNJMC 000000364 JNJMC
     000028491; Hopkins 130
     JNJMC 000120267; Hopkins 131
     JNJMX60_000009120
     JNJMX66 000002659
     JNJMX68 000012851
     JNJMX68 000000130
     JNJMX68 000000131
     JNJMX68 000000132
     JNJMX68 000000135
     JNJMX68 000000158
     JNJMX68 000000168
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     JNJMX68 000000177
     JNJMX68 000000182
     JNJMX68 000000187
     JNJMX68 000000190
     JNJMX68 000000210
     JNJMX68 000000226
     JNJMX68 000000242
     JNJMX68 000000257
     JNJMX68 000000261
     JNJMX68 000000268
     JNJMX68 000000311
     JNJMX68 000000312
     JNJMX68 000000313
     JNJMX68 000000332
     JNJMX68 000000334
     JNJMX68 000000336
     JNJMX68 000000343
     JNJMX68 000000344
     JNJMX68 000000434
     JNJMX68 000002659
     JNJMX68 000003579
     JNJMX68 000003597
     JNJMX68 000003678
     JNJMX68 000003687
     JNJMX68 000003699
     JNJMX68 000005963
     JNJMX68 000005973
     JNJMX68 000008474
     JNJMX68 000008782
     JNJMX68 000015907
     JNJMX68 000016111; D 0417
     0001 JNJMX68 000018726;
     J&J-012421 JNJMX68
     00005982
     JNJMX68_0000000440
     JNJMX68_000000295
     JNJMX68_000000298
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                                   169070


     JNJMX68_000000430
     JNJMX68_000000434
     JNJMX68_000000439
     JNJMX68_000000451
     JNJMX68_000000454
     JNJMX68_000000746
     JNJMX68_000000758
     JNJMX68_000000860
     JNJMX68_000000871
     JNJMX68_000001313
     JNJMX68_000001483
     JNJMX68_000001878 JNJMX68_000002
     (P-5794 - bates #s cut off)
     JNJMX68_000002659
     JNJMX68_000002666
     JNJMX68_000002666, J&J-65
     JNJMX68_000002873
     JNJMX68_000002913
     JNJMX68_000003239
     JNJMX68_000003258
     JNJMX68_000003579
     JNJMX68_000003587
     JNJMX68_000003591
     JNJMX68_000003597
     JNJMX68_000003611
     JNJMX68_000003613 (Ex 35 - 36 various
     bates numbers) JNJMX68_000003619
     JNJMX68_000003621
     JNJMX68_000003622
     JNJMX68_000003624
     JNJMX68_000003625
     JNJMX68_000003626
     JNJMX68_000003627
     JNJMX68_000003628
     JNJMX68_000003632
     JNJMX68_000003667
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                                   169071


     JNJMX68_000003687
     JNJMX68_000003699
     JNJMX68_000003728
     JNJMX68_000003965
     JNJMX68_000004242
     JNJMX68_000004247
     JNJMX68_000004248
     JNJMX68_000004249
     JNJMX68_000004296
     JNJMX68_000004346
     JNJMX68_000004614; Hopkins 97
     JNJMX68_000004624
     JNJMX68_000004646
     JNJMX68_000004646; Hopkins 61
     JNJMX68_000004826
     JNJMX68_000004830
     JNJMX68_000004865
     JNJMX68_000004882
     JNJMX68_000004907
     JNJMX68_000004915
     JNJMX68_000004921 (Ex 40 - 168 various bates)
     JNJMX68_000004937
     JNJMX68_000004947
     JNJMX68_000004996
     JNJMX68_000005032
     JNJMX68_000005032; Plaintiff Exhibit 2256-1
     JNJMX68_000005036 (no bates # on first page but deduced with page
     count) JNJMX68_000005051 JNJMX68_000005056 JNJMX68_000005057
     JNJMX68_000005964 JNJMX68_000005969 JNJMX68_000006016
     JNJMX68_000006301 JNJMX68_000006446 JNJMX68_000006930
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    JNJMX68_000006930; Hopkins 95
    JNJMX68_000006930; Leavitt Pltfs' Ex C-5909 pg 1
    JNJMX68_000006930; Plaintiff Exhibit 2450-1
    JNJMX68_000006935
    JNJMX68_000006935; Plaintiff Exhibit 2452-1
    JNJMX68_000006996
    JNJMX68_000007001
    JNJMX68_000007007
    JNJMX68_000007031
    JNJMX68_000007040
    JNJMX68_000007044
    JNJMX68_000007236
    JNJMX68_000008189
    JNJMX68_000008235
    JNJMX68_000008235 (EXH 90305.00 - pages stamped out of order)
    JNJMX68_000008235 (P-0176 - pages stamped out of order)
    JNJMX68_000008235 (pages stamped out of order)
    JNJMX68_000008725
    JNJMX68_000008782
    JNJMX68_000008964
    JNJMX68_000008981
    JNJMX68_000008981; Plaintiff Exhibit 2708-1
    JNJMX68_000009097
    JNJMX68_000009120
    JNJMX68_000009127
    JNJMX68_000009139
    JNJMX68_000009139
    JNJMX68_000009139; PLT-04767-00001
    JNJMX68_00001 (bates # cut off); J&J-0163931
    JNJMX68_00001 (bates # cut off); J&J-0163931; Pooley 6
    JNJMX68_00001 (bates #s cut off); J&J-0163931
    JNJMX68_00001 (cut off); J&J-0163931
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    JNJMX68_000010608
    JNJMX68_000010608; Plaintiff Exhibit 2484-1
    JNJMX68_000010692
    JNJMX68_000010778
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                                   169074


     JNJMX68_000011067; J&J-0037418
     JNJMX68_000011072; J&J-0037423
     JNJMX68_000011078; J&J-0037431
     JNJMX68_000011081; J&J-0037434
     JNJMX68_000011084; J&J-0037441
     JNJMX68_000011090; J&J-0037447
     JNJMX68_000011093; J&J-0037450
     JNJMX68_000011120; J&J-0037498
     JNJMX68_000011122; J&J-0037501
     JNJMX68_000011124; J&J-0037504
     JNJMX68_000012745
     JNJMX68_000012745 (J&J-89)
     JNJMX68_000012745, J&J-89
     JNJMX68_000013082
     JNJMX68_000013482
     JNJMX68_000015840; J&J-0023292
     JNJMX68_000015843; J&J-0023308
     JNJMX68_000015847; J&J-0023325
     JNJMX68_000015853; J&J-0023352
     JNJMX68_000015859; J&J-0023380
     JNJMX68_000015862; J&J-0023392
     JNJMX68_000015867; J&J-0023414
     JNJMX68_000015871; J&J-0023431
     JNJMX68_000015876; J&J-0023453
     JNJMX68_000015884; J&J-0023492
     JNJMX68_000015909; J&J-0023578
     JNJMX68_000015928; J&J-0023659
     JNJMX68_000015936; J&J-0023693
     JNJMX68_000015951; J&J-0023764
     JNJMX68_000015956; J&J-0023816
     JNJMX68_000015988; J&J-0023935
     JNJMX68_000015994; J&J-0023963
     JNJMX68_000016000; J&J-0023999
     JNJMX68_000016005; J&J-0024021
     JNJMX68_000016012; J&J-0024050
     JNJMX68_000016015; J&J-0024063
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     JNJMX68_000016319; J&J-0025384
     JNJMX68_000016320; J&J-0025388
     JNJMX68_000016327; J&J-0025417
     JNJMX68_000016329; J&J-0025425
     JNJMX68_000016332; J&J-0025438
     JNJMX68_000016335; J&J-0025451
     JNJMX68_000016338; J&J-0025465
     JNJMX68_000016342; J&J-0025486
     JNJMX68_000016349; J&J-0025515
     JNJMX68_000016352; J&J-0025529
     JNJMX68_000016359; J&J-0025559
     JNJMX68_000016367; J&J-0025594
     JNJMX68_000016372; J&J-0025616
     JNJMX68_000016375; J&J-0025629
     JNJMX68_000016379; J&J-0025646
     JNJMX68_000020276
     JNJMX68_000021315
     JNJMX68_000021317
     JNJMX68_000021318
     JNJMX68_000021319
     JNJMX68_00002662
     JNJMX68_00007031
     JNJMX68_00009103 (D-7485 - 54 pages of assorted various bates #s)
     JNJMX68_00009103 (D-8200 - 52pages of various bates #s)
     JNJMX68_00009103 (Ex 37 - 54 pages of various bates)
     JNJMX68_00009499
     JNJMX68_000098729
     JNJMX68_000314981; J&J-0023279
     JNJMX68_000315064; J&J-0023409
     JNJMX88__000004646; Ex. J&J-19
     JNJMZ68 000000151
     JNJN61_000078806; J&J-0005504
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                                   169076



     JNJNL 000005496
     JNJNL_000006792
     JNJNL_61_000009898
     JNJNL61 _000013575
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                                   169077



     JNJNL61 000001123
     JNJNL61 000001123; Plaintiff Exhibit 2430-1
     JNJNL61 000001534
     JNJNL61 000001534; Plaintiff Exhibit 2357-1
     JNJNL61 000001954
     JNJNL61 0000022019
     JNJNL61 0000029410
     JNJNL61 000005032
     JNJNL61 000005496
     JNJNL61 000007290
     JNJNL61 000008084
     JNJNL61 000012330
     JNJNL61 000013350
     JNJNL61 000013575
     JNJNL61 000013575; Plaintiff Exhibit 2586-1
     JNJNL61 000014431
     JNJNL61 000016344
     JNJNL61 000016437
     JNJNL61 000016471
     JNJNL61 000018340
     JNJNL61 000018722
     JNJNL61 000018722; Plaintiff Exhibit 2659-1
     JNJNL61 000020012
     JNJNL61 000020012 (D-8201- 100 pages various bates #s)
     JNJNL61 000020469
     JNJNL61 000020521
     JNJNL61 000021162
     JNJNL61 000021203
     JNJNL61 0000216
     JNJNL61 000021692
     JNJNL61 000021692; Plaintiff Exhibit 2653-1
     JNJNL61 000021695
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                                   169078



     JNJNL61 000021796
     JNJNL61 000021796; Plaintiff Exhibit 2690-1
     JNJNL61 000032 (Bates # cut off)
     JNJNL61 000035499
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                                   169079


     JNJNL61 000035728 JNJNL61
     000043150 JNJNL61
     000095941 JNJNL61
     000095945 JNJNL61 00106449
     JNJNL61_00000006
     JNJNL61_0000001114
     JNJNL61_000000126
     JNJNL61_0000001341
     JNJNL61_0000001369
     JNJNL61_0000001369;
     Hopkins 76
     JNJNL61_000000167
     JNJNL61_000000266
     JNJNL61_000000492
     JNJNL61_000001 ( bates # cut
     off) JNJNL61_000001123
     JNJNL61_000001139
     JNJNL61_00000126
     JNJNL61_000001341
     JNJNL61_000001369
     JNJNL61_000001480
     JNJNL61_000001480; Hopkins
     80 JNJNL61_000001489
     JNJNL61_000001526
     JNJNL61_000001534
     JNJNL61_000001634
     JNJNL61_000001954
     JNJNL61_000002474
     JNJNL61_000003621
     JNJNL61_000004925
     JNJNL61_000004930
     JNJNL61_000005032
     JNJNL61_000005032; Hopkins
     108 JNJNL61_000005496
     JNJNL61_000006032
     JNJNL61_000006431
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     JNJNL61_000006431; Glasgow 53
     JNJNL61_000006726
     JNJNL61_000006785
     JNJNL61_000007290
     JNJNL61_000007330
     JNJNL61_000008084, J&J-100
     JNJNL61_000008111
     JNJNL61_000008340
     JNJNL61_000008390
     JNJNL61_000008624
     JNJNL61_000008633
     JNJNL61_000008742
     JNJNL61_000008749
     JNJNL61_0000093558
     JNJNL61_000009483
     JNJNL61_000009766
     JNJNL61_000009897
     JNJNL61_000009898
     JNJNL61_0000100282
     JNJNL61_000011789
     JNJNL61_000012050
     JNJNL61_000012099
     JNJNL61_000012110
     JNJNL61_000013350
     JNJNL61_000013350; Hopkins 135
     JNJNL61_000013575
     JNJNL61_000013746; JNJNL61_000014013-JNJNL61_000014014
     JNJNL61_000013947
     JNJNL61_000014431
     JNJNL61_000014437; PLT-07580-0007
     JNJNL61_000015083
     JNJNL61_000016002
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     JNJNL61_000016276
     JNJNL61_000016358
     JNJNL61_000016437
     JNJNL61_000016437, Plaintiff's Exhibit 2514
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     JNJNL61_000016437; Plaintiff Exhibit 2614-1
     JNJNL61_000016536
     JNJNL61_000016536 and JNJAZ55_000006145
     JNJNL61_000016911
     JNJNL61_000016916
     JNJNL61_000016922
     JNJNL61_000016930
     JNJNL61_000016948
     JNJNL61_000016953
     JNJNL61_000016958
     JNJNL61_000018213
     JNJNL61_000018722
     JNJNL61_000019271; Pooley 12
     JNJNL61_000019288
     JNJNL61_000019573
     JNJNL61_000020012
     JNJNL61_000020012 (D-7484 - 90 pages of assorted various bates #s)
     JNJNL61_000020392
     JNJNL61_000020414
     JNJNL61_000020469
     JNJNL61_000020521
     JNJNL61_000020522
     JNJNL61_000020530
     JNJNL61_000020544
     JNJNL61_000021162
     JNJNL61_000021162; DX7144
     JNJNL61_000021203; Hopkins 122
     JNJNL61_000021235
     JNJNL61_000021368; Hopkins 121
     JNJNL61_000021543
     JNJNL61_000021623
     JNJNL61_000021692
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     JNJNL61_000021695
     JNJNL61_000021695; DX7119.0001
     JNJNL61_000021695; Hopkins 91
     JNJNL61_000021796
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     JNJNL61_000021978
     JNJNL61_000022019
     JNJNL61_000024417
     JNJNL61_000024417; Hopkins 125
     JNJNL61_000029172
     JNJNL61_000029184
     JNJNL61_000029184 (Ex 45 - 313 various bates)
     JNJNL61_000029184 (11 assorted various bates #s)
     JNJNL61_000029209
     JNJNL61_000029254
     JNJNL61_000029257
     JNJNL61_000029410
     JNJNL61_000029411
     JNJNL61_000029422;Schmitz Pltfs EX 0740
     JNJNL61_000030041
     JNJNL61_000030069
     JNJNL61_000030078
     JNJNL61_000030078; Hopkins 136
     JNJNL61_000032375
     JNJNL61_000032876
     JNJNL61_000032876 (D-7483 - 168 pages of assorted various bates #s)
     JNJNL61_000032876 (Ex 20 - 136 pages of various bates #s)
     JNJNL61_000032876 is 1st pg (Ex 38 - 168 pages various bates)
     JNJNL61_000034842
     JNJNL61_000035499
     JNJNL61_000035499; Hopkins 89
     JNJNL61_000035499; Pooley 18
     JNJNL61_000035728
     JNJNL61_000036350
     JNJNL61_000036527
     JNJNL61_000037724; J&J-0037483
     JNJNL61_000039831; J&J-0141621
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     JNJNL61_000039855; J&J-0141660
     JNJNL61_000040531; J&J-0144475
     JNJNL61_000043150
     JNJNL61_000045174
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     JNJNL61_000052427
     JNJNL61_000054212
     JNJNL61_000064366, J&J-92
     JNJNL61_000067348
     JNJNL61_000079335; J&J-97
     JNJNL61_000088731
     JNJNL61_000103055
     JNJNL61_000103086
     JNJNL61_00010421
     JNJNL61_000106449
     JNJNL61_000107929
     JNJNL61_000109139
     JNJNL61_000112188
     JNJNL61_000112189
     JNJNL61_000112217
     JNJNL61_000118282; Hopkins 113
     JNJNL61_000119155
     JNJNL61_00012048
     JNJNL61_00012098
     JNJNL61_00012109
     JNJNL61_00019288
     JNJNL67_000006496
     JNJNMX68_000003591
     JNJS71R_000000780
     JNJTACL0000160672 (bates # nearly illegible)
     JNJTACL0000165993 (bates # nearly illegible)
     JNJTAL000912770
     JNJTALC0000062062
     JNJTALC000008859
     JNJTALC000018919
     JNJTALC0000580245
     JNJTALC000061199
     JNJTALC000061900; Hopkins 99
     JNJTALC0000627
     JNJTALC000062785
     JNJTALC000062894
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     JNJTALC000064952
     JNJTALC000067661
     JNJTALC000067661 (PLT-00001 - no bates # on face of document)
     JNJTALC000070307
     JNJTALC000071246; J&J-0037484
     JNJTALC000071258; J&J-0037515
     JNJTALC000071261; J&J-0037518
     JNJTALC0000751
     JNJTALC000089631; Plaintiff Exhibit 2354-1
     JNJTALC000090135
     JNJTALC000090275
     JNJTALC000091181
     JNJTALC000091746
     JNJTALC000093003
     JNJTALC000120730
     JNJTALC000129140
     JNJTALC000129216
     JNJTALC000165870
     JNJTALC000169805
     JNJTALC000173802
     JNJTALC000173803
     JNJTALC000178819
     JNJTALC000186146
     JNJTALC000186566
     JNJTALC000196139
     JNJTALC000196176
     JNJTALC000196252
     JNJTALC000196576
     JNJTalc000215579
     JNJTALC000217062
     JNJTALC000217067
     JNJTALC000217111
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     JNJTALC000217126
     JNJTALC000217155
     JNJTALC000217164
     JNJTALC000217169
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     JNJTALC000217211
     JNJTALC000217256
     JNJTALC000217264
     JNJTALC000217276
     JNJTALC000217284
     JNJTALC000218768
     JNJTALC000218978
     JNJTALC000237200
     JNJTALC000250188
     JNJTALC000250188; PLT-090808-0001
     JNJTALC000250189
     JNJTALC000276223
     JNJTALC000276224
     JNJTALC000283403
     JNJTALC000289190
     JNJTALC000289268
     JNJTALC000291475
     JNJTALC000292656
     JNJTALC000292917
     JNJTALC000294278
     JNJTALC000327308
     JNJTALC000341336; PLT-09558-0001
     JNJTALC000341338
     JNJTALC000352537
     JNJTALC000355057 (partially illegible -
     P-30) JNJTALC000355541
     JNJTALC000359711
     JNJTALC000359850
     JNJTALC000376583
     JNJTALC000387085
     JNJTALC000387116
     JNJTALC000387140
     JNJTALC000387143
     JNJTALC000387182
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    WTALC00002845
    WTALC00002851
    WTALC00002901
    WTALC00004586
    WTALC00007366
    WTALC00008339
    WTALC00008340
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   DEPOSITIONS AND TRANSCRIPTS:

   30(b)(6) Deposition and Exhibits of Donald Hicks Taken on 6.28.18 and 6.29.18
   30(b)(6) Deposition and Exhibits of John Hopkins Taken on 8.16.18, 8.17.18, 10.17.18, 11.05.18
   30(b)(6) Deposition and Exhibits of Joshua Muscat Taken on 9.25.18
   30(b)(6) Deposition and Exhibits of Julie Pier Taken on 9.12.18 and 9.13.18
   30(b)(6) Deposition and Exhibits of Linda Loretz Taken on 7.17.18, 10.1.18 and 10.2.18
   30(b)(6) Deposition and Exhibits of Margaret Gurowitz Taken on 7.12.18
   30(b)(6) Deposition and Exhibits of Mark Pollack Taken on 8.29.18
   30(b)(6) Deposition and Exhibits of Pat Downey Taken on 8.7.18 and 8.8.18
   30(b)(6) Deposition and Exhibits of Robert Glenn Taken on 10.18.18
   30(b)(6) Deposition and Exhibits of Susan Nicholson Taken on 7.26.18 and 7.27.18
   30(b)(6) Deposition and Exhibits of Tina French Taken on 8.15.18
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   Carl v. J&J Kemp Hearing Trancript for Graham Colditz Dated 08.16.16
   Carl v. J&J Kemp Hearing Transcript for Douglas L. Weed Dated 08.11.16
   Congressional Testimony 05.14.08 - Pamela Bailey
   Congressional Testimony 05.14.08 - Pamela Bailey Prepared Statement
   Daniels v. J&J Volume 17 Trial Transcript
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   Defendants' Motion to Exclude the Testimony of David Steinberg
   Deposition of John Hopkins Taken 10.19.12 in the Berg v. J&J Matter
   Deposition of Joshua Muscat Taken 3.3.2016 in the Hogans v. J&J Matter
   Expert Report of Daniel Cramer, MD in the Ristesund v. J&J Matter Dated 11.01.15
   Expert Report of Dr. Douglas L. Weed Dated 2.19.16
   Expert Report of Dr. Douglas Weed in the Giannecchini v. J&J Matter Dated 08.18.16
   Expert Report of F. Alan Andersen in the Giannecchini v. J&J Matter
   Expert Report of John J. Godleski - REDACTED Dated 4.3.15
   Hogans v. J&J Stipulated Protective Order Dated 1.28.15
   Oules v. J&J Order Stipulated Protective Order Dated 10.26.15
   PL's First Amended Master Long Form Complaint in Talc MDL
   Protective Order in Hogans, et al. v. J&J, Exhibit A
   Ristesund v. J&J Closing Powerpoint
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   Ristesund v. J&J Trial Transcript Volume 16 (Closing)
   Ristesund v. J&J Trial Transcript Volume 6A (Colditz)
   Ristesund v. J&J Trial Transcript Volume 6B (Colditz)
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   Ristesund v. J&J Trial Transcript Volume 7B (Godleski)
   Ristesund v. J&J Trial Transcript Volume 8A (Cramer)
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   Exhibit 104 CFTA
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   FDA_FOIA_000061                        FDA_FOIA_010086
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   FDA_FOIA_004655                        IMERYS026527 IMERYS028813
   FDA_FOIA_004675                        IMERYS034215 IMERYS038563
   FDA_FOIA_004884                        IMERYS040759 IMERYS051370
   FDA_FOIA_005113                        IMERYS056686 IMERYS074844
   FDA_FOIA_005535                        IMERYS074887
   FDA_FOIA_005549
   FDA_FOIA_005593
   FDA_FOIA_005631
   FDA_FOIA_005647
   FDA_FOIA_009373
   FDA_FOIA_009726
   FDA_FOIA_009797
   FDA_FOIA_009825
   FDA_FOIA_009865
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   IMERYS099495 IMERYS136822            IMERYS456885
   IMERYS136824 IMERYS138675            IMERYS462959
   IMERYS152814 IMERYS205540            IMERYS467511
   IMERYS208853 IMERYS209398            IMERYS467736
   IMERYS209930 IMERYS210472            IMERYS-A_0005946
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   IMERYS255384 IMERYS265231            J Hopkins D-21
   IMERYS269418 IMERYS279682            J&J 26
   IMERYS280786 IMERYS281179            J&J 28
   IMERYS284935 IMERYS288545            J&J 34 (J&J-0005509)
   IMERYS288588 IMERYS303828            J&J 35
   IMERYS303841 IMERYS303861            J&J 36
   IMERYS306274 IMERYS306387            J&J 38
   IMERYS308446 IMERYS324700            J&J 49
   IMERYS325989 IMERYS363871            J&J 60
   IMERYS418290 IMERYS422289            J&J 71
   IMERYS437666 IMERYS442501            J&J 105
                                        J&J 258
                                        JNJ 00040596
                                        JNJ 000089413
                                        JNJ 000251888
                                        JNJ 000260700
                                        JNJ 000270083
                                        JNJ 000405425
                                        JNJ 000426237
                                        JNJ 000438939
                                        JNJ 000438941
                                        JNJ 000648488
                                        JNJ000000022
                                        JNJ000000112
                                        JNJ000000251
                                        JNJ000000636
                                        JNJ000000767
                                        JNJ000000935
                                        JNJ000002484
                                        JNJ000002527
                                        JNJ000004349
                                        JNJ000007936
                                        JNJ000011704
                                        JNJ000014476
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   JNJ000015565 JNJ000015573   JNJ000085114 JNJ000086531
   JNJ000016326 JNJ000016393   JNJ000087991 JNJ000092224
   JNJ000016566 JNJ000016645   JNJ000133095 JNJ000231207
   JNJ000017587 JNJ000017613   JNJ000231422 JNJ000232574
   JNJ000018407 JNJ000019157   JNJ000232996 JNJ000237115
   JNJ000019158 JNJ000019228   JNJ000239315 JNJ000239387
   JNJ000019415 JNJ000019709   JNJ000245216 JNJ000245488
   JNJ000020298 JNJ000020656   JNJ000248160 JNJ000248584
   JNJ000020728 JNJ000020759   JNJ000248615 JNJ000249213
   JNJ000020907 JNJ000021004   JNJ000249322 JNJ000250399
   JNJ000021008 JNJ000021285   JNJ000250666 JNJ000251888
   JNJ000022597 JNJ000023191   JNJ000253027 JNJ000254361
   JNJ000024397 JNJ000024418   JNJ000257836 JNJ000259267
   JNJ000024462 JNJ000025132   JNJ000261557 JNJ000261640
   JNJ000026092 JNJ000026764   JNJ000265404 JNJ000265536
   JNJ000030027 JNJ000030036   JNJ000267139 JNJ000267823
   JNJ000030476 JNJ000031001   JNJ000269042 JNJ000270084
   JNJ000033761 JNJ000035173   JNJ000284107 JNJ000304364
   JNJ000035707 JNJ000036519   JNJ000304421 JNJ000304716
   JNJ000038327 JNJ000040596   JNJ000304864 JNJ000308280
   JNJ000042593 JNJ000047005   JNJ000314657 JNJ000326795
   JNJ000047066 JNJ000050364   JNJ000330448 JNJ000336835
   JNJ000066259 JNJ000066264   JNJ000343580 JNJ000343611
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   JNJ000343612 JNJ000343613 JNJ000343614 JNJ000636886
   JNJ000343946 JNJ000346836 JNJ000349424 JNJ000636887
   JNJ000356521 JNJ000367482 JNJ000367483 JNJ000636921
   JNJ000368327 JNJ000368353 JNJ000374512 JNJ000636932
   JNJ000375389 JNJ000376770 JNJ000377123 JNJ000636949
   JNJ000377125 JNJ000377405 JNJ000382894 JNJ000636972
   JNJ000383006 JNJ000383057 JNJ000385468 JNJ000637555
   JNJ000405087 JNJ000405610 JNJ000422578 JNJ000639691
   JNJ000426237 JNJ000441710 JNJ000447755 JNJ000648485
   JNJ000458312 JNJ000468813 JNJ000468930 JNJ000681690
   JNJ000471544 JNJ000488208 JNJ000489313 JNJ000682019
   JNJ000519460 JNJ000521616 JNJ000523964 JNJ000682120
   JNJ000523967 JNJ000542058 JNJ000566815 JNJ000682134
   JNJ000566816 JNJ000576624 JNJ000576831 JNJ000682228
   JNJ000592573 JNJ000598569 JNJ000623908 JNJ0003007294
   JNJ000635886                           JNJAZ55_000004156
                                          JNJAZ55_000005015
                                          JNJAZ55_000010259
                                          JNJMX68_000020276
                                          JNJNL61_00019288
                                          JNJNL61_000030041
                                          JNJNL61_000045174
                                          JNJNL61_000052427
                                          JNJNL61_000067348
                                          JNJTALC000062785
                                          JNJTALC000062894
                                          JNJTALC000173802
                                          JNJTALC000173803
                                          JNJTALC000178819
                                          JNJTALC000289190
                                          JNJTALC000327308
                                          JNJTALC000341338
                                          JNJTALC000413069
                                          JNJTALC000413104
                                          JNJTALC000494340
                                          JNJTALC000533553
                                          JNJTALC000777136
                                          JNJTALC000777137
                                          JNJTALC000852994
                                          JNJTALC000873044 J&J
                                          Healthwashing Babies For 100 Years
                                          JOJO-MA2546-01283 Lewin to WCD
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                                          Lewin to WCD
                                          LoGiudiceWCD0139 LoGiudiceWCD0187
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   LoGiudiceWCD0309 LoGiudiceWCD0523 P-340
   LUZ000566                         P-341
   LUZ022207                         P-342
   MDL_KELLY00011280 P-1             P-344
   P-9                               P-348
   P-10_Redacted                     P-372
   P-11                              P-374
   P-12_Redacted                     P-414
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   P-24                              P-557
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   P-26_Redacted                     P-659
   P-27_Redacted                     P-709
   P-29                              P-820
   P-30                              PCPC Comments on Citizens Petition
   P-31                              PCPC_MDL00000998
   P-32_Redacted                     PCPC_MDL00001327
   P-33_Redacted                     PCPC_MDL00004583
   P-34_Redacted                     PCPC_MDL00006123
   P-35                              PCPC_MDL00006126
   P-37                              PCPC_MDL00007392
   P-38                              PCPC_MDL00007745
   P-47                              PCPC_MDL00015232
   P-55                              PCPC_MDL00020769
   P-59                              PCPC_MDL00021038
   P-80                              PCPC_MDL00026122
   P-81                              PCPC_MDL00026217
   P-84                              PCPC_MDL00026482
   P-101                             PCPC_MDL00028619
   P-115                             PCPC_MDL00029211
   P-134                             PCPC_MDL00030416
   P-137                             PCPC_MDL00030744
   P-223                             PCPC_MDL00031696
   P-225                             PCPC_MDL00032180
   P-239                             PCPC_MDL00032183
   P-242                             PCPC_MDL00034800
   P-317                             PCPC_MDL00044971
   P-321                             PCPC_MDL00090607
   P-324                             PCPC_MDL00110545
                                     PCPC_MDL00122041
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      PCPC_MDL00122043                                   PCPC0058604
      PCPC_MDL00122051                                   PCPC0059224
      PCPC_MDL00122054                                   PCPC0059477
      PCPC_MDL00122056                                   PCPC0061009
      PCPC_MDL00140807                                   PCPC0061912
      PCPC_MDL00140808                                   PCPC0066561
      PCPC_MDL00140810                                   PCPC0075385
      PCPC_MDL00141265                                   PCPC0075387
      PCPC_MDL00141416                                   PCPC0075827
      PCPC_MDL00141907                                   PCPC0078446
      PCPC_MDL00144926                                   PCPC0079602
      PCPC0005505                                        PCPC0080521
      PCPC0005508                                        PCPC0080710
      PCPC0058503                                        PCPC0081179
     Pltf_JNJ_00000609 (JNJ000021035)
     Pltf_JNJ_00001141 (JNJ000011704-11708)
     Pltf_JNJ_00003102 (JNJ000024495-24500)
     Pltf_JNJ_00003373 (JNJ000020397)
     Pltf_LUZ_00000093 (LUZ000566-567)
     Pltf_LUZ_00000419 (LUZ003204)
     Pltf_LUZ_00000647 (LUZ005090-5091)
     Pltf_LUZ_00000899 (LUZ006056)
     Pltf_LUZ_00005093 (LUZ011963)
     Pltf_LUZ_00008807 (LUZ022207-22208)
     Pltf_PCPC_0002036 (PCPC0077761-7926)
     Pltf_JNJ_00031488 (JNJ000240311)
     Products _ Hair-Smoothing Products That Release Formaldehyde When Heated
     Profit Opportunity - Adult market JNJ BP
     Response to Public Citizen request 1.11.1979 Redacted
     Responses to Russell on Particles in Talc
     Steve Gettings - Vice-President Global Product Safety & Regulatory Affairs
     The Birth of Our Baby Products Kilmer House
     Van Tibolli Beauty Corp 9.2.15
     WCD – Krempecki (NJ) - 00005
     WCD000001
     WCD000016
     WCD000039
     WCD000067
     WIND-MA10764-0001
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                                   169120




                                      Summary report:
             Litera Compare for Word 11.4.0.111 Document comparison done on
                                    11/16/2023 3:51:33 PM
         Style name: Firm Character Level Rendering Set
         Intelligent Table Comparison: Active
         Original filename: 2018.11.16 - Expert Report of David Kessler, MD.PDF
         Modified filename: Amended Expert Report of David A Kessler, MD, JD.pdf
         Changes:
         Add                                                          4071
         Delete                                                       1128
         Move From                                                    116
         Move To                                                      116
         Table Insert                                                 79
         Table Delete                                                 77
         Table moves to                                               0
         Table moves from                                             0
         Embedded Graphics (Visio, ChemDraw, Images etc.)             5
         Embedded Excel                                               0
         Format changes                                               0
         Total Changes:                                               5592
